         Case 5:19-cv-00074-FB Document 8-1 Filed 02/04/19 Page 1 of 262




                             DECLARATION OF MO PASTERNAK
       I, Moshe Pasternak, pursuant to 28 U.S.C. § 1746, hereby declare as follows:
       1.      I am currently Program Assistant at the Campaign Legal Center (CLC), counsel to

Plaintiffs in this action. I have been employed at CLC since June 2017, and I have been CLC’s

Program Assistant since April 2018.

       2.      As Program Assistant, I work across CLC’s multiple program areas, including its

Voting Rights Program. My responsibilities include conducting factual research using various data

sources, including a wide range of internet sources.

       3.      I make this declaration based on my personal knowledge.

       4.      On January 25, 2019, Texas Secretary of State David Whitley issued Election

Advisory No. 2019-02 (the “Advisory”) to all Voter Registrars and Elections Administrators in

Texas. The subject of the Advisory was “Use of Non-U.S. Citizen Data obtained from the

Department       of        Public     Safety.”        I     retrieved          the      Advisory     from

https://www.sos.texas.gov/elections/laws/advisory2019-02.shtml on February 4, 2019. A true and

correct copy of the Advisory is attached to this declaration as Exhibit 1.

       5.      On January 25, 2019, Secretary Whitley issued a press release announcing the

Advisory.             I         retrieved         the            press                release        from

https://www.sos.state.tx.us/about/newsreleases/2019/012519.shtml on February 4, 2019. A true

and correct copy of that press release is attached to this declaration as Exhibit 2.

       6.      The Advisory referred to a “Notice of Examination for Citizenship (Proof of

Citizenship)     Letter”     (NCE      Letter).    I      retrieved      the         NCE    Letter   from

https://www.sos.texas.gov/elections/forms/bw1-12.pdf on February 4, 2019. A true and correct

copy of the NEC Letter is attached to this declaration as Exhibit 3.



                                                  1
         Case 5:19-cv-00074-FB Document 8-1 Filed 02/04/19 Page 2 of 262




       7.      On January 25, 2019, the Republican Party of Texas issued a press release alleging

“widespread voter fraud” and that “these voters affected election results in 2018.” I retrieved that

press release from https://www.texasgop.org/texas-secretary-of-state-david-whitley-announces-

widespread-voter-fraud-in-2018 on February 4, 2019. A true and correct copy of the press release

is attached to this declaration as Exhibit 4.

       8.      On January 25, 2019, Texas Attorney General Ken Paxton issued a press release

regarding       the      Advisory.       I      retrieved         the    press        release        from

https://www.texasattorneygeneral.gov/news/releases/ag-paxton-texas-secretary-states-office-

discovers-nearly-95000-people-identified-dps-non-us-citizens on February 4, 2019. A true and

correct copy of that press release is attached to this declaration as Exhibit 5.

       9.      On January 25, 2019, Attorney General Paxton sent a tweet about the Advisory that

included the phrase “VOTER FRAUD ALERT.” I retrieved that tweet on February 4, 2019 from

https://twitter.com/KenPaxtonTX/status/1088898595653386240. A screenshot of that tweet is

attached to this declaration as Exhibit 6.

       10.     Attorney General Paxton’s tweet has over 82,000 “likes” and over 14,000

comments, many of which contain harmful rhetoric aimed at immigrant communities. It has been

retweeted over 35,000 times, including by President Donald J. Trump, who tweeted about the

Advisory on January 27, 2019, and claimed that “58,000 non-citizens voted in Texas, with 95,000

non-citizens registered to vote. I retrieved President Trump’s tweet on February 4, 2019 from

https://twitter.com/realDonaldTrump/status/1089513936435716096.            A       screenshot   of    the

President’s tweet is attached to this declaration as Exhibit 7.

       11.     Several media organizations across Texas have reported on the Advisory and

subsequent statements and actions taken by Secretary Whitley and county election officials. These



                                                  2
         Case 5:19-cv-00074-FB Document 8-1 Filed 02/04/19 Page 3 of 262




reports include articles by the Texas Tribune, Houston Public Media, Austin American-Statesman,

Houston Chronicle, Galveston Daily News, Tyler Morning Telegraph, Dallas Morning News, and

Associated Press. True and correct copies of those articles are attached to this declaration as

Exhibit 8.

       12.     In response to an article published by the Texas Tribune about the Plaintiffs in this

case, a tweet stated the following: “I hope [Julie Hilberg] loses her citizenship! If she loved

America she would want people trying to undermine our democracy found!” Another tweet

commenting on the same article stated “Deport [Julie Hilberg]! Not a citizen! Illegal or naturalized

does not equal LEGAL!”              I retrieved those tweets on February 4, 2019 from

https://twitter.com/katscan27_kim/status/1091559126671462400                                    and

https://twitter.com/MichelleMahBel1/status/1091864511177543682. Screenshots of those tweets

are attached to this declaration as Exhibit 9.

       13.     On February 1, 2019, Secretary Whitley’s office sent an email to Texas Voter

Registrars and Election Administrators regarding the Advisory. A true and correct copy of that

email is attached as Exhibit 10.

       14.     On February 1, 2019, my colleague Mark Gaber, Co-Director, litigation at CLC,

sent a notice letter to Secretary Whitley pursuant to the National Voter Registration Act of 1993.

A true and correct copy of that notice letter is attached as Exhibit 11.

       15.     The Texas Department of Public Safety, Driver License Division publishes the

Texas Driver Handbook, a reference for traffic safety and traffic laws. The Texas Driver Handbook

was most recently revised on September 1, 2017. I retrieved the Texas Driver Handbook from

http://www.dps.texas.gov/internetforms/Forms/DL-7.pdf on February 4, 2019. A true and correct

copy of the Handbook is attached to this declaration as Exhibit 12.



                                                  3
         Case 5:19-cv-00074-FB Document 8-1 Filed 02/04/19 Page 4 of 262




       16.     The U.S. Department of Homeland Security (DHS) publishes data on the numbers

of naturalized citizens in each state on their website. I accessed the DHS website at

https://www.dhs.gov/profiles-naturalized-citizens on February 4, 2019. I downloaded the data for

the years 2012 through 2017 as individual Excel spreadsheet files and merged them into one Excel

spreadsheet. I did not otherwise alter the data. That merged spreadsheet is attached to this

declaration as Exhibit 13.

       17.     The U.S. Census Bureau publishes data on the rates of electoral participation by

newly naturalized citizens on their website. I accessed the Census Bureau’s website at

https://www.census.gov/data/tables/time-series/demo/voting-and-registration/p20-580.html          on

February 4, 2019. A screenshot of the Census Bureau website containing that data is attached to

this declaration as Exhibit 14.

       18.     Texas reports data on notices sent by elections officials to voters under the National

Voter Registration Act to the federal Elections Assistance Committee (EAC) as part of the EAC’s

biannual Election Administration and Voting Survey (EAVS). The most recent version of the

EAVS is from 2016, and covers the period between the 2014 and 2016 general elections. I accessed

the 2016 EAVS Dataset and Supplemental Instruction manual at https://www.eac.gov/research-

and-data/2016-election-administration-voting-survey/ on February 4, 2019. A true and correct

copy of the 2016 EAVS Supplemental Instruction Manual is attached as Exhibit 15.

       19.     The EAVS Dataset includes data for every county in every state on a wide variety

of voter registration and election administration issues. According to the Supplemental Instruction

Manual, Question A10 of the Survey Instrument requests data related to notices by elections

officials to voters under the National Voter Registration Act.




                                                 4
         Case 5:19-cv-00074-FB Document 8-1 Filed 02/04/19 Page 5 of 262




       20.     I pulled the data reported by Texas for Question A10a-e from the EAVS dataset

into a separate spreadsheet for analysis, and labeled it according to the definitions in the

Supplemental Instruction Manual. A true and correct copy of this spreadsheet is attached as Exhibit

16.

       21.     Because the data is broken out by county, I added Row 2 to the spreadsheet and

added the individual county reports together to arrive at a statewide total. I filtered out those data

that was either unavailable or unreported for my calculations. Column C, which corresponds with

Question A10a, represents the “total number of confirmation notices sent to registered voters.”

Column D which corresponds with Question A10b, represents the total number of notices

“received back from voters confirming registration.” I then calculated the percentage of the total

notices that were received back confirming registration in Column E. Column F, which

corresponds with Question A10c, represents the total number of notices “received back confirming

registration should be invalidated.” I then calculated the percentage of the total notices that were

received back invalidating registration in Column G. Column H, which corresponds with Question

A10d represents the total number of notices received back as undeliverable. I then calculated the

percentage of the total notices that were received back as undeliverable in Column I. Column J,

which corresponds with Question A10e, represents the total number of notices that were not

received back as confirming or invalidating registration, or as undeliverable. I then calculated the

percentage of the total notices that were not received back in Column K.

       22.     According to my calculations and the data reported by Texas to the EAC, only 14

percent of NCRA notices sent to voters between the November 2014 and November 2016

Elections were returned by the recipients. In contrast, 13 percent were returned undeliverable, and

63 percent were not returned.



                                                  5
Case 5:19-cv-00074-FB Document 8-1 Filed 02/04/19 Page 6 of 262
Case 5:19-cv-00074-FB Document 8-1 Filed 02/04/19 Page 7 of 262




            EXHIBIT 1
                       Case 5:19-cv-00074-FB Document 8-1 Filed 02/04/19 Page 8 of 262




 Election Outlook: Texas Secretary of State Reminds Texans To Plan Their Trip To The Polls | More about Identification Requirements for Voting | Am I
 Registered to Vote? | Election Night Returns | Voter Information | Voting Issues for Texas Harvey Evacuees | 2018 Texas Election Security Update

                       Note - Navigational menus along with other non-content related elements have been removed for your convenience. Thank you for visiting us online.



Election Advisory No. 2019-02
To:     Voter Registrars/Elections Administrators

From: Keith Ingram, Director of Elections

Date: January 25, 2019

RE:     Use of Non-U.S. Citizen Data obtained from the Department of Public Safety


Pursuant to Section 730.005, Transportation Code, personal information obtained by the Department of Public Safety (DPS) in
connection with a motor vehicle record shall be disclosed and used for any matter of voter registration or the administration of elections
by the secretary of state. The secretary of state has been working with DPS to obtain and use information regarding individuals who
provided documentation to DPS showing that the person is not a citizen of the United States during the process of obtaining or acquiring
a Texas Driver License or Personal Identification Card from DPS. The initial set of information provided by DPS is being compared to the
voter registration rolls, and we are providing information relating to matches out to counties beginning tomorrow.

Background: Beginning in early March 2018, our office began working with DPS to review and refine the data able to be provided by
DPS for use in this list maintenance process. The goal was to produce actionable information voter registrars could use to assist in their
list maintenance responsibilities. In keeping with general guidelines set out under Section 18.0681, Election Code, our office sought to
create the strongest matching criteria that produces the least possible impact on eligible Texas voters while fulfilling the responsibility to
manage the voter rolls. To that end, our office and DPS spent time evaluating the data and refining the query to limit the information being
provided to us for use in this list maintenance exercise to individuals who provided valid documents indicating the person is not a citizen
of the United States at the time the person obtained a Driver License or Personal Identification Card. It is important to note that we are
not using information self-reported by the person regarding their citizenship status; rather, we are using documents provided by the
person to show they are lawfully present in the United States. As part of the processing for issuing a card, these documents would have
been validated by DPS against the Systematic Alien Verification for Entitlements (SAVE) Database, which is administered by the U.S.
Citizenship and Immigration Services, a component of the Department of Homeland Security. Once a person’s document is validated
through SAVE and a card is issued, then the individual’s information will be provided to our office in the next data file to be supplied. Our
office has obtained the preliminary data file for all current (unexpired) Driver License and Personal Identification cards that meet this
criteria, and we will run that set of information tomorrow evening. After that initial data set has been run, DPS will provide information to
our office on a monthly basis of individuals obtaining a Driver License of Personal Identification card since the last data file has been
provided. We will run those as they are received by our office.

There is likely to be a law enforcement interest in the data that we are providing to you. If you receive any requests from the public for the
information, please contact your local prosecutor and the attorney general, who have jurisdiction over such matters.

Impact of Data being obtained: It should be noted that the additional source of data being obtained from DPS does not change or
modify the voter registrar’s rights or responsibilities under Section 16.033, Election Code. The voter registrar has the right to use any
lawful means to investigate whether a registered voter is currently eligible for registration in the county. This section does not authorize
an investigation of eligibility that is based solely on residence. If the registrar has reason to believe that a voter is no longer eligible for
registration, the registrar shall deliver written notice to the voter indicating that the voter’s registration status is being investigated by the
registrar. The notice shall be delivered by forwardable mail to the mailing address on the voter’s registration application and to any
new address of the voter known to the registrar. If the secretary of state has adopted or recommended a form for a written notice, the
registrar must use that form. The obtaining of information from DPS and providing matching data to the voter registrar merely expands
the resources available to the registrar for use in list maintenance. The registrar, ultimately, is responsible for determining whether or not
the information provides the registrar with reason to believe the person is no longer eligible for registration. If the registrar determines this
standard has been met, the registrar should send a Notice of Examination for Citizenship (Proof of Citizenship) (PDF) Letter.

Matching Information: This DPS non-U.S. Citizen data is matched against the TEAM system, and information will be provided to
counties if/when a match is identified between the DPS data and a registered voter in the county. Records are identified as Possible Non
U.S. Citizens when one of the following combinations matches between a voter record and the DPS data:

      Last Name (including Former Last Name on the Voter Record), First Name, and Full Social Security Number (SSN) (9 digits);
      Last Name (including Former Last Name on the Voter Record), First Name, and Texas Department of Public Safety (DPS)-Issued
      Driver License, Personal Identification Card, or Election Identification Certificate Number; or
      Last Name (including Former Last Name on the Voter Record), First Name, Last Four Digits of the SSN, and Date of Birth.
                         Case 5:19-cv-00074-FB Document 8-1 Filed 02/04/19 Page 9 of 262
These are some of the strongest possible matching criteria used in TEAM and are the current matching criteria used when determining
whether or not to transfer a voter to an Offline County when the Offline County submits a new registration application. A match to a new
voter registration application submitted by an Offline County to an existing voter using the above listed criteria will result in the transfer of
the voter record. The point of this is to emphasize that our goal was to produce actionable information for voter registrars while producing
the least possible impact on eligible voters, meaning we believe the data we are providing can be acted on in nearly all circumstances.

All records submitted through this process will need to be treated as WEAK matches, meaning that the county may choose to investigate
the voter, pursuant to Section 16.033, Election Code, or take no action on the voter record if the voter registrar determines that there is no
reason to believe the voter is ineligible. The county may not cancel a voter based on the information provided without first sending a
Notice of Examination (Proof of Citizenship Letter) (PDF) and following the process outlined in the letter. In order to help counties make a
determination regarding whether or not to send a Notice of Examination or close the task without taking further action, information
provided by DPS will be provided to each county for further review and comparison against the voter record.

Workflow for Possible Non-U.S. Citizen Investigation: Again, counties are not permitted, under current Texas law, to immediately
cancel the voter as a result of any non-U.S. Citizen matching information provided. This is applicable to notifications received from jury
summons responses, as well as the dataset discussed in this advisory: possible non-U.S. Citizen notifications coming from DPS.

        For matching notifications coming from Jury Summons response devices, the county must send the voter a Proof of Citizenship
        Letter (Notice of Examination).
        For the matching notifications originating from DPS data, the county user has the choice to either:
           1. Send a Proof of Citizenship Letter (Notice of Examination) to the voter; thereby starting the 30-day countdown clock before
              cancellation, or
           2. Take no action on the voter record and simply close the task as RESOLVED.

A voter may only be cancelled based on possible non-U.S. Citizen matching information if a Proof of Citizenship Letter (Notice of
Examination) (PDF) was sent to the voter and:

   1. The voter responded to the Notice in under 30 days indicating the voter is not in fact a U.S. Citizen (you would cancel for not being
      a citizen – Cancel Reason: Non U.S. Citizen);
   2. The voter failed to respond to the Notice within 30 days and is being cancelled for failure to respond to the notice (Cancel Reason:
      Failure to respond to Notice of Investigation); or
   3. The notice was mailed and returned as undeliverable to the registrar with no forwarding information available (Cancel Reason:
      Failure to respond to Notice of Investigation).

To aid in this process, new Dashboard options will be available within the Possible Non U.S. Citizen Dashboard task and a new Event
Type has been developed for Offline counties. We are not able to leverage the current Non U.S. Citizen Notification task, which is
currently created when a match identifies a voter having responded to a jury summons that he/she is not a United States citizen. We
cannot use the current Dashboard line item task/event type because counties are required (by current law) to investigate those records
identified as a response to the jury summons response device under the current process. Counties are not, however, required (by current
law) to investigate the new DPS data matches if they do not believe that a voter is ineligible to vote. However, our office will provide the
data obtained from DPS in order to allow counties all the information necessary to make the determination regarding whether or not to
investigate the voter.

Response needed from the voter: Once a Notice of Examination for Citizenship (Proof of Citizenship) Letter (PDF) has been issued to
a voter, the voter is required to provide proof of citizenship as outlined under Section 16.0332, Election Code. This includes:

        A certified copy of the voter's birth certificate,
        United States passport, or
        Certificate of naturalization

A copy of one of these documents (including a copy of the passport) being returned to the registrar is sufficient to meet the proof
requirement. The registrar is required to retain a copy of the notice mailed and any proof of citizenship received by the voter. If the voter
comes in person and provides proof, then the registrar should make a copy of the document provided and retain it, along with a copy of
the notice that was mailed, with the application file for the voter.

For more information, please contact the Elections Division at 1-800-252-VOTE(8683).

KI:BS
Case 5:19-cv-00074-FB Document 8-1 Filed 02/04/19 Page 10 of 262




             EXHIBIT 2
                     Case 5:19-cv-00074-FB Document 8-1 Filed 02/04/19 Page 11 of 262




 Election Outlook: Texas Secretary of State Reminds Texans To Plan Their Trip To The Polls | More about Identification
 Requirements for Voting | Am I Registered to Vote? | Election Night Returns | Voter Information | Voting Issues for Texas
 Harvey Evacuees | 2018 Texas Election Security Update

       Note - Navigational menus along with other non-content related elements have been removed for your convenience. Thank you for visiting us online.



Secretary Whitley Issues Advisory On Voter Registration List
Maintenance Activity
"Integrity and efficiency of elections in Texas require accuracy of our state's voter rolls"
    Like 1.1K        Tweet                             Share      53                                                           Janauary 25, 2019
                                                                                                                             Contact: Sam Taylor
                                                                                                                                   512-463-6116


AUSTIN – Texas Secretary of State David Whitley today issued an advisory to county voter registrars
regarding voter registration list maintenance activities, which include identifying any non-U.S. citizens
registered to vote in the State of Texas. For the past year, the Texas Secretary of State's office has worked
closely with the Texas Department of Public Safety (DPS) to evaluate information regarding persons
identified to not be citizens of the United States. This voter registration list maintenance activity is being
conducted in accordance with federal and state law to ensure that only qualified voters - who must first and
foremost be U.S. citizens - are registered to vote in Texas elections.

Through this evaluation, the Texas Secretary of State's office discovered that a total of approximately
95,000 individuals identified by DPS as non-U.S. citizens have a matching voter registration record in
Texas, approximately 58,000 of whom have voted in one or more Texas elections. Voting in an election in
which the person knows he or she is not eligible to vote is a second-degree felony in the State of Texas.
Upon receipt of this information, the Texas Secretary of State's office immediately provided the data in its
possession to the Texas Attorney General's office, as the Secretary of State has no statutory enforcement
authority to investigate or prosecute alleged illegal activity in connection with an election.

Secretary Whitley issued the following statement:

"Integrity and efficiency of elections in Texas require accuracy of our state's voter rolls, and my office is
committed to using all available tools under the law to maintain an accurate list of registered voters. Our
agency has provided extensive training opportunities to county voter registrars so that they can properly
perform list maintenance activities in accordance with federal and state law, which affords every registered
voter the chance to submit proof of eligibility. I would like to thank the Department of Public Safety for
providing us with this valuable information so that we can continue to guarantee the right to vote for all
eligible Texas voters, who should not have their voices muted by those who abuse the system."

Going forward, the Texas Secretary of State's office will use information it obtains from DPS on a monthly
basis to cross-reference with Texas' statewide voter registration database and match potential non-U.S.
citizens who have registered to vote. Once a voter registration is identified as a match, the Texas Secretary
of State's office will notify the county in which the person is registered so that the county voter registrar can
take action.

The following combinations of matches between information in DPS-provided data and the statewide voter
registration database are used to identify possible non-U.S. citizens registered to vote:
                  Case 5:19-cv-00074-FB Document 8-1 Filed 02/04/19 Page 12 of 262
      Last Name, First Name, and Full Social Security Number;
      Last Name, First Name, and DPS-issued Driver License, Personal Identification Card, or Election
      Identification Certificate Number; or
      Last Name, First Name, Last Four Digits of Social Security Number, and Date of Birth

If a registered voter is identified as a non-U.S. citizen, he or she should receive a Notice of Examination
(PDF) from the county voter registrar indicating that his or her registration status is being examined on the
grounds that he or she is not a U.S. citizen. The registered voter will then be required to provide proof of
citizenship in order to stay registered, which may be done by submitting to the voter registrar a copy of one
of the following documents:

      A certified copy of the voter's birth certificate
      United States passport; or
      Certificate of naturalization (Citizenship certificate)

If the person responds indicating he or she is not a U.S. citizen, or fails to respond to the Notice within 30
days, then the voter registration will be cancelled by the county voter registrar. County voter registrars have
been provided with numerous training opportunities to ensure that list maintenance activities are conducted
in accordance with state and federal law so as to not affect eligible voters.

Texas voters who wish to check their registration status can visit the Texas Secretary of State's "Am I
Registered?" tool online or contact the voter registrar in their county of registration.

                                                        ###
Case 5:19-cv-00074-FB Document 8-1 Filed 02/04/19 Page 13 of 262




             EXHIBIT 3
           Case 5:19-cv-00074-FB Document 8-1 Filed 02/04/19 Page 14 of 262



Prescribed by Secretary of State
Sections 16.033; 16.0332, Texas Election Code; Sections 521.044, 730.005 , Texas Transportation Code; Section 62.114, Texas
Government Code
BWl-12, 12/2018




                NOTICE TO REGISTERED VOTER FOR PROOF OF CITIZENSHIP
                         Aviso solicitando comprobante de ciudadanfa



My office has received information concerning your registration to vote. Your registration status is being
investigated because there is reason to believe you may not be a United States citizen. This information
may have been provided by clerks of the court regarding individuals who were excused or disqualified
from jury duty because they are not U.S. citizens and/or the Department of Public Safety ("DPS") for
individuals possessing a Driver License or Personal Identification Card who DPS has identified are not
citizens of the United States and/or other information derived through lawful means. You are now
required to confirm your eligibility for registration by providing proof of citizenship to maintain your
registration status. Proof of citizenship must be in a certified form of birth certificate, passport, or
citizenship papers. If you fail to provide this proof of citizenship within 30 days from the date of this
letter, your voter registration will be cancelled.

Mi oficina ha recibido informaci6n en cuanto su inscripci6n electoral. Estamos investigando su
elegibilidad para inscripci6n en base a que hay causa de dudar su ciudadania estadounidense. Esta
informaci6n podria venir bien sea de los oficinistas de la corte a traves de la lista de personas disculpadas
o descalificadas de prestar servicio como miembro de unjurado debido a que tales personas no son
ciudadanos estadounidenses y/o del Departamento de Seguridad Publica ("DPS") en cuanto a personas en
posesi6n de una licencia de conducir o tarjeta de identidad personal quienes DPS ha identificado como
no-ciudadanos de los Estados Unidos y/u otra informaci6n derivada por medios legales. Ahora se requiere
que usted confirme su elegibilidad para inscripci6n al proveer un comprobante de su ciudadania para
mantener su estado de inscripci6n. Comprobantes de ciudadania deben ser o un acta de nacimiento
certificada, pasaporte certificado, o documentos de ciudadania certificados. Si no presenta dicho
comprobante de ciudadania estadounidense dentro de un plazo de 30 dias a partir de la fecha de este
aviso, su inscripci6n electoral sera cancelada.




Signature of Voter Registrar                                                          Date
Firma de! Registrador de Votantes                                                     Fecha
Case 5:19-cv-00074-FB Document 8-1 Filed 02/04/19 Page 15 of 262




             EXHIBIT 4
2/4/2019         TexasCase
                      Secretary of State David Whitley Announces
                             5:19-cv-00074-FB                    Widespread
                                                           Document      8-1VoterFiled
                                                                                  Fraud in 2018 - Republican
                                                                                        02/04/19       Page  Party
                                                                                                                16of of
                                                                                                                     TexasRepublican
                                                                                                                        262          Party of Texas
                 Phone: 512.477.9821 Fax: 512.480.0709                                                                                 

                 Issues People Join News Elections Grassroots Club Victory Events
                                                                                                            Contribute      $ 10     $ 25      $ 50




                                                                NEWS
    PRESS RELEASES, NEWS
    Texas Secretary of State David
    Whitley Announces Widespread
    Voter Fraud in 2018
    POSTED 1.25.2019 - by Sam Pohl


    FOR IMMEDIATE RELEASE:
    Friday, January 25, 2019
    CONTACT:
    Sam Pohl, press@TexasGOP.org
             Texas Secretary of State David Whitley Announces Widespread Voter Fraud in 2018
            95,000 Non-Citizen Legal Immigrants Registered, 58,000 Voted in One or More Elections
    AUSTIN, TX – Today, Texas Secretary of State David Whitley announced the results of a year long
    investigation into voter fraud. He stated they have identi ed 95,000 non-citizens who are currently
    registered to vote in the state of Texas – 58,000 of which have voted in one or more election.
    Republican Party of Texas Chairman James Dickey commented:
    “We applaud the e orts by the o ce of the Texas Secretary of State to expose this widespread
    voter fraud. Secretary of State David Whitley’s announcement provides undeniable proof that voter
    fraud has been signi cant – even in Texas. Identifying ineligible registrations and removing them
    from the voter rolls is the rst step toward restoring integrity to our electoral process. No doubt
    these voters a ected election results in 2018. We can not a ord voter fraud in 2020 and must stop
    this abuse now. It is a crime and it is damaging to our republic. We ask the Legislature to consider
    what additional changes may be needed to reduce potential voter fraud and protect the right to
    vote for all Texas citizens.”

https://www.texasgop.org/texas-secretary-of-state-david-whitley-announces-widespread-voter-fraud-in-2018/                                       1/3
    2/4/2019
         The TexasTexas Secretary
                       Case
                    Secretary     of
                                  ofState David Whitley
                               5:19-cv-00074-FB
                                     State’s    o ceAnnounces Widespread
                                                          Document
                                                        announced        VoterFiled
                                                                      8-1identi
                                                                    the        Fraud in 2018of
                                                                                            - Republican
                                                                                     02/04/19
                                                                                  cation           Page
                                                                                               95,000    Party
                                                                                                            17of of
                                                                                                                 TexasRepublican
                                                                                                                    262 whoParty
                                                                                                          non-citizens             of Texas
                                                                                                                                 were
        on the voter rolls today just before 2:00 p.m. The Republican Party of Texas will continue to work
        with legislators during the 86th Legislative Session to create and pass legislation to secure the
        ballot box.
                                                                             ###




           « PREV. POST                                                                                         NEWER POST »




      SIGN UP FOR UPDATES                                   ENTER YOUR EMAIL ADDRESS *                             SIGN ME UP!




        QUICK                                             JOIN THE TEAM                                        REGISTER TO
      CONTRIBUTE                                                                                                  VOTE




RESOURCES                                ELECTIONS                                 PRESS & NEWS                  MORE INFORMATION
Auxiliaries                              Contact                                  All News Post                  Contact Us
Bylaws                                   Election Information                     Press Releases                 Sitemap
Calendar                                 GOTV Take Action                         Media Requests                  Exclusive Content
County Chairs                            Join Our Team                             Facebook
Candidate Resource                                                                 Twitter
Committee
Hispanic Republicans
Party   O cers
   https://www.texasgop.org/texas-secretary-of-state-david-whitley-announces-widespread-voter-fraud-in-2018/                             2/3
   2/4/2019
Platform       TexasCase
                    Secretary of State David Whitley Announces
                           5:19-cv-00074-FB                    Widespread
                                                         Document      8-1VoterFiled
                                                                                Fraud in 2018 - Republican
                                                                                      02/04/19       Page  Party
                                                                                                              18of of
                                                                                                                   TexasRepublican
                                                                                                                      262          Party of Texas

Request Ballot By Mail
Rules
SREC
SREC Reports
Victory
85th Lege Info




SEARCH TEXASGOP.ORG                             Search...                                                           

                                                                                              The Republican Party of Texas
                                                                                                             P.O. box 2206
                                                                                                          Austin, TX 78768
                                                                             Phone: 512.477.9821                Fax: 512.480.0709

Privacy Policy            Terms and Conditions
Copyright 2017 - The Republican Party of Texas - All Rights Reserved.


  Paid for by the Republican Party of Texas and not authorized by any candidate or candidate's committee.




    https://www.texasgop.org/texas-secretary-of-state-david-whitley-announces-widespread-voter-fraud-in-2018/                                  3/3
Case 5:19-cv-00074-FB Document 8-1 Filed 02/04/19 Page 19 of 262




             EXHIBIT 5
HOME NEWS NEWS    RELEASES
                Case 5:19-cv-00074-FB Document 8-1 Filed 02/04/19 Page 20 of 262
AG PAXTON: TEXAS SECRETARY OF STATE’S OFFICE DISCOVERS NEARLY 95,000 PEOPLE IDENTIFIED BY DPS
AS NON-U.S. CITIZENS ARE REGISTERED TO VOTE IN TEXAS

        January 25, 2019 | Voter Fraud


        AG Paxton: Texas Sec-
        retary of State’s Office
        Discovers Near-
        ly 95,000 People Iden-
        tified by DPS as Non-
        U.S. Citizens are Reg-
        istered to Vote
        in Texas
        Attorney General Ken Paxton today issued the following statement after the Secretary
        of State’s office discovered that about 95,000 individuals identified by the Department
        of Public Safety as non-U.S. citizens have a matching voter registration record in
        Texas, and roughly 58,000 of them have voted in one or more Texas elections:

        “Every single instance of illegal voting threatens democracy in our state and deprives
        individual Texans of their voice. We’re honored to have partnered with the Texas
        Secretary of State’s office in the past on voter initiatives and we will spare no effort in
        assisting with these troubling cases. My Election Fraud Unit stands ready to
        investigate and prosecute crimes against the democratic process when needed. We
        have obtained a number of successful non-citizen voter fraud convictions, including
        prison sentences for Rosa Ortega in Tarrant County and Laura Garza in Montgomery
        County. And earlier this month, investigators from our office arrested Marites Curry, a
        non-citizen charged with illegal voting in Navarro County. Nothing is more vital to
        preserving our Constitution than the integrity of our voting process, and my office will
        do everything within its abilities to solidify trust in every election in the state of Texas.
        I applaud Secretary of State Whitley for his proactive work in safeguarding our
        elections.”
Texas law allows lawfully present noncitizens to obtain driver’s licenses by showing
       Case 5:19-cv-00074-FB Document 8-1 Filed 02/04/19 Page 21 of 262
proof of lawful presence to DPS. However, only citizens are eligible to vote. And
Texas law currently does not require verification of a voter’s statement that they are a
citizen. The Texas Secretary of State provided the information to the Office of the
Attorney General this week, which has concurrent jurisdiction to prosecute election
crimes.

From 2005-2017, the attorney general’s office prosecuted 97 defendants for numerous
voter fraud violations. In 2018, Attorney General Paxton’s Election Fraud Unit – with
assistance from a criminal justice grant from the governor’s office – prosecuted 33
defendants for a total of 97 election fraud violations. Last February, the attorney
general announced a significant voter fraud initiative and addressed key problems and
policy areas related to election law.

To view the Texas Secretary of State press release, click
here: https://www.sos.state.tx.us/about/newsreleases/2019/012519.shtml.
Case 5:19-cv-00074-FB Document 8-1 Filed 02/04/19 Page 22 of 262




             EXHIBIT 6
Case 5:19-cv-00074-FB Document 8-1 Filed 02/04/19 Page 23 of 262
Case 5:19-cv-00074-FB Document 8-1 Filed 02/04/19 Page 24 of 262




             EXHIBIT 7
Case 5:19-cv-00074-FB Document 8-1 Filed 02/04/19 Page 25 of 262
Case 5:19-cv-00074-FB Document 8-1 Filed 02/04/19 Page 26 of 262




             EXHIBIT 8
   2/4/2019                         Some Texas voters being
                          Case 5:19-cv-00074-FB             asked to prove
                                                       Document         8-1citizenship
                                                                                Filedbased on state's list
                                                                                       02/04/19       Page | The 27
                                                                                                                 Texas
                                                                                                                     ofTribune
                                                                                                                         262
                                                                                                                                    ME NU




Some Texas voters already are being asked to
prove their citizenship after state's
announcement
   The Texas Tribune reached out Monday to 13 of the 15 counties with the most registered
   voters; only Galveston County indicated it would immediately send out letters asking voters
   for proof of citizenship.

BY ALEXA URA            JAN. 28, 2019          7 PM




Galveston County voters who receive letters have 30 days to provide proof of citizenship.  Waylon Cunningham for the
Texas Tribune



              After the state’s announcement that it was ﬂagging tens of thousands of
              registered voters for possible citizenship checks, some Texas voters could be
   https://www.texastribune.org/2019/01/28/some-texas-voters-are-already-being-asked-prove-their-citizenship-foll/                   1/4
2/4/2019           Case      Some Texas voters being
                        5:19-cv-00074-FB             asked to prove
                                                Document         8-1citizenship
                                                                         Filed  based on state's list
                                                                                 02/04/19        Page | The 28
                                                                                                            Texas
                                                                                                                ofTribune
                                                                                                                    262
           receiving requests to prove their       citizenship         this   week.

           Local election ofﬁcials have received lists of individuals whose citizenship status
           the state says counties should consider checking. Ofﬁcials in some of Texas’
           biggest counties said Monday they were still parsing through thousands of
           records and deciding how best to verify the citizenship status of those ﬂagged by
           the state. But in Galveston County, the ﬁrst batch of “proof of citizenship” letters
           were scheduled to be dropped in the mail Monday afternoon.

           Those notices start a 30-day countdown for a voter to provide proof of citizenship
           such as a birth certiﬁcate, a U.S. passport or a certiﬁcate of naturalization. Voters
           who don't respond will have their voter registration canceled.

           The Texas Tribune reached out Monday to 13 of the 15 counties with the most
           registered voters; Galveston was the only one that indicated it would
           immediately send out letters, even as more than a dozen civil rights groups
           warned the state and local election ofﬁcials that they risked violating federal law
           by scrutinizing the voters ﬂagged by the state.

           Cheryl Johnson, who oversees the voter rolls in Galveston County as its tax
           assessor-collector, said she was simply following state law by starting to send
           letters to the more than 830 people the state ﬂagged.

           Those people are among the approximately 95,000 registered voters whom the
           state said provided the Texas Department of Safety with some form of
           documentation, such as a green card or a work visa, that showed they were not
           citizens when they obtained driver's licenses or ID cards.

           It’s unclear exactly how many of them are not U.S. citizens. Legal permanent
           residents, also known as green card holders, who become naturalized citizens
           after obtaining driver's licenses are not required to update DPS on their
           citizenship status, according to voting rights lawyers.

           Past reviews of the voter rolls by other states ultimately found that a much
           smaller number of the thousands of voters initially ﬂagged were actually
           noncitizens. Civil rights groups have pointed to Florida, where a similar
           methodology was used to create a list of approximately 180,000 registered voters
           that ofﬁcials claimed were noncitizens. The number ultimately was reduced to
           about 85 voters. Amid a court ﬁght, Florida eventually agreed to reinstate 2,600
           voters who were mistakenly removed from the rolls because the state classiﬁed
           them as noncitizens.

           Bruce Elfant, Travis County’s tax assessor-collector and voter registrar, indicated
           he was concerned about the accuracy of the data because the county previously
https://www.texastribune.org/2019/01/28/some-texas-voters-are-already-being-asked-prove-their-citizenship-foll/             2/4
2/4/2019
           receivedCase   fromSome
                               DPS Texas voters being
                    data5:19-cv-00074-FB
                                      that was        asked to prove
                                                 Document
                                                    “less    than 8-1citizenship
                                                                          Filedbased
                                                                      pristine.”     on state's list
                                                                                 02/04/19
                                                                                    County      Page | The 29
                                                                                                   ofﬁcialsTexas
                                                                                                               ofTribune
                                                                                                                   262 to
                                                                                                                 vowed
           review the list they received of 4,547 registered voters but were still trying to
           convert the data into a usable format.

           He said he also wanted more information about the methodology the Texas
           Secretary of State’s ofﬁce used to compile the list, pointing out that naturalized
           citizens may have obtained their driver's licenses before becoming citizens.

           “The state is responsible for vetting for citizenship” during the voter registration
           process, Elfant said. “I would be surprised if that many people got through it.”

           Other county ofﬁcials echoed Elfant’s point about naturalized citizens. Collin
           County’s election administrator, Bruce Sherbert, said the county had received a
           list of approximately 4,700 names and would consider them on a case-by-case
           basis, checking for situations in which a voter already might have already some
           form of proof of citizenship.

           “It can be a process that takes several months to go through,” Sherbert said.
           “We’re just at the front side of it.”

           Facing a list of 2,033 individuals, Williamson County ofﬁcials said they were
           considering ways in which they could determine citizenship without sending
           notices to voters. Chris Davis, the county’s election administrator, said some
           naturalized citizens could have registered to vote at naturalization ceremonies in
           other counties, so their ﬁles might indicate their registration applications were
           mailed in from there.

           “We want to try to avoid sending notices to folks if we can ﬁnd proof of their
           citizenship, thereby they don’t have to come in and prove it themselves or mail
           it,” Davis said.

           Election ofﬁcials in Fort Bend County said they had received a list of about 8,400
           voters, but they noted some may be duplicates. El Paso County ofﬁcials said their
           list had 4,152 voters.

           Harris County ofﬁcials did not provide a count of voters the state ﬂagged on its
           rolls, but Douglas Ray, a special assistant county attorney, said they were
           treading carefully because of previous missteps by the state.

           “To be quite frank, several years ago the secretary of state did something very
           similar, claiming there were people who were deceased,” Ray said. “They sent us
           a list and the voter registrar sent conﬁrmation notices, and it turned out a lot of
           people identiﬁed on the list were misidentiﬁed. A lot of the people who received
           notices were very much alive.”
https://www.texastribune.org/2019/01/28/some-texas-voters-are-already-being-asked-prove-their-citizenship-foll/             3/4
2/4/2019                      Some Texas voters being asked to prove citizenship
                                                                          Filedbased
           Ray saidCase  5:19-cv-00074-FB
                    the county   plans to examineDocument   the8-1 identities     of on state's list
                                                                                 02/04/19
                                                                                     voters     Page
                                                                                                  on | The 30
                                                                                                           Texas
                                                                                                         the   ofTribune
                                                                                                              list,262
           reviewing registration information on ﬁle and proceeding with the conﬁrmation
           process if they have “serious questions” about a voter.

           “We don't want noncitizens voting any more than anyone else does,” Ray said.
           “What we're skeptical of is the quality of information we’re being given.”

           Election ofﬁcials in Dallas, Tarrant, Bexar, Hidalgo, Montgomery and Cameron
           counties did not respond to questions about the lists they received. The state
           declined to provide speciﬁcs about the list on Friday and directed the Tribune to
           ﬁle an open records request.



                  Quality journalism doesn't come free
                  Perhaps it goes without saying — but producing quality journalism isn't
                  cheap. At a time when newsroom resources and revenue across the country
                  are declining, The Texas Tribune remains committed to sustaining our
                  mission: creating a more engaged and informed Texas with every story we
                  cover, every event we convene and every newsletter we send. As a nonproﬁt
                  newsroom, we rely on members to help keep our stories free and our events
                  open to the public. Do you value our journalism? Show us with your support.

                                                              YES, I'LL DONATE TODAY




https://www.texastribune.org/2019/01/28/some-texas-voters-are-already-being-asked-prove-their-citizenship-foll/            4/4
    2/4/2019                       Harris County “Very Skeptical”
                           Case 5:19-cv-00074-FB                  About State’s
                                                           Document         8-1 Potential
                                                                                    Filed Non-Citizen
                                                                                            02/04/19  Voter List
                                                                                                             Page– Houston
                                                                                                                      31 ofPublic
                                                                                                                             262  Media



Harris County “Very Skeptical” About State’s
Potential Non-Citizen Voter List
Harris County is looking into the list before taking action, while neighboring Galveston County
has mailed out citizenship check requests.
TRAVIS BUBENIK | JANUARY 29, 2019, 1:40 PM (LAST UPDATED: JANUARY 29, 2019, 3:11 PM)




                                                                          Alvaro 'Al' Ortiz/Houston Public Media
  Election signs at an early voting location at Spring First Church, in Spring, TX on October 28, 2018.




Civil rights groups are urging Texas counties not to take action on a state-circulated list of potential non-citizen
voters. In Harris County, the state’s most populated county, officials say they’ll further investigate the list before
sending out citizenship checks.


    https://www.houstonpublicmedia.org/articles/news/2019/01/29/319719/harris-county-very-skeptical-about-states-potential-non-citizens-voter-list/   1/2
   2/4/2019                   Harris County “Very Skeptical”
                    Case 5:19-cv-00074-FB                    About State’s
                                                      Document         8-1 Potential
                                                                               Filed Non-Citizen
                                                                                       02/04/19  Voter List
                                                                                                        Page– Houston
                                                                                                                 32 ofPublic
                                                                                                                        262  Media
The state wants local election officials to check the citizenship of about 95,000 registered voters who were not
citizens when they obtained their driver’s license or state ID.

Douglas Ray, with the Harris County Attorney’s Office, said he’s “very skeptical” about the validity of the list.

“We think that there’s probably a lot of people, a lot of people, who got their driver’s license when they weren’t
citizens, but who subsequently became citizens and registered to vote,” he said.

Ray also pointed to a situation years ago where the state believed tens of thousands of registered voters were dead.
Many turned out to be very much alive. He said the county is also worried about citizens not responding in time to
the citizenship checks requests — they have 30 days, by law — and then losing their right to vote.

“We don’t want to take the risk, especially under these circumstances, that large numbers of people who are
citizens, have the right to vote, have registered to vote, are disenfranchised just because they didn’t get their mail,”
Ray said. “That’s one of the risks that we’re not willing to take at this point.”

Officials in neighboring Galveston County have started mailing out the requests. Cheryl Johnson, the county’s top
voter registration official, said the county has a “duty” to reach out to registered voters whenever it receives
information that a registration might be invalid.

“When the Secretary of State puts work on the dashboard, we work that work,” she said. “I have a responsibility to
ensure the integrity of my voter roll.”

Johnson said she believes the state did “due diligence” in coming up with the list of possible non-citizen voters, but
said the county will notify the state if it finds any problems with the data.

Johnson said Tuesday afternoon the secretary of state’s office had informed her that some individuals should not
have been placed on the state’s initial list of potential non-citizens, though she couldn’t say how many. (The initial list
included fewer than 900 people in Galveston County.) There were reports of similar errors in other Texas counties.

Johnson said her office is going back through a first batch of notices asking for proof of citizenship sent out Monday
to see if any of those letters went to the wrong people.

“We’re going to send a letter out to those folks, letting them know there’s no need for them to take any further
action,” she said.

Johnson said as the process plays out, any citizens mistakenly removed from the voter rolls would be notified, and
would be able to re-register.

This story has been updated.




    https://www.houstonpublicmedia.org/articles/news/2019/01/29/319719/harris-county-very-skeptical-about-states-potential-non-citizens-voter-list/   2/2
                         Case 5:19-cv-00074-FB Document 8-1 Filed 02/04/19 Page 33 of 262


Texas tells counties noncitizen voter report may be flawed
Associated Press State Wire: Texas (TX) - January 29, 2019
Author/Byline: PAUL J. WEBER Associated Press
Section: Elections
Readability: >12 grade level (Lexile: 1530)
AUSTIN, Texas (AP) — Officials with the Texas secretary of state's office began calling county election chiefs Tuesday to warn about
problems with its recent report questioning the citizenship of tens of thousands of registered voters, the latest example of a state
backpedaling after raising alarms about potential widespread election fraud.

Local officials told The Associated Press that they received calls from Texas Secretary of State David Whitley's office indicating that some
citizens had been included in the original data announced Friday. The state had used a database of drivers' licenses and personal IDs to
suggested that as many as 95,000 non-U.S. citizens may be on the state's voter rolls and that as many as 58,000 may have cast a ballot
at least once since 1996.

"We received a call from the state saying we should put things on hold," said Dallas County Elections Administrator Toni Pippins-Poole.
"Some of the data that they received was flawed. Some of the voters had already provided proof of citizenship."

Whitley released a new statement Tuesday that didn't provide any revised estimate of voters whose citizenship remains in question. It
also doesn't acknowledge any errors with the initial count, after his office Friday had expressed high confidence in the data that was used.

After the report, President Donald Trump this weekend went to Twitter to renew his unsubstantiated claims of rampant voter fraud.

Nearly 10,000 names had been flagged in Dallas County. Another elections chief in suburban Austin said many of the roughly 2,000
names he received now warranted no investigating.

"There's a significant number, at least in our list," Williamson County Election Administrator Chris Davis said.

Texas is not the first state to question the citizenship of thousands of registered voters, and often early claims of possible illegal voting on
a rampant scale haven't held up.

When Florida began searching for noncitizens in 2012, state officials initially found 180,000 people suspected of being ineligible to vote
when comparing databases of registered voters and driver's licenses. Florida officials later assembled a purge list of more than 2,600
names but that, too, was beset by inaccuracies. Eventually, a revised list of 198 names of possible noncitizens was produced through the
use of a federal database.

In Colorado, former Republican Secretary of State Scott Gessler launched a search for non-citizen voters with a pool of 3,903 people.
Hundreds on his list were U.S. citizens, and Gessler later passed along just 141 names to county clerks.

"Citizenship status changes, and the fact is when that when you do this kind of large-scale database matching you're going to confuse
people," said Myrna Perez, a voting rights expert and deputy director of New York-based Brennan Center for Justice Democracy
Program. "These claims keep surfacing up and get debunked."

Even before Tuesday, there were signals that the Texas numbers may represent a massive overcount. Republican Texas Attorney
General Ken Paxton told supporters in a fundraising email Monday that "many of these individuals may have been naturalized before
registering and voting, which makes their conduct perfectly legal."

Davis, who is also president of the Texas Association of Election Administrators, said the state advised local election chiefs Tuesday to
remove any names that were shown to have originally registered to vote with Texas Department of Public Safety, which issues driver's
licenses and personal IDs. He said they were told "to consider them citizens."

Sam Taylor, a spokesman for the Texas secretary of state's office, said Tuesday in response to the phone calls to counties that they are
continuing to provide information to help verify voter eligibility.

"This is to ensure that any registered voters who provided proof of citizenship at the time they registered to vote will not be required to
provide proof of citizenship as part of the counties' examination," he said.

___

Follow Paul J. Weber on Twitter: www.twitter.com/pauljweber
Index terms: FullStory; US--Texas-Voter Rolls; Government and politics; Elections
Locations: Texas, United States, North America
Dateline: AUSTIN, Texas
                        Case 5:19-cv-00074-FB Document
Record: c12a6e616ed624dae0c7db422d126f8c                                8-1 Filed 02/04/19 Page 34 of 262
Copyright: Copyright © The Associated Press 2019 All rights reserved.
                        Case 5:19-cv-00074-FB Document 8-1 Filed 02/04/19 Page 35 of 262


As Texas counties began Wednesday to remove names that were
Austin American-Statesman (TX) - January 31, 2019
Author/Byline: Chuck Lindell clindell@statesman.com
Section: TX News
Page: A6
Readability: >12 grade level (Lexile: 1570)
As Texas counties began Wednesday to remove names that were mistakenly included on a state list of suspected noncitizens who are
registered to vote, the Texas secretary of state’s office has taken no public action to correct an earlier statement claiming that 95,000
people might have broken state election laws.

Secretary of State David Whitley on Friday said voter registration rolls, when matched against records of non-U.S. citizens that had been
provided by the Department of Public Safety, found 95,000 matches — including 58,000 who had voted in one or more elections since
1996.

Whitley directed county elections officials to investigate and referred the names to Texas Attorney General Ken Paxton, who said his
office stood ready to investigate and prosecute noncitizens who registered to vote or cast a ballot.

But once county officials had the list of suspect voters in hand earlier week, they quickly determined that many of those listed were easily
identified as U.S. citizens and should not have been included.

On Tuesday, state employees acknowledged the problem in telephone calls to county officials, saying the county-by-county lists of
suspect voters improperly included people who had registered to vote at a DPS office after showing proof of citizenship.

Once those names were removed, Williamson County was left with less than half of its original list of 2,033 names, Elections
Administrator Chris Davis said Wednesday.

“We’re still working on the remainder,” he said. “Our vetting continues indefinitely for now.”

Travis County cut 634 names, about 14 percent, from its state-provided list, according to a fact sheet published on the county’s website.

While codes provided by the secretary of state’s office helped identify those who had properly registered at a DPS office, much more
investigation will be needed to identify people who had become a naturalized U.S. citizen and are thus eligible to vote, the fact sheet said.

Records provided by the DPS included people who indicated that they were not a U.S. citizen, but were in the country legally, when they
applied for a Texas driver’s license or identification card. There is no requirement to inform the DPS when citizenship status changes.

In Bastrop County, Elections Administrator Bridgette Escobedo said she had worked her way through about one-third of a list of 145
names, finding 15 that did not belong there. She said she also found several names of people who had become naturalized citizens.

Also Wednesday, county officials said they have had little luck connecting with the secretary of state’s office to clarify the situation.

Escobedo said she asked Whitley’s office to provide a “clean” list of suspected noncitizen voters but had heard no response by early
Thursday evening.

“We’re wasting a lot of resources and energy on nonissues,” she said. “Don’t make me go through all 145 people on my list if you know
some shouldn’t be on there.”

In Williamson County, Davis said the secretary of state’s office had not responded to his request for written instructions on how to cull the
list of suspected noncitizens — information Whitley’s office provided by telephone Tuesday.

Travis County also received no response to its request that Whitley revise his initial advisory, county spokeswoman Tiffany Seward said
Wednesday.

Hays County Elections Administrator Jennifer Anderson did not return a phone call or emails seeking information.

While counties have begun removing names from their lists, the secretary of state’s website continues to promote — without revision or
correction — its Friday notice claiming that 95,000 people were identified as registered voters who are possible noncitizens, a violation of
state law, and that 58,000 of those people had voted in one or more elections, a potential felony.

Whitley’s office has not responded to questions posed Tuesday and Wednesday asking if there are plans to update the numbers or
publicly acknowledge that the original list included U.S. citizens who were mistakenly included.
Requests to interview Whitley also have been ignored.
                        Case 5:19-cv-00074-FB Document 8-1 Filed 02/04/19 Page 36 of 262
Index terms: 013119 texas voting; Article
Record: 3936242
Copyright: Copyright (c) 2019 Austin American-Statesman
   2/4/2019                             Texas went looking
                          Case 5:19-cv-00074-FB            for voter fraud.
                                                       Document          8-1ThenFiled
                                                                                everything fell apart. | The
                                                                                       02/04/19              Texas37
                                                                                                          Page     Tribune
                                                                                                                       of 262
                                                                                                                                   ME NU




"Someone did not do their due diligence." How
an attempt to review Texas' voter rolls turned
into a debacle
   Texas oﬃcials ﬂagged 95,000 voters for citizenship reviews. But after thousands have already
   been cleared, questions are being raised about how they handled the process.

BY ALEXA URA            FEB. 1, 2019         10 AM




“What they have set in motion is going to disenfranchise U.S. citizens and it’s going to infringe on their right to vote,” said state
Rep. Rafael Anchia, D-Dallas.  Michael Stravato for The Texas Tribune



               State Rep. Rafael Anchia had been alarmed by the actions of the Texas secretary
               of state’s ofﬁce for days by the time the agency’s chief, David Whitley, walked
               into the Dallas Democrat’s Capitol ofﬁce on Monday.
   https://www.texastribune.org/2019/02/01/texas-citizenship-voter-roll-review-how-it-turned-boondoggle/                            1/9
2/4/2019                          Texas went looking for voter fraud. ThenFiled
                   Casebefore,
            The Friday  5:19-cv-00074-FB
                               Whitley’s         Document
                                              staff   had issued   8-1   aeverything
                                                                           bombshell fell apart. | The
                                                                                 02/04/19     press    Texas38
                                                                                                    Page     Tribune
                                                                                                        release  of calling
                                                                                                                    262
            into question the citizenship of 95,000 registered voters in Texas. Soon after,
            Democratic lawmakers and advocacy groups were raising serious questions about
            how many people on that list were actually non-citizens who are ineligible to
            vote.

            But before those doubts emerged, Whitley, the top election ofﬁcer in the state,
            had handed over information about those registered voters to the Texas attorney
            general, which has the jurisdiction to prosecute them for felony crimes.

            So as Anchia sat at the end of his green, glass-topped conference table, he
            wanted to know: Did Whitley know for sure that any of the names on his list had
            committed crimes by voting as noncitizens?

            “No,” Whitley answered, according to Anchia.

            “And I said, ‘Well, isn’t it the protocol that you investigate and, if you ﬁnd facts,
            you turn it over to the AG?”

            “I do not have an answer for that,” Whitley responded, according to Anchia’s
            recollection of the Monday meeting.

            By then, Whitley’s press release had already been signal-boosted by top
            Republican ofﬁcials — including President Donald Trump — who slapped on
            unsubstantiated claims of voter fraud and illegal voter registration and pointed
            to it as proof that voter rolls needed to be purged. And county election ofﬁcials
            across the state had gone to work parsing through the records of thousands of
            registered voters whose citizenship status the state now said they should
            consider verifying. Some counties were even in the process of sending letters to
            voters ordering them to prove they were citizens.

            Soon after, the citizenship review effort would buckle, revealing itself as a ham-
            handed exercise that threatened to jeopardize the votes of thousands of
            legitimate voters across the state. The secretary of state’s ofﬁce would eventually
            walk back its initial ﬁndings after embarrassing errors in the data revealed that
            tens of thousands of the voters the state ﬂagged were actually citizens. At least
            one lawsuit would be ﬁled to halt the review, and others were likely in the
            pipeline. And a week into the review, no evidence of large-scale voter fraud
            would emerge.

            But at their Monday meeting, Whitley argued that his ofﬁce was following the
            normal course of upkeep of the voter rolls. That didn’t make Anchia — who
            chairs the Texas House’s Mexican American Legislative Caucus — feel much
            better.
https://www.texastribune.org/2019/02/01/texas-citizenship-voter-roll-review-how-it-turned-boondoggle/                         2/9
2/4/2019                           Texas went looking
                   Casehave
            “What they   5:19-cv-00074-FB
                              set in              is for
                                      motion Document    voter fraud.
                                                      going      to8-1ThenFiled
                                                                          everything fell apart. | The
                                                                                 02/04/19
                                                                     disenfranchise          U.S.Page  Texas39
                                                                                                             Tribune
                                                                                                      citizens   ofand
                                                                                                                    262it’s
            going to infringe on their right to vote,” he said days later. “The damage that this
            is doing … to legitimate U.S. voters is substantial.”

            “Lawful presence list”

            The citizenship check effort went public this week, but the seeds for it were
            planted in 2013. That year, Texas lawmakers quietly passed a law granting the
            secretary of state’s ofﬁce access to personal information maintained by the
            Department of Public Safety.

            During legislative hearings at the time, Keith Ingram, director of elections for the
            secretary of state’s ofﬁce, told lawmakers that the information would help his
            ofﬁce verify the voter rolls. The state had had a recent misstep when it tried to
            remove dead people from the rolls and ended up sending “potential deceased”
            notices to Texans who were still alive.

            One of the DPS records the secretary of state's ofﬁce was granted access to under
            the 2013 law was a list of people who had turned in documentation — such as a
            green card or a work visa — that indicated they weren’t citizens when they
            obtained a driver’s license or a state ID card.

            But it appears that the secretary of state’s ofﬁce held off for years before
            comparing that list with its list of registered voters. Former Secretary of State
            Carlos Cascos, a self-proclaimed skeptic of Republican claims of rampant voter
            fraud, said he had no memory of even considering using the DPS data when he
            served from 2015 to 2017.

            “I don’t recall it ever coming to my desk,” Cascos said. “I don’t even recall having
            any informal discussions of that.”

            And there was reason to be careful with the “lawful presence list.” Driver’s
            licenses don’t have to be renewed for several years. In between renewals, Texans
            aren’t required to notify DPS about a change in citizenship status. That means
            many of the people on the list could have become citizens and registered to vote
            without DPS knowing.

            Other states learned the hard way that basing similar checks on driver’s license
            data was risky.

            In 2012, Florida ofﬁcials drew up a list of about 180,000 possible noncitizens. It
            was later culled to about 2,600 names, but even then that data was found to
            include errors. Ultimately, only about 85 voters were nixed from the rolls.


https://www.texastribune.org/2019/02/01/texas-citizenship-voter-roll-review-how-it-turned-boondoggle/                         3/9
2/4/2019                           Texas went looking
            AroundCase    5:19-cv-00074-FB
                     the same   time,               inforColorado
                                      ofﬁcialsDocument    voter fraud.
                                                                    8-1ThenFiled
                                                                           everything
                                                                         started      fell apart. | The
                                                                                  02/04/19
                                                                                    with     a list     Texas40
                                                                                                     Page
                                                                                                        of    Tribune
                                                                                                           11,805 of 262
            individuals on the voter rolls who they said were noncitizens when they got their
            driver’s licenses. In the end, state ofﬁcials said they had found about 141
            noncitizens on the rolls — 35 of whom had a voting history — but that those still
            needed to be veriﬁed by local election ofﬁcials.

            But it was under the helm of former Secretary of State Rolando Pablos, who took
            over in 2017, that Texas began processing the DPS list. That happened even
            though at least some people in the ofﬁce knew the risk. Ofﬁcials in the secretary
            of state’s ofﬁce early last year told The Texas Tribune that similar checks in other
            states using driver’s license data had run into issues with naturalized citizens.
            Pablos didn’t respond to requests for comment.

            Still, on Dec. 5, Betsy Schonhoff, voter registration manager for the secretary of
            state’s ofﬁce, told local ofﬁcials that her ofﬁce had been working with DPS “this
            past year” to “evaluate information regarding individuals identiﬁed by DPS to not
            be citizens.” In a mass email sent to Texas counties — and obtained by the
            Tribune — Schonhoff informed them that the secretary of state’s ofﬁce would be
            obtaining additional information from DPS in monthly ﬁles and sending out lists
            of matches starting in mid-January.

            The next day, Pablos announced he would resign after two years in ofﬁce. In his
            place, Republican Gov. Greg Abbott appointed Whitley, a longtime Abbott aide
            who at the time served as the governor’s deputy chief of staff.

            “VOTER FRAUD ALERT”

            Last Friday, Williamson County Elections Administrator Chris Davis had just
            wrapped up a staff retreat when he got back to his ofﬁce in Georgetown. By then,
            news of the state’s list of 95,000 registered voters ﬂagged for review was
            spreading.

            A secretary of state’s advisory about the list had landed in his inbox earlier that
            day, but it didn’t include any numbers. He knew the reported total of 95,000
            likely included naturalized citizens from the get-go.

            But misinformation spread quickly. Some of the statements being released about
            the list were misleading. Others were downright inaccurate. Texas Attorney
            General Ken Paxton, a Republican, took to Twitter within the hour and prefaced
            the news with the words “VOTER FRAUD ALERT.” At that point, none of the
            counties had any data to verify.



                         Greg Abbott
https://www.texastribune.org/2019/02/01/texas-citizenship-voter-roll-review-how-it-turned-boondoggle/                      4/9
2/4/2019                @GregAbbott_TX
                       Case          Texas went looking
                            5:19-cv-00074-FB            for voter fraud.
                                                    Document          8-1ThenFiled
                                                                             everything fell apart. | The
                                                                                    02/04/19              Texas41
                                                                                                       Page     Tribune
                                                                                                                    of 262

                Thanks to Attorney General Paxton and the Secretary of State
                for uncovering and investigating this illegal vote registration. I
                support prosecution where appropriate. The State will work on
                legislation to safeguard against these illegal practices. #txlege
                #tcot

                  Ken Paxton           @KenPaxtonTX
                  VOTER FRAUD ALERT: The @TXsecofstate discovered approx
                  95,000 individuals identified by DPS as non-U.S. citizens have a
                  matching voter registration record in TX, approx 58,000 of whom have
                  voted in TX elections. Any illegal vote deprives Americans of their
                  voice.

                    2,750 4:57 PM - Jan 25, 2019

                    1,736 people are talking about this




            Also on Twitter, Abbott thanked Paxton and Whitley “for uncovering and
            investigating this illegal vote registration.” Later that afternoon, the Republican
            Party of Texas sent out a fundraising email with the subject line that read
            “BREAKING: 95,000 Non-Citizens Registered to Vote?!”

            The next day, the president chimed in, claiming on Twitter that “58,000 non-
            citizens voted in Texas” and adding the unsupported claim that “voter fraud is
            rampant” across the country.



                         Donald J. Trump
                         @realDonaldTrump

                58,000 non-citizens voted in Texas, with 95,000 non-citizens
                registered to vote. These numbers are just the tip of the iceberg.
                All over the country, especially in California, voter fraud is
                rampant. Must be stopped. Strong voter ID! @foxandfriends
                    141K 8:22 AM - Jan 27, 2019

                    82.1K people are talking about this




            But when El Paso County’s election administrator, Lisa Wise, examined the list of
            4,152 names she got from the state on Monday morning, she knew something
            was wrong. Included on the list was one of her staff members — a naturalized
            citizen since 2017.
https://www.texastribune.org/2019/02/01/texas-citizenship-voter-roll-review-how-it-turned-boondoggle/                        5/9
2/4/2019                            Texas went looking
            “We had Case  5:19-cv-00074-FB
                      a naturalization              forforher,”
                                          party Document  voter fraud.
                                                                    8-1
                                                                   WiseThenFiled
                                                                            everything
                                                                           said.       fell apart. | The
                                                                                   02/04/19
                                                                                   “She      had gone    Texas42
                                                                                                      Page     Tribune
                                                                                                              and  ofgotten
                                                                                                                      262 her
            driver’s license, I think, four years ago.”

            The errors didn’t end there. By Tuesday morning, secretary of state ofﬁcials had
            started calling counties across the state to inform them that they had made a
            mistake. The ofﬁce had incorrectly included some voters who had submitted their
            voting registration applications at DPS ofﬁces and who since then had been
            conﬁrmed to be citizens, county ofﬁcials said.

            Things grew even more confusing for Remi Garza, elections administrator in
            Cameron County. He had originally received a list with just more than 1,600
            people to review. When someone from the secretary of state’s ofﬁce called on
            Tuesday, Garza was told that weeding out applications labeled as “source code
            64” — the code that indicates the origin of the application was a DPS ofﬁce —
            would remove “well over” 1,500 names from his list, leaving him with just 30
            individuals to investigate.

            But his staff was only able to ﬁnd 300 people whose applications were labeled as
            such, Garza said. After another call with the secretary of state’s ofﬁce, Garza said
            he was told that the 1,500 number had also been incorrect. Now, he said he’s left
            with about 85 percent of his list.

            “That’s a level of accuracy I’m not comfortable with,” Garza said on Tuesday.
            “We’re going to be moving through it very cautiously and slowly. We're talking
            about the franchise and, I’m not in any way going to jeopardize someone’s ability
            to vote unless I have a very serious concern.”

            Following the secretary of state’s calls, the number of registered voters ﬂagged by
            the state began to plummet. In Harris County alone, the state’s ﬂub translated to
            about 18,000 voters — about 60 percent of the original list — whose citizenship
            status shouldn’t have been questioned.

            In Travis County, ofﬁcials dropped 634 voters off their original list of 4,558.
            Dallas County’s original list of 9,938 dropped by more than 1,700 voters. In
            Tarrant County, it was about 1,100 voters cleared from the original 5,800.

            The secretary of state’s ofﬁce told the McLennan County elections ofﬁce to
            disregard its entire list of 366 voters, the Waco-Tribune Herald reported.

            But the state’s calls came a day too late in Galveston County, where Cheryl
            Johnson, who oversees the voter rolls as the county’s tax assessor-collector, had
            already sent off the ﬁrst batch of “proof of citizenship” letters to voters who were
            on her initial list of more than 830 people.

https://www.texastribune.org/2019/02/01/texas-citizenship-voter-roll-review-how-it-turned-boondoggle/                           6/9
2/4/2019
            On Monday,   her ofﬁceTexas
                                    had went looking
                    Case 5:19-cv-00074-FB mailed     for voter fraud.
                                                 Document
                                                       92 notices, 8-1ThenFiled
                                                                          everything
                                                                          which      fell apart. | The
                                                                                 02/04/19
                                                                                    told    voters     Texas43
                                                                                                    PagetheirTribune
                                                                                                                 of 262
                                                                                                                 registration
            would be canceled if they didn’t prove their citizenship within 30 days. That
            warning even applied to citizens who missed the notice in the mail or didn’t
            gather their documentation in time. On Tuesday, she learned from the state that
            62 of those never should have been sent out. She spent Wednesday preparing
            follow-up letters to inform those voters that their registration was safe.

            “I don’t even have words”

            For the better part of 26 years, Julieta Garibay, a Mexican immigrant, was
            regularly reminded that she better not vote: “‘It’s fraud. You would never be
            allowed to become a citizen.’ This was ingrained in my mind.”

            When she ﬁnally took her oath of citizenship in a federal building in San Antonio
            last April, she let only two days go by before registering to vote in Austin, her
            adopted hometown. She excitedly cast a ballot last November.

            But she’s been stewing since last Friday when she heard about the secretary of
            state’s announcement. Garibay last renewed her driver’s license in 2017 — before
            she became a U.S. citizen — so she was sure she was on the list. A Travis County
            ofﬁcial called her to conﬁrm her suspicions on Wednesday, after Garibay had
            reached out.

            Travis County election ofﬁcials suspected people like Garibay would be on their
            list. And state ofﬁcials conﬁrmed to them on Tuesday that the records they
            provided may include voters who were not citizens when they applied for a
            driver’s license but have since become naturalized citizens, said Bruce Elfant, the
            county’s tax-assessor-collector and voter registrar.

            But the secretary of state’s ofﬁce has not conﬁrmed that publicly, and it has not
            responded to questions about whether it will send updates to the attorney
            general’s ofﬁce to clear individuals who were on the original list.

            Amid the silence, civil rights groups and members of the Mexican American
            Legislative Caucus have raised questions about whether the secretary of state’s
            ofﬁce publicized its numbers knowing naturalized citizens would be included —
            or worse that they published them because naturalized citizens could be purged
            from the rolls in the process.

            For Cascos, a Republican who said he long struggled to toe the party line when it
            came supporting claims that voter fraud was “rampant,” it’s been problematic to
            watch how the secretary of state’s initial announcement seemed to conﬁrm the
            beliefs of many Republicans.

https://www.texastribune.org/2019/02/01/texas-citizenship-voter-roll-review-how-it-turned-boondoggle/                           7/9
2/4/2019                          Texas went looking for voter fraud. ThenFiled
                                                                          everything fell apart. | The Texas44
                                                                                                             Tribune
            “I thinkCase 5:19-cv-00074-FB
                     there’s a problem   here,Document
                                                   and             8-1
                                                          the problem         is02/04/19
                                                                                  that,     in my   Page
                                                                                                       opinion,  of 262
                                                                                                                     someone
            did not do their due diligence before they let these numbers out,” Cascos said.

            On Thursday, Abbott — whose initial reaction to the numbers went as far as
            vowing a legislative ﬁx — attempted to recast the secretary of state’s
            announcement as a work in progress.

            "They were reaching out to counties saying, ‘Listen, this isn’t a hard-and-fast
            list," Abbott said at an unrelated press conference. "This is a list that we need to
            work on together to make sure that those who do not have the legal authority to
            vote are not going to be able to vote."

            But while some election ofﬁcials are looking for ways to clear naturalized citizens
            without asking them to verify their citizenship, others are unlikely to follow suit.
            For instance, Johnson in Galveston County says she has no other way to
            determine whether the people on her list are citizens other than sending them a
            notice that starts the 30-day clock for them to provide proof to avoid getting
            kicked off the rolls.

            “They said, ‘Use other resources,’ and I said, ‘What resources are that?’” Johnson
            said. “They said, ‘Well, see if you have any other ways to determine the
            information.’ I really don’t.”

            Secretary of state ofﬁcials, in conversations with county ofﬁcials, have gone so
            far as to express interest in how locals were identifying naturalized citizens on
            the list.

            On Tuesday, the civil rights group League of United Latin American Citizens ﬁled
            a lawsuit that argued that forcing naturalized citizens to prove they are
            legitimate voters amounts to a “witch hunt” and a “plan carefully calibrated to
            intimidate legitimate registered voters from continuing to participate in the
            election process."

            To Democratic state Rep. Victoria Neave of Dallas — who is on the Mexican
            American Legislative Caucus committee created to scrutinize the citizenship
            review — the whole effort is “nothing short of a political attack on Latino
            naturalized citizens.”

            But Garibay, the Mexican immigrant, sums it up as irresponsible and frustrating.

            “I think to many of us, especially when the journey has been so long … [voting] is
            something so important,” Garibay said. “For someone to say you did something
            wrong when it’s your right to do it, I don’t even have words.”


https://www.texastribune.org/2019/02/01/texas-citizenship-voter-roll-review-how-it-turned-boondoggle/                          8/9
                         Case 5:19-cv-00074-FB Document 8-1 Filed 02/04/19 Page 45 of 262


Voter purge's rocky rollout; State's analysis of fraud contains numerous errors
Houston Chronicle (TX) - February 1, 2019
Author/Byline: Allie Morris, Austin Bureau
Edition: Houston
Section: A
Page: A001
Readability: >12 grade level (Lexile: 1390)
AUSTIN - Last Friday afternoon, Republican Attorney General Ken Paxton took to Twitter to blast out alarming news.

"VOTER FRAUD ALERT," the tweet said . "The @TXsecofstate discovered approx 95,000 individuals identified by DPS as non-U.S.
citizens have a matching voter registration record in TX, approx 58,000 of whom have voted in TX elections."

The tweet ricocheted across the internet for two hours before the state sent notice of the explosive number of suspected noncitizen voters
to county election officials, who are charged with verifying the initial findings and purging any ineligible voters. The state had been working
on the analysis since March 2018, but it took the elections officials less than a day to spot glaring errors. By Tuesday, the original list of
95,000 had been cut to roughly 75,000 names.

"I can't speculate as to why the original list had mistakes," said Williamson County Elections Administrator Chris Davis, who is president
of the Texas Association of Elections Administrators and was among the first to notify the state of inaccuracies. "We weren't, my county,
wasn't consulted on search parameters or methodology."

The sequence of events spotlights a rocky rollout that put far more emphasis on splashy numbers than accuracy.

All 366 registered voters on the list sent to McLennan County election officials, for example, were incorrectly flagged and had already
proved citizenship, the Waco Tribune-Herald reported .

Allegations of widespread voter fraud have become a rallying cry for Republicans, though evidence hasn't borne it out. During his election
and afterward, President Donald Trump made repeated, unsubstantiated claims of widespread illegal votes.

Florida sought to purge noncitizens from the voter rolls in 2012 and initially flagged 180,000 people. The number soon shrank to 2,600,
and ultimately 85 voters were taken off the rolls, according to the Tampa Bay Times .

The roughly 20,000 names cleared so far are only across a handful of the 254 Texas counties and include voters who had proved
citizenship at naturalization ceremonies or when getting a driver's license. Election officials in some counties, including Bexar and Webb,
have yet to begin vetting their lists.

"I am not putting pressure on my staff to drop everything," said Jose Salvador Tellez, interim elections administrator for Webb County. "I
have a limited staff."

Still, Texas Republican leaders aren't backing off the claims, even if some are toning down the strong rhetoric.

Gov. Greg Abbott on Thursday urged state and local election officials to work "swiftly together to make sure our voter rolls are accurate to
ensure integrity in the election process."

He said Secretary of State David Whitley, whom he appointed, had made clear the list of suspected noncitizens contained "weak"
matches that needed further vetting.

The nuance didn't come through in a tweet Abbott had sent Friday , thanking Paxton and Whitley "for uncovering and investigating this
illegal vote registration. I support prosecution where appropriate."

The Secretary of State's office sent the initial list of registered voters to Paxton's office for possible criminal investigation. It's not clear
whether Paxton will begin work on those names, even after counties have found tens of thousands of voters were wrongly flagged.

"To protect the privacy of the voters and witnesses involved in these cases and preserve the integrity of these investigations, we are not
able to give play-by-plays of our progress," Marc Rylander, director of communications at the attorney general's office, said in a
statement. "However, our office will spare no expense or effort in investigating each of these referrals."

Voting rights groups and members of the Mexican American Legislative Caucus say the whole operation was a political stunt that left
legitimate voters at risk of having their registration stripped.

A federal lawsuit filed this week by the League of United Latin American Citizens seeks to block the state's attempted purge of voter rolls.
Abbott, Paxton and Whitley "need to apologize to those on the list and to the people of Texas whose money they wasted," Texas AFL-
                         Case 5:19-cv-00074-FB Document 8-1 Filed 02/04/19 Page 46 of 262
CIO Secretary-Treasurer Montserrat Garibay said in a statement Thursday. "Our lawmakers, rather than make voting harder, should get
to the bottom of this sorry episode to make sure it never happens again."

This is not the first time Texas has attempted a voter purge armed with erroneous information. In 2012, state election officials mistakenly
matched living voters to the names of deceased people in their effort to purge dead voters from the rolls before the presidential election.

"We had a guy in our office, who worked with the voter registrar, and he got one of these notices - that he was dead," said Harris County
special assistant attorney Douglas Ray.

So, Ray said, when Harris County received the initial list this week, he was "very skeptical those people were actually noncitizens."

Harris County, a Democratic stronghold, leads the state in wrongly flagged voters, with about 18,000 cleared from the list.

"We are going to proceed very carefully to check the voter registration files of each of the people who remain," Ray said. "We are going to
complete that investigation before we go further. It might take quite some time."

The state analysis compared voter registration data - some going back as far as 1996 - to driver's license records in which applicants had
indicated they weren't U.S. citizens.

Critics contend the approach would also wrongly capture those who were naturalized after obtaining a driver's license. Some 50,000
people are naturalized each year in Texas, according to voter advocacy groups.

"Everybody wants clean and accurate rolls," said Myrna Perez, director of the Voting Rights and Elections Project at The Brennan Center
for Justice at New York University Law School. "But there are ways to do it that aren't sloppy and that use better methods of assessing
information."

The Secretary of State's Office is planning to conduct smaller-scale checks on voter citizenship on a monthly basis, and is working with
the Department of Public Safety "to get additional information that will help us going forward with these monthly checks, making sure they
are efficient and accurate," said Sam Taylor, spokesman for the Secretary of State's office.

amorris@express-news.net
Record: MERLIN_63951315
Copyright: Copyright (c), 2019, Houston Chronicle. All Rights Reserved.
                        Case 5:19-cv-00074-FB Document 8-1 Filed 02/04/19 Page 47 of 262


Registrar, state leaders sued over voter review
Galveston County Daily News, The (TX) - February 2, 2019
Author/Byline: John Wayne Ferguson
Section: News
Readability: 11-12 grade level (Lexile: 1300)
GALVESTON

A civil rights group sued Galveston County Voter Registrar Cheryl Johnson and three top state leaders Saturday in effort to block the
review of tens of thousands of voter registrations.

The lawsuit, filed in Corpus Christi by the Mexican American Legal Defense and Educational Fund, claims the review effort is an attempt
to suppress minority and naturalized citizen voters across the state.

Along with Johnson, the lawsuit names Texas Secretary of State David Whitley, Gov. Greg Abbott and Attorney General Ken Paxton. It
asks the U.S. District Court for the Southern District of Texas to block state and county officials from investigating people the state late
last month flagged as registered voters who might not be U.S. citizens.

"Texas officials launched this flawed voter purge after Latino voters doubled their turnout since the last midterm elections," said Nina
Perales, vice president of litigation at the defense fund. "Targeting naturalized citizens, 75 percent of whom are Latino and Asian-
American in Texas, is a naked attempt to strip minority voters from the rolls."

Whitley's office on Jan. 25 said it had identified 95,000 people on the state's voter rolls who had identified themselves as non-citizens. Of
those people, 58,000 appeared to have voted in at least one election in Texas since 1996.

While Whitley's office did not call the numbers proof of fraud, both Paxton and Abbott promised to investigate the voter rolls and
prosecute people who might have voted illegally.

Civil rights groups quickly protested the release and the Republican leaders' claims of potential fraud. The state's list of voter fraud likely
includes thousands of people who are naturalized citizens but who were listed in Texas Department of Public Safety records as non-
citizens because they received drivers licenses before they became naturalized, the groups said.

While most election officials around the state hesitated to begin checking the names flagged by Whitley's office, Johnson did not. On
Monday and Tuesday, her office sent more than 90 letters to Galveston County voters saying they must prove their citizenship or else be
removed from the voter rolls.

After the letters were sent out, Whitley's office notified county officials that some of the names on the initial list did not belong there. On
Wednesday, Johnson sent a second letter to 58 people, saying they no longer needed to prove their citizenship.

The lawsuit was filed on behalf of seven people whose name appeared on the state's list of potential non-citizens. One of those people is
a Galveston County resident.

Elena Keane is a naturalized citizen who received a letter challenging her citizenship on Jan. 29. She received a second letter rescinding
that challenge on Jan. 31, according to the lawsuit.

The investigation stigmatized Keane by implying she might have registered to vote illegally, according to the lawsuit.

Other plaintiffs are from Travis, Dallas, Harris and Bexar counties, according to the lawsuits. All of them are Latino, and all are naturalized
citizens.

The lawsuit accuses Johnson and the state officials of violating the plaintiffs' right to equal protection under the Constitution and their
rights to vote. It also accuses Abbott, Paxton and Whitley of conspiring to violate voters' civil rights.

The lawsuit does not accuse Johnson of participating in a conspiracy.

No one who had been sent a citizenship challenge had been removed from the county's voter rolls, Johnson said Friday. The registrar's
office would cease sending letters until the state could clarify the accuracy of its initial list, she said.

The lawsuit asked the federal court to order Johnson to not to cancel any, or to reinstate any, voter registrations suspended based on
records from the secretary of state's office.

Johnson had not seen the lawsuit, she said Saturday. No voters had been removed from the rolls as of Saturday, she said. She cited,
among other things, state laws giving people 30 days to respond to citizenship challenges before her office can take action.
                        Case 5:19-cv-00074-FB Document 8-1 Filed 02/04/19 Page 48 of 262
"I have no intention of removing voters," Johnson said. "My intention was to follow the law."

The lawsuit is the second one filed over the voter review effort, and the first to target a county official. Before filing the lawsuit, the defense
fund sent letters to election officials across the state, warning they risked being sued if they used Whitley's list to remove voters from their
rolls.
Record: ea4d90c62dc93846d5ecbd483cf5f9125367b
Copyright: Copyright, 2019, Galveston County Daily News
                         Case 5:19-cv-00074-FB Document 8-1 Filed 02/04/19 Page 49 of 262


Questions surround inquiry into alleged voter fraud
Tyler Morning Telegraph (TX) - February 2, 2019
Author/Byline: ALEXA URA Texas Tribune texastribune.org
Section: News
Readability: 11-12 grade level (Lexile: 1260)
State Rep. Rafael Anchia had been alarmed by the actions of the Texas secretary of state's office for days by the time the agency's chief,
David Whitley, walked into the Dallas Democrat's Capitol office on Monday.

The Friday before, Whitley's staff had issued a bombshell press release calling into question the citizenship of 95,000 registered voters in
Texas. Soon after, Democratic lawmakers and advocacy groups were raising serious questions about how many people on that list were
actually noncitizens who are ineligible to vote.

But before those doubts emerged, Whitley, the top election officer in the state, had handed over information about those registered voters
to the Texas attorney general, which has the jurisdiction to prosecute them for felony crimes.

So as Anchia sat at the end of his green, glass-topped conference table, he wanted to know: Did Whitley know for sure that any of the
names on his list had committed crimes by voting as noncitizens?

"No," Whitley answered, according to Anchia.

"And I said, 'Well, isn't it the protocol that you investigate and, if you find facts, you turn it over to the AG?'"

"I do not have an answer for that," Whitley responded, according to Anchia's recollection of the Monday meeting.

By then, Whitley's press release had already been signal-boosted by top Republican officials — including President Donald Trump — who
slapped on unsubstantiated claims of voter fraud and illegal voter registration and pointed to it as proof that voter rolls needed to be
purged.

And county election officials across the state had gone to work parsing through the records of thousands of registered voters whose
citizenship status the state now said they should consider verifying. Some coun

ties were even in the process of sending letters to voters ordering them to prove they were citizens.

Soon after, the citizenship review effort would buckle. The secretary of state's office would eventually walk back its initial findings after
embarrassing errors in the data revealed that tens of thousands of the voters the state flagged were actually citizens. At least one lawsuit
would be filed to halt the review, and others were likely in the pipeline. And a week into the review, no evidence of large-scale voter fraud
would emerge.

But at their Monday meeting, Whitley argued that his office was following the normal course of upkeep of the voter rolls. That didn't make
Anchia — who chairs the Texas House's Mexican-American Legislative Caucus — feel much better.

"What they have set in motion is going to disenfranchise U.S. citizens and it's going to infringe on their right to vote," he said days later.
"The damage that this is doing ... to legitimate U.S. voters is substantial."

'LAWFUL PRESENCE LIST'

The citizenship check effort went public this week, but the seeds for it were planted in 2013. That year, Texas lawmakers quietly passed a
law granting the secretary of state's office access to personal information maintained by the Department of Public Safety.

During legislative hearings at the time, Keith Ingram, director of elections for the secretary of state's office, told lawmakers that the
information would help his office verify the voter rolls. The state had had a recent misstep when it tried to remove dead people from the
rolls and ended up sending "potential deceased" notices to Texans who were still alive.

One of the DPS records the secretary of state's office was granted access to under the 2013 law was a list of people who had turned in
documentation — such as a green card or a work visa — that indicated they weren't citizens when they obtained a driver's license or a
state ID card.

But it appears that the secretary of state's office held off for years before comparing that list with its list of registered voters. Former
Secretary of State Carlos Cascos, a self-proclaimed skeptic of Republican claims of rampant voter fraud, said he had no memory of even
considering using the DPS data when he served from 2015 to 2017.
"I don't recall it ever coming to my desk," Cascos said. "I don't even recall having any informal discussions of that."
                        Case 5:19-cv-00074-FB Document 8-1 Filed 02/04/19 Page 50 of 262
And there was reason to be careful with the "lawful presence list." Driver's licenses don't have to be renewed for several years. In
between renewals, Texans aren't required to notify DPS about a change in citizenship status. That means many of the people on the list
could have become citizens and registered to vote without DPS knowing.

Other states learned the hard way that basing similar checks on driver's license data was risky.

In 2012, Florida officials drew up a list of about 180,000 possible noncitizens. It was later culled to about 2,600 names, but even then that
data was found to include errors. Ultimately, only about 85 voters were nixed from the rolls.

Around the same time, officials in Colorado started with a list of 11,805 individuals on the voter rolls who they said were noncitizens when
they got their driver's licenses. In the end, state officials said they had found about 141 noncitizens on the rolls — 35 of whom had a
voting history — but that those still needed to be verified by local election officials.

But it was under the helm of former Secretary of State Rolando Pablos, who took over in 2017, that Texas began processing the DPS list.
That happened even though at least some people in the office knew the risk.

Officials in the secretary of state's office early last year told The Texas Tribune that similar checks in other states using driver's license
data had run into issues with naturalized citizens. Pablos didn't respond to requests for comment.

Still, on Dec. 5, Betsy Schonhoff, voter registration manager for the secretary of state's office, told local officials that her office had been
working with DPS "this past year" to "evaluate information regarding individuals identified by DPS to not be citizens."

In a mass email sent to Texas counties — and obtained by the Tribune — Schonhoff informed them that the secretary of state's office
would be obtaining additional information from DPS in monthly files and sending out lists of matches starting in mid-January.

The next day, Pablos announced he would resign after two years in office. In his place, Republican Gov. Greg Abbott appointed Whitley,
a longtime Abbott aide who at the time served as the governor's deputy chief of staff.

'VOTER FRAUD ALERT'

On Jan. 25, Williamson County Elections Administrator Chris Davis had just wrapped up a staff retreat when he got back to his office in
Georgetown. By then, news of the state's list of 95,000 registered voters flagged for review was spreading.

A secretary of state's advisory about the list had landed in his inbox earlier that day, but it didn't include any numbers. He knew the
reported total of 95,000 likely included naturalized citizens from the get-go.

But misinformation spread quickly. Some of the statements being released about the list were misleading. Others were downright
inaccurate. Texas Attorney General Ken Paxton, a Republican, took to Twitter within the hour and prefaced the news with the words
"VOTER FRAUD ALERT." At that point, none of the counties had any data to verify.

Also on Twitter, Abbott thanked Paxton and Whitley "for uncovering and investigating this illegal vote registration." Later that afternoon,
the Republican Party of Texas sent out a fundraising email with the subject line that read "BREAKING: 95,000 Non-Citizens Registered to
Vote?!"

The next day, the president chimed in, claiming on Twitter that "58,000 non-citizens voted in Texas" and adding the unsupported claim
that "voter fraud is rampant" across the country.

But when El Paso County's election administrator, Lisa Wise, examined the list of 4,152 names she got from the state on Monday
morning, she knew something was wrong. Included on the list was one of her staff members — a naturalized citizen since 2017.

"We had a naturalization party for her," Wise said. "She had gone and gotten her driver's license, I think, four years ago."

The errors didn't end there. By Tuesday morning, secretary of state officials had started calling counties across the state to inform them
that they had made a mistake. The office had incorrectly included some voters who had submitted their voting registration applications at
DPS offices and who since then had been confirmed to be citizens, county officials said.

Things grew even more confusing for Remi Garza, elections administrator in Cameron County. He had originally received a list with just
more than 1,600 people to review. When someone from the secretary of state's office called on Tuesday, Garza was told that weeding out
applications labeled as "source code 64" — the code that indicates the origin of the application was a DPS office — would remove "well
over" 1,500 names from his list, leaving him with just 30 individuals to investigate.

But his staff was only able to find 300 people whose applications were labeled as such, Garza said. After another call with the secretary of
state's office, Garza said he was told that the 1,500 number had also been incorrect. Now, he said he's left with about 85 percent of the
list.
                         Case 5:19-cv-00074-FB Document 8-1 Filed 02/04/19 Page 51 of 262
"That's a level of accuracy I'm not comfortable with," Garza said on Tuesday. "We're going to be moving through it very cautiously and
slowly. We're talking about the franchise and, I'm not in any way going to jeopardize someone's ability to vote unless I have a very serious
concern."

Following the secretary of state's calls, the number of registered voters flagged by the state began to plummet. In Harris County alone,
the state's flub translated to about 18,000 voters — about 60 percent of the original list — whose citizenship status shouldn't have been
questioned.

In Travis County, officials dropped 634 voters off their original list of 4,558. Dallas County's original list of 9,938 dropped by more than
1,700 voters. In Tarrant County, it was about 1,100 voters cleared from the original 5,800.

The secretary of state's office told the McLennan County elections office to disregard its entire list of 366 voters, the Waco-Tribune Herald
reported.

But the state's calls came a day too late in Galveston County, where Cheryl Johnson, who oversees the voter rolls as the county's tax
assessor-collector, had already sent off the first batch of "proof of citizenship" letters to voters who were on her initial list of more than 830
people.

'I DON'T EVEN HAVE WORDS'

For the better part of 26 years, Julieta Garibay, a Mexican immigrant, was regularly reminded that she better not vote: "'It's fraud. You
would never be allowed to become a citizen.' This was ingrained in my mind."

When she finally took her oath of citizenship in a federal building in San Antonio last April, she let only two days go by before registering
to vote in Austin, her adopted hometown. She excitedly cast a ballot last November.

But she's been stewing since last Friday when she heard about the secretary of state's announcement. Garibay last renewed her driver's
license in 2017 — before she became a U.S. citizen — so she was sure she was on the list. A Travis County official called her to confirm
her suspicions on Wednesday, after Garibay had reached out.

"I think to many of us, especially when the journey has been so long ... [voting] is something so important," Garibay said. "For someone to
say you did something wrong when it's your right to do it, I don't even have words."
Record: 153e0f787d513194a76db24cceefc61b86f9327
Copyright: Copyright, 2019, Tyler Morning Telegraph, All Rights Reserved.
    2/4/2019                  Civil rights
                            Case           group sues Texas over order
                                     5:19-cv-00074-FB                  to investigate
                                                                  Document         8-1potential
                                                                                           Filednoncitizen
                                                                                                   02/04/19voters with flawed 52
                                                                                                                     Page     data of
                                                                                                                                   | Politics
                                                                                                                                      262 | Dallas News




     AL L SEC TIO NS                                                                                                                              SUBSCRIBE




       Investigation
       A look inside UT Dallas' academic scandal



The Associated Press




    POLITICS          YESTER D AY



  Civil rights group sues Texas over order to investigate
  potential noncitizen voters with . awed data
               James Barragán, State government reporter




                    Don't miss a story. Like us on Facebook.                             LIKE DALLAS NEWS




  Updated at 11:50 a.m.: Revised to include additional information.


  AUSTIN — A civil rights group has sued Texas for advising counties to review the citizenship of tens of
  thousands of eligible voters in the state with ﬂawed data, claiming it violates the voting rights of U.S.
  citizens and legally registered Texas voters who are foreign-born.


  The lawsuit ﬁled by the Mexican American Legal Defense and Educational Fund alleges the state has
  "singled out for investigation and removal" the names of U.S. citizens who are registered voters because they
  were born outside the United States. It asks for an injunction to prevent recently naturalized citizens from


    https://www.dallasnews.com/news/politics/2019/02/02/civil-rights-group-sues-texas-order-investigate-thousands-potential-non-citizen-voters-flawed-data   1/5
  2/4/2019            Civil rights group sues Texas over order to investigate potential noncitizen voters with flawed 53
being   investigatedCase
                     and    a5:19-cv-00074-FB
                               rescission                 Document
                                              of the state's      advisory 8-1  toFiled
                                                                                    comb   02/04/19
                                                                                              through      aPage
                                                                                                              list  ofdata | Politics
                                                                                                                           of
                                                                                                                       58,000         | Dallas News
                                                                                                                              262people         whom
state ofﬁcials said had potentially voted while not citizens.


Abbott sticks by . awed list of non-citizen voters in Texas, says review should continue


The complaint, ﬁled late Friday night in Corpus Christi, names Secretary of State David Whitley, Attorney
General Ken Paxton and Gov. Greg Abbott as defendants. It also includes Galveston County Tax Assessor
Collector Cheryl Johnson, who serves as that county's voter registrar. The lawsuit alleges that Johnson sent
letters to more than 830 people questioning their citizenship.


Ofﬁcials in the ofﬁces of the governor, attorney general and secretary of state did not immediately respond
for requests for comment.


The complaint lists multiple individual plaintiffs, including two people from Dallas County, as well as three
voting rights advocacy groups. It also has plaintiffs from Harris County, where the state mistakenly placed
about 18,000 people on the list for investigation.


"Texas continues to distinguish itself through its aggressive efforts to target legitimate voters and to deter or
suppress their participation," Thomas A. Saenz, MALDEF president and general counsel, said in a written
statement. "Targeting naturalized citizens is particularly perverse given the high level of participation in
voting and civic engagement among those who chose to become United States citizens."


Some names in list of 98,000 potential non-citizen voters included 'in error,' county of cials say,
citing state


Last Friday, Whitley's ofﬁce sent an advisory to all the counties in the state saying that about 95,000 people
who received driver's licenses — while legally in the country, but not U.S. citizens — also appeared on Texas
voter rolls. Whitley's ofﬁce asked Texas counties to investigate the 58,000 people included on that list
who also appeared to have voted in one or more elections between 1996 and 2018.


Critics quickly pointed out that the state data didn't appear to account for people who had become
naturalized citizens after getting or renewing their driver's licenses with a green card or visa. Immigrants are
required to show proof that they're in the U.S. legally to obtain a Texas driver's license or state ID card, but
they're not mandated to update DPS on their citizenship status.


That was the case for the two Dallas County plaintiffs, Maria Yolisma Garcia and Lorena Tule-Romain.



  https://www.dallasnews.com/news/politics/2019/02/02/civil-rights-group-sues-texas-order-investigate-thousands-potential-non-citizen-voters-flawed-data   2/5
By2/4/2019          Civil rights
    Wednesday, at Case
                  least   20,000 group sues Texas over order
                           5:19-cv-00074-FB
                                     people had been         to investigate
                                                        Document
                                                              taken off  8-1potential
                                                                             theFiled noncitizen
                                                                                         02/04/19
                                                                                   state's       voters with
                                                                                              list  afterPageflawed 54
                                                                                                            ofﬁcialsdata of
                                                                                                                         | Politics
                                                                                                                            262
                                                                                                                         told       | Dallas News
                                                                                                                                 counties      they had
been placed there in error and had already proved their citizenship.


Tens of thousands removed from potential non-citizen voters list after counties nd awed data


Nina Perales, MALDEF's vice president for litigation, said in a statement that targeting naturalized citizens
"was a naked attempt to strip minority voters from the rolls," after Latino voter turnout had doubled since
the last midterm elections.


The lawsuit also alleges the state's actions harmed the three advocacy organizations that are plaintiffs —
Southwest Voter Registration Project, Mi Familia Vota and La Union del Pueblo Entero — because it harms
their efforts to register voters by "calling into question the voter registration of naturalized citizens in Texas
and discouraging naturalized individuals from registering to vote."


Galveston is the only county whose elections administrator is named in the suit because it was the only one
among the counties where one of MALDEF's clients have received a notice asking to review their citizenship.
But lawyers for the plaintiffs said they could add more counties to the lawsuit as they learn additional facts.


Many counties across the state refrained from sending out notices of citizenship review until they could sort
out the information the state had given them. Some, like Galveston, however, sent notices to people who
had already proved their citizenship before the state could alert them of the error.


Bosque County, in Central Texas near Waco, sent out notices earlier in the week. But after receiving
corrected information from the state, the county sent out follow-up letters to some people asking them to
disregard the initial letter.


"I apologize for any inconvenience these letters have caused you," wrote Crystal Denman, the county's
elections administrator.


This is the second lawsuit ﬁled against the state for its advisory to investigate potential noncitizen voters
with ﬂawed data. On Tuesday, the League of United Latin American Citizens also ﬁled a federal lawsuit
alleging the state was violating the prohibition on voter intimidation in the Voting Rights Act and calling the
state's actions a "witch hunt."




                                                                      VIEW COMMENTS



  https://www.dallasnews.com/news/politics/2019/02/02/civil-rights-group-sues-texas-order-investigate-thousands-potential-non-citizen-voters-flawed-data   3/5
                         Case 5:19-cv-00074-FB Document 8-1 Filed 02/04/19 Page 55 of 262


Botched handling of voter rolls does Texas a disservice
Austin American-Statesman (TX) - February 3, 2019
Section: TX Opinion
Page: A22
Readability: >12 grade level (Lexile: 1490)
We don’t wish to mirror the rush to judgment we saw last week, when state officials and even President Donald Trump recklessly
characterized a list of 95,000 suspected noncitizen voters as proof of voter fraud in Texas. County elections officials continue to
painstakingly research the thousands of voters flagged by Secretary of State David Whitley’s office, and it’s possible some of them are
noncitizens who should be removed from the voting rolls.

Still, it’s clear Whitley’s ready-fire-aim approach to this issue has done a disservice to our state and our democracy, stoking fears about
an illegal voting phenomenon that experts say is very rare, and risking the disenfranchisement of law-abiding Texans who might miss the
one letter giving them 30 days to prove they're a legal voter.

Already we know the list, created using what Whitley’s office described in all-caps as a “WEAK” match between databases, erroneously
contains more than 20,000 people who are, in fact, U.S. citizens.

The number of citizens wrongly placed on the list include about 18,000 in Harris County, 1,700 in Dallas County, more than 1,000 in
Williamson County, at least 600 in Travis County — not to mention all 366 names flagged in McLennan County. We fully expect these
numbers to grow as county officials sift through the data compiled so sloppily by the state.

We recognize that protecting the integrity of our elections is paramount. The public’s faith in democracy starts with knowing every vote is
counted properly — and that includes not having the power of one’s vote diluted by illegitimate ones.

But Texas officials have brazenly ignored the other side of that coin: The sanctity of the vote demands the government take utmost care
with any effort that could deny the ballot to someone who deserves it. The Secretary of State’s office has failed spectacularly on that front.

Whitley’s office cross-checked the voter rolls against driver’s license records in which the applicants indicated they were not U.S. citizens.
It is worth noting these are people in the country legally — often they become naturalized in the following months or years, making their
original driver’s license application a poor indicator of their current citizenship status.

Rather than further refine the list using federal immigration databases, though, Whitley shipped the suspect data to county elections
officials to demand these voters prove their citizenship, and to Attorney General Ken Paxton for possible criminal prosecution. Paxton
tweeted about the list Jan. 25 with an all-caps “VOTER FRAUD ALERT.”

You’d think Texas officials would be more cautious after a 2012 effort to purge dead voters from the rolls wrongly snared thousands of
living, breathing Texans. Other states have had equally messy exercises in voter roll cleanups that looked more like voter suppression
efforts.

We suspect making it harder to vote is the point.

Some lawmakers have pointed to Whitley’s list as justification for House Bill 378, a measure by Rep. Mike Lang, R-Granbury, that would
require people to present proof of citizenship when registering to vote. But such laws, in practice, do more to stymie the registration of
legitimate voters, not unlawful ones.

“If you’re a noncitizen and here in the U.S., you’re going to do everything you can possibly do to be secure and not cause any risk to your
family,” Brendan Downes, an attorney with the Voting Rights Project of the Lawyers' Committee, told reporters Friday. “You’re not going to
go and commit a felony (by voting unlawfully) and risk deportation. It just doesn’t make sense.”

On the other hand, he noted, requiring proof of citizenship creates a massive hindrance on community voter registration drives because
people rarely carry their birth certificate or passport with them.

This isn’t the right direction for Texas.

Our voter turnout is already among the worst in the nation. Yet, Republican leaders have been more interested in turning voters away for
lack of ID, fighting the phantom problem of in-person voter fraud, even though a comprehensive 2014 study published in The Washington
Post found just 31 credible instances of impersonation fraud from 2000 to 2014, out of more than 1 billion ballots cast across the country.

As we’ve argued before, Texas would benefit from cultivating a more engaged electorate — starting with making it easier to register by
allowing online voter registration, and making absentee ballots available to every voter who wants one, not a select few.
If Texas officials have proof — not “WEAK” matches — of noncitizens actually voting, they should pursue those individual cases. But the
                         Case 5:19-cv-00074-FB Document 8-1 Filed 02/04/19 Page 56 of 262
Secretary of State’s list of 95,000 suspected noncitizen voters has proved to be such a flawed fishing expedition, Whitley should rescind
it, as a lawsuit and numerous advocacy groups have urged him to do. Any counties that have sent demand letters to flagged voters, and
attorneys say at least five counties already have, should halt those efforts.

Yes, only citizens should vote. But all citizens have an inviolable right to do so without facing state roadblocks.

American-Statesman Editorial Board

Index terms: Voting editorial; statesman; Opinion; Article
Record: 3948697
Copyright: Copyright (c) 2019 Austin American-Statesman
Case 5:19-cv-00074-FB Document 8-1 Filed 02/04/19 Page 57 of 262




             EXHIBIT 9
Case 5:19-cv-00074-FB Document 8-1 Filed 02/04/19 Page 58 of 262
Case 5:19-cv-00074-FB Document 8-1 Filed 02/04/19 Page 59 of 262
Case 5:19-cv-00074-FB Document 8-1 Filed 02/04/19 Page 60 of 262




           EXHIBIT 10
Case 5:19-cv-00074-FB Document 8-1 Filed 02/04/19 Page 61 of 262
Case 5:19-cv-00074-FB Document 8-1 Filed 02/04/19 Page 62 of 262




           EXHIBIT 11
      Case 5:19-cv-00074-FB Document 8-1 Filed 02/04/19 Page 63 of 262




February 1, 2019



Secretary David Whitley
Texas Secretary of State
P.O. Box 12887
Austin, TX 78711-2887
secretary@sos.texas.gov

Re:     Notice of Violation of National Voter Registration Act and Demand for
        Documents

VIA E-MAIL AND U.S.P.S.

Dear Secretary Whitley:

       The Texas League of United Latin American Citizens, the National League of
United Latin American Citizens, and Julie Hilberg, through their undersigned
counsel, write to inform you that the voter purge program you announced in Election
Advisory No. 2019-02 on January 25, 2019 violates the National Voter Registration
Act (“NVRA”). This letter serves as the pre-suit notice required by 52 U.S.C. §
20510(b)(2); if the violation is not remedied within 90 days, we will assert legal claims
under the NVRA.

        You compiled a list of 95,000 registered voters you contend might not be U.S.
citizens because records—in some cases up to twenty-three years old—indicate that
they were not citizens at the time they applied for driver licenses or state-issued
identification cards. You have advised county Voter Registrars and Elections
Administrators to send notices to these registered voters giving them 30 days to prove
their citizenship, to cancel the registrations of those who do not submit such proof,
and have explained that there “is likely to be law enforcement interest in the data”
you submitted to the counties. Although you acknowledge your program resulted in
“WEAK” evidence of non-citizenship, you made no effort to determine whether any of




                                           1
     Case 5:19-cv-00074-FB Document 8-1 Filed 02/04/19 Page 64 of 262




the individuals you identified subsequently became naturalized citizens eligible to
vote.1

I.     Texas’s Voter Purge Program Violates the NVRA.

       Texas’s voter purge program violates the NVRA’s requirement that list
maintenance programs be “uniform, nondiscriminatory, and in compliance with the
Voting Rights Act of 1965.” 52 U.S.C. § 20507(b)(1). Indeed, a federal court has ruled
that a nearly identical program pursued by Florida was unlawful. Florida’s Secretary
of State compiled a list of 180,000 registered voters whose driver license applications
disclosed that they were non-citizens at the time they applied, and advised county
Election Supervisors to provide those registered voters 30 days to prove their
citizenship to avoid cancelation of their registration. See United States v. Florida, 870
F. Supp. 2d 1346, 1347-48 (N.D. Fla. 2012).

        The court explained that there were “major flaws” with this program because
“[t]he Secretary compiled the list in a manner certain to include a large number of
citizens.” Id. at 1347. That was so, the court explained, because over a three-year
period, 240,000 Floridians became newly naturalized citizens, while, like in Texas,
Florida Driver’s Licenses have a six year renewal period. Thus, the Court found that
all 180,000 people on the list could have become naturalized citizens in the time since
they initially applied for or last renewed their drivers’ licenses. In other words, the
entire 180,000 person list could have consisted of people who were, in fact, properly
registered.

       The court explained that this program (which the Florida Secretary of State
abandoned) violated the NVRA’s requirement that list maintenance activities be
uniform and nondiscriminatory:

       The Secretary’s methodology made it likely that the properly registered
       citizens who would be required to respond and provide documentation
       would be primarily newly naturalized citizens. The program was likely
       to have a discriminatory impact on these new citizens. And while the
       Secretary suggests that having to respond to this kind of inquiry is of
       little import, that is not so. A state cannot properly impose burdensome
       demands in a discriminatory manner.

Id. at 1350 (emphasis added)




1 Hours after you released your advisory, Attorney General Paxton tweeted a “VOTER
FRAUD ALERT” with no caveat about the admittedly “WEAK” evidence. He
subsequently issued a press release warning seven times of “fraud” and of “illegal
voting,” “crimes against the democratic process,” and “election crimes.” Two days
later, President Trump tweeted that “58,000 non-citizens voted in Texas, with 95,000
non-citizens registered to vote,” complaining of “rampant” “voter fraud.” Yet again,
this public pronouncement contained no mention of “WEAK” evidence.


                                           2
      Case 5:19-cv-00074-FB Document 8-1 Filed 02/04/19 Page 65 of 262




        The same is true here. Indeed, data from the U.S. Department of Homeland
Security show that between 50,000 and 65,000 Texas residents become naturalized
citizens every year. Over the most recent six years of data—the lifespan of a Texas
driver license—348,552 Texas residents have become newly naturalized citizens.2 If
just 27% of those newly naturalized citizens registered to vote after obtaining a driver
license or state-issued identification card, that would suffice to explain your entire
95,000 person “WEAK” match list, putting tens of thousands of eligible voters at risk
for being wrongly purged.

        The purge program also has a disproportionate effect on newly naturalized
citizens of Mexican origin. Mexico is the country of origin for 130,627 of the 348,552
Texas residents who became naturalized citizens over the past six years, and for over
20,000 of the Texas residents who become naturalized citizens each year.3 Thus, the
purge program plainly discriminates against eligible voters based on Mexican origin.
It therefore violates Section 2 of the Voting Rights Act, and consequently the NVRA.

       Finally, the purge program violates the NVRA’s requirement that the State
“ensure that any eligible applicant is registered to vote in an election.” 52 U.S.C. §
20507(a)(1) (emphasis added). Texas may not rely upon stale and flimsy evidence to
remove voters whom federal law requires the State to “ensure” remain registered.

II.     Demand for Documents

       The NVRA requires that Texas, upon request, produce “all records concerning
the implementation of programs and activities conducted for the purpose of ensuring
the accuracy and currency of official lists of eligible voters.” 52 U.S.C. § 20507(i)(1).
We therefore request that the following documents be produced forthwith:

      1. The list of all 95,000 registered voters, and all 58,000 voters, your office
         identified as potential non-citizens;
      2. All documents supporting your contention that the registered voters or voters
         referred to in Request No. 1 were potentially non-citizens;
      3. All documents regarding the development, implementation, or announcement
         of the program described in Election Advisory 2019-02, including drafts of
         such documents;
      4. All advisory or guidance documents, whether formal or informal, provided to
         county Voter Registrars or Elections Administrators regarding the
         implementation of Election Advisory 2019-02, including those provided after
         the release of Election Advisory 2019-02;
      5. All communications regarding the development, implementation, or
         announcement of the program described in Election Advisory 2019-02,
         including but not limited to:
             a. internal communications of the Secretary of State’s office;



2  See U.S. Dep’t of Homeland Security, Profiles on Naturalized Citizens,
https://www.dhs.gov/profiles-naturalized-citizens.
3 Id.




                                           3
    Case 5:19-cv-00074-FB Document 8-1 Filed 02/04/19 Page 66 of 262




           b. communications between the Secretary of State’s office and other State
              agencies, including but not limited to the office of the Governor, the
              office of the Attorney General, and the Department of Public Safety;
           c. communications between the Secretary of State’s office and any
              legislative branch officials or employees;
           d. communications between the Secretary of State’s office and any federal
              officeholder;
           e. communications between the Secretary of State’s office and any county
              officials, including but not limited to Voter Registrars and Elections
              Administrators;
           f. communications between the Secretary of State’s office and any outside
              consultants, experts, or advisers;
           g. communications between the Secretary of State’s office and the media;
           h. communications between the Secretary of State’s office and members
              of the public;
           i. any other communications related to Election Advisory 2019-02.

       Please provide the requested documents electronically by email
(mgaber@campaignlegal.org) or FTP transfer if available. If any responsive
documents or communications are in the possession of the Secretary of State or any
employees of the Secretary of State on non-governmental computers, electronic
devices, or in paper copy, please include such documents and communications in your
production.

                                        ***

       The program announced in Election Advisory 2019-02 plainly violates the
NVRA. It also violates Section 2 of the Voting Rights Act and constitutes an
unconstitutional, undue burden on the right to vote in violation of the First and
Fourteenth Amendments. The irresponsible and inaccurate publicity by the Secretary
of State and the Attorney General, in particular, constitutes an unlawful voter
intimidation effort prohibited by the Voting Rights Act. Please be advised that if the
NVRA violation is not remedied within 90 days, we intend to pursue legal action on
that basis.

                                          Sincerely,


 /s/ Mark P. Gaber                            /s/ Danielle M. Lang
 Director, Trial Litigation                   Co-Director, Voting Rights and
 Campaign Legal Center                        Redistricting
 1411 K Street NW, Suite 1400                 Campaign Legal Center
 Washington, DC 20005                         1411 K Street NW, Suite 1400
 (202) 736-2200                               Washington, DC 20005
 mgaber@campaignlegal.org                     (202) 736-2200
                                              dlang@campaignlegal.org

cc via email: Keith Ingram, Director of Elections (kingram@sos.texas.gov)
              Adam Bitter, General Counsel (abitter@sos.texas.gov)


                                          4
Case 5:19-cv-00074-FB Document 8-1 Filed 02/04/19 Page 67 of 262




           EXHIBIT 12
            Case 5:19-cv-00074-FB Document 8-1 Filed 02/04/19 Page 68 of 262

Texas Department of Public Safety




                       Texas
                       Driver
                       Handbook



Driver License Division
Revised September 2017
This publication is FREE
          Case 5:19-cv-00074-FB Document 8-1 Filed 02/04/19 Page 69 of 262


                                                 Introduction
The Texas Department of Public Safety, Driver License Division, is committed to creating a faster, easier, and
friendlier driver license experience and a safer Texas. One step toward achieving these important goals is to continu-
ously improve the Texas Driver Handbook by providing you with accurate information on traffic laws, clear images
of road signs, examples of common driving situations, and general safety tips. We have also included special tips to
emphasize important information you need to know.
Although the Texas Driver Handbook has been revised, its primary purpose remains the same: 1) to help you qualify
for a Texas driver license, and 2) to help you become a safer driver.
The information contained in this handbook is not an official legal reference to Texas traffic laws. The information
provided is only intended to explain applicable federal and state laws you need to understand in order to success-
fully operate a motor vehicle in Texas. If you would like to know the actual language of any traffic or criminal laws
referenced in this handbook, please refer to the Texas Transportation Code and Texas Penal Code.
Once you receive your Texas driver license, keep this handbook as a reference on traffic safety and update it as
needed. The Texas Legislature meets every two years and regularly makes changes to traffic laws. For the most cur-
rent information on driver licensing visit our website at http://www.dps.texas.gov/DriverLicense/.


                                                   Contact Us
Please contact us if you have any questions regarding this handbook or if you need additional information.
                 Phone Number: (512) 424-2600
                 Customer Support page: www.dps.texas.gov/driverlicense/customer_service
                 Mailing Address: T
                                   exas Department of Public Safety
                                  Driver License Division
                                  PO Box 4087
                                  Austin, TX 78773-0300
If you prefer, you can contact your local driver license office directly. Please refer to Appendix B in this handbook
to locate a driver license office in your area.
If you would like to provide feedback on the information in this handbook visit, www.survey.utexas.edu/txdps/.


                                         ADA Accommodations
If you need to make special arrangements to accommodate a disability prior to visiting a driver license office, you can
e-mail us using our secure website at www.dps.texas.gov/driverlicense/customer_service or call us at (512) 424-2600.
Please contact us at least five to seven business days prior to your visit to allow us time to accommodate your request.
If you are in need of assistance but fail to receive reasonable accommodations, you may have grounds for a grievance.
DPS Grievance Procedures can be found in the 37 Texas Administrative Code §1.41, http://www.sos.texas.gov/tac/ and
on our website at www.dps.texas.gov.
The Texas Department of Public Safety does not discriminate on the basis of race, color, religion, sex, national origin,
age, or disability.




The information contained in the Texas Driver Handbook is the property of the Texas Department of Public Safety
and may not be modified in any way for distribution or publication without the express prior written consent of the
Department.
Case 5:19-cv-00074-FB Document 8-1 Filed 02/04/19 Page 70 of 262




Dear Texas Resident:


Operating a motor vehicle is an important privilege and responsibility for drivers, especially
in a state as large as Texas with more than 310,000 miles of public roadways. Tragically, every
year in Texas, approximately 3,000 people are killed in traffic crashes and more than 80,000 are
seriously injured. Today, more than ever, drivers must avoid distractions in their own vehicle
while also staying alert for impaired or unsafe drivers sharing the roadway – failing to do so
could have tragic consequences.

The goal of the Texas Department of Public Safety is to provide you with critical safety information
about driving in Texas in an effort to keep you, your passengers and other travelers safe on our
roadways. Please carefully review and learn the information in this handbook, and always be
mindful of the great responsibility that goes with obtaining a driver license and operating a
motor vehicle in Texas.


Respectfully,



Steven C. McCraw
Director
Texas Department of Public Safety
           Case 5:19-cv-00074-FB Document 8-1 Filed 02/04/19 Page 71 of 262


                                                             Table of Contents
     Chapter 1: Your License to Drive........................................................................................ 1
          Who May Drive a Motor Vehicle in Texas?..........................................................................................1
          Types of Texas Driver Licenses..............................................................................................................1
          Classes of Driver Licenses......................................................................................................................3
          Fees and Driver Licenses for Veterans..................................................................................................5
          Identification (ID) Cards........................................................................................................................5
          Medical and Emergency Information..................................................................................................5
          Organ Donation.....................................................................................................................................6
          Voluntary Contributions.......................................................................................................................6
          How to Obtain a Texas Driver License.................................................................................................6
          Driver Education....................................................................................................................................7
          Penalties for Driving Without a License..............................................................................................9
          Restrictions Placed on a License...........................................................................................................9
          Replacement (Duplicate) or Change of a Driver License or ID Card................................................10
          Renewing a License.............................................................................................................................10
          Suspensions and Revocations.............................................................................................................11
          Cancellations........................................................................................................................................13
          Court-Ordered Suspensions, Revocations, and Cancellations.........................................................13
          Denials..................................................................................................................................................14
          Driving While License Invalid (DWLI).................................................................................................14
          Penalties for Non-Driving Alcohol-Related Offenses by Minors.....................................................14
          Occupational License (Essential Need License)..................................................................................15
          Driver Responsibility Program (DRP)..................................................................................................15

     Chapter 2: Vehicle Inspection and Registration...............................................................18
          Vehicle Inspection................................................................................................................................18
          Required Equipment for Vehicles.......................................................................................................18
          Equipment You Must Not Have..........................................................................................................19
          Optional Equipment for Vehicles.......................................................................................................19
          Registration of Vehicles......................................................................................................................19

     Chapter 3: Safety Responsibility.......................................................................................21
          The Liability Insurance Law.................................................................................................................21
          Evidence of Financial Responsibility..................................................................................................21
          Failure to Provide Evidence of Financial Responsibility....................................................................21

     Chapter 4: Right-of-Way.................................................................................................... 23
          Right-of-Way at Intersections.............................................................................................................23
          Yield Right-of-Way to Emergency Vehicles.......................................................................................25
          Yield Right-of-Way to School Buses...................................................................................................26
          Yield the Right-of-Way to Pedestrians (Persons on Foot)................................................................26

     Chapter 5: Signals, Signs, and Markers............................................................................ 28
          Traffic Signals.......................................................................................................................................28
          Traffic Signs..........................................................................................................................................28
          Warning Signs......................................................................................................................................29
          Regulatory and Warning Signs...........................................................................................................33
          Guide Signs...........................................................................................................................................35
          Railroad Warning Signs.......................................................................................................................35
          Pavement Markings.............................................................................................................................36
          Barrels...................................................................................................................................................38
          Hearing Impaired.................................................................................................................................38
          Construction and Maintenance Devices............................................................................................38



ii
      Case 5:19-cv-00074-FB Document 8-1 Filed 02/04/19 Page 72 of 262


     Obey Warning Signs and Barricades................................................................................................. 40
     Slow-Moving Vehicle Emblem........................................................................................................... 40

Chapter 6: Signaling, Passing, and Turning......................................................................41
     Signaling...............................................................................................................................................41
     Passing..................................................................................................................................................41
     Turning.................................................................................................................................................42

Chapter 7: Parking, Stopping, or Standing...................................................................... 45
     Do Not Park, Stop, or Stand a Vehicle................................................................................................45
     Do Not Park or Stand a Vehicle..........................................................................................................45
     Do Not Park a Vehicle..........................................................................................................................45

Chapter 8: Speed and Speed Limits.................................................................................. 48
     Speed................................................................................................................................................... 48
     Speed Limits........................................................................................................................................ 48
     Slow Down or Move Over...................................................................................................................49
     Street Racing........................................................................................................................................49

Chapter 9: Some Special Driving Situations.................................................................... 50
     Headlights............................................................................................................................................50
     Highway Driving..................................................................................................................................50
     Controlling a Car in Special Situations...............................................................................................51
     Winter Driving.....................................................................................................................................52
     Roundabouts........................................................................................................................................52
     Floods...................................................................................................................................................53
     Share the Road with Trucks (Large trucks and truck-tractor combinations)...................................54
     Share the Road with Motorcycles.......................................................................................................55
     Share the Road with Light Rail...........................................................................................................56
     Share the Road with Bicycles..............................................................................................................56
     Distracted driving................................................................................................................................57
     Texting While Driving.........................................................................................................................57

Chapter 10: Alcohol and Drug Impact on the Driving Ability........................................ 58
     The Number One Killer is Alcohol......................................................................................................58
     Texas Tough Alcohol-Related Laws for Minors.................................................................................59
     Texas Alcohol-Related Laws for Adults .............................................................................................61
     Know Your Legal Limit........................................................................................................................61

Chapter 11: Motor Vehicle Crashes................................................................................... 62
     Crash Resulting in Injury to, or Death of a person...........................................................................62
     Crash Resulting in Damage to a Vehicle............................................................................................62
     Crash Involving an Unattended Vehicle.............................................................................................63
     Crash Resulting in Damages to a Fixture, Landscaping, or Structure..............................................63
     Hit-and-Run Crashes............................................................................................................................63
     Aiding the Injured...............................................................................................................................63

Chapter 12: Pedestrian Safety.......................................................................................... 64
     Laws and Safety Tips for Pedestrians................................................................................................ 64
     Laws and Safety Tips for Motorists................................................................................................... 64

Chapter 13: Bicycle Laws and Safety................................................................................ 65
     Bicycle Traffic Laws..............................................................................................................................65
     Shared Lane Marking..........................................................................................................................65
     Bicycles Must Be Properly Equipped..................................................................................................66
     Bicycle Safety Guidelines....................................................................................................................66
     Riding in Wet Weather........................................................................................................................66



                                                                                                                                                                   iii
           Case 5:19-cv-00074-FB Document 8-1 Filed 02/04/19 Page 73 of 262


     Chapter 14: Additional Safety Tips................................................................................... 67
          Defensive Driving................................................................................................................................67
          Safety Belts...........................................................................................................................................67
          Vehicles with Open Beds.....................................................................................................................67
          When Stopped by Law Enforcement.................................................................................................68
          Road Rage............................................................................................................................................69
          Neighborhood Electronic Vehicles and Motor Assisted Scooters....................................................70
          Speed Reduces Your Field of Vision...................................................................................................70
          Your Keys to Safe Driving....................................................................................................................70
          Transporting Cargo and Materials.....................................................................................................71
          Carbon Monoxide................................................................................................................................71
          Steering Lock Operation.....................................................................................................................72

     Appendix A: Glossary of Terms........................................................................................ 73
     Appendix B: Driver License Offices.................................................................................. 79
          Full-Time Driver License Offices.........................................................................................................79
          Scheduled Driver License Offices.......................................................................................................79
          Mega Center Offices...........................................................................................................................79

     Appendix C......................................................................................................................... 80
          Study and Review Questions for Class C Operators......................................................................... 80

     Appendix D: Fees............................................................................................................... 83




iv
                 Case 5:19-cv-00074-FB Document 8-1 Filed 02/04/19 Page 74 of 262
Chapter 1: Your License to Drive                                                                                                               Texas Driver Handbook


                                             Chapter 1: Your License to Drive
Who May Drive a Motor Vehicle in Texas?
Individuals who meet the following criteria may drive a motor vehicle in Texas.
Residents:
 • Texas residents who have a valid Texas driver license
 • New Texas residents who are properly licensed have 90 days, after entry into Texas, to secure a Texas driver license
 • Any person, while driving or operating any road machine, farm tractor, or implement of husbandry temporarily operated or
   moved on a highway is exempt from having a Texas license, unless the vehicle is a commercial motor vehicle
Nonresidents:
 • Any nonresident who is at least 16 years of age and possesses a valid driver license issued in the nonresident’s home state or
   Canadian province. Nonresidents at least 16 years of age who meet these criteria may drive a vehicle permitted to be operated
   with a Class C or Class M driver license in Texas
 • Nonresidents who are at least 18 years of age may drive any vehicle in Texas if they are legally licensed to drive such a vehicle in
   their home state or country, and the home state or country grants like recognition (reciprocity) to citizens of Texas
Military:
 • The driver of an official U.S. or state military service motor vehicle may drive a vehicle without a valid Texas driver license,
   unless the vehicle is a commercial motor vehicle
                                                                                                                                                                                    :
                                                                                                                                                                             l No te
 • A nonresident on active duty in the U.S. armed forces, the member’s spouse, or dependent child who has a valid                                               S pe cia
                                                                                                                                                                           a y not
   license issued by his/her home state                                                                                                                         You m a Texa s
                                                                                                                                                                re c e  ive
                                                                                                                                                                              c e n se
 • Any person on active military duty who holds a valid driver license issued by the U.S. armed forces in a foreign                                             driver li va lid
                                                                                                                                                                   n til   a ll
                                                                                                                                                                 u             c e n se s
   country may drive a motor vehicle in Texas for 90 days from the date of their return to the U.S.                                                              driver li a re
                                                                                                                                                                  issued ered.
                                                                                                                                                                               d
 • Unless
     nless a license is suspended, cancelled, revoked or denied, a Texas driver license held by any person who enters                                              surren
   or who is in the U.S. armed forces will remain valid as long as the:
    - Service continues; and
    - Person remains absent from Texas and the absence does not exceed 90 days from the date the licensee is honorably separated
      from service or returns to Texas

Types of Texas Driver Licenses
Learner License (Instruction Permit)
A learner license, also known as an instruction permit, allows a student driver to legally practice driving when accompanied by a
licensed driver. The licensed driver must be at least 21 years of age with at least one year of driving experience, must occupy the seat
beside the driver, and cannot be intoxicated, asleep, or engaging in any activity that prevents observation and response to the actions
of the driver. A learner license will indicate “Learner License” on the front of the card and expire on the minor’s 18th birthday. A
person applying for a learner license must:
 1. Be at least 15 but no more than 18 years of age
 2. Complete the classroom portion of a driver education course, vision exam, and knowledge exam
 3. Meet all other requirements for a first time driver license (original) applicant
                                                                     Table 1: Learner License
            Minimum Age                             Fee*                                                          Expiration
     15 with driver education        $15 for license + $1 fee = $16        For applicants less than 18 years of age the license expires on their 18th
                                                                           birthday..
     *A $1 administrative fee is included in most transactions. However, if you are completing multiple transactions at the same time either in-person or online then
      you will only be charged the $1 administrative fee once. A $1 administrative fee is not charged for transactions made through the mail.


Applicants 18 years of age and older who wish to legally practice driving are issued a Class C license with the same restrictions as
a learner license. The license is generally valid for six years and costs $24 plus a $1 administrative fee.
Verification of Enrollment and Attendance (VOE) Form
If you are under 18 years of age and applying for your first Texas driver license, learner license, or provisional license, you must
provide evidence that you:
 1. Have obtained a high school diploma or its equivalent; or


                                                                                                                                                                              1
               Case 5:19-cv-00074-FB Document 8-1 Filed 02/04/19 Page 75 of 262
Chapter 1: Your License to Drive                                                                             Texas Driver Handbook


 2. Are a student enrolled in a public, private, or home school and attended school for at least 80 days in the fall or spring semester
    preceding the date of application; or
 3. Have been enrolled for at least 45 days and are enrolled at the time of application in a program to prepare individuals to pass
    the high school equivalency exam.
This information is included on the Verification of Enrollment and Attendance (VOE) form issued by your school. Ask school of-
ficials to complete and sign the VOE form. The VOE may not be dated more than 30 days before the date of application for a license
during the school year or more than 90 days during the summer. The VOE must be presented to the driver license customer service
representative (CSR) when applying for, renewing, or removing permit restrictions from a license.
Hardship License
A hardship license (previously known as Minor Restricted Driver License or MRDL) may be issued to a minor who establishes the
necessity to drive and may have restrictions based on the qualifying hardship.
An application for a hardship license (DL-77) must be executed by an authorized adult on behalf of the minor. Both the adult and the
minor must sign the form and present it in person at the driver license office. Only a parent, guardian, or person having custody of
a minor may make application on behalf of a minor. If the minor does not have a parent, guardian, or custodian then an employer or
county judge may apply on behalf of the minor.
A person applying for a hardship license must:
 1. Be at least 15 years of age but not more than 18
 2. Complete and pass a driver education course (a driver education course includes both the classroom and behind the wheel
    phase), vision, knowledge, and driving exams
 3. Meet all other requirements for a first time driver license (original) applicant.
For more information, please visit our website, www.dps.texas.gov/DriverLicense/teenDriver.htm.
DPS may require supporting documentation or conduct an investigation to confirm the information provided on the application.
DPS will issue a hardship license if it is determined that:
 1. Failure to issue the hardship license will result in an unusual economic hardship for the family of the minor applicant
 2. The hardship license is necessary due to an illness, disability, or death of a family member
 3. The hardship license is necessary because the minor applicant is enrolled in a vocational education program that requires a
    license for participation.
 4. A court order requiring issuance of the hardship license is presented
Graduated Driver License (GDL)
Teenagers and young adults have the highest crash rates of all drivers, and motor vehicle crashes are the leading cause of death for
U.S. teens. Young drivers make up 6.5 percent of the driving population but are responsible for 13 percent of fatal crashes. The
Graduated Driver License (GDL) program eases teens into the driving experience by phasing in driving privileges and minimizing
exposure to high-risk situations.
The GDL program applies to driver license applicants under 18 years of age and has contributed to a decrease in fatal crashes in
recent years. As a part of this program, all new driver license applicants are required to pass a driving exam conducted at a driver
license office or authorized testing facility.
The GDL program consists of two phases. Phase One applies to learner licenses. Phase Two applies to provisional licenses. All
drivers less than 18 years of age must meet the licensing requirements for a learner license or provisional license, but they are also
subject to additional requirements, including driver education and the GDL program.
Phase One: This phase requires applicants under 18 years of age to hold a valid learner, hardship, or combination of learner and
hardship license for a minimum of six months prior to the issuance of a provisional license.
If your license is suspended during Phase One, then the initial six-month period is extended by the number of days of the suspension
because your license is invalid during the suspension period.
A Texas learner license will be issued to new Texas residents who are at least 15 years of age, present an out-of-state instruction
permit, and submit a VOE form. A Texas learner license must be held for six months from the date of issuance before the individual
is eligible for Phase Two.
Phase One requirements do not apply to Class M (motorcycle) licenses. Under the GDL program, there is no minimum time a person
must hold a restricted motorcycle or moped license before applying for a Class M license.
Phase Two: Phase Two restricts the driving privileges of individuals until their 18th birthday following the issuance of a provisional
license.




  2
                Case 5:19-cv-00074-FB Document 8-1 Filed 02/04/19 Page 76 of 262
Chapter 1: Your License to Drive                                                                                   Texas Driver Handbook


During Phase Two these individuals may not drive a motor vehicle:
1. With more than one passenger in the vehicle under the age of 21 who is not a family member
2. Between midnight and 5:00 a.m. unless the operation of the vehicle is necessary for the driver to work, to attend or participate in
   a school-related activity, or due to a medical emergency
All drivers who are under 18 years of age are restricted from using a wireless communication device, including a hands-free device,
except in case of an emergency.
Provisional License
A provisional license is a driver license issued to persons 16 to 18 years of age that has the Phase Two GDL driving restrictions applied. The
license will be marked “PROVISIONAL” and expire on the license holder’s 18th birthday. A person applying for a provisional license must:
  1. Be at least 16 but not more than 18 years of age
  2. Complete and pass a driver education course (a driver education course includes both the classroom and behind the wheel
     phases), vision, and driving exams
  3. Have held a valid learner, hardship, or combination of learner and hardship license for at least six months
  4. Meet all other requirements for a renewal driver license applicant
Out-of-State License Holders
Applicants who are at least 15 but less than 18 years of age and present a valid out-of-state instruction permit will be issued a Phase
One learner license. Applicants who are at least 16 but less than 18 years of age and present a valid out-of-state driver license will
be issued a Phase Two provisional license with passenger and time restrictions after successful completion of the driving exam.
Applicants must meet all other requirements for a first time (original) applicant.
All licenses issued to persons less than 21 years of age will be marked “UNDER 21”.

Classes of Driver Licenses
Class A, B, C, and M driver licenses are issued to individuals who are exempt or not required to obtain a commercial driver license
(CDL). Most non-commercial driver licenses issued to persons 18 years of age and older are valid for six years and cost $24 (a $1 admin-
istrative fee will be added to in-person or online transactions). Some applicants receive licenses with shorter terms due to restrictions
including, but not limited to, verification of lawful presence, sex offender registration requirements, or being 85 years of age or older.
Individuals who operate any of the following vehicles are exempt from obtaining a CDL but may need a Class A or Class B non-
commercial driver license because the type of vehicle driven still meets the definition of a commercial motor vehicle. For more
information on commercial motor vehicles and requirements for a CDL, please visit our website, http://www.txdps.state.tx.us/
DriverLicense/CommercialLicense.htm or see the Texas Commercial Motor Vehicle Drivers Handbook. You may download the
handbook online at http://www.dps.texas.gov/internetforms/Forms/DL-7C.pdf.
  1. A fire-fighting or emergency vehicle necessary for the preservation of life or property or the execution of emergency govern-
     mental functions whether operated by an employee of a political subdivision or by a volunteer fire fighter.
  2. A military vehicle or a commercial motor vehicle when operated for military purposes by military personnel, members of the
     Reserves and National Guard on active duty including personnel on full-time National Guard duty, personnel on part-time
     training, and National Guard military technicians.
  3. A recreational vehicle driven for personal use.
  4. A vehicle that is owned, leased, or controlled by an air carrier, and is driven or operated exclusively by an employee of the air
     carrier only on the premises of an airport, on service roads to which the public does not have access.
  5. A vehicle used exclusively to transport seed cotton modules or cotton burrs.
  6. A vehicle controlled and operated by a farmer:
     a. Used to transport agricultural products, farm machinery, or farm supplies to or from a farm
     b. Not used in the operation of a common or contract motor carrier, or
     c. Used within 150 miles of the person’s farm.
Class A Driver License
A Class A driver license permits a person to drive:
1. Any vehicle or combination of vehicles described under a Class B or Class C driver license; and
2. A vehicle or combination of vehicles with a gross combination weight rating (GCWR) of 26,001 lbs. or more, provided the gross
   vehicle weight rating (GVWR) of the vehicle(s) towed is in excess of 10,000 lbs.
A Class A driver license does not permit a person to drive a motorcycle or moped.



                                                                                                                                         3
                   Case 5:19-cv-00074-FB Document 8-1 Filed 02/04/19 Page 77 of 262
Chapter 1: Your License to Drive                                                                                                                 Texas Driver Handbook


                                                                   Table 2: Class A Driver License
                                         Minimum Age                                                            Fee*                              Expiration
       18 or older (Applicants 18 to 24 are required to successfully complete an                  $24 for license + $1 fee = $25        Six years
       approved driver education course.)
       17 with completion of an approved driver education course                                  $15 for license + $1 fee = $16        On applicant’s next birthday
       *A $1 administrative fee is included in most transactions. However, if you are completing multiple transactions at the same time either in-person or online then
        you will only be charged the $1 administrative fee once. A $1 administrative fee is not charged for transactions made through the mail.


Class B Driver License
A Class B driver license permits a person to drive:
 1. Any vehicle included in Class C;
 2. A single vehicle with a gross vehicle weight rating (GVWR) of 26,001 lbs. or more and any such vehicle towing either a vehicle
    with a GVWR that does not exceed 10,000 lbs. or a farm trailer with a GVWR that does not exceed 20,000 lbs.; and
A Class B driver license does not permit a person to drive a motorcycle or moped.
                                                                   Table 3: Class B Driver License
                                         Minimum Age                                                            Fee*                              Expiration
       18 or older (Applicants 18 to 24 are required to successfully complete an                  $24 for license + $1 fee = $25        Six years
       approved driver education course.)
       17 with completion of an approved driver education course                                  $15 for license + $1 fee = $16        On applicant’s next birthday
       *A $1 administrative fee is included in most transactions. However, if you are completing multiple transactions at the same time either in-person or online then
        you will only be charged the $1 administrative fee once. A $1 administrative fee is not charged for transactions made through the mail.


Class C Driver License
 1. A single vehicle or combination of vehicles that are not included in Class A or Class B and
 2. A single vehicle with a gross vehicle weight rating (GVWR) of less than 26,001 lbs. towing a trailer not to exceed 10,000 lbs.
    GVWR or a farm trailer with a GVWR that does not exceed 20,000 lbs.
 3. An autocycle, defined as a motor vehicle, other than a tractor, that is:
      • Designed to not have more than three wheels on the ground when moving
      • Equipped with a steering wheel
      • Equipped with seats that do not require the operator to straddle or sit astride the seat
      • Manufactured and certified to comply with federal safety requirements for a motorcycle
A Class C driver license does not permit a person to drive a motorcycle or moped.
                                                                   Table 4: Class C Driver License
                                         Minimum Age                                                            Fee*                              Expiration
       18 or older (Applicants 18 to 24 are required to successfully complete an                  $24 for license + $1 fee = $25        Six years
       approved driver education course.)
       16 with completion of an approved driver education course                                  $15 for license + $1 fee = $16        On applicant’s 18th birthday
       15 with the approval of a hardship license                                                 $ 5 for license + $1 fee = $6         On applicant’s next birthday
       *A $1 administrative fee is included in most transactions. However, if you are completing multiple transactions at the same time either in-person or online then
        you will only be charged the $1 administrative fee once. A $1 administrative fee is not charged for transactions made through the mail.

Class M Driver License
A Class M driver license permits a person to drive a motorcycle or moped. Before applying for a Class M license, you must pass a
motorcycle operator training course approved by DPS. Motorcycle training course providers require drivers who are less than 18
years of age to present proof of completion of the classroom phase of a driver education course, hold a learner license (issued after
completing the classroom phase of a driver education course), or hold a valid Class C license prior to enrolling in a motorcycle
operator training course.
Minimum Age
Motorcycle: 16 with completion of the classroom phase of a driver education course (32 hours) and a DPS approved motorcycle
operator training course (16 hours).
Moped: 15 years of age with completion of the classroom phase of a driver education course (32 hours) and a DPS approved motor-
cycle operator training course (16 hours).



  4
                 Case 5:19-cv-00074-FB Document 8-1 Filed 02/04/19 Page 78 of 262
Chapter 1: Your License to Drive                                                                                                                Texas Driver Handbook


Motor-driven cycle of 250 cc or less: 15 years of age with DPS approval for a hardship driver license or completion of the classroom
phase of a driver education course (32 hours) and a DPS approved motorcycle operator training course (16 hours).
For more information on Class M driver licenses, please visit our website, http://www.dps.texas.gov/DriverLicense/
motorcycleLicense.htm or see the Motorcycle Operator’s Manual. You may download the manual online at http://www.dps.texas.
gov/internetforms/Forms/DL-8.pdf
                                                                Table 5: Class M Driver License
          Type                                                         Amount                                                                   Expiration
     18 and older       $24 for license + $1 administrative fee = $25                                                               Six years
     Under 18           $15 for license + $1 administrative fee = $16                                                               On applicant’s 18th birthday
     Add M              Add M to current license requires a $15 exam fee + $1 administrative fee = $16                              Expires with license
     Renewal            An additional $8 is required when renewing a Class M license + $1 administrative fee = $9                   Expires with license
     *A $1 administrative fee is included in most transactions. However, if you are completing multiple transactions at the same time either in-person or online then
      you will only be charged the $1 administrative fee once. A $1 administrative fee is not charged for transactions made through the mail.



Fees and Driver Licenses for Veterans
Veterans who are honorably discharged and receive compensation for a service-related disability of at least 60 percent are exempt
from paying driver license and ID card fees. Individuals applying for a CDL or who are required to register as a sex offender are not
eligible for this fee exemption. The veteran must meet all other licensing requirements.
Veteran’s Designation on Driver License
DPS offers a “VETERAN” designation on the face of the driver license and identification card (ID) for qualifying veterans. For
more information on the veteran designation, visit our website at www.dps.texas.gov/DriverLicense/vetServices.htm.

Identification (ID) Cards
In addition to driver licenses, DPS issues ID cards with a photograph of the applicant. ID cards have a distinguishing number similar
to a driver license and are maintained in the driver record file. ID cards are displayed in a vertical format for individuals who are
less than 21 years of age and are horizontal for individuals who are 21 years of age and over. Applicants must provide documents in
accordance with DPS ID card policy requirements. For a list of acceptable documents to obtain an ID card, visit our website, http://
www.dps.texas.gov/DriverLicense/applyforID.htm
                                                               Table 6: Identification (ID) Cards
                                     Minimum Age                                                              Fee*                               Expiration
     ID cards can be issued to any person of any age. Anyone under the age                  $15 card + $1 fee = $16
     of 21 will have “Under 21” printed on the card.                                        (59 or younger)                             Six years
                                                                                            $5 card + $1 fee = $6 (60 or older)
     *A $1 administrative fee is included in most transactions. However, if you are completing multiple transactions at the same time either in-person or online then
      you will only be charged the $1 administrative fee once. A $1 administrative fee is not charged for transactions made through the mail.



Medical and Emergency Information
On the reverse side of the card, state law requires DPS to print the statement “Directive to physician has been filed at telephone
#” and “Emergency contact number”. Space is provided on the surface for the license holder to write a telephone number and a
box to the left of the statement to indicate why the telephone number is provided.
Space is also provided on the back of the card to allow individuals to voluntarily list health conditions which may impede com-
munication with a peace officer.
Additionally, an application for an original, renewal or replacement driver license or ID includes the option to provide the name, ad-
dress and telephone number of two individuals who may be contacted in the event of injury or death of the applicant.
Allergic Reaction to Drugs
DPS does not print medical information on driver licenses or ID cards. To add medical information to the back of your driver license
or ID card, use a permanent ink pen and write the following information:
 1. Name of your physician
 2. Emergency contact number
 3. Name of medication that may cause an allergic reaction




                                                                                                                                                                        5
                Case 5:19-cv-00074-FB Document 8-1 Filed 02/04/19 Page 79 of 262
Chapter 1: Your License to Drive                                                                              Texas Driver Handbook


Organ Donation
DPS offers “Donate Life Texas” pamphlets to any person who visits a driver license office. The pamphlets provide general informa-
tion on the Donate Life Texas program. If you choose to be an organ donor, a small red heart with the word “donor” will be printed
in the lower right corner on the front of the card. Cards that indicate a person’s wish to be a donor shall be conclusive evidence of a
decedent’s status as a donor and serve as consent for organ, tissue, and eye donation. You can register to be an organ, tissue, and eye
donor online at www.DonateLifeTexas.org.

Voluntary Contributions
If you are applying for an original or renewal driver license or ID card, you can voluntarily make a monetary contribution to the
following programs:
 1. The Blindness Education, Screening, and Treatment Program administered by the Texas Commission for the Blind, which
    provides screening and treatment for those individuals who are without adequate medical coverage.
 2. The Glenda Dawson Donate Life Texas Program, which manages the donor registry and statewide donor education projects.
 3. The Veteran’s Assistance Fund, which provides grants to local government and nonprofit organizations to enhance or improve
    veteran assistance programs that address the needs of veterans and their families.

How to Obtain a Texas Driver License
If you are applying for a Texas driver license, you must comply with the following procedures.
Applying for a Texas Driver License
An application for a driver license must be made in person. You can obtain an application at any driver license office or download
an application from our website at www.dps.texas.gov/DriverLicense/ApplyforLicense.htm.
All in-office applicants are provided an opportunity to complete a voter registration application.
All men 18-25 years of age who are U.S. citizens or immigrants are automatically registered for selective service upon issuance of
an ID card or driver license.
Required Documents and Application Information
To apply for a Texas driver license, you must provide the following documents and information.
 1. Your full name, proof of residential address, mailing address, current county of residence, place of birth, and date of birth
 2. Identification documents
 3. Social security card or other acceptable evidence of a social security number
 4. Thumb or index fingerprints
 5. Physical description
 6. Answer the medical status and history questions listed on the application. Individuals with certain medical limitations may have
    their cases reviewed by the Medical Advisory Board (MAB) before the license is issued
 7. Surrender any valid out-of-state driver license
 8. U.S. citizenship status or lawful presence
For additional information and lists of acceptable documents, visit our website,
www.dps.texas.gov/DriverLicense/ApplyforLicense.htm.
Driver Record
A complete record of all your examinations will be recorded on your application and scanned into the Driver License System where
it becomes a part of your permanent driving record. Any convictions for moving traffic violations or crashes, including out of state
records of convictions, will be recorded as part of your permanent driving record. To find out more information on driver records
and how to obtain a copy of your record, visit http://www.dps.texas.gov/DriverLicense/driverrecords.htm.
Evidence of Financial Responsibility (Vehicle Insurance)
When applying for an original driver license, you must provide evidence of financial responsibility or a statement that you do not
own a motor vehicle that requires the maintenance of financial responsibility.
Evidence of financial responsibility must meet at least the minimum amount required by Texas and cover each motor vehicle the
applicant owns that requires maintenance of financial responsibility.
Vehicle Registration
When surrendering an out-of-state driver license, a new Texas resident must submit, with a driver license application, evidence that
each motor vehicle owned by the person is currently registered in Texas, or indicate they do not own a motor vehicle required to
be registered. A registration receipt issued by the county tax assessor-collector of the county in which the new resident resides is
satisfactory evidence that your motor vehicle has been registered in Texas.


  6
               Case 5:19-cv-00074-FB Document 8-1 Filed 02/04/19 Page 80 of 262
Chapter 1: Your License to Drive                                                                             Texas Driver Handbook


Fees
The required fee(s) must be submitted before any exams will be given for an original Texas driver license. An additional $1 admin-
istrative fee is included in most transactions. However, if you are completing multiple transactions at the same time, either in-person
or online, you will only be charged the $1 administrative fee once. A $1 administrative fee is not charged for transactions made
through the mail.
For more information on all fees, refer to Appendix D of this handbook or visit our website,
http://www.txdps.state.tx.us/DriverLicense/fees.htm.

Driver Education
Individuals less than 25 years of age are required to
successfully complete an approved driver education course.
For more information on licensing requirements for applicants
less than 25 years of age, visit our website at
www.dps.texas.gov/DriverLicense/ApplyforLicense.htm.
Impact Texas Teen Drivers (ITTD)
Beginning September 1, 2015, an applicant must complete
the Impact Texas Teen Drivers (ITTD) program if he or she
completes a teen driver education course, is issued a certificate
of completion (DE-964), and takes the driving exam on or
after that date.
For more information visit the ITTD website,
https://impacttexasdrivers.dps.texas.gov
Minors
If you are less than 18 years of age, your application must be signed, under oath, by the parent or guardian with custody. If there is
not a guardian, your employer or county judge may sign the application. The person who signs may ask DPS to cancel your license
any time before your 18th birthday. This request must be in writing and sworn to before an officer authorized to administer oaths.
In addition, the minor applicant and cosigner must acknowledge receipt of information that explains the zero tolerance law. See
Chapter 10: Alcohol and Drugs Impact on the Driving Ability for more information.
Examinations
Before any exams are given, you must pay the required fee. Your picture will be taken and you will be given a payment receipt. If
you do not pass the knowledge and driving exams on your first attempt, your application will be held for 90 days. After 90 days or
three failed exams, a new application and fee will be required.
The knowledge and driving exams are not required for applicants 18 years of age and older who surrender a valid out-of-state
license. After you have passed all applicable exams you will be issued a temporary license, which you may use for 45 days or until
you receive your permanent license in the mail. If you do not receive your license in 45 days, contact our customer service center at
(512) 424-2600 or www.dps.texas.gov/DriverLicense/customer_service/.
Part 1: The Knowledge exam
As part of the Less Tears More Years Act, all applicants less than 25 years of age are required to take a driver education course to
apply for a driver license. Upon successful completion of certain courses, the person is not required to take the Class C knowledge
exam, also known as the written exam.
There are three types of knowledge exams.
 1. Class C – Knowledge exam for all original applicants
 2. Class M – Motorcycle road rules for motorcycle. This exam is also required for all moped license applicants. The exam for
     all other Class M applicants is waived if you successfully complete a motorcycle operator training course and present proof of
     completion.
 3. Class A or Class B – Rules exam for operators of Class A and Class B vehicles
You need a grade of 70 percent or better to pass any knowledge exam.
Part 2: The Vision Examination
Your vision will be examined when you are at the driver license office. Depending on the results, you may be required to wear
corrective lenses while driving if the lenses improve your vision and help increase the safety of your driving. If the results are
inconclusive, you may be referred to your doctor.




                                                                                                                                   7
                 Case 5:19-cv-00074-FB Document 8-1 Filed 02/04/19 Page 81 of 262
Chapter 1: Your License to Drive                                                                                Texas Driver Handbook


Part 3: The Driving Exam                                                              Examples of Vehicles for Driving Exam
The driving exam is given only after all other exams are passed and evidence
of financial responsibility is presented or the vehicle is exempt under the Texas
Motor Vehicle Safety Responsibility Act. The type of vehicle used for the driv- Class A
                                                                                  Test in
ing exam must match the class of license on the application. No one less than
18 years of age is exempt from taking the driving exam.
Individuals may take a driving exam at a driver license office or through a         Class B
                                                                                    Test in
third party skills testing (TPST) school. The TPST program started September
1, 2014. The program permits certain schools to administer the non-commer-
cial driving exam. Individuals who take and pass the driving exam through an
                                                                                    Class C
approved TPST school must present the sealed envelope prepared by the TPST          Test in
school in order for the exam to be waived at the driver license office.
Individuals who complete the DPS-approved motorcycle operator training Class M
course are not required to take a driving exam for a Class M license if the or endorsement
person already has a valid, unrestricted Texas license. Individuals less than 18 to existing license
years of age must pass the motorcycle driving exam.
Additionally, the driving exam is not required for anyone applying for a learner license.
A $10 exam fee is required when changing from a lower to a higher class license or when removing restrictions from a license. The
cost of adding a Class M to an existing license is $15.
Description of the Driving Exam
During the driving exam, you will not be asked to do anything illegal. You must follow all of the instructions given by the customer
service representative (CSR). Do not carry on a conversation during the driving exam.
If you are not eligible to drive in Texas, a licensed driver must drive the car to the driver license office and exam area. If you are not
issued a driver license then the licensed driver should also drive you away from the driver license office.
Upon completion of the driving exam, the CSR will explain all driving errors and let you know how to correct those errors.
Your application for a license will not be approved if you:
 1. Violate the law
 2. Refuse to follow instructions
 3. Drive dangerously or have a crash
 4. Have more than 30 points deducted on the driving exam
All drivers are graded on four basic skills, regardless of the type of driving exam.
 1. Control – Your ability to make your car do what you want it to do
 2. Observation – Your ability to see what other traffic is doing and other things that may create problems in traffic
 3. Positioning – Your ability to drive in your lane
 4. Signaling – Your ability to use turn signals as required
You may be graded on your performance on the following skills so it is good to practice before taking the driving exam.
      a. Parallel parking (you may use the back-up camera on your vehicle for parallel parking; however, the use of an automated
         vehicle parking function will not be allowed)
      b. Quick stop – You may be asked to stop your car as quickly as possible at about 20 mph without skidding your tires
      c. Backing – Your ability to back the car for a distance of about 60 feet at a slow rate of speed and as straight and smoothly as
         possible. Turn and look back at all times while backing or you may use the back-up camera and mirrors on your vehicle while
         backing; however, the use of an automated vehicle parking function will not be allowed
      d. Stop signs
      e. Traffic signals
      f. Use of clutch – On standard transmissions, hold the clutch all the way down when starting the motor, shifting gears, when
         stopping, and once your speed drops below 10 mph. Do not drive with your foot resting on the clutch
      g. Intersection observance – Use the proper lane; slow down and look both ways before entering the intersection
      h. Turns
      i. Right-of-way



  8
                    Case 5:19-cv-00074-FB Document 8-1 Filed 02/04/19 Page 82 of 262
Chapter 1: Your License to Drive                                                                                                       Texas Driver Handbook


       j. Following, passing, and proper lane observance
       k. Posture – Keep hands on steering wheel; don’t rest your elbow on the window
Pass or Fail Driving Exam
If you do not pass the driving exam, you will need to schedule time for another driving exam. If you pass the driving exam, always
carry your license with you when driving and upon request, show it to:
     1. Any peace officer, sheriff, constable, judge, justice of the peace, or state trooper
     2. Anyone with whom you are involved in a crash

Penalties for Driving Without a License
During a stop, a law enforcement officer will determine if you have a valid driver license as required.
                                                      Table 7: Penalties for Driving Without a License
                                               Conviction                                                                  Penalty*
         1st conviction                                                                           A fine of up to $200.
         2nd conviction in one year                                                               A fine of $25 to $200.
         Driving without a license, operating a vehicle without insurance at the time of the      Class A misdemeanor punishable by a fine up to $4,000
         offense, and driver causes a crash resulting in serious bodily injury or death           and/or confinement in jail for not more than 365 days.
         *Additional suspensions and surcharges may apply.



Restrictions Placed on a License
A restriction may be placed on your license. This is not meant to interfere with your driving but to make you a better driver.
Following is a complete list of the restriction codes. This information is also available on our website at http://www.txdps.state.tx.us/
DriverLicense/endrsRestrictions.htm.

                                                                  Table 8: Restriction Codes
     Code                                Description                              Code                                     Description
 A             With corrective lenses                                           P1             For Class M TRC 454.424 until MM/DD/YY
 B             Licensed operator front seat 21 or over                          P2             To/from work/school
 C             Daytime only                                                     P3             To/from work
 D             Not to exceed 45 mph                                             P4             To/from school
 E             No manual transmission equipped CMV                              P5             To/from work/school or LOFS 21 or over
 F             Must hold valid learner license to MM/DD/YY                      P6             To/from work or LOFS 21 or over
 G             TRC 545.424 applies until MM/DD/YY                               P7             To/from school or LOFS 21 or over
 H             Vehicle not to exceed 26,000 lbs GVWR                            P8             With telescopic lens
 I             Motorcycle not to exceed 250cc                                   P9             LOFS 21 or over bus only
 J             Licensed motorcycle operator 21 or over in sight                 P10            LOFS 21 or over school bus only
 K             CDL/CLP Instrastate commerce only                                P11            Bus not to exceed 26,000 lbs GVWR
 L             No airbrake equipped CMV                                         P12            Passenger CMV restrict to Class C only
 M             No Class A passenger vehicle                                     P13            LOFS 21 or over in vehicle equipped w/ airbrake
 N             No Class A or B passenger vehicle                                P14            Operation Class B exempt vehicle authorized
 O             No tractor trailer CMV                                           P15            Operation Class A exempt vehicle authorized
 Q             LOFS 21 or over, vehicle above Class B                           P16            If CMV, school buses interstate
 R             LOFS 21 or over, vehicle above Class C                           P17            If CMV, government vehicle interstate
 S             Outside rearview mirror or hearing aid                           P18            If CMV, only transport personal property (interstate)
 T             Automatic transmission                                           P19            If CMV, only transport corpse/sick/injured (interstate)
 U             Applicable prosthetic devices                                    P20            If CMV, privately transport passengers (interstate)
 V             Medical Variance documentation required                          P21            If CMV, fire/rescue (interstate)
 W             Power steering                                                   P22            If CMV, intra-city zone drivers (interstate)
 X             No cargo in CMV tank vehicle                                     P23            If CMV, custom harvesting (interstate)
 Y             Valid Texas vision or limb waiver required                       P24            If CMV, transporting bees/hives (interstate)
 Z             No full airbrake equipped                                        P25            If CMV, use in oil/water well service/drill




                                                                                                                                                           9
               Case 5:19-cv-00074-FB Document 8-1 Filed 02/04/19 Page 83 of 262
Chapter 1: Your License to Drive                                                                                  Texas Driver Handbook


  Code                            Description                      Code                                  Description
 P26      If CMV, for operation of mobile crane                   P34      No expressway driving
 P27      HME expiration date MM/DD/YY                            P36      Moped
 P28      FRSI CDL valid MM/DD/YY to MM/DD/YY                     P37      Occupational license (no CMV); see court order
 P29      FRSI CDL MM/DD/YY - MM/DD/YY or exempt B vehicles       P38      Applicable vehicle devices
 P30      FRSI CDL MM/DD/YY - MM/DD/YY or exempt A vehicles       P39      Ignition interlock required
 P31      Class C only: no taxi/bus/emergency vehicle             P40      Vehicle not to exceed Class C
 P32      Other

Removing or Adding Restrictions
Visit your local driver license office for more information concerning the removal or addition of any restrictions from your driver
license or learner license.

Replacement (Duplicate) or Change of a Driver License or ID Card
You should apply for a replacement license or ID card at your local driver license office if your license or ID card has been lost or
destroyed, or for any change in information. Please bring the required application (DL-43) and documents to verify your citizenship
and identity. For more information on acceptable documents, visit our website at www.dps.texas.gov/DriverLicense/.
A change of name or address must be reported to DPS within 30 days. A license expiring in less than 12 months, or in less than 30
days for a provisional license, should be renewed not duplicated.
Fee (replacement or change of license): $10 for license + $1 fee for transactions made in-person or online = $11
To change your name, you must apply in-person at any driver license office and bring the required documents. For more information
visit our website at www.dps.texas.gov/DriverLicense/.
To change the address on your Texas driver license or ID card you can visit any driver license office. You may also apply online at
www.dps.texas.gov/DriverLicense/ (you must have your card in your possession to apply online), by phone at 1-866-DL-RENEW or
mail an Application for Change of Address Certificate (DL-64). If you do not have the required DL-64, you can download one from
our website at www.dps.texas.gov/InternetForms/.
         Mailing Address: Texas Department of Public Safety
                          License and Record Service
                          PO Box 149008
                          Austin, TX 78714-9008
Upon receipt of a $10 fee and proper notification, a new license or ID card with the correct address information, with your previous
photograph or valid without photo, will be mailed to you.
Out-of-State Licensees
If you are out-of-state but maintaining a Texas driver license, you may apply for a duplicate license by mail. Download the Out-of-
State Packet (DL-16P) or Out-of-Country Application (DL-16) from the website, http://www.dps.texas.gov/internetforms/. Complete
and submit the required application with a $10 fee to:
         Mailing Address: Texas Department of Public Safety
                          License and Record Service
                          PO Box 149008
                          Austin, TX 78714-9008
NOTE: Some driver licenses are not eligible for online, phone or mail-in transactions. These include CDLs, limited term, sex
offender and licenses issued to persons 79 years of age and older.

Renewing a License
A renewal notice invitation may be mailed to the last address you provided to DPS about six weeks before your license expires. If
you do not receive this courtesy notice, it is your responsibility to renew your license.




  10
               Case 5:19-cv-00074-FB Document 8-1 Filed 02/04/19 Page 84 of 262
Chapter 1: Your License to Drive                                                                               Texas Driver Handbook


Application for Renewal
A Texas driver license must be renewed every six years. A renewal application must be made in person at any driver license office
unless you are eligible to renew online at www.dps.texas.gov/DriverLicense/, by mail, or by phone at 1-866-DL-RENEW. To check
your eligibility to renew, visit us online or call the number provided.
A person must appear in a driver license office at least once every twelve (12) years for a vision exam and to update the photo,
signature and fingerprints. Some of our larger office locations offer the ability to get in line on-line. Please check the website at
www.dps.texas.gov/DriverLicense/ to find out if this service is available at a location near you.
Alternate methods to renew will not be extended to:
 1. Any person whose license is suspended, cancelled, revoked, or denied
 2. Commercial driver license (CDL) holders
 3. Holders of an occupational license, provisional license, or learner license
 4. Licensees restricted because of driving ability or a medical condition that requires periodic reviews, including any medical or
    physical condition which may result in progressive changes to a licensee’s ability to safely drive a motor vehicle
 5. Driver license or ID card holders who are subject to sex offender
 6. Driver license holders who are 79 years of age or older
 7. Driver license holders who do not have a social security number or photo on file
 8. Non-U.S. citizens, due to a verification process
When you are at the driver license office you will be asked questions concerning your medical history. If you have certain medical
limitations, your case may be referred to the Medical Advisory Board (MAB) for their opinion about
how your condition may affect your driving. For more information on MAB, visit our website at
http://www.dps.texas.gov/driverlicense/MedicalRevocation.htm
Individuals Returning to Texas from Military Service
Within 90 days of being honorably discharged, military personnel returning from duty must present a Texas driver license and
separation papers to obtain a renewal license without taking the knowledge and driving exams when the license has been expired
for over two years.
Out-of-State Texas Licensees
Eligible individuals who do not currently reside in Texas but whose true, permanent home is in Texas may mail in their application
for renewal. Download the Out-of-State Packet (DL-16P) or Out-of-Country Application (DL-16) from the website, http://www.dps.
texas.gov/internetforms. The following individuals who are out-of-state are not eligible to renew by mail and must renew in-person.
 1. A person subject to sex offender registration requirements
 2. A person 79 years of age or older
 3. A person holding a commercial driver license (CDL)
 4. A person who is not a U.S. citizen
The proper fee and the results of your vision exam, performed by an eye specialist or an authorized driver license employee,
must be included with your application. The license will be renewed and will be valid to expiration date shown or until
45 days after return to Texas, whichever comes first.
Make check or money order made payable to: TX DPS. Do not send cash. Mail to:
         Mailing Address: Texas Department of Public Safety
                          Central Cash Receiving
                          PO Box 15999
                          Austin, TX 78761-5999

Suspensions and Revocations
Operating a motor vehicle is a privilege. If this privilege is abused, it may result in a driver license suspension or revocation.
Mandatory suspensions, revocations, and convictions for certain offenses involving fraudulent government records require an ad-
ditional $100 reinstatement fee. Administrative License Revocations (ALR) require an additional $125 reinstatement fee. Some
mandatory suspensions also require filing a Financial Responsibility Insurance Certificate (SR-22).
Mandatory Suspension
Convictions for the following offenses will result in the automatic suspension of your license and driving privilege. For minors, see
the Suspensions and Revocations (Under 21) section in this chapter.



                                                                                                                                     11
                Case 5:19-cv-00074-FB Document 8-1 Filed 02/04/19 Page 85 of 262
Chapter 1: Your License to Drive                                                                             Texas Driver Handbook


 1. Driving while intoxicated (DWI) by use of alcohol or drugs
 2. Drug offense
 3. Intoxication manslaughter or intoxication assault
 4. Failure to stop and render aid
 5. Causing the death or serious injury of anyone while operating a motor vehicle; involuntary manslaughter
 6. Any offense punishable as a felony under the motor vehicle laws of Texas
 7. Overtaking and passing a school bus (subsequent conviction)
 8. Boating while intoxicated
 9. Evading arrest
 10. Driving while license invalid
 11. Altered/unlawful use of a driver license
 12. Displaying or possessing a fictitious or altered driver license or ID card
 13. Lending a driver license or ID card to someone
 14. Possessing more than one valid driver license or ID card
 15. Providing false information or documents when applying for a driver license
 16. Making, selling, or possessing a document deceptively similar to a driver license or ID card issued by DPS
 17. Graffiti
 18. Fictitious license plate, registration certificate, or safety inspection sticker
 19. Fraudulent government records
 20. Racing a motor vehicle on a public highway or street
Administrative Suspensions and Revocations
DPS has the authority to suspend or revoke a driver license or privilege of any driver, after an opportunity for a proper hearing, for
any of the reasons listed below. A reinstatement fee is required for all discretionary suspensions and revocations.
 1. Driving while license invalid
 2. Causing a serious crash while driving a motor vehicle
 3. Becoming incompetent to drive
 4. Repeated violations of traffic laws, including:
    a. Four or more traffic convictions occurring separately within any 12-month period or
    b. Seven or more traffic convictions within any 24-month period
 5. Failure to complete a drug education program as required upon conviction of a drug offense
 6. Failure to provide medical information when requested
 7. Failure to take or pass a test when requested
 8. Fleeing or attempting to flee from a law enforcement officer
 9. Person has committed an offense in another state, which if committed in this state would be grounds for suspension or revocation
 10. Fail to stop for a school bus (second conviction)
 11. Violates a probation order set by a previous hearing
Suspensions and Revocations (Under 21)
Convictions or failure to comply with the following offenses will result in automatic suspension of the driving privilege of indi-
viduals who are less than 21 years of age (See Administrative License Revocation (ALR) section for more suspension information
regarding minors.)
Alcoholic Beverage Code Offenses
 1. Minor in possession
 2. Attempt to purchase alcohol by a minor
 3. Purchase of alcohol by a minor
 4. Consumption of alcohol by a minor


  12
               Case 5:19-cv-00074-FB Document 8-1 Filed 02/04/19 Page 86 of 262
Chapter 1: Your License to Drive                                                                            Texas Driver Handbook


 5. Misrepresentation of age by a minor
 6. Driving or operating a watercraft under the influence of alcohol by a minor
 7. Failure to complete an alcohol awareness class
Health and Safety Code Violations
 1. Failure to complete a tobacco awareness class when required
 2. Drug offense
 3. An offense under the Controlled Substance Act
 4. A felony under Chapter 481 that is not a drug offense
Family Code Violations
 1. Delinquent conduct by a minor or juvenile
 2. Truancy
Suspend or Revoke After Hearing of Minor
DPS has the authority to suspend or revoke the license or driving privilege of a minor after a proper hearing, for:
 1. A juvenile court order
 2. Failure to pay a fine or juvenile contempt, and
 3. Two or more traffic convictions occurring separately within any 12-month period for a driver who is less than 18 years of age
Administrative License Revocation (ALR)
The Administrative License Revocation (ALR) law provides an administrative penalty for driving while intoxicated. A $125 rein-
statement fee is required for all ALR suspensions.
DPS is authorized to suspend a license or driving privilege:
 1. For individuals who are over 21 years of age who fail a breath or blood test (the blood alcohol content indicates a level of 0.08
    or more)
 2. Of any person who refuses to submit to a breath or blood test, or
 3. For individuals who are under 21 years of age for any detectable amount of alcohol

Cancellations
DPS is authorized to cancel the driver license or ID card of individuals who do not meet certain qualifications. The following types
of cases require cancellation of a driver license or ID card:
 1. Suspension and revocation action from another state
 2. Parental authorization withdrawn (for individuals who are under 18 years of age)
 3. Failure to give the required information on the application for the license or ID card
 4. Person is not entitled to the license or ID card
 5. Incomplete driver education
 6. Voluntary surrender for medical or insurance purposes
 7. False statement on an application for a license or ID card

Court-Ordered Suspensions, Revocations, and Cancellations
Upon receipt of a court order, DPS will suspend, revoke, or cancel a license or driving privilege for:
 1. Delinquent child support
 2. Requirement for an ignition interlock device (see www.dps.texas.gov/DriverLicense/IgnitionInterlock.htm for more information)
 3. Failure to repay any overpayment of food stamps or financial assistance
 4. Mentally incapacitated
 5. Chemically dependent
 6. Failure to renew their license annually as required (classified sex offender)




                                                                                                                               13
                  Case 5:19-cv-00074-FB Document 8-1 Filed 02/04/19 Page 87 of 262
Chapter 1: Your License to Drive                                                                                                     Texas Driver Handbook


Denials
DPS is authorized to deny the issuance of a driver license to a person who is ineligible to receive a license in this state. An applicant
may be denied a driver license for:
 1. Suspension/revocation/cancellation/disqualification status in Texas, another state, or Canadian Province
 2. Physical or mental incapacity preventing the safe operation of a motor vehicle
                                                                                                                                            No te:
 3. Acquiring motor vehicle fuel without payment                                                                               S pe cia l          ren ew al
                                                                                                                                        den y th e        exas
                                                                                                                          DP S may licen se o f a T ea r in
 4. Certain criminal mischief (i.e. graffiti, etc.)                                                                       o f a dr iv er           to  app
                                                                                                                                       who fa ils         on s or
                                                                                                                          licen see r traff ic viola ti ithin
 5. Purchasing or furnishing alcohol to a minor                                                                           court fo th er o ffen ses w urt
                                                                                                                                                           o
                                                                                                                           certa in o ction o f an y c C o de
                                                                                                                                        di                 e
 6. Delinquent child support                                                                                               th e juris hapter 4 o f th
                                                                                                                                        C
                                                                                                                           listed in al Pro cedures.
                                                                                                                                       in
 7. Failure to pay reinstatement fees                                                                                       o f C rim

 8. Failure to appear or failure to pay for certain violations
 9. Drug offense

Driving While License Invalid (DWLI)
Individuals who drive a motor vehicle while their driver license is suspended, revoked, denied, or cancelled are subject to suspen-
sions and criminal penalties. The penalties for driving a motor vehicle while your license is invalid are listed below.
                                           Table 9: Penalties for Driving While License Invalid (DWLI)
                                               Offense                                                                     Penalty
       Driving a motor vehicle while driver license or privilege is suspended, cancelled,             Class C misdemeanor, punishable by a fine of up
       denied, or revoked.                                                                            to $500.
       The person has a previous conviction for the same offense, was operating a vehicle             Class B misdemeanor, punishable by a fine of up to
       without insurance at the time of the offense, or the person’s license had been sus-            $2,000 and/or confinement in jail for not more than
       pended because of an offense involving operating a motor vehicle while intoxicated.            180 days.
       The person was operating a vehicle without insurance at the time of the offense and            Class A misdemeanor, punishable by a fine of up to
       caused a crash which resulted in serious bodily injury or death of another. The suspen-        $4,000 and/or confinement in jail for not more than
       sion will automatically be extended.                                                           365 days.


Penalties for Non-Driving Alcohol-Related Offenses by Minors
The Zero Tolerance law provides penalties for minors who commit non-driving alcohol related offenses. A minor may not purchase,
attempt to purchase, falsely state he/she is 21 years of age or older, or present a document indicating he/she is 21 years of age or older
to a person engaged in selling or serving alcoholic beverages. A minor may not consume, or possess an alcoholic beverage. The
penalties for non-driving alcohol-related offenses for minors are listed below.
                                   Table 10: Penalties for Non-Driving Alcohol-Related Offenses - Minors
              Offense                                                                       Penalty
       1st offense                 Class C misdemeanor punishable by a fine of up to $500, 8 to 12 hours of community service, and mandatory
                                   alcohol awareness course attendance. The driver license will be suspended (or privilege will be denied if not
                                   licensed) for 30 days.
       2nd offense                 Class C misdemeanor punishable by a fine up to $500, 20 to 40 hours of community service, and the minor may
                                   be required to attend an alcohol awareness course. The driver license will be suspended (or privilege will be denied
                                   if not licensed) for 60 days.
       3rd offense                 Class B misdemeanor punishable by a fine of $250 to $2,000; minor may also be required to attend an alcohol
       (At least 17 years of age   awareness course. The driver license will be suspended (or privilege will be denied if not licensed) for 180 days.
       but less than 21)           Minors are not eligible for deferred disposition on the third conviction or any subsequent conviction.
       3rd offense                 Class C misdemeanor punishable by a fine up to $500, 20 to 40 hours of community service, and the minor may
       (Under 17 years of age)     be required to attend an alcohol awareness course. The driver license will be suspended (or privilege will be denied
                                   if not licensed) for 60 days, or the case can be transferred to Juvenile Court as delinquent conduct.

A minor who is convicted of driving while his/her license is suspended because of a non-driving alcohol related offense is subject
to the penalties of Driving While License Invalid (DWLI).




  14
               Case 5:19-cv-00074-FB Document 8-1 Filed 02/04/19 Page 88 of 262
Chapter 1: Your License to Drive                                                                                       Texas Driver Handbook


Other Non-Driving Penalties for Alcohol-Related Offenses
A person, who purchases, furnishes, or sells an alcoholic beverage to a minor is subject to the penalties listed in the table below.
                            Table 11: Penalties for Purchasing, Furnishing, or Selling Alcohol to a Minor
                               Offense                                                     Penalty
            Purchased or furnished alcohol to a minor     A fine of up to $4,000 and/or confinement in jail for up to one year.
            Sold alcohol to a minor                       A fine of up to $4,000 and/or confinement in jail for up to one year.


Occupational License (Essential Need License)
An occupational license, also called an essential need license, is a special type of restricted license issued to individuals:
 1. Whose driver license has been canceled, suspended, revoked, or denied for certain offenses (other than medical or delinquent
    child support); and
 2. Who can prove to a court there is an essential need to drive.
Individuals may still qualify for an occupational license even if their driver license has been suspended for surcharges.
Application for an occupational license is made to the district, county, or justice of the peace court in the precinct or county of the
licensee’s residence or to the court of original jurisdiction, whichever is applicable. If the court determines an individual is eligible
for an occupational license then a court order will be issued. The court order authorizes DPS to issue the occupational license. The
applicant must submit the court order and all required items to DPS before an occupational license can be issued. The fee for this
type of license is $10 per year. The court order may be used for 45 days for driving purposes while the occupational license is being
processed. After 45 days, you must have both the court order and the occupational license in your possession.
A person issued an occupational license must also carry a certified copy of the court order when operating a vehicle and must allow
a law enforcement officer to examine the order at the officer’s lawful request. An occupational license may not be issued to drive a
commercial motor vehicle.
For more information on occupational licenses, visit our website at http://www.dps.texas.gov/DriverLicense/OccupationalLicense.htm.

Driver Responsibility Program (DRP)
The Driver Responsibility Program (DRP) establishes a system that authorizes the Texas Department of Public Safety (DPS) to
assess surcharges to an individual based on certain traffic offenses.
A surcharge is an administrative fee based on convictions reported to the driver record. A surcharge is in addition to other types of
fees and does not replace a suspension, revocation, disqualification, denial, or cancellation action resulting from the same convic-
tion. To check your driver eligibility, visit https://txapps.texas.gov/txapp/txdps/dleligibility/login.do
Two criteria are used to determine if a surcharge will be assessed: Point system and Conviction based.
Individuals who have both points and convictions reported to their driver record will receive separate surcharges for each offense;
a surcharge for the points and a surcharge for the conviction.
Point System
Points are assessed for traffic convictions. Once the conviction has been reported to the driver record, points are assigned and
remain on your driver record for three years. A person will receive:
 • Two points for a Texas or out-of-state traffic conviction
 • Three points for a Texas or out-of-state traffic conviction that resulted in a crash
A surcharge is assessed when the driver has six or more points on his/her driver record within three years. The driver is required to
pay an additional $100 surcharge for the first six points and $25 for every point after six. The surcharge is assessed every year the
driver maintains six or more points.
Conviction Based
A driver convicted of one of the offenses listed in the Conviction Based Surcharges (DRP) table is assessed a surcharge every year
for three years. Points are not assessed for these offenses because the surcharge is automatic upon conviction.




                                                                                                                                       15
               Case 5:19-cv-00074-FB Document 8-1 Filed 02/04/19 Page 89 of 262
Chapter 1: Your License to Drive                                                                                                              Texas Driver Handbook


                                                  Table 12: Conviction Based Surcharges (DRP)
                                                       Type of Conviction                                                      Surcharge
                   Driving While Intoxicated (DWI) - 1st offense                                                                  $1,000
                   DWI – second and subsequent offenses                                                                           $1,500
                   DWI with blood alcohol concentration of 0.16 or greater                                                        $2,000
                   No Insurance                                                                                                 Up to $250
                   Driving While License is Invalid (DWLI); license is cancelled, suspended, or revoked                            $250
                   No driver license (No license, expired license, or no CDL)                                                   Up to $100
                   • Individuals are permitted to reduce:
                       - No Insurance surcharges that were assessed on or after September 1, 2015, to $125 per year, if they obtain a SR-22A
                         insurance policy no later than 60 days after the date of offense.
                       - No driver license surcharge that were assessed on or after September 1, 2015 to $50 per year, if they obtain a driver’s
                         license no later than 60 days after the date of offense. A valid driver license also includes an occupational, commercial,
                         and interlock/restricted license.
                   •Individuals are permitted to waive their No Insurance surcharge assessed on or after September 1, 2017 if they submit
                    proof of insurance to DPS that was valid on the date of offense.


DPS Contracts with a Vendor
DPS contracts with an outside vendor (Municipal Services Bureau – MSB) to collect surcharges. This vendor is legally authorized
to charge the following service fees in addition to the surcharge:
 1. A service fee of four percent of the original surcharge amount;
 2. An installment plan payment fee of $2.50 per partial payment;
 3. A credit or debit card fee of 2.25 percent of the payment plus $0.25 (except where prohibited by law); and
 4. An electronic check fee of $2.00 per payment.
Driver Record Review
DPS reviews surcharge cases annually. The number of points on a record can vary each year based on convictions that are added or
removed. Please be aware there is a lapse in time from the date you are convicted for an offense and the date your conviction is re-
ported to DPS by the courts. As a result, points may be added to or deducted from your record for offenses committed in the previous
12-month period. For more information regarding driver record review, please visit http://www.dps.texas.gov/DriverLicense/drp.htm.
Driver Notification
A letter will be mailed to you notifying you of the surcharges you have been assessed. Letters are mailed to the address DPS has on
record or to your most recent forwarding address, if it is different. So it’s important to notify DPS of any changes to your informa-
tion. To change your address online, visit our website at http://www.txdps.state.tx.us/DriverLicense/.
Payment of Surcharges
Surcharges must be paid within 105 days or an individual’s driver license will be suspended for failure to comply with the surcharge
requirements. Individuals can pay all three years in advance or enter into an installment payment. For more information regarding
payment options, please visit http://www.txdps.state.tx.us/DriverLicense/drp.htm. The individual’s driving privileges will remain
suspended until an installment agreement is established or all surcharges and related costs are paid in full.
Payments can be made online at https://www.txsurchargeonline.com/ or by calling 800-688-6882.
Individuals may also mail a personal check, money order, or cashier’s check to the address below. Do not send cash. Individuals must
write their name, driver license number and reference number, on their payment so their record can be properly identified. Make
check or money order payment to MSB and allow three days for processing.
         Mailing Address: Surcharge Processing;
                          PO Box 16733
                          Austin, Texas 78761-6733
Indigency and Incentive Programs
The Indigency program reduces the amount of surcharges owed for some individuals who have incomes at or below
125 percent of the federal poverty guidelines.
The Incentive program reduces the amount of surcharges owed for some individuals who have incomes above 125 percent and below
300 percent of the federal poverty guidelines.




  16
              Case 5:19-cv-00074-FB Document 8-1 Filed 02/04/19 Page 90 of 262
Chapter 1: Your License to Drive                                                                             Texas Driver Handbook


A summary of additional features and requirements of this program are:
 1. All surcharges assessed are eligible for a reduction.
 2. Under the Indigency program the surcharge amount owed is waived.
 3. Under the Incentive program the surcharge amount owed is reduced to 50 percent.
 4. Customers are still required to pay the full amount of all other applicable fees.
 5. Once approved for a reduction under the Incentive program, the individual must pay the reduced balance in full within six (6)
    months. All surcharge suspensions will be lifted during this period. If the individual does not pay the balance in full by the due
    date, their driving privileges will be suspended until the reduced balance is paid in full.
To learn more about program eligibility requirements, poverty guidelines, or the application process visit our website at
www.dps.texas.gov/DriverLicense/drp.htm or call (866) 223-3583.




                                                                                                                                17
                  Case 5:19-cv-00074-FB Document 8-1 Filed 02/04/19 Page 91 of 262
Chapter 2: Vehicle Inspection and Registration                                                                              Texas Driver Handbook


                             Chapter 2: Vehicle Inspection and Registration
Vehicle Inspection
All motor vehicles registered in Texas must be inspected each year at an official motor vehicle inspection station. This includes mo-
torcycles, mopeds, scooters, and autocycles. Evidence of financial responsibility for the vehicle being inspected must be presented
at the time of the inspection.
The Texas Department of Motor Vehicles (DMV) and the Texas Department of Public Safety (DPS) transitioned to a new vehicle
inspection and registration system requiring motorists to display only the valid registration sticker on the windshield. The sticker
serves as combined proof of registration and inspection.
When a vehicle passes inspection, the inspection station will print the passing Vehicle Inspection Report (VIR) and enter the infor-
mation into an electronic database. The DMV verifies the database information at the time your vehicle is registered. You should
still be prepared to present the printed VIR when registering your vehicle. The VIR is only valid for 90 days from the month of
inspection for registration purposes.

Required Equipment for Vehicles
You must have the following equipment in proper working order for your car to be considered safe.
                                         Table 13: Required Equipment for Motor Vehicles
                      Item                                                          Description
       Brakes                       1. Foot Brake - Must stop car within a distance of 25 feet at a speed of 20 mph.
                                    2. Parking Brake - Should be adequate to stop and hold car.
       Lights                       1. Two Headlights (one on each side of the front) - A beam indicator showing when the high headlight
                                       beam is on.
                                    2. Taillights - All vehicles must be equipped with two taillights. Exception: Cars manufactured before 1960
                                       are only required to have one taillight.
                                    3. Brake (Stop) Lights - All vehicles must have two (2) working brake lights. Exception: Cars manufac-
                                       tured before 1960 are only required to have one (1) brake light. Vehicles equipped with a third or high
                                       mounted stop lamp require all three to be operational.
                                    4. License Plate Light- A white light that lights the rear license plate when the headlights (or auxiliary
                                       lamps) are lighted.
                                    5. Parking Lights - White or amber on the front, red to the rear (may be combined with other lights).
                                    6. Reflectors - Two red reflectors, one on each side of the car (may be combined with taillights) must be
                                       placed at a height of 15 to 60 inches and be visible up to 600 feet; visible up to 350 feet on vehicles
                                       manufactured before 1960.
                                    7. Turn Signals - Every motor vehicle, trailer, semi-trailer, and pole-trailer must have electric turn signals
                                       (except motorcycles and certain trailers). Exception: Passenger cars and trucks less than 80 inches in
                                       width and manufactured before 1960 are not required to have electrical turn signals.
       Horns                        Horns must be heard for a minimum distance of 200 feet.
       Muffler and exhaust system   All 1968 or later models must be equipped with an exhaust emission system to help reduce air pollution.
       Safety glass                 New cars must be equipped with safety glass. Replacements of glass for any car must be with safety glass.
       License plates               Vehicles must have one valid plate affixed to the front and one at the rear of passenger and commercial
                                    vehicles, in the manner prescribed by law, except dealer and commercial vehicles that are only issued one
                                    license plate.
       Windshield wiper             Windshield wipers are necessary for safety in bad weather.
       Rearview mirror              A rearview mirror must be able to reflect a view of the highway for a distance of at least 200 feet to the
                                    rear of the vehicle.
       Slow moving vehicle emblem   Farm tractors and machinery, road construction machinery, animal-drawn vehicles and certain other motor
                                    vehicles assigned to travel at 25 mph or less must display the slow-moving vehicle emblem.
       Front safety belts           Front safety belts are required if safety belt anchorages were part of the original equipment of the vehicle.
       Tires                        All vehicles are required to have tires in proper and safe condition with a minimum depth of 2/32 of an inch.
       Fuel cap                     The fuel cap on gasoline-powered vehicles from 2 to 24 years old will be checked to determine if the fuel
                                    cap is missing or defective. Exception: Antique vehicles, circus vehicles, slow moving vehicles, motorcycles,
                                    and vehicles operated exclusively by a fuel other than gasoline and vehicles newer than 2 years or older
                                    than 24 years.

For information on commercial vehicles, please see the special requirements section in the Texas Commercial Motor Vehicle Driver
Handbook. For information on motorcycles, see the Motorcycle Operator’s Manual.




  18
                  Case 5:19-cv-00074-FB Document 8-1 Filed 02/04/19 Page 92 of 262
Chapter 2: Vehicle Inspection and Registration                                                                                Texas Driver Handbook


Equipment You Must Not Have
The following equipment is considered unsafe and is not allowed on your vehicle:
 1. A red light showing from the front except on an emergency vehicle.
 2. A bell, siren, or exhaust whistle except on an emergency vehicle.
 3. A muffler cutout.
 4. Anything extending more than three inches beyond the left side or six inches beyond the right side of the body, running board,
    or fenders of your car.
 5. Flashing red lights on the front except on emergency vehicles, school buses, and church buses.
 6. A radar interference device designed, manufactured, used, or intended to be used to interfere with, scramble, disrupt, or cause
    to malfunction a radar or laser device used to measure a vehicle’s speed.
Minimum Road Clearance
A vehicle must not be modified or weighted in such a manner where the body is below the lowest part of the rims of the wheels.

Optional Equipment for Vehicles
The following equipment is considered optional and is not required to be on your vehicle.
                                            Table 14: Optional Equipment for Motor Vehicles
             Optional Item                                                            Description
      Spotlight                       Spotlights must be turned off for a vehicle approaching from the opposite direction. If headlights fail, it
                                      may be used with the beam striking the road not more than 50 feet in front of the vehicle on which it
                                      is used.
      Side cowl or fender light       Two of these types of lights are permitted; must show amber or white light without glare.
      Running board courtesy lights   One running board courtesy light is permitted on each side; must show amber or white light without a
                                      glare.
      Backup lights                   Two backup lights are permitted separately or in combination with other lights. Do not use when vehicle is
                                      in forward motion.
      Flashing lights                 Widespread flashing lights may be used on any vehicle to warn of unusual traffic hazards; must show flash-
                                      ing amber or white to the front and flashing amber or red to the rear and must flash simultaneously.
      Additional lights               Any motor vehicle may have up to three additional driving lights mounted on the front, not less than
                                      12 inches but not more than 42 inches from the road surface.
      Sunscreen or window tinting     If sunscreen or window tinting is used, it must comply with the appropriate state regulations for your
                                      vehicle make and model.


Registration of Vehicles
All vehicles must be registered in the owner’s county of residency. Once the vehicle is properly registered, a registration sticker will
be issued that must be displayed on the vehicle’s windshield or on the rear license plate of a motorcycle or moped.
 1. An owner must register a newly purchased vehicle within 30 days of purchase.
 2. Nonresident truck owners may be issued 30-day temporary registration permits for certain movements of farm products and
    machinery during harvesting season.
 3. Under certain conditions, temporary registration permits and reduced registration rates for special vehicles may be obtained.
 4. Buyers’ temporary tags are recognized for 60 days; dealers’ metal registration plates may be used on any dealer-owned vehicle
    except for commercial purposes (vehicle inspection is required).
 5. A manufacturer’s metal registration plate may be used for vehicle testing purposes only; a vehicle inspection is required.
    Dealers temporary cardboard tags may be used for demonstrating a vehicle for sale, or for transporting or servicing vehicles
    without a motor vehicle inspection. These vehicles may not be used for driver license driving exams.
 6. Farm registered vehicles, in addition to use for farm and ranch purposes, may be used as a means of passenger transportation
    for members of the family to attend church or school, to visit doctors for medical treatment or supplies, or for other necessities
    of the home or family. Farm registered vehicles may not be used for gainful employment.
 7. For registration applications and detailed information, consult your County Tax Assessor-Collector or the Texas
    Department of Motor Vehicles (DMV).




                                                                                                                                                    19
                Case 5:19-cv-00074-FB Document 8-1 Filed 02/04/19 Page 93 of 262
Chapter 2: Vehicle Inspection and Registration                                                                       Texas Driver Handbook


Vehicles Not Required to be Registered or Inspected
The following vehicles are not required to be registered, inspected, or to display a license plate when temporarily operated on
highways:
  1. Farm tractors
  2. Farm trailers, farm semi-trailers, and certain fertilizer and cottonseed trailers with a gross weight of 4,000 lbs. or less
  3. Implements of agriculture
  4. Power sweepers
  5. Certain golf carts
  6. Electric bicycles
  7. Motorized and electric personal assistive mobility devices
When temporarily operated on highways, the following vehicles are not required to be registered or inspected if the owner annually
secures a distinguishing $5 license plate and complies with other special conditions in the law:
  1. Machinery for drilling water wells and construction machinery.
  2. Farm trailers, farm semi-trailers, cotton trailers, cottonseed trailers, and certain fertilizer trailers weighing over
     4,000 lbs. but less than 34,000 lbs gross.
Vehicle Registration for New and Nonresidents of Texas
A new Texas resident must register every vehicle he/she owns before applying for a Texas driver license.
When a nonresident establishes residency in Texas or enters into gainful employment, his/her vehicle may be operated for 30 days.
After 30 days, the vehicle must be registered in Texas.
New residents registering a vehicle must obtain a Texas vehicle inspection report and verification of the vehicle identification number
(VIN) by a state-approved vehicle inspection station prior to registration. The vehicle owner will then be provided the necessary form for
processing the vehicle registration. Evidence of financial responsibility for the vehicle being registered must be presented at the time of
registration. If evidence of financial responsibility is not presented, the vehicle cannot be registered. The registration receipt issued by the
county tax assessor-collector for each vehicle will be acceptable proof of the registration when applying for a Texas driver license.




  20
               Case 5:19-cv-00074-FB Document 8-1 Filed 02/04/19 Page 94 of 262
Chapter 3: Safety Responsibility                                                                                       Texas Driver Handbook


                                    Chapter 3: Safety Responsibility
The Liability Insurance Law
The Texas Motor Vehicle Safety Responsibility Act was enacted to ensure all drivers are financially responsible for the death, injury,
or property damage they may cause while operating a motor vehicle. All owners and/or operators of motor vehicles in Texas must
have at least the minimum amount of liability insurance.
As of January 1, 2011, the minimum amount of liability insurance is:
 • $30,000 against injury or death of one person
 • $60,000 against injury or death of two or more individuals
 • $25,000 against property damage
To comply with the Texas Motor Vehicle Safety Responsibility Act, a driver, unless exempt, must maintain liability insurance or be
self-insured under the provisions of the Act. Evidence of financial responsibility must be presented at the time a person applies for
a driver license, registers a motor vehicle, or obtains a motor vehicle inspection report.
Every owner or operator of a motor vehicle in Texas is required to furnish evidence of financial responsibility to a law enforcement
officer upon request or to another person involved in a crash.

Evidence of Financial Responsibility
The following list includes items that will be accepted as evidence of financial responsibility.
 1. A liability insurance policy in at least the minimum amounts.
 2. A standard proof of liability insurance form prescribed by the Texas Department of Insurance and issued by a liability insurer
    that includes the:
    a. Name of the insurer, insurance policy number, and policy period;
    b. Name and address of each insured;
    c. Policy limits or a statement the coverage of the policy complies with at least the minimum amounts of liability insurance
       required by this Act; and
    d. The make and model of each covered vehicle.
 3. An insurance binder indicating the owner and/or operator is in compliance.
 4. A certificate issued by the state comptroller showing the owner of the vehicle has on deposit with the comptroller, money or
    securities for at least $55,000.
 5. A surety bond issued by DPS showing the vehicle has a bond on file with DPS.
 6. A certificate or copy of a certificate issued by the county judge of a county in which the vehicle is registered that shows the
    owner of the vehicle has on deposit with the county judge, cash or a cashier’s check for at least $55,000.
 7. A certificate or copy of a certificate of self-insurance, issued by DPS, which shows the person has more than 25 vehicles regis-
    tered in his/her name.
 8. An image displayed on a wireless communication device that includes the information required in a standard insurance form.
    This option is not acceptable for driver license issuance or examinations.

Failure to Provide Evidence of Financial Responsibility
If an individual fails to provide evidence of financial responsibility when required, he/she may receive a citation. The court may
dismiss the charge if the individual provides evidence that a liability insurance policy was in effect when the citation was issued.
Upon conviction of driving a motor vehicle without sufficient evidence of financial responsibility as required, a driver is subject to
penalties.
                           Table 15: Penalties for Driving Without Evidence of Financial Responsibility
            Conviction                                                           Penalty
     1st conviction            A fine of $175 to $350.
     2nd conviction and each   Suspension of driver license and motor vehicle registration, a fine of $350 to $1,000, and court-impoundment
     subsequent conviction     of the motor vehicle driven or operated by the person at the time of the offense provided the defendant was
                               an owner of the vehicle at the time of the offense and is an owner of the vehicle on the date of conviction.
                               The vehicle shall be impounded for 180 days. Before the court orders the release of the vehicle, evidence of
                               financial responsibility must be presented to the court.




                                                                                                                                              21
               Case 5:19-cv-00074-FB Document 8-1 Filed 02/04/19 Page 95 of 262
Chapter 3: Safety Responsibility                                                                           Texas Driver Handbook


The vehicle registration, license or driving privilege of a driver will be suspended:
 1. Upon conviction of a traffic violation providing for a suspension of a driver license, unless evidence of insurance is presented
    to DPS;
 2. If a judgment resulting from a crash has not been satisfied within 60 days of the judgment;
 3. If an installment agreement arising out of a settlement of a crash is in default;
 4. If, while uninsured, the individual was involved in a crash in which another person was killed, injured, or there was at least
    $1,000 damage to a person’s property and there exists a reasonable probability of a judgment being rendered against the driver;
    and
 5. When required to maintain evidence of financial responsibility for two years from the most recent conviction date. More
    specific information about compliance with the Texas Motor Vehicle Safety Responsibility Act may be found online at
    http://dps.texas.gov/DriverLicense/sr22InsuranceCertificate.htm. You may also visit any driver license office or write to:


         Mailing Address: Texas Department of Public Safety
                          Enforcement and Compliance Service
                          PO Box 4087
                          Austin, TX 78773-0320




  22
                Case 5:19-cv-00074-FB Document 8-1 Filed 02/04/19 Page 96 of 262
Chapter 4: Right-of-Way                                                                                                        Texas Driver Handbook


                                                  Chapter 4: Right-of-Way
At times, a driver must yield to others. There are certain rules to help determine who has the right-of-way; however, if the other
driver doesn’t follow these rules, give him/her the right-of-way. Remember, in every situation, right-of-way is something given, not
taken. All drivers should know and understand the laws that determine who has the right-of-way.
                                             Table 16: Penalties for Failure to Yield Right-of-Way
                                                       Offense                                                                  Penalty
     Driver commits any traffic offense of which failure to yield the right-of-way to another vehicle is an element   A fine of $500 to $2,000.
     and causes bodily injury to another.
     Driver causes serious bodily injury to another.                                                                  A fine of $1,000 to $4,000.


Right-of-Way at Intersections
                        Intersections Controlled by Signs and Signals
                        When signs and signals control traffic at an intersection, you must obey them. Know the meaning of each sign
                        and signal. See Chapter 5 for more information.

                        Single or Two-Lane Road Intersecting a Multi-Lane Road
                        If you are driving on a single or two lane road that intersects with a divided road or road with three (3) or more
                        lanes, you must yield the right-of-way to vehicles traveling on the divided or three (3) or more lane road.

                        Unpaved Road Intersecting a Paved Road
                      If you are driving on an unpaved road that intersects with a paved road, you must yield the right-of-way to
vehicles traveling on the paved road.

Intersections Not Controlled by Signs, Signals, Multi-Lanes, or Pavement
When approaching this type of intersection, yield the right-of-way to any vehicle that has entered or is
approaching the intersection on your right. If the road to your right is clear or if approaching vehicles are far
enough from the intersection to make your crossing safe, you may proceed. Since there are not any traffic-
controls at this intersection, make sure there are no approaching vehicles from the left. You may legally have
the right-of-way but be sure the other driver yields to you before you proceed.

                        Turning Left
                        When turning left, always yield the right-of-way to any vehicle coming straight through from the other
                        direction.

                        Private Roads and Driveways
                        When entering or crossing a road, street, or highway from a private road, alley, building, or driveway, you must
                        stop prior to the sidewalk and yield the right-of-way to all approaching vehicles and pedestrians.

T-Intersection
When approaching an intersection of a through street traveling from a street that ends at the intersection,
you must stop and yield the right-of-way to vehicles on the through street.




                                                                                                                                                    23
              Case 5:19-cv-00074-FB Document 8-1 Filed 02/04/19 Page 97 of 262
Chapter 4: Right-of-Way                                                                                      Texas Driver Handbook


Enter or Leave Controlled-Access Highway
The driver traveling on a frontage road of a controlled-access highway must yield the right-of-way to a vehicle:
 • Entering or about to enter the frontage road from the highway; and
 • Leaving or about to leave the frontage road to enter the highway.
                                                     ONE-WAY FRONTAGE ROAD

                                                     YIELD




                                                     TWO-WAY FRONTAGE ROAD




                                                                                                     YIELD
                                                             YIELD




                                                                                        YIELD




Driving on Multiple-Lane Roads
On a road divided into three or more lanes with traffic moving in the same direction, a vehicle entering a lane of traffic from the
right must yield the right-of-way to a vehicle entering the same lane of traffic from the left.




Railroad Grade Crossings
When approaching a railroad grade crossing, stop between 15 and 50 feet from the nearest rail if:
 1. A clearly visible railroad signal warns of an approaching train
 2. A crossing gate is lowered or a flag person warns of an approaching train
 3. A driver is required to stop by an official traffic-control device or a traffic-control signal
 4. An approaching train is within about 1,500 feet of the crossing. The train will produce an audible signal to identify the immedi-
    ate hazard.
 5. An approaching train is visible and in close proximity to the crossing




  24
               Case 5:19-cv-00074-FB Document 8-1 Filed 02/04/19 Page 98 of 262
Chapter 4: Right-of-Way                                                                                          Texas Driver Handbook


You are required to stop at a railroad grade crossing and remain stopped until allowed to proceed or it is safe to proceed.
A person who fails to obey the law regarding railroad grade crossings is subject to a fine of $50 to $200.




Additional Safe Driving Procedures at Railroad Crossings
 1. If a railroad crossing is marked only with a cross-buck sign or reduce speed sign, then look both ways, and listen for a whistle.
    If a train is approaching, stop. If a train is not approaching, proceed with caution.
 2. If red lights are flashing at a railroad crossing, stop. If a train is approaching, remain stopped until the train passes and the lights
    stop flashing.
 3. If the railroad crossing gates have been lowered, stop. Remain stopped and wait until the train passes and the gates are raised
    before crossing.
 4. Be sure the tracks are clear before you proceed to cross. There may be two or more sets of tracks. One train could be blocking
    the view of another.
 5. Never stop on the tracks. If your car stalls on the tracks and you cannot restart it, get out and try to push the car off the tracks.
    If you cannot push the car off the tracks, get help. If a train is approaching and your vehicle is stalled, get out quickly and move
    away from the tracks. Run toward the approaching train to the side of the tracks and avoid flying debris.
 6. Remember, trains do not and cannot stop at crossings. Trains always have the right-of-way.
 7. Audible signs or whistles may be difficult to hear when approaching railroad crossings. Roll your windows down, turn your
    radio down, and listen carefully.
If you encounter a railroad grade crossing signal problem, call the Texas Department of Public Safety Communications Center
at (800) 772-7677 or call your local police department or county sheriff’s office. Each railroad crossing signal has an identifying
number. Please note the number and be ready to provide it when reporting a problem.

Yield Right-of-Way to Emergency Vehicles
You must yield the right-of-way to police cars, fire trucks, ambulances, and other emergency ve-
hicles sounding a siren, bell, or flashing red light. If traffic allows, pull to the right edge of the
road and stop. If you are unable to pull over to the right, slow down and leave a clear path for the
emergency vehicle.
 1. You are not allowed to follow within 500 feet of a fire truck answering an alarm or an ambulance
    when the flashing red lights are on.
 2. Do not drive or park on the street where the fire truck has answered an alarm.
 3. Do not park in a location that interferes with the arrival or departure of an ambulance to or from
    the scene of an emergency.
Unless otherwise directed by a law enforcement officer, drivers who approach a stopped emergency vehicle with its lights activated
must:
 1. Vacate the lane closest to the emergency vehicle if the highway has two or more lanes traveling in the direction of the emergency
    vehicle;
 2. Slow to a speed not more than 20 mph less than the posted speed limit when the posted speed limit is 25 mph or more; or
 3. Slow to a speed less than 5 mph when the posted speed limit is less than 25 mph.




                                                                                                                                      25
                 Case 5:19-cv-00074-FB Document 8-1 Filed 02/04/19 Page 99 of 262
Chapter 4: Right-of-Way                                                                                                       Texas Driver Handbook


Yield Right-of-Way to School Buses
                                                                                          Stop




                                                                      SCHOOL
                                                                        BUS




                                                         Stop

You must yield the right-of-way to school buses. Always drive with care when you are near a school bus. If you approach a school
bus from either direction and the bus is displaying alternately flashing red lights, you must stop. Do not pass the school bus until:
 1. The school bus has resumed motion;
 2. You are signaled by the driver to proceed; or
 3. The red lights are no longer flashing.
It is not necessary to stop when passing a school bus on a different road or when on a controlled-access highway where the bus is
stopped in a loading zone and pedestrians aren’t permitted to cross. A person who fails to obey the law regarding yielding the right-
of-way to school buses displaying alternating, flashing lights is subject to the penalties listed in Table 17.
                                     Table 17: Penalties for Failure to Yield Right-of-Way to School Bus
                              Conviction                                                               Penalty
       1st conviction                                               A fine of $500 - $1,250.
       2nd conviction and every conviction after (within 5 years)   A fine not less than $1000 or more than $2000, possible suspension of driver
                                                                    license for up to six months.
       Person causes serious bodily injury to another when pass-    Class A misdemeanor punishable by a fine of up to $4,000 and/or up to one
       ing a stopped school bus                                     year in jail.
       Person causes serious bodily injury to another and has       State jail felony punishable by 180 days to 2 years confinement and a possible
       previously been convicted of passing a school bus and        fine of up to $10,000.
       causing serious bodily injury


Yield the Right-of-Way to Pedestrians (Persons on Foot)
Avoid Turning a Car into a Deadly Weapon
You should always be on the lookout for individuals who are on foot (pedestrians) whether they have the right-of-way or not. Drivers
must give the right-of-way to pedestrians:
 1. At an uncontrolled intersection (there are not any traffic signs or signals for the pedestrian to enter the crosswalk)
 2. If the pedestrian has a WALK signal or
    a. If there is not a pedestrian control signal, give the pedestrian the right-of-way on a green light.
    b. If the light changes after the pedestrian has entered the crosswalk, still give the pedestrian the right-of-way.
Yield Here to Pedestrian Signs
                    The “Yield Here to Pedestrians” sign is used when yield lines are used in advance of a marked crosswalk that
                    crosses an uncontrolled multi-lane roadway.
                    In-Street and Overhead Pedestrian Crossing Signs
                    The “In-Street Pedestrian Crossing” signs or the “Overhead Pedestrian Crossing” signs may be used to remind road
                    users of laws regarding right-of-way at a pedestrian crosswalk without signals.
The “In-Street Pedestrian Crossing” signs are placed in the road at the crosswalk location on the center line, on a lane line, or on a
median island. The “In-Street Pedestrian Crossing” signs will not be posted on the left- or right-hand side of the road.
The “Overhead Pedestrian Crossing” signs are placed over the roadway at the crosswalk.




  26
                   Case 5:19-cv-00074-FB Document 8-1 Filed 02/04/19 Page 100 of 262
Chapter 4: Right-of-Way                                                                                                                              Texas Driver Handbook


Pedestrian Hybrid Beacons
A pedestrian hybrid beacon is a special type of pedestrian activated warning device used with signs and pavement markings to warn
and control traffic at locations where pedestrians enter or cross a street or highway. Pedestrian hybrid beacons are only installed at
a marked crosswalk.

                                                                     Pedestrian Crossing Signals
                                              What Drivers See                                      What Pedestrians See




                                                         Dark                                             Push the button.




                                                Flashing Yellow




                                                 Steady Yellow




                                                    Steady Red                                              Start crossing.




                                         Alternating Flashing Red                                           Flashing
                                           Stop. Then go if clear.                                       Continue crossing.




                                                         Dark

In-Roadway Lights
In-roadway lights are special types of lights installed in the roadway surface to warn roadway users they are approaching a condi-
tion on or near the road they may not see, which might require them to slow down or come to a complete stop. In-roadway lights are
used as an alternative to traffic lights where pedestrian safety is a concern, and are typically placed at midblock crossings, school
crosswalks, marked crosswalks on uncontrolled approaches, or in advance of roundabouts.

Image source: Some images in this chapter are courtesy of The MUTCD, 2009 Edition, published by FHWA at mutcd.fhwa.dot.gov/pdfs/2009/pdf_index.htm




                                                                                                                                                                     27
              Case 5:19-cv-00074-FB Document 8-1 Filed 02/04/19 Page 101 of 262
Chapter 5: Signals, Signs, and Markers                                                                        Texas Driver Handbook


                              Chapter 5: Signals, Signs, and Markers
Traffic Signals
Traffic signals help provide for the orderly movement of traffic. Drivers must obey these signals, except when a law enforcement
officer is directing traffic. You must obey a law enforcement officer at all times when they are directing traffic even if he/she is
telling you to do something which is ordinarily considered against the law.
Steady Red Light (Stop)
                    Stop before entering the crosswalk or intersection. You may turn right unless prohibited by law. You may also
                    turn left if both streets are one way, unless prohibited by law. You must yield to all pedestrians and other traffic
                    lawfully using the intersection.
                    A Flashing Red Light
Stop completely before entering the crosswalk or intersection, then proceed when you can do so safely. Vehicles
on the intersecting road may not have to stop.

Steady Yellow Light (Caution)
               A steady yellow light warns drivers to use caution and to alert them the light is about to change to red. You must STOP
               before entering the nearest crosswalk at the intersection if you can do so safely. If a stop cannot be made safely, then
               you may proceed cautiously through the intersection before the light changes to red.
               A Flashing Yellow Light
A flashing yellow light warns drivers to slow down and proceed with caution.
A Flashing Yellow Arrow For Left-Turns
A flashing yellow arrow allows a driver to turn left, but the driver must yield the right-of-way to
oncoming traffic.

Steady Green Light (Go)
                    A steady green light means the driver can proceed on a green light if it is safe to do so. You may drive straight
                    ahead or turn unless prohibited by another sign or signal. Watch for cars and pedestrians in the intersection. Be
                    aware of reckless drivers who may race across the intersection to beat a red light.


Green Arrow Displayed at the Same Time as a Red Light
A green arrow displayed at the same time as a red light means the driver can proceed carefully in the
direction of the arrow after yielding the right-of-way to other vehicles and pedestrians.
Left Turn on Green
You can turn left on a green light. However, you must yield the right-of-way to all traffic that is approaching from the
opposite direction before turning.




Traffic Signs
Traffic signs can help you to be a better driver because they:
 1. Warn of hazards ahead that are difficult to see
 2. Guide drivers to their destination by identifying the route
 3. Inform of local regulations and practices
 4. Regulate the speed and movement of traffic




  28
             Case 5:19-cv-00074-FB Document 8-1 Filed 02/04/19 Page 102 of 262
Chapter 5: Signals, Signs, and Markers                                                                                  Texas Driver Handbook


The Standard Colors table shows colors commonly used on road signs and explains what each color means.
                                                      Table 18: Standard Colors
                               Color                                     Description
                                           Red: Stop, yield, or do what is posted on the sign

                                           Green: Indicated movements permitted, direction guidance

                                           Blue: Motorist services guidance

                                           Yellow: General warning or caution

                                           Black: Regulation

                                           White: Regulation

                                           Orange: Construction and maintenance warning

                                           Orange (Retroreflective): Used on various types of signs

                                           Brown: Public recreation and scenic guidance

Knowing the shapes of these signs will help you know what to do when you are approaching from a distance.
                                                      Table 19: Signs by Shape
                               Shape                                          Description


                                                Octagon: Exclusively for stop signs



                                                Horizontal Rectangle: Generally for guide signs



                                                Equilateral Triangle: Exclusively for yield signs



                                                Pennant: Advance warning of no pass zones



                                                Diamond: Exclusively to warn of existing or possible hazards on roads
                                                or adjacent areas.




                                                Vertical Rectangle: Generally for regulatory signs.




                                                Pentagon: School advance and school crossing signs.



                                                Round: Railroad advance warning signs.




Warning Signs
Warning signs alert drivers to conditions that are immediately ahead and tell them what to look for. There may be road hazards,
changes in direction, or some other situation you should know about. Not only must warning signs be observed for safety reasons
but to disregard them may be a traffic violation.
When you encounter a warning sign:
 1. Pay attention
 2. Follow instructions
 3. Reduce speed to at least the posted speed signs


                                                                                                                                        29
             Case 5:19-cv-00074-FB Document 8-1 Filed 02/04/19 Page 103 of 262
Chapter 5: Signals, Signs, and Markers                                                                     Texas Driver Handbook


 The following table provides examples of common warning signs.

                                                           Table 20: Warning Signs


           Sign                    Description                                       Sign              Description



                                                                                            Road ahead makes a sharp turn in
                       Warns of a traffic control signal                                    the direction of the arrow (right).
                       ahead.                                                               Slow down, keep right, and do not
                                                                                            pass.




                       Height of underpass from road
                       surface is shown. Do not try to enter                                There is a winding road ahead.
                       if your load is higher than the figure                               Drive slowly and carefully, and do
                       shown on the sign.                                                   not pass.




                       Advises you are approaching a sec-                                   The divided highway you are travel-
                       tion of highway where the opposing                                   ing ends ahead. Be careful as you
                       flows of traffic are separated by a                                  approach the point where two-way
                       median island.                                                       traffic begins again.




                       You are approaching a point where
                       two roads come together and an
                       additional lane begins. You are not                                  Slow down on wet road. Do not
                       required to merge. Watch for traffic                                 suddenly turn, speed up, or stop.
                       in the new lane.




                       The road curves one way (right)                                      You should drive in the right-hand
                       and then the other way (left). Slow                                  lane and expect oncoming traffic in
                       down, keep right, and do not pass.                                   the left hand lane.




                       Another road enters the road you                                     Road ahead makes a gradual curve
                       are traveling on from the direction                                  in the direction of the arrow (right).
                       shown. Watch for traffic from that                                   Slow down, keep right, and do not
                       direction.                                                           pass.




                       Slow down, the road surface ahead                                    Cross road ahead; slow down and
                       is in poor condition.                                                watch for cross traffic. Look care-
                                                                                            fully in all directions for traffic.




                                                                                            Gives advance notice of a reduction
                       Cross traffic.                                                       in the number of lanes of pavement
                                                                                            ahead.




  30
             Case 5:19-cv-00074-FB Document 8-1 Filed 02/04/19 Page 104 of 262
Chapter 5: Signals, Signs, and Markers                                                                  Texas Driver Handbook


                                                  Table 20: Warning Signs (Continued)


           Sign                   Description                                     Sign              Description



                                                                                         You are approaching a “T” intersec-
                                                                                         tion and must turn left or right. Be
                       T-Intersection.
                                                                                         prepared to yield the right-of-way at
                                                                                         the intersection if necessary.




                                                                                         There is a low place in the road.
                       Y-Intersection or side road traffic to                            Slow down in order to avoid losing
                       the right.                                                        control of your vehicle or an uncom-
                                                                                         fortable jolt.




                                                                                         Use extreme caution to avoid
                       You are approaching a point where                                 running off the paved portion of
                       other traffic lanes come together                                 the highway, because the dirt on
                       with the one you are in. Watch for                                the side of the pavement is soft and
                       traffic from that direction.                                      may cause you to lose control of
                                                                                         the car.




                       You are near an area where a large
                                                                                         The bridge ahead is not as wide
                       number of pedestrians cross the
                                                                                         as the road. Slow down and use
                       street. Slow down and watch for
                                                                                         caution.
                       pedestrians.




                                                                                         The road you are traveling on inter-
                       You are near a school. Slow down,                                 sects a highway ahead. Slow down,
                       watch for children, and prepare to                                look to the right and to the left for
                       stop suddenly if necessary.                                       other traffic, and be prepared to
                                                                                         stop.




                       The surface of the road is covered
                                                                                         The road ahead makes a sharp turn
                       with loose gravel. Go slow enough
                                                                                         to the right and then a sharp turn to
                       to keep complete control of your
                                                                                         the left. Slow down, keep right, and
                       vehicle. Do not apply brakes sud-
                                                                                         do not pass.
                       denly or make sharp turns.



                                                                                         Warns of hazardous condition on
                                                                                         bridge caused by ice. This sign will
                       Mounted in front of an obstruction
                                                                                         be displayed continuously during
                       which is close to the edge of the
                                                                                         winter time periods. Drivers should
                       road, such as culverts, or center
                                                                                         slow down, avoid applying brakes
                       piers on divided highways.
                                                                                         suddenly, or making sharp or sud-
                                                                                         den movements.




                       Mounted immediately in front of an
                                                                                         Used to indicate the alignment of
                       obstruction or at short changes in
                                                                                         the road as an aid to night driving.
                       road alignment.




                                                                                                                                 31
             Case 5:19-cv-00074-FB Document 8-1 Filed 02/04/19 Page 105 of 262
Chapter 5: Signals, Signs, and Markers                                                                  Texas Driver Handbook


                                                  Table 20: Warning Signs (Continued)

           Sign                   Description                                     Sign              Description



                                                                                         You are approaching a downgrade;
                       Indicates traffic is permitted to pass
                                                                                         all drivers approach with caution.
                       on either side of a traffic island or
                                                                                         It may be necessary to use a lower
                       an obstruction.
                                                                                         gear to slow your vehicle.




                                                                                         The sign will have yellow lights
                                                                                         flashing (top and bottom) when the
                       Used to mark the ends of the side
                                                                                         freeway ramp ahead is metered.
                       rails of narrow bridges and other
                                                                                         The ramp meter (red or green)
                       obstructions.
                                                                                         directs motorists when to enter the
                                                                                         freeway.




                                                                                         There is a sudden high place in the
                       Slow your speed and watch for
                                                                                         road ahead. Slow down in order to
                       trucks entering or crossing the road
                                                                                         avoid losing control of your vehicle
                       or highway.
                                                                                         or an uncomfortable jolt.




                       The pavement narrows ahead. Slow                                  The road ahead curves sharply. Slow
                       down and proceed with caution.                                    down, keep right, and do not pass.




                       The hard-surfaced pavement                                        The lane ends ahead. If you are
                       changes to an earth road or low-                                  driving in the right lane, you should
                       type surface. Slow down.                                          merge into the left.




                       There is a significant drop from the
                       pavement edge to the shoulder. If
                                                                                         Be prepared for a stop sign ahead.
                       you must leave the pavement, slow
                       down and steer firmly.




                       The pavement has been grooved
                       to lessen the possibility of slippery
                       pavement in wet weather. Motorcy-
                       clists should use caution.




                       Slow down and watch for individu-
                       als who may be disabled or who
                       may be crossing the road in a
                       wheelchair.




  32
              Case 5:19-cv-00074-FB Document 8-1 Filed 02/04/19 Page 106 of 262
Chapter 5: Signals, Signs, and Markers                                                                            Texas Driver Handbook


Regulatory and Warning Signs
Regulatory traffic signs instruct drivers what they should, or should not do, in certain circumstances. Drivers must obey all regula-
tory signs in the same manner as traffic laws. These signs help protect the safety of all road users. The following table provides
examples of common regulatory and warning signs.

                                                 Table 21: Regulatory and Warning Signs

           Sign                        Description                           Sign                         Description
                                                                                          Stop: A red stop sign with white letters
                                                                                          or a yellow sign with black letters. The
                        If you wish to turn at an intersection where                      stop sign means come to a complete stop,
                        this sign is posted, do so only in the direc-                     yield to pedestrians or other vehicles, and
                        tion indicated by the arrow.                                      then proceed carefully. Stop before the
                                                                                          crosswalk, intersection, or stop sign. This
                                                                                          applies to each vehicle that comes to the
                                                                                          sign. Slowing down is not adequate.
                        High Occupancy Vehicle (HOV) Preferential
                        Lane: Buses and vehicles used for carpools
                        may use this lane only between the hours                          Advisory Speed Sign: This sign gives the
                        of 6 a.m. to 9 a.m., Monday through                               highest speed which you can safely travel
                        Friday.                                                           around the curve ahead.



                        Do Not Cross Yellow Lines: The distance
                        you can see ahead is so limited that pass-
                        ing another vehicle is hazardous and you                          Do not pass other vehicles.
                        may not pass.




                        This sign indicates two lanes of traffic are
                        permitted to turn left. The traffic in the left
                        lane must turn left, traffic in the other lane                    Stay in the right-hand lane if you are driv-
                        has a choice.                                                     ing slower than other vehicles on the road.



                        Do not park, stop, or allow your vehicle to
                        stand idling in a parking space reserved
                        for disabled individuals unless your vehicle                      Indicates the speed at which the exit ramp
                        has a disabled license plate or windshield                        from a highway may be traveled safely.
                        identification card.




                        Turning left at an intersection where this                        This sign tells you the maximum speed (in
                        sign is posted is prohibited.                                     mph) you are permitted to travel. Sign also
                                                                                          indicates the maximum speeds permitted
                                                                                          on the road for day time and nighttime.




                        Making a U-turn at an intersection where                          Trucks are prohibited from using or
                        this sign is posted is prohibited.                                entering the roadway where this sign is
                                                                                          displayed.



                        If you see this sign facing you, you are
                        driving the wrong way on a one-way street
                        and you are directly opposing the flow of                         Drive to the right of this sign. This sign is
                        traffic.                                                          used in advance of islands and medians.




                                                                                                                                          33
             Case 5:19-cv-00074-FB Document 8-1 Filed 02/04/19 Page 107 of 262
Chapter 5: Signals, Signs, and Markers                                                                      Texas Driver Handbook


                                        Table 21: Regulatory and Warning Signs (Continued)

           Sign                       Description                         Sign                       Description


                       The road or street ahead is for one-way
                                                                                      This sign marks a place where you may
                       traffic traveling in the opposite direction.
                                                                                      cross over to the other side of the divided
                       You must not drive in that direction or else
                                                                                      highway.
                       you will be driving into oncoming traffic.



                       This signs tells you the road you are on
                       joins with another road ahead. You should
                       slow down or stop if necessary so you can
                       yield the right-of-way to vehicles, pedestri-                  The use of a wireless communication
                       ans, or bicycles on the other road.                            device is prohibited in the school zone.




                       School Zone: The speed shown is in effect
                       when the yellow light is flashing. Be                          These signs are added to a stop sign
                       extremely careful for school children.                         advising that all approaching traffic to this
                                                                                      intersection must stop before proceeding
                                                                                      in the order you arrived. If two vehicles
                                                                                      arrive at the same time, yield to the vehicle
                                                                                      on your right.


                       Red light photo enforced.
                                                                                      On roadways with more than one lane
                                                                                      with vehicles traveling in the same direc-
                                                                                      tion, slower traffic should travel in a lane
                                                                                      other than the farthest left lane. The
                                                                                      farthest left lane is for passing only.


                       Drivers should not change lanes or turn                        The center lane is only used for vehicles
                       across the double white lines.                                 turning left, and should never be used for
                                                                                      passing or moving through traffic. The
                                                                                      only time a vehicle should enter the center
                                                                                      lane is at a point where the vehicle will
                                                                                      have time to slow down or stop to make a
                       Vehicles facing the signal with the green
                                                                                      safe left turn.
                       arrow may proceed safely into the intersec-
                       tion. While turning left, you are protected
                       from oncoming traffic that must stop for
                       vehicles at an intersection. Vehicles turning
                                                                                      A green signal will indicate when you may
                       at a protected light should use caution.
                                                                                      turn left.


                       This designates the shoulder of the road
                       should only be used by vehicles required
                       to stop because of mechanical break-
                       down, tire trouble, lack of fuel, or other
                                                                                      Vehicles driving in the right lane must turn
                       emergencies.
                                                                                      right at the next intersection unless the
                                                                                      sign indicates a different turning point.



                       The road ahead is not open to any traffic.
                       Look for a detour or other route.
                                                                                      Advisory Speed Sign: This sign gives the
                                                                                      highest speed at which you can safely
                                                                                      travel around the turn ahead.



                       Instructs drivers that all traffic on the same
                       roadway must merge into one lane.




  34
             Case 5:19-cv-00074-FB Document 8-1 Filed 02/04/19 Page 108 of 262
Chapter 5: Signals, Signs, and Markers                                                                          Texas Driver Handbook


Guide Signs
Guide signs are especially helpful when you are not familiar with an area. Guide signs tell you what road you are on and help you
arrive at your destination safely. The table below provides examples of common guide signs.

                                                            Table 22: Guide Signs

           Sign                      Description                                    Sign                  Description


                       The only place where you may lawfully
                       throw your trash on the highway is in a
                                                                                           The lane that has this sign above it exits
                       litter barrel. This sign advises that such a
                                                                                           ahead.
                       barrel is one mile ahead. Litter barrels are
                       also found at all rest/picnic areas.




                       Texas Route Marker signs tell you what
                                                                                           This sign tells you what road you are on.
                       road you are or will be traveling on. Plan
                                                                                           It is a short state highway in a city or
                       your trip and know which road you want
                                                                                           urban area.
                       to take.




                                                                                           Indicates an officially designated highway
                       Interstate Route Marker signs tell you
                                                                                           that branches off the regularly numbered
                       what road you are on. Plan your trip and
                                                                                           highway and goes through the business
                       know which roads you want to take.
                                                                                           portion of the city.




                       These signs are usually mounted above                               Travel information: This sign tells you
                       the road. The arrows indicate the lane                              which way to go and how far you must
                       or lanes to be used to follow a particular                          travel to get to cities, airports, and other
                       highway route.                                                      destinations.



                                                                                           Lane-use control signals are overhead
                                                                                           signals indicating if motorists should drive
                       Mileposts provide a means of identifying
                                                                                           in a specific lane. If a red X appears above
                       the location of crashes, breakdowns, or
                                                                                           a lane, a driver should not drive in that
                       other emergencies. Mileposts are erected
                                                                                           lane. A steady yellow X means a driver
                       every mile on interstate highways starting
                                                                                           should prepare to safely vacate the lane
                       at the state line.
                                                                                           over which the signal is located because
                                                                                           a lane control change is being made. A
                                                                                           steady downward green arrow means
                                                                                           a driver is permitted to drive in the lane
                                                                                           over which the arrow signal is located.
                                                                                           Lane-use control signals can be used on
                                                                                           streets or highways.




Railroad Warning Signs
            Railroad Crossing
            This sign means you are within a few hundred feet of a railroad crossing. Slow down and be prepared to stop. If you see
            a train coming, STOP. Never try to beat a train.

            Railroad Crossbuck
            Railroad crossbuck signs are posted at every railroad, highway, road, or street grade crossing and show the location of
            the train tracks. If more than one track is to be crossed, the sign will show the number of tracks. Always slow down,
            look, listen, and be prepared to yield the right-of-way to an approaching train.




                                                                                                                                          35
              Case 5:19-cv-00074-FB Document 8-1 Filed 02/04/19 Page 109 of 262
Chapter 5: Signals, Signs, and Markers                                                                      Texas Driver Handbook


Gate and Flashing Light
Stop when the lights begin to flash before the gate lowers across your side of the road.                                                            G




                                                                                                                         RA
                                                                                                                                               IN
                                                                                                                                          SS




                                                                                                                           IL
Remain stopped until the gates are raised and the lights stop flashing.                                                           R
                                                                                                                                      O




                                                                                                                                          RO
                                                                                                                              C




                                                                                                                                            AD
At railroad crossings stop within 15 feet to 50 feet of the nearest rail when:
 1. You are directed to do so by a flag person
 2. There are flashing red lights or warning bells sounding
 3. There is any warning device telling you a train is coming

Pavement Markings
Pavement markings help you just like signs and signals. They are used to warn and direct drivers and to regulate traffic.
Two-Lane Rural Road with Two-Way Traffic
Keep to the right of the yellow center line. You may cross a broken line when passing another vehicle or when the right half of the
road is closed. Do not cross the line if it is not safe or it is a solid yellow line.




Three Lane One-Way Roads
When each lane on a one way road is marked with a broken white line, you may drive in any lane. When turning from a one-way
road, make sure you move into the lane closest to the turn you are going to make well in advance of your turn.




Left Turn Lane Only
The only time a vehicle should enter the center lane is at a point where the vehicle will have time to slow down or stop in order to
make a safe left turn maneuver.


                                                                                                                                     :
                                                                                                                              l No te
                                                                                                                   S pe cia          ne
                                                                                                                           n ter la
                                                                                                                 Th e ce n e ver be
                                                                                                                        ld
                                                                                                                 shou r passin g
                                                                                                                           o
                                                                                                                  used f through-
                                                                                                                    r a s  a
                                                                                                                  o           la n e.
                                                                                                                   tra ff ic
                                                            Left Turn Lane Only

Multi-lane Highway (Four or More Lanes)
Do not cross the double yellow line to pass. Stay in your lane as much as possible. If you are driving slower, keep in the right-hand
lane.




  36
              Case 5:19-cv-00074-FB Document 8-1 Filed 02/04/19 Page 110 of 262
Chapter 5: Signals, Signs, and Markers                                                                           Texas Driver Handbook


Solid and Broken Lines
A solid yellow line on your side of the road marks a “no-passing zone.” Broken or dashed lines permit you to pass or change lanes,
if safe.




Crosswalks
White crosswalk lines are painted across a road to indicate pedestrian crossing areas. Pedestrians should use these areas when cross-
ing the road. At intersections where stop lines are missing, you must stop before the crosswalk when required to stop by traffic signs,
traffic signals, or pedestrians in the crosswalk.




White Stop Lines
White stop lines are painted across the pavement lanes at traffic signs or signals. Where these lines are present, you are required to
stop behind the stop line.




Solid Lines
Solid white lines are used for pavement edge lines, shoulder markings, channelizing, transitions, and lane use control. Crossing a
solid white line should be avoided if possible. The solid yellow line on the left edge of the road is a guide for drivers to indicate driv-
ing to the left of the yellow line is prohibited. This type of yellow line can be found on interstate highways.




Crossing is prohibited where there is a pavement marking of double solid white lines.




                                                                                                                                     37
              Case 5:19-cv-00074-FB Document 8-1 Filed 02/04/19 Page 111 of 262
Chapter 5: Signals, Signs, and Markers                                                                        Texas Driver Handbook


Barrels
Barrels that are engineered to act as an impact cushion reduce the seriousness of crashes. These barrels are usually installed in front
of a solid obstacle and in areas of high crash frequency.




Hearing Impaired
If you see this flag on the back of a bicycle, slow down, as the bicycle operator may be hearing impaired. This sign may also be
displayed on vehicles to alert others the driver may be hearing impaired.




Construction and Maintenance Devices
Various traffic control devices are used in construction and maintenance work areas to direct drivers, bicyclists, or
                                                                                                                                         :
pedestrians safely through the work zone and to provide for the safety of the workers.                                            l No te
                                                                                                                       S pe cia              ouble
The most commonly used traffic control devices are signs, barricades, vertical panels, drums, cones, tubes,                        f in es d
                                                                                                                      Tra ff ic tion s
                                                                                                                                 la
flashing arrow panels, and flag individuals. Orange is the basic color for these devices.                             for vio ur in
                                                                                                                                cc
                                                                                                                      tha t o ction zon es
When you are in a construction and maintenance work area, be prepared:                                                 con stru orkers a re
                                                                                                                                   w
                                                                                                                       wh e r e
                                                                                                                                   t.
 1. To slow down or stop as you approach workers and equipment                                                          p r e se n

 2. To change lanes
 3. For unexpected movements of workers and equipment
Construction and Maintenance Signs
Construction and maintenance signs are used to alert drivers of unusual or potentially dangerous conditions in or near work areas.
Most signs in work areas are diamond shaped, but a few are rectangular.
                                          Table 23: Construction and Maintenance Signs
                              Sign                   Sign                   Sign                    Sign




  38
              Case 5:19-cv-00074-FB Document 8-1 Filed 02/04/19 Page 112 of 262
Chapter 5: Signals, Signs, and Markers                                                                        Texas Driver Handbook


Channelizing Devices
Barricades, vertical panels, drums, cones, and tubes are the most commonly used devices to alert drivers of unusual or potentially
dangerous conditions in highway and street work areas, and to guide drivers safely through the work zone. At night channelizing
devices are often equipped with flashing or steady burn lights.




When you encounter any type of channelizing device:
 1. Slow down and prepare to change lanes when it is safe to do so.
 2. Be prepared for drivers who wait until the last second to move to the open lane.
 3. Maintain reduced speed until you clear the construction area. There should be a sign indicating you are leaving the construction
    area.
 4. Return to the normal driving lane only after checking traffic behind you.
Passing Traffic
The diagonal stripes on the barricade or vertical panel guide the driver towards the direction to where the traffic is to pass.
                     Pass to the Right
                     Stripes sloping downward to the right means the driver should bear to the right.



                     Pass to the Left
                     Stripes sloping downward to the left means the driver should bear to the left.


Flashing Arrow Panels
Large flashing or sequencing arrow panels may be used in work zones day and night to guide
drivers into certain traffic lanes and to inform them part of the road ahead is closed.


Flag Person
A flag person is often provided in roadway work zones to stop, slow, or guide traffic safely through the area. A flag person wears an
orange vest, shirt, or jacket and uses stop/slow paddles or red flags to direct traffic through work zones.
 1. A flag person is used in cases of extreme hazard.
 2. A flag person’s instructions must be obeyed.
 3. When instructed to stop, do so in your lane and do not veer right or left.
 4. Do not attempt to go forward until the flag person instructs you to do so.
 5. Proceed with caution, expect the unexpected.
 6. Always be on the lookout for oncoming vehicles in your lane of traffic.

                       STOP                                         SLOW




Automated Flagger Assistance Device (AFAD)
An automated flagger assistance device (AFAD) is used to control road users through temporary traffic zones. An AFAD is de-
signed to be remotely operated, allowing a flag person to be positioned out of the lane of traffic.




                                                                                                                                  39
                   Case 5:19-cv-00074-FB Document 8-1 Filed 02/04/19 Page 113 of 262
Chapter 5: Signals, Signs, and Markers                                                                                                               Texas Driver Handbook


Obey Warning Signs and Barricades
It is a violation to disobey the instructions, signals, warnings, or markings of a warning sign, or to drive around a barricade.
The offense is a misdemeanor punishable by a fine of $1 to $200. Fines double in a construction or maintenance work zone when
workers are present.
The offense is a Class B misdemeanor punishable by a fine of up to $2,000 and/or up to 180 days in jail when a warning sign or
barricade has been placed at a location where water is over any portion of a road, street, or highway.

Slow-Moving Vehicle Emblem
This emblem is required for all slow-moving vehicles. Slow-moving vehicles are those designed to operate at a maximum speed of
25 mph or less, and the term includes all vehicles, farm and other machinery, and any other road machinery drawn by either animals
or slow moving motor vehicles.
  a. The use of this emblem is prohibited on anything other than a slow-moving vehicle. It must not be used on other vehicles or on
     stationary objects.
  b. Exceptions. The following do not need the special emblem:
      1) A vehicle being used in actual construction work while traveling within the limits of a construction area marked as required
         by the Texas Transportation Commission;
      2) An implement or machinery being towed by a slow-moving vehicle bearing an emblem, if this emblem remains visible.
                                                                           REAR
                                                                                               HAZARD WARNING LIGHTS
                                                     RED TAIL LIGHT                            (FLASHERS) RED OR AMBER



                                                                                                        RED REFLECTOR




                                                           SLOW MOVING VEHICLE EMBLEM



Image source: Some images in this chapter are courtesy of The MUTCD, 2009 Edition, published by FHWA at mutcd.fhwa.dot.gov/pdfs/2009/pdf_index.htm




   40
              Case 5:19-cv-00074-FB Document 8-1 Filed 02/04/19 Page 114 of 262
Chapter 6: Signaling, Passing, and Turning                                                                     Texas Driver Handbook


                          Chapter 6: Signaling, Passing, and Turning
Signaling
A good driver always lets others know if he/she is going to turn or stop. Signaling communicates your intention when driving and
helps other drivers around you to plan ahead. A surprise move often results in a crash. Always be alert, watch for others, and give
signals for your movements.
Always signal when you are going to:
 1. Change lanes
 2. Make a turn
 3. Pull away from a parking space parallel to the curb
 4. Slow down or stop
 5. Enter or leave a highway
 6. Pull over to the side of the road
How to Signal
You may either use turn signal lights or hand and arm signals. If using hand signals, extend your hand and arm well out of the car
window as shown below. Always make sure your signals can be easily seen by others, and signal in plenty of time.
Hand and arm signals are usually difficult to see during non-daylight hours, so it is important to make sure your signal lights are
working properly. When signaling a stop, pump your brakes a few times to attract attention.
Signal continuously for at least 100 feet before turning or stopping, and be sure to turn off your signal lights once your turn is com-
plete. Your unintended signal still means “turn” to other drivers.




                         Left Turn                            Right Turn                            Stop or Slow Down



Passing
Keep to the Right
Never drive on the left side of the road when:
 1. Pavement markings or signs prohibit driving on the left (a “No Passing Zone” or solid lane lines)
 2. There are two or more traffic lanes in each direction
 3. Within 100 feet of or crossing an intersection or railroad crossing
 4. On a hill, curve, or any other place where vision is limited
 5. Within 100 feet of a bridge, viaduct, or tunnel
Always keep to the right side of the road except when:
 1. Passing another vehicle on a two- or three-lane street
 2. Driving on a one-way street
 3. The right side of the road is blocked
Basic Safety Rules When You Are Passing
It is not always safe to pass. Be patient and wait until the time is right. Crashes resulting from improper passing often result in head
on crashes and can be deadly.
 1. Make certain the way is clear.
 2. Give the proper signal before changing lanes.
 3. Tap your horn when necessary to avoid surprising the driver ahead.
 4. Avoid cutting in too quickly if you must return to your original lane.



                                                                                                                                  41
              Case 5:19-cv-00074-FB Document 8-1 Filed 02/04/19 Page 115 of 262
Chapter 6: Signaling, Passing, and Turning                                                                    Texas Driver Handbook


How to Pass on a Two-Lane Road
 1. Keep enough distance between you and the car in front of you so you can see ahead clearly. Check the rearview mirror, your
    side mirrors, and look over your shoulder in your blind spot to make sure the roadway is clear and no other vehicles are passing
    you. Turn on your left turn signal to alert any drivers behind you.
 2. Check well ahead for signs and pavement markings for no passing zones, and always check for oncoming traffic in the left lane.
    Be sure you have enough time and space to overtake the car ahead and return to the right lane before an approaching car comes
    within 200 feet of you.
 3. Tap your horn when necessary to alert the driver ahead.
 4. Pass on the left and do not return to the right lane until you have safely cleared the overtaken vehicle. Wait until you can see the
    car you have just passed in your rearview mirror before returning to the right lane.
 5. Turn on your right turn signal and return to the right lane. Be sure to turn your signal off after you have completed the lane
    change.




Passing on the Right
In Texas, you can pass on the right only when conditions permit you to do so safely.
 1. The road is clear of parked vehicles or other lane obstructions and is wide enough for two or more lanes in each direction.
 2. You are on a one-way road.
 3. You may pass on a paved shoulder when the vehicle you are passing is slowing or stopped on the main traveled portion of the
    highway, disabled, or preparing to make a left turn.
Do not pass on the right by driving off the paved portion of the highway.
When Another Vehicle is Passing
 1. Do not increase your speed.
 2. Stay in your lane.
 3. Safely move as far to the right as you can when being passed on the left and the lanes are not marked.
 4. Make it as safe and easy as possible for the other driver to pass you.
Blind Spot Driving
When you are passing, do not drive or linger in the other driver’s blind spot. Either pass the other driver or slow down so you are not
in another driver’s blind spot. It is likely the other driver cannot see you if you are in or near their blind spot.

                                                       Blind Spot




                                                       Blind Spot




Turning
Turning a corner appears to be a simple operation. However, many crashes and confusion in traffic are caused by drivers who do
not turn properly.
Refer to the diagrams showing the correct method of making right and left turns. There are seven steps in making a safe turn.
 1. Decide before you get to the turning point. Never make a last minute turn; it is dangerous.
 2. Look behind and to both sides to see where other vehicles are before you change lanes.
 3. Move into the proper lane as soon as possible. The faster the traffic is moving, the sooner you should move into the proper lane.
    If you cannot get into the proper lane within one-half block before turning, do not turn, and continue straight ahead.



  42
              Case 5:19-cv-00074-FB Document 8-1 Filed 02/04/19 Page 116 of 262
Chapter 6: Signaling, Passing, and Turning                                                                       Texas Driver Handbook


 4. Give the proper turn signal at least 100 feet before you turn. If using a hand signal, hold the signal until you are close enough
    to the intersection for others to know your intention. Do not hold the signal while making the turn, you need both hands on the
    wheel.
 5. Slow down to a reasonable turning speed prior to making the turn. Don’t use the brake or clutch while turning.
 6. To properly execute the turn, stay in the proper turn lane at all times. Make the turn correctly. This will be easy if you are in the
    proper lane and proceeding slowly enough at the time you begin to turn.
 7. Finish the turn in the proper lane.
How to Make a Right Turn
 1. Signal for a lane change well ahead of the turning point. When it is safe, move your vehicle to the far right lane.
 2. Use your right turn signal and slow down at least 100 feet from the corner.
 3. Look both ways before starting to turn.
 4. Keep as close as possible to the right edge of the road.
 5. Turn using both hands on the wheel.

                                                       Incorrect right turn




How to Make a Left Turn
 1. Well ahead of the turning point, signal for a lane change. When it is safe, move into the center lane.
 2. Use the left turn signal and slow down at least 100 feet from the corner.
 3. Look in all directions before starting to turn. Stay to the right of the center line as you enter the intersection. Yield the right-of-
    way to any vehicle approaching from the opposite direction.
 4. To complete a left turn you should turn to the right of the center line of the road into which you are turning by entering the lane
    in which you will interfere the least with other traffic.
 5. Once you have completed your left turn, you may signal and change lanes if necessary.




Making a Left Turn From a One-Way Onto a Two-Way Street
If you are turning left from a one-way street you should turn from the left lane into the right lane, moving in the same direction.




                                                                                                                                     43
              Case 5:19-cv-00074-FB Document 8-1 Filed 02/04/19 Page 117 of 262
Chapter 6: Signaling, Passing, and Turning                                                                       Texas Driver Handbook


Making a Left Turn From a Two-Way Onto a One-Way Street
If you are turning left onto a one-way street, enter the street in the lane in which you will interfere the least with other traffic.




Other Turning Procedures
Watch for pavement markings and signs that:
 1. Permit turning right or left from or into two or more traffic lanes
 2. Give other special turning or lane information




  44
              Case 5:19-cv-00074-FB Document 8-1 Filed 02/04/19 Page 118 of 262
Chapter 7: Parking, Stopping, or Standing                                                                      Texas Driver Handbook


                            Chapter 7: Parking, Stopping, or Standing
Not all crashes happen while a vehicle is moving. An improperly parked vehicle may also cause a crash. When you leave your
vehicle, turn the motor off, set the parking brake and remove the key. Be sure to look behind you for any oncoming traffic before
opening your car door.

Do Not Park, Stop, or Stand a Vehicle
In the following situations, you should not park, stop, or allow a vehicle to stand idling:
 1. On the road side of any vehicle stopped or parked at the edge or curb of a street
 2. On a sidewalk or crosswalk
 3. Within an intersection
 4. Between a safety zone and adjacent curb or within 30 feet of a place on the curb immediately opposite the end of a safety zone
 5. Alongside or opposite of any street excavation or obstruction when stopping, standing, or parking would obstruct traffic
 6. On a bridge or other elevated structure on a highway or within a highway tunnel
 7. On any railroad track
 8. At any place where an official sign prohibits stopping
                                                                                                                                           :
                                                                                                                                    l No te
                                                                                                                         S pe cia
Do Not Park or Stand a Vehicle                                                                                                  ra rily
                                                                                                                       Tempo to ob e y
Whether occupied or not, do not park or allow a vehicle to stand idling:                                                         g
                                                                                                                       stoppin n a ls, etc.
                                                                                                                                 sig
                                                                                                                        sign s,             ere d
 1. In front of a public or private driveway                                                                                      con sid in g.
                                                                                                                        is n o t      r s tand
                                                                                                                                    o
 2. Within 15 feet of a fire hydrant                                                                                     pa rkin g

 3. Within 20 feet of a crosswalk at an intersection
 4. Within 30 feet upon the approach to any flashing signal, stop sign, yield sign, or other traffic control signal located at the side
    of a road
 5. Within 20 feet of the driveway entrance to any fire station and on the side of a street opposite the entrance to any fire station
    within 75 feet of entrance
 6. At any place where an official sign prohibits parking or standing

Do Not Park a Vehicle
 1. Do not park a vehicle, occupied or not, within 50 feet of the nearest rail of a railroad crossing.
 2. Do not park a vehicle at any place where an official sign prohibits parking.
Parking, Stopping, or Standing on a Highway Outside an Urban Area
Never park or leave a vehicle to stand idling on the paved part of any highway outside of a business or residential district when you
can park off the road. If you cannot park off the road:
 1. Leave plenty of room for others to pass
 2. Be sure your vehicle can be seen for at least 200 feet from each direction
 3. If at night, use your parking lights or leave your headlights on dim
 4. A person may stop, stand, or park a bicycle on a sidewalk if the bicycle does not impede the normal and reasonable movement
    of pedestrian or other traffic on the sidewalk.
Disabled Parking
It is a violation for a person to park, stand, or stop a vehicle in a parking space designated as disabled parking. Illegally parking in
a space reserved for individuals with disabilities is a misdemeanor punishable by a fine of $500 to $750 for the first offense. This
fine increases with additional offenses up to $1,250 for five or more offenses. Additional offenses also include community service.




                                                                                                                                      45
              Case 5:19-cv-00074-FB Document 8-1 Filed 02/04/19 Page 119 of 262
Chapter 7: Parking, Stopping, or Standing                                                                     Texas Driver Handbook


Texas law specifically states:
 1. You may not park in a disabled parking space unless the vehicle has a disabled license plate or state issued removable windshield
    identification card.
 2. You may not use a disabled parking windshield identification card unless transporting the disabled person to whom it was
    issued.
 3. You may not lend your windshield identification card to someone else.
 4. You may not block an access or curb ramp.
 5. You may not make, sell, possess, or display a counterfeit disabled parking windshield identification card, or alter a disabled
    parking windshield identification card.
Certain municipalities also prohibit stopping or standing in a disabled parking space unless a disabled parking windshield identifica-
tion card is visible or the vehicle has a disabled license plate.




Do not park in striped areas adjacent to disabled parking spaces or in a striped area in front of an entrance to a business adjacent to
a disabled parking space. Striped areas are for wheelchair lifts.




Unattended Motor Vehicle
It is illegal for any driver to permit their car to stand idling unattended without turning off the engine, locking the ignition, remov-
ing the key from the ignition, and setting the brake; and when standing on any grade, without turning the front wheels to the curb
or side of the road.
The requirements regarding turning off the engine, locking the ignition, and removing the key do not apply to a driver who starts
the engine by using a remote starter or other similar device that remotely starts the engine without the key in the ignition. Before the
vehicle can be operated, the key must be placed in the ignition or must be physically present in the vehicle.
Parallel Parking
 1. Choose a space large enough for your car to fit. Signal then stop even with the front of the car about two feet out
    from the space. To alert drivers who may be behind you be sure to signal before you pass the spot you want to parallel park in.




 2. Make sure you will not interfere with oncoming traffic then turn your front wheels all the way to the right and back slowly
    toward the curb.

                                                                                                                           No te:
                                                                                                              S pe cia l          allow s
                                                                                                                       w ay that
                                                                                                           On a ro ad traff ic, th e
                                                                                                                    ay
                                                                                                           tw o-w st park w ith
                                                                                                                     u
                                                                                                           driver m le‛s righ t-han d
                                                                                                           th e vehic ithin 18 in ch es
                                                                                                                     w
                                                                                                            wh eels gh t-han d curb
                                                                                                            o f th e ri f th e ro adw ay.
                                                                                                                       o
                                                                                                            or edge




  46
              Case 5:19-cv-00074-FB Document 8-1 Filed 02/04/19 Page 120 of 262
Chapter 7: Parking, Stopping, or Standing                                                                             Texas Driver Handbook


 3. When your front seat is opposite the rear bumper of the car ahead, turn your steering wheel all the way to the left. Back slowly
    toward the car behind you without touching it. You should be about six inches from the curb. Do not park more than 18 inches
    from the curb or edge of the road.




 4. Straighten your front wheels and pull into the final parking position. Center your car in the space.




Parking on Hills




                               Turn wheels to curb            Turn back of wheels              Turn wheels to right
                                                                    to curb                          no curb



Leaving a Parking Space
Use caution when leaving any parking space and check all of your mirrors to make sure nothing is obstructing your vehicle’s path,
especially pedestrians or children. Children often play between parked cars. Look back before and while you’re backing up. Be sure
to use your signal to notify other drivers you are leaving your current parking spot.




                                                     Watch for children in residential areas

Coasting
It is illegal to coast on a downgrade with the gears or transmission in neutral.




                                                                                                                                      47
              Case 5:19-cv-00074-FB Document 8-1 Filed 02/04/19 Page 121 of 262
Chapter 8: Speed and Speed Limits                                                                                       Texas Driver Handbook


                                 Chapter 8: Speed and Speed Limits
Speed
                                                                                                                                          No te:
Generally, you should drive at the same speed as the main stream of traffic and always be aware of                           S pe cia l      ah ea d
                                                                                                                                   e vehicle
how fast you are traveling. You must always obey the speed limit and you should consider these best                      Wh en th asses a f ixed
                                                                                                                                  p                  e
                                                                                                                         o f you d you reach th
practices below:                                                                                                         object an object in less e
                                                                                                                                    ed
                                                                                                                         same f ix secon ds, you ar
1. You should keep a safe distance between your car and the one in front of you. The faster you drive,                             o
                                                                                                                         than tw to o clo sely.
                                                                                                                                    g
   the greater the distance you should keep from the car ahead of you. For speeds 30 mph or less, the                     follow in
   minimum time between your car and the one in front of you is 2 seconds with good road conditions.
   For speeds above 30 mph, maintain a 4 second gap between cars during good road conditions. During
   periods of poor road conditions, allow more time. Using a four-second following interval is the best practice for a beginning or
   less experienced driver.
                                                     Approximate Stopping Distances
                               It takes the average person 1-1/2 seconds to think, react and apply the brakes. The
                               following table shows how far you travel in that 1-1/2 seconds, plus how many feet you
                               travel while skidding to stop.

                               Going 20                         63 Feet to Stop


                               Going 30                          109 Feet to Stop


                               Going 40                               164 Feet to Stop


                               Going 50                                     229 Feet to Stop


                               Going 60                                              303 Feet to Stop


                               Going 70                                                             387 Feet to Stop

                                       And this is with good brakes and tires on dry level pavement


 2. You should adjust your speed and following distance according to your physical condition and the conditions of the vehicle and
    road. If you are tired or not feeling well, do not drive. Never force yourself to drive.
 3. You should know when to slow down and increase the following distance.
    a. Slow down and increase the following distance when the road is wet. Many drivers find out too late what a small amount
       of rain can do. Roads become slippery when wet, making your car harder to control. Slow down and make sure you have
       complete control of the situation at all times.
    b. Slow down and increase the following distance when the road is crowded.
    c. Slow down and increase the following distance when your vision is limited. You should always be able to stop within the
       distance you can see ahead of your car. In the dark or in bad weather, do not over-drive your range of vision.

Speed Limits
Drivers are required to obey posted minimum and maximum speed limits. These limits are designed to provide for the orderly flow
of traffic under normal driving conditions. During periods of heavy traffic, bad weather, low visibility, or other poor driving condi-
tions, you must adjust your speed and following distance to help avoid crashes.
The Speed Limits table shows the maximum speed limits for all vehicles under different conditions. Drivers must also be aware cities
and counties have the authority to change these limits. Entities that establish or alter a speed limit must establish the same speed
limit for daytime and nighttime.




  48
                Case 5:19-cv-00074-FB Document 8-1 Filed 02/04/19 Page 122 of 262
Chapter 8: Speed and Speed Limits                                                                                                   Texas Driver Handbook


                                                                  Table 24: Speed Limits
                                                                Type of Roadway                                                                   Speed
                                                                                                                                                  (MPH)
      Urban District                                                                                                                               30
      Alley                                                                                                                                        15
      Beaches and County Roads adjacent to a public beach (if declared by the commissioners court of the county)                                   15
      Highway numbered by Texas or the U.S. outside an urban district including Farm to Market and Ranch to Market roads
      Passenger cars, motorcycles, light truck, passenger car or light truck towing a trailer or semi-trailer, truck or truck-tractor, truck or    70
      truck-tractor towing a trailer or semi-trailer, buses, school activity bus.
      School Buses which have passed a commercial vehicle inspection.                                                                              60
      Highway not numbered by Texas or the U.S. and outside an urban district:
      Passenger cars, motorcycles, light truck, passenger car or light truck towing a trailer or semi-trailer, truck or truck-tractor, truck or    60
      truck-tractor towing a trailer or semi-trailer, buses, school activity bus.
      School buses that have not passed a commercial vehicle inspection or are traveling on a highway not numbered by Texas or the U.S.            50

After meeting certain requirements, the Texas Transportation Commission has the authority to raise the speed limit to
75 mph on parts of the state highway system if the Commission determines the speed limit is a reasonable and safe speed for that
section of the highway. The Texas Transportation Commission also has the authority, after meeting certain requirements, to raise
the speed limit to not more than 85 mph on a part of the highway if that part is designed to accommodate travel at that speed and the
Commission determines that speed is reasonable and safe.
The Texas Transportation Commission may also establish a speed limit of 80 mph on a part of IH-10 or IH-20 in Crock-
ett, Culberson, Hudspeth, Jeff Davis, Kerr, Kimble, Pecos, Reeves, Sutton, or Ward County if the Commission determines
80 mph is a reasonable and safe speed for that section of the highway.

Slow Down or Move Over
If an emergency medical vehicle, law enforcement vehicle, fire truck, tow truck, or a Texas Department of Transportation vehicle
(TxDOT) is stopped on the road with its lights activated (the lights are on or flashing), then the driver is required:
1. To reduce his/her speed to 20 mph below the speed limit; or
2. Move out of the lane closest to the emergency medical vehicle, law enforcement vehicle, fire truck, tow truck or a
   TxDOT vehicle if the road has multiple lanes traveling in the same direction.
There are other instances where it is important to be observant of vehicles stopped in the road. Mail, delivery, and trash-collection
vehicles often make frequent stops in the roadway. Drivers must proceed with caution, and, if possible, change lanes before safely
passing one of these vehicles on the road.

Street Racing
Street racing, also known as drag racing, is illegal and can result in serious injuries or fatalities. Illegal street racers put other drivers
at risk because races are typically held on public roads. Due to the high speeds, drivers are unable to react to common road hazards
or other driving situations, which often results in crashes.
Illegal street racing also causes unnecessary property damage, including extensive wear on roads (due to the high-powered engines
damaging asphalt), which requires costly repairs at the expense to the tax-payer.
According to the National Highway Traffic Safety Administration (NHTSA), in 2012 there were 10,219 speeding-related fatalities
nationwide, representing 30% of all motor vehicle fatalities in that year. Of these fatalities, 1,247 (12.2%) occurred in Texas. In 2012,
12% of all speeding-related fatalities occurred on interstate highways.
A person may not participate in:
  1. A race;
  2. A vehicle speed competition or contest;
  3. A drag race or acceleration contest;
  4. A test of physical endurance of the operator of a vehicle; or
  5. In connection with a drag race, an exhibition of vehicle speed or acceleration, or to make a speed record.
The criminal penalty for a conviction of Speed Racing ranges from a Class B misdemeanor to a second-degree felony.




                                                                                                                                                          49
              Case 5:19-cv-00074-FB Document 8-1 Filed 02/04/19 Page 123 of 262
Chapter 9: Some Special Driving Situations                                                                   Texas Driver Handbook


                         Chapter 9: Some Special Driving Situations
Driving at night is much more dangerous than driving during the day. Many people do not see as well at night. When taking a trip,
it is safer to drive during daylight hours. Also, never drive when you are tired.

Headlights
Slow down when driving at night and be sure you can stop within the distance lit by your headlights.
You must use your headlights beginning 30 minutes after sunset and ending 30 minutes before sunrise, or anytime when individuals
or vehicles cannot be seen clearly for at least 1,000 feet.
Avoid looking directly into the headlights of approaching vehicles; shift your eyes down to the lower right side of your traffic lane.
Use your low beam headlights when:
 1. Within 500 feet of an approaching vehicle
 2. Following closely (within 300 feet) behind another vehicle
 3. Driving on lighted roads
 4. Driving in fog, heavy rain, sleet, snow, or dust
If you must park on an unlighted highway at night, leave your parking lights or low beam headlights on.

Highway Driving
Freeways, toll-roads, throughways, turnpikes, and expressways are designed for maximum safety, but you must know how to use
them properly. In Texas, a highway is defined as the width between the boundary lines of a publicly maintained way any part of
which is open to the public for vehicular travel.
Before Using a Highway
Plan your trip in advance so you know your entrance, direction, and exit. Make sure you and your car are in good condition. If you
cannot or do not want to drive at or above the minimum speed limit, do not use the highway.
Entering the Highway
 1. You must yield the right-of-way to vehicles already on the highway.
 2. Enter the speed change lane, stay to the right, signal left, and when it is clear, increase your speed to merge with the flow of
    traffic.




                                                         Speed up when entering the freeway



Driving on the Highway
Choose the Proper Lane
 1. Use the right lane to drive at the minimum posted speed limit or below the normal flow of traffic.
 2. Use the middle or left lane if you are traveling faster than other traffic or passing other vehicles.
 3. If you plan to leave the freeway soon, change to the exit lane as soon as possible.




  50
              Case 5:19-cv-00074-FB Document 8-1 Filed 02/04/19 Page 124 of 262
Chapter 9: Some Special Driving Situations                                                                      Texas Driver Handbook


Observe Specific Instructions                                                                                                  US   24
                                                                                                               56
Observe specific instructions indicating the lane you should drive in.                                                        Ne w p ort
                                                                                                         Metropolis           EXIT 1 MIL E
Once You are in the Proper Lane
                                                                                                          Utopia
 1. Stay in the middle of your lane.
 2. Do not weave in and out of traffic.
 3. Maintain a constant speed. Keep pace with the traffic. Don’t speed up and slow down
    unnecessarily.
 4. Stay at least two seconds behind the vehicle ahead of you. In bad weather, increase the time
    to at least four seconds. Watch the cars ahead of you. Be prepared if one of the cars ahead of
    you stops suddenly.
 5. Adjust your speed to allow others to enter the highway safely.
 6. Vehicles in any lane, except the right lane used for slower traffic, should be prepared to move to another lane to allow faster
    traffic to pass.
Leaving the Highway
 1. Move into the proper lane well in advance of the exit. The greater the amount of traffic the earlier you should move into the
    proper lane. Exit signs are usually placed at least 1,000 yards ahead of the exit.
 2. Slow down on the exit ramp so by the time you are off the highway, you are within the new, slower speed limit.
Fight Highway Hypnosis
A condition of drowsiness or unawareness can be brought on by reduced activity and steady sounds of wind, engine, and tire hum.
This is known as highway hypnosis. All drivers should be aware of its danger and of the methods for fighting it.
 1. Stop often. Even if you are feeling well you should stop at least every two hours or every 100 miles. Get out of your car and walk
    around. Allow your muscles to relax.
 2. Do not drive more than eight hours per day.
 3. Keep shifting your eyes. Look at different objects; near and far, left and right. Read the road signs as you approach them. Check
    your rearview mirror.
Highway Safety Tips
 1. Keep a window open so there is always fresh air in the car to help keep you alert and awake.
 2. On bright days, wear good sunglasses. Never wear sunglasses at night.
 3. Stay out of another driver’s blind spot. Traveling where the driver ahead of you cannot see your vehicle can be dangerous. Stay
    behind or go around the other vehicle. Do not follow to the side.
 4. Avoid using a cell phone while driving; use may cause distraction and driver inattention. If you must use a cell phone, safely
    pull off the road or use a hands-free headset. If you are under 18 years of age it is illegal to use a cell phone while driving even
    if it is a hands-free device except in the case of emergency.
Vehicle Breakdown
 1. If you can’t get the car off the road, get everyone out of the car and off the road. Portable warning devices should be used to
    warn oncoming traffic.
 2. Move your car off the pavement to the side of the road. A car with a flat or blowout can be driven slowly off the road.
 3. Turn on your emergency warning lights. If you do not have warning lights, use your taillights. At night, in addition to your tail-
    lights and warning lights, turn the lights on inside of the car.
 4. Tie a white cloth to your radio antenna, door handle, or some other place where it may be easily seen. If you do not have a white
    cloth, raise your hood.

Controlling a Car in Special Situations
There is one basic rule which applies in all driving situations, think before you act.
Steering Out of a Skid
An automobile skids when its tires lose their grip on the road surface. If the car starts to skid follow these safety tips.
 1. Do not hit the brakes suddenly and hard. Take your foot off the gas pedal (accelerator).
 2. Turn your steering wheel in the direction of the skid. As you recover control, gently straighten the wheels.




                                                                                                                                     51
                 Case 5:19-cv-00074-FB Document 8-1 Filed 02/04/19 Page 125 of 262
Chapter 9: Some Special Driving Situations                                                                                     Texas Driver Handbook


 3. Avoid a situation that could cause a skid by slowing down when the road and weather conditions are poor. Also, check your
    car’s tires. Old or worn tires that have minimal or damaged tread are dangerous. (In the illustration below, the direction of the
    skid is to the right.)
                                                                 Steering out of a skid

                                                                                       Turn steering wheel in
                                                                                       direction of skid




Brake Failure
If your car brakes fail, do not panic. Remember you can use your parking brake and shift to a lower gear. Apply your parking brake
cautiously to keep from locking the brakes and throwing your car into a skid.
Running Off the Pavement
If something causes you to swerve and run off the pavement:
 • Do not hit the brakes suddenly and hard. Grip the steering wheel tightly and take your foot off the gas pedal.
 • Use your brakes carefully and do not swing back onto the pavement. Wait until your speed is reduced, check the traffic behind
   you, and then carefully drive back onto the pavement.
Flat Tire or Blowout
If you have a flat tire or a blowout:
 • Do not hit the brakes suddenly and hard
 • Take your foot off the gas pedal and gently apply the brakes
 • Steer straight ahead to a stop
Driving Down a Steep Hill
When driving down a steep hill, you can shift your car into a low gear to help slow your vehicle. Never coast in neutral or for cars
with a standard transmission, never coast with your foot on the clutch.

Winter Driving
Most drivers realize winter creates additional hazards, but many drivers don’t know what to do about it. Here are a few precautions
you should follow during winter.
                                                     Table 25: Winter Driving Safety Tips
           Safety Tip                                                            Explanation
       Maintain a safe      Increase the distance from the vehicle ahead of you according to the conditions of the pavement. Many rear-end
       interval             collisions occur on icy streets because drivers don’t leave space to stop. Snow tires will slide on ice or packed snow. To
                            keep safe you must keep your distance.
       Reduce speed to      There is no such thing as a “safe” speed range at which you may drive on snow or ice. You must be extremely cau-
       correspond with      tious until you are able to determine how much traction you can expect from your tires. Avoid locking of brakes on
       conditions           ice as it will cause a loss of steering and control. Every city block and every mile of highway may be different, depend-
                            ing upon sun or shade and the surface of the road.
       Keep windows clear   Remove snow and ice before you drive, even if you’re just driving a few miles. Make certain the windshield wipers and
                            defroster are working properly.
       Watch for danger     There may be ice on bridges when the rest of the pavement is clear. Snow melts more slowly in shady areas. Take
       spots ahead          precautions when approaching turns.
       Get a feel for the   Start out very slowly. It is useless to burn the rubber off your tires by spinning the wheels. Test your brakes gently
       road                 after the car is in motion to determine how much traction you have. Start slowing down before you come to a turn.
       Equip your vehicle   Chains are the most effective and should be used where ice and snow remain on the road. One word of caution,
       with chains or       neither chains nor snow tires will permit you to drive on slick pavement at normal speeds so don’t get a false feeling
       snow tires           of security.


Roundabouts
Modern Roundabout
A modern roundabout is a one-way, circular intersection where traffic flows counter clockwise around a center island. Modern
roundabouts use yield signs rather than traffic lights to control vehicles entering the intersection. This intersection design only has
eight potential conflict points, opposed to a traditional “four-way” signalized intersection which has 32 potential conflict points.




  52
                   Case 5:19-cv-00074-FB Document 8-1 Filed 02/04/19 Page 126 of 262
Chapter 9: Some Special Driving Situations                                                                                                         Texas Driver Handbook


Driving in a Modern Roundabout
To drive in a modern roundabout, follow these simple steps: slow down as you approach the intersection, yield to traffic already in
the circle, enter the circle and follow the loop in a counter clockwise direction, and then make a right turn to exit the roundabout.
Road signs, pavement markings and its design help guide drivers through a modern roundabout.




Advantages of a Modern Roundabout
A modern roundabout can help save driver and pedestrian lives, as well as greatly reduce the number and severity of crashes. A
modern roundabout saves commute time by increasing traffic capacity 30% to 50% even with vehicles traveling at slower speeds.
The community also benefits from a safer intersection that lasts more than twice as long as traffic lights that have to be installed,
maintained, adjusted, and repaired. There is also a reduction in air pollution and an increase in fuel savings because vehicles are
not idling at traffic lights.
Source: Texas Department of Transportation (TxDOT)


Floods
Floods are one of the most common hazards in the U.S. Nearly half of all flash flood fatalities are vehicle-related.
These are the facts:
  • Six inches of water will reach the bottom of most passenger cars, causing loss of control and possible stalling.
  • Twelve inches of water will float many cars.
  • Two feet of rushing water will carry away pick-up trucks, SUVs, and most other vehicles.
  • Water across a road may hide a missing segment of roadbed or a missing bridge. Roads weaken under floodwater and drivers
    should proceed cautiously after waters have receded since the road may collapse under the vehicle’s weight.
National Weather Service and Texas Division of Emergency Management officials say if your vehicle stalls in floodwater, get out
quickly and move to higher ground. Better yet, when there’s water on the road, Turn Around Don’t Drown. Saving your life is as
simple as choosing an alternate route.


                                              For more information on Turn Around Don’t Drown, visit www.srh.weather.gov or on Federal
                                              Alliance for Safe Homes (FLASH), visit www.flash.org.
                                              Mailing Address: National Weather Service
                                                               Southern Region Headquarters
                                                               819 Taylor Street
                                                               Fort Worth, TX 76102
                                              Source: The materials from Turn Around Don’t Drown were used with permission from the Southern Regional Headquarters, NOAA, per Larry
                                              Eblen (Larry.Eblen@noaa.gov) and Walt Zaleski, (Walt.Zaleski@noaa.gov), Warning Coordination Meteorologist Program, Manager NWS,
                                              Southern Region Headquarters, Fort Worth, Texas.




                                                                                                                                                                             53
              Case 5:19-cv-00074-FB Document 8-1 Filed 02/04/19 Page 127 of 262
Chapter 9: Some Special Driving Situations                                                                          Texas Driver Handbook


Share the Road with Trucks (Large trucks and truck-tractor combinations)
Whether you are sharing the road with a passenger car, motorcycle, truck, bus, or other vehicle, it is important to obey traffic laws,
abide by the rules of the road, and drive defensively. Trucks are designed to carry products to and from towns and cities; they are
designed to be as maneuverable as cars. Trucks have longer stopping and accelerating distances, a wider turning radius, and weigh
more.
Passing
 1. When passing a truck, first check to your front and rear, check mirrors and blind spots, then move into the passing lane only if
    it is clear and you are in a legal passing zone. Let the truck driver know you are passing by flashing your headlights, especially
    at night. The truck driver should make it easier for you to pass by staying to the far side of the lane.
 2. On a level highway, it takes three to five seconds longer to pass a truck than a car. On an upgrade, a truck often loses speed so
    it’s easier to pass than a car. On a downgrade, the truck’s momentum causes the truck to go faster so you may need to increase
    your speed. Complete your pass as quickly as possible and don’t stay alongside the other vehicle.
 3. If the driver flashes the truck’s lights after you pass, it’s a signal that it is clear for you to pull back in front of the truck. Be sure
    to move back only when you can see the entire front of the truck in your rearview mirror. After you pass a truck, maintain your
    speed.
 4. When a truck passes you, help the truck driver by keeping to the far side of your lane. You’ll make it easier for the truck driver
    if you slightly reduce your speed. Don’t speed up while the truck is passing. After passing, the truck driver should signal to let
    you know he is returning to your lane.
 5. When you meet a truck coming from the opposite direction, keep as far to the side as possible to avoid a sideswipe crash and to
    reduce the wind turbulence between the two vehicles. Remember, turbulence pushes vehicles apart; it does not pull them together.
Following a Truck
 1. Tractor-trailers take longer to stop than a car traveling at the same speed. The average passenger car traveling at 55 mph can
    stop in approximately 240 feet, which is about three-fourths the length of a football field. A fully loaded tractor-trailer may take
    more than 400 feet to completely stop; well over the length of a football field.
 2. If you’re following a truck, stay out of its blind spot at the rear. The blind spot is the area behind the truck that the driver cannot
    see in his rearview mirrors. Avoid following too closely, and position your vehicle so the truck driver can see your vehicle in
    the truck’s side view mirror. An excellent rule of thumb for motorists sharing the road with a tractor-trailer is, “If you can’t see
    the truck driver in his side mirror, he can’t see you.” By avoiding the truck driver’s blind spot, you will have a good view of the
    road ahead, and the truck driver can give you plenty of warning for a stop or a turn. This will allow you more time to react and
    make a safe stop.
 3. When you follow a truck at night always dim your headlights. Bright lights from a vehicle behind will blind the truck driver
    when the lights reflect off the truck’s large side mirrors.
 4. If you are stopped behind a truck on an upgrade, leave space in case the truck drifts back when it starts to move. Also, keep to
    the left in your lane so the driver can see you’re stopped behind the truck.
Right Turns
Pay attention to turn signals. Trucks make wide, right turns and sometimes leave an open space to the right just before the turn. To
avoid a crash, don’t pass a truck on the right if there is a possibility the truck might make a right turn.
Backing Crashes
Never cross behind a truck preparing to back up. When a truck driver is preparing to back the truck from a road into a loading area,
the road is temporarily blocked. Wait for the truck to complete its maneuver before trying to pass. If you pass too closely behind the
truck, a crash may occur because you are in the truck’s blind spot.
Maneuverability
On multi-lane highways, tractor-trailers stay in the center lane to help the flow of local traffic on and off the highway. Staying in
the center lane also increases the truck driver’s options if he/she has to switch lanes to avoid a crash. Be aware of common mistakes
drivers should avoid when driving around trucks and buses.
Cutting Off a Vehicle to Reach Your Exit or Turn
Never cut in front of a truck. Cutting into the open space in front of a truck or bus removes the driver’s cushion of safety. Trying
to beat a truck to a single-lane construction zone represents a particularly dangerous situation. Either slow down and exit or stay
behind the truck.




  54
              Case 5:19-cv-00074-FB Document 8-1 Filed 02/04/19 Page 128 of 262
Chapter 9: Some Special Driving Situations                                                                    Texas Driver Handbook


Never Underestimate the Size and Speed of an Approaching Tractor-trailer
Because of its large size, a tractor-trailer often appears to be traveling at a slower speed than it is. A substantial number of car-
truck collisions take place at intersections because the driver of the car does not realize how close the truck is or how quickly it is
approaching.

Share the Road with Motorcycles
Individuals who operate a motorcycle have the same rights and privileges as any other vehicle on the road.
For various reasons drivers may not see the motorcyclist, and approximately one-half of all motorcycle crashes involve another
vehicle. According to the National Highway Traffic Safety Administration, motorcyclists are about 35 times more likely to die in a
traffic crash than passenger car occupants. A few of the most common reasons are provided below.
 1. Many drivers tend to look for other cars, not for motorcyclists.
 2. The profile of a motorcycle is much smaller than the profile of a car, making an approaching motorcyclist harder to see.
 3. Estimating the distance and speed of a motorcycle is more difficult than it is for a car.
 4. Motorcycle riding requires frequent lane movements to adjust to changing road conditions.
 5. Distracted driving, such as texting or talking on a cell phone.
Situations When Crashes Are Most Likely to Occur
Motorcycle crashes are most likely to occur in the high-risk situations described below.
Left Turns
The most common crash between cars and motorcycles is at an intersection when the driver of a car is making a left turn in front of
a motorcycle. Over 40 percent of all motorcycle crashes occur at intersections. Nearly 66 percent of those crashes were caused by
the other vehicles turning left in front of the motorcyclist.
                                    A Car’s Blind Spot
                                    Motorcyclists are often hidden in a vehicle’s blind spot or missed in a quick look due to their
                                    smaller size. Always make a visual check for motorcycles by checking mirrors and blind spots
                                    before entering or leaving a lane of traffic and at intersections.
                                    Hazardous Road Conditions
                                   Road conditions that are a minor annoyance to you may pose a major hazard to motorcyclists.
                                   Motorcyclists may suddenly change speed or adjust their position within a lane in reaction to
                                   changes in the weather, road, or traffic conditions. This may include potholes, gravel, railroad
                                   crossings, and wet or slippery surfaces which impair the motorcyclists’ braking and handling
abilities. Expect and allow room for such actions by the motorcyclist.
Strong Winds
A strong gust of wind can move a motorcycle across an entire lane if the rider isn’t prepared for it. Wind gusts from large trucks in
the other lane can also be a hazard.
Large Vehicles
A large vehicle such as a van, bus, or truck can block a motorcycle from a driver’s view and the motorcy-
clist may seem to suddenly appear from nowhere.
Motorcycle Driving Awareness
Look Out for Motorcyclists
Although you may not see any cars, be aware there may be a motorcycle. Be careful at intersections, and
always take a second look for a motorcycle before turning at an intersection, particularly when making
left turns.
Signal Your Intentions
Always signal before changing lanes or merging with traffic. This allows the motorcyclist to anticipate traffic flow and find a safe
lane position. Signal even if you don’t see cars or motorcycles. Be careful when making left turns across lanes of approaching traf-
fic. Look carefully in all directions for approaching motorcyclists. Don’t be fooled by a flashing turn signal. Motorcycle signals
usually are not self-canceling and riders sometimes forget to turn them off. Wait to be sure the motorcycle is going to turn before
you proceed.
Respect a Motorcycle
Allow the motorcyclist a full lane width. Although it may seem as though there is enough room in the traffic lane for an automobile
and a motorcycle, the motorcycle is entitled to a full lane and may need the room to maneuver safely. Do not attempt to share the
lane with a motorcycle.




                                                                                                                                 55
                 Case 5:19-cv-00074-FB Document 8-1 Filed 02/04/19 Page 129 of 262
Chapter 9: Some Special Driving Situations                                                                                        Texas Driver Handbook


Allow Plenty of Space When Following a Motorcycle
                                                                                                                                                                 :
                                                                                                                                                          l No te
The slightest contact can mean a spill or injury for the rider. Allow more following distance, at least four to six                            S pe cia          w a re
                                                                                                                                                         drive a
seconds, when following a motorcycle so the motorcyclist has enough time to maneuver or stop in an emergency.                                 I f you rcyclists
                                                                                                                                                       to
Stop a safe distance behind the motorcyclist at intersections, signals, or crossings. A full vehicle length is recom-                         o f mo situa tion s,
                                                                                                                                                        e
                                                                                                                                              in th es n h elp ma ke
mended to help prevent impact with the motorcycle should your vehicle suffer a rear end collision. In dry conditions                                   a
                                                                                                                                               you c eets a n d
                                                                                                                                                        r
motorcycles can stop more quickly than a car, so being aware and alert at all times can help prevent a collision.                              th e st a fer for
                                                                                                                                                         s
                                                                                                                                                ro a ds e.
DPS Motorcycle Operator Training Program                                                                                                        e ver yon

The DPS Motorcycle Operator Training and Safety Program was created in 1983 by the legislature to improve rider
skills and reduce the number and severity of motorcycle crashes in Texas. A portion of each motorcycle license fee is used to
support this program. The program develops curriculum and monitors motorcycle training classes throughout the state and pro-
motes motorcycle safety and awareness through campaigns, exhibits, and materials.
Contact Motorcycle Safety at www.dps.texas.gov/msb or call (800) 292-5787. Residents in the Austin area can call
(512) 424-2021 for information about motorcycle safety or to locate the nearest training location.

Share the Road with Light Rail
In recent years, light rail has been established in many major cities in Texas. As you travel these areas, you may notice these trains
move along the streets just like other vehicles. Light rail is very quiet; and, in fact, quieter than most buses and cars. So whether
you are riding light rail or just walking or driving near the train or tracks, it’s important to stay alert and observe the safety rules.
                                                       Table 26: Safety Rules for Light Rail
        Action                                                                 Description
       Stop        - Don’t walk in front of, between, or behind a train.
                   - Trains can’t start or stop quickly regardless of traffic flow.
                   - Do not drive, stop, or park your vehicle on the tracks. It’s dangerous and illegal.
       Look        - Cross the tracks only at designated crossings and only when it is safe.
                   - Look both ways before crossing the tracks. Trains travel in both directions.
                   - Obey all warning signs, flashing lights, signals, and crossing gates. A law enforcement officer will issue tickets to violators.
       Listen      - Stay alert. Light rail is quieter than a bus or most cars. You may not hear a light rail coming.
                   - Listen for train horns and signal bells.
                   - Always follow instructions from a law enforcement officer.
       Don’t       - Never race a train, run in front of a train, or put anything on or near the tracks.
                   - Never try to beat the train to a crossing. Even in a tie, you lose.
                   - Never drive around crossing gate arms.


Share the Road with Bicycles
A bicycle is a vehicle. Any person riding a bicycle has all of the rights and responsibilities as a driver of a vehicle.
Rules for Motorists and Bicyclists
 1. Bicyclists are not restricted to the right lane of traffic. One-way, multi-lane streets are one example of this. Another instance
    is when the bicyclist is changing lanes to make a left turn. The bicyclists should follow the same path any other vehicle would
    take traveling in the same direction.
 2. A motorist should merge with bicycle traffic when preparing for a right turn. Avoid turning directly across the path of bicycle
    traffic.
 3. Bicyclists are required to ride as far to the right in the lane as possible only when the lane can be shared safely by a car and a
    bicycle, side-by-side. Even then there are certain conditions which allow a bicyclist to take the full lane.
    a. The bicyclist is overtaking and passing another vehicle proceeding in the same direction.
    b. The bicyclist is preparing for a left turn at an intersection or onto a private road or driveway.
    c. There are unsafe conditions in the road such as fixed or moving objects, parked or moving vehicles, pedestrians, animals,
       potholes, or debris.
    d. The lane is of substandard width making it unsafe for a car and a bicycle to safely share the lane side-by-side. When this is
       the case, it is best for the cyclist to take the full lane whether riding single file or two abreast.
Car-Bicycle Crashes
Be on the lookout for cyclists on the road, especially at intersections. The most common car-bicycle crashes caused by a motorist are:
 1. A motorist turns left in front of oncoming bicycle traffic. Oncoming bicycle traffic is often overlooked or its speed misjudged.
 2. A motorist turns right across the path of the bicycle. The motorist should slow down and merge with the bicycle traffic for a
    safe right turn.



  56
                   Case 5:19-cv-00074-FB Document 8-1 Filed 02/04/19 Page 130 of 262
Chapter 9: Some Special Driving Situations                                                                                                           Texas Driver Handbook


  3. A motorist pulls away from a stop sign and fails to yield the right-of-way to bicycle cross traffic. At intersections, the right-of-
     way rules apply equally to motor vehicles and bicycles.




                                              Wrong way
                                                                                                        Turning right,
                                    (do not cut across the
                                                                                                         merge right!
                                        path of a bicycle)


Image source: Some images in this chapter are courtesy of The MUTCD, 2009 Edition, published by FHWA at mutcd.fhwa.dot.gov/pdfs/2009/pdf_index.htm


Distracted driving
Whenever you are driving a vehicle and your attention is not on the road, you’re putting yourself, your passengers, other vehicles,
and pedestrians in danger. Distracted driving can result when you perform any activity that may shift your full attention from the
driving task. Taking your eyes off the road or hands off the steering wheel presents obvious driving risks. Mental activities that take
your mind away from driving are just as dangerous. Your eyes can gaze at objects in the driving scene but fail to see them because
your attention is distracted elsewhere.
Activities that can distract your attention include: texting, talking to passengers, adjusting the radio, CD player or climate controls;
eating, drinking or smoking; reading maps or other literature; picking up something that fell; reading billboards and other road
advertisements; watching other people and vehicles including aggressive drivers; talking and/or texting on a cell phone or CB radio;
using telematics devices (such as navigation systems, pagers, etc.); daydreaming or being occupied with other mental distractions.
If drivers react a half-second slower because of distractions, crashes double. Some tips to follow so you won’t become distracted:
  • Review and be totally familiar with all safety and usage features on any in-vehicle electronics, including your wireless device
    or cell phone, before you drive.
  • Pre-program radio stations.
  • Pre-load you favorite CDs or cassette tapes.
  • Clear the vehicle of any unnecessary objects.
  • Review maps and plan your route before you begin driving.
  • Adjust all mirrors for best all-round visibility before you start your trip.
  • Do not attempt to read, text, or write while you drive.
  • Avoid smoking, eating and drinking while you drive.
  • Don’t engage in complex or emotionally intense conversations with other occupants.
You need to be able to recognize other drivers who are engaged in any form of driving distraction. Not recognizing other distracted
drivers can prevent you from perceiving or reacting correctly in time to prevent a crash. Watch for:
  • Vehicles that may drift over the lane divider lines or within their own lane.
  • Vehicles traveling at inconsistent speeds.
  • Drivers who are preoccupied with maps, food, cigarettes, cell phones, or other objects.
  • Drivers who appear to be involved in conversations with their passengers.
Give a distracted driver plenty of room and maintain your safe following distance.
Be very careful when passing a driver who seems to be distracted. The other driver may not be aware of your presence, and they
may drift in front of you.

Texting While Driving
It is against the law to read, write, or send messages on a cell phone or other portable wireless device. If your cell phone rings, do
not answer the call or respond to the text message. Convictions for violations of this law are subject to fines.
You may use a cell phone to contact law enforcement, or during an emergency. If you must make a call, pull safely off the road and
make the call. Try to keep the conversation short, or have a passenger make the call for you, if possible.




                                                                                                                                                                     57
                  Case 5:19-cv-00074-FB Document 8-1 Filed 02/04/19 Page 131 of 262
Chapter 10: Alcohol and Drugs Impact on the Driving Ability                                                                   Texas Driver Handbook


           Chapter 10: Alcohol and Drug Impact on the Driving Ability
Any drug may affect a person’s ability to drive. Millions of people take over the counter and prescription medications, illegal drugs,
or drink alcohol and do not realize they may affect the mental and physical (psychomotor) skills necessary to operate a vehicle and/
or react to external events while driving a vehicle.
Each individual is different. Driving skills of persons taking the same drug may be affected differently. A driver’s body weight,
emotional state, amount of drug taken, and when the drug was taken will influence the driver’s ability to assess an emergency situ-
ation or judge speed and distance. Safe driving always requires an observant eye, a steady hand, and a clear head.
When a person drinks alcohol or uses drugs, one of the first affects is they lose their judgement and their sight is impaired, causing
slower reactions to sounds and the inability to judge another vehicle’s speed. A person’s ability to reason can all but disappear. Good
judgment may be as simple as saying no to a friend who wants to race their car. However, if a person has been drinking alcohol or
they are under the influence of drugs, their judgment may turn into, “Sure, take my car.”
Taking more than one drug at the same time is even more dangerous since drugs may have a different overall cumulative effect,
especially when alcohol is involved. Besides escalating the overall effects of the other drugs, alcohol can also mask the effects of
those drugs, increasing a person’s risk of poor decision making and/or slowing responsive reactions to situations. You should always
check with a doctor or pharmacist before taking more than one type of drug or mixing drugs, especially tranquilizers or sedatives.
                                                Table 27: Alcohol and Other Types of Drugs
                  Type                                                             Description
       Marijuana                Research shows even typical social doses of marijuana can affect concentration, judgment, and sensory and
                                perceptual skills needed for careful driving. People who are under marijuana influence have impaired sensory and
                                perceptual abilities.
       Stimulants               Heavy amphetamine use may keep drivers awake and active for long periods of time. It also makes them less
                                coordinated, edgy, and is more likely to be involved in a car crash. Research shows typical social amounts of
                                cocaine can produce lapses in attention and concentration. While caffeine can help drowsy drivers stay alert, it
                                can’t make a drunk driver sober. Studies show ordinary amounts of caffeine don’t improve a drunk driver’s ability
                                to operate a vehicle.
       Tranquilizers /          Tranquilizers/Sedative-hypnotic drugs, including barbituates, are powerful depressants, which calm people down
       Sedative-Hypnotics       or help them sleep. Tired or over-sedated drivers are not good drivers.
       Over-the-counter drugs   Many over-the-counter drugs cause drowsiness in some people which can affect their driving. Read the labels and
                                be careful with antihistamines, other cold preparations, or any medicine that relaxes or promotes sleep.
       Any drug                 Any drug might affect your ability as a driver. If you take more than one drug or if you mix drugs, especially
                                tranquilizers or other sedative-hypnotics with alcohol, you could be asking for trouble on the road and off. If you
                                have doubts about a drug or drug mix, check with a doctor or pharmacist.
       Alcohol                  Each year alcohol, a depressant drug affecting coordination, judgment, perception, and emotional state, is
                                responsible for a significant number of highway deaths. Alcohol increases the depressant effects of tranquilizers
                                and barbiturates. Mixing these drugs, on or off the road, can be hazardous.


The Number One Killer is Alcohol
Driving While Intoxicated (DWI) is a problem affecting all Texans. According to the Calendar Year 2014 Texas Motor Vehicle
Traffic Crash Highlights (Texas Department of Transportation), 1041 persons were killed in a motor vehicle traffic crash with a
driver under the influence of alcohol. Alcohol related crashes represent 29% of the total number of persons killed in motor vehicle
traffic crashes.
According to the Centers for Disease Control and Prevention, the leading cause of death for U. S. teens is motor vehicle crashes. In
2011, approximately 2650 teens (aged 16-19) were killed and almost 292,000 were treated in emergency departments for injuries
suffered in motor-vehicle crashes. That means seven teens aged 16-19 died every day from motor vehicle injuries.
In 2013, Texas had the highest number of alcohol impaired driving fatalities in the United States, and 17% of drivers aged 16 to 20
involved in fatal crashes had a blood alcohol concentration (BAC) of 0.08 or higher. Not all teens involved in fatal crashes were
drinking. Some were passengers or innocent victims of people who drink and drive. Maybe one of those injured or killed was a
family member or your best friend. It could have been you.
To make Texas safer, the Texas legislature enacted laws to deter people from drinking and driving by penalizing those who choose
to drink and drive. In Texas, a person is considered legally intoxicated if the person has a BAC of 0.08 or more. Driving While
Intoxicated (DWI) and Driving Under the Influence (DUI) arrests can be a humiliating experience and are costly. Some fines range
as high as $10,000 not including the cost of a bail bondsman, attorney, or other court-required expenses. Is it worth the risk?




  58
                Case 5:19-cv-00074-FB Document 8-1 Filed 02/04/19 Page 132 of 262
Chapter 10: Alcohol and Drugs Impact on the Driving Ability                                                                     Texas Driver Handbook


Open Container
It is illegal to possess an open container of alcohol in a motor vehicle passenger area located on a public highway, regardless of
whether the vehicle is being operated, stopped, or parked. Conviction of this offense is punishable by a fine not to exceed $500.
Myths about Drinking Alcohol
Taking cold showers, drinking black coffee, or exercising will not make a person sober. Only time, based on body weight, number of
drinks, and food intake can minimize the effects of alcohol. It takes about one hour for the body to rid itself of each drink consumed.
If a person has been drinking someone who has not been drinking should drive.

Texas Tough Alcohol-Related Laws for Minors
Zero Tolerance for Minors
According to the Texas Alcohol Beverage Code, a minor is any individual who is under 21 years of age. A minor may not purchase,
attempt to purchase, consume, or possess an alcoholic beverage. Since a minor should not possess alcohol, Texas passed zero toler-
ance legislation for minors who commit an offense under the non-driving alcohol-related laws and for minors who drive under the
influence.
Zero tolerance means just that. Even if a minor is not intoxicated as defined under the DWI statute, but has any detectable amount
of alcohol in his/her system while operating a motor vehicle in a public place or while operating a water- craft, the minor committed
the criminal offense of Driving Under the Influence of Alcohol by a Minor (see Table 31).
Penalties for Non-Driving Alcohol-Related Offenses by Minors
The Texas Zero Tolerance law established penalties for minors who commit offenses under the non-driving alcohol-related offenses.
A minor may not purchase, attempt to purchase, falsely state he/she is 21 years of age or older, or present any document indicating
he/she is 21 years of age or older to a person engaged in the selling or serving of alcoholic beverages. A minor may not consume, or
possess an alcoholic beverage. Persons who purchase, furnish, or sell alcohol to a minor can be fined of up to $4,000 and/or confined
in jail for up to one year.
                                 Table 28: Penalties for Non-Driving Alcohol-Related Offenses – Minors
             Offense                                                                  Penalty
      1st offense               Class C misdemeanor punishable by a fine of up to $500, 8 to 12 hours of community service, mandatory
                                attendance of an alcohol awareness course, and license will be suspended (or privilege denied if not licensed) for
                                30 days. If the minor is under 18, the parent may be required to also attend the alcohol awareness course.
      2nd offense               Class C misdemeanor punishable by a fine of up to $500, 20 to 40 hours of community service, may be required to
                                attend an alcohol awareness course, and license will be suspended (or privilege denied if not licensed) for 60 days.
      3rd offense               Class C misdemeanor punishable by a fine of up to $500, 20 to 40 hours of community service, may be required to
      (Under 17 years of age)   attend an alcohol awareness course, and license will be suspended (or privilege denied if not licensed) for 60 days
                                or case can be transferred to Juvenile Court.
      3rd offense               Class B misdemeanor punishable by a fine of $250 to $2,000, 40 to 60 hours of community service, may be
      (17 to 21 years of age)   required to attend an alcohol awareness course, confinement in jail not to exceed 180 days, and license will be
                                suspended (or privilege denied if not licensed) for 180 days. Minors are not eligible for deferred disposition or
                                adjudication on the third conviction and every conviction after.

In addition to the above penalties, if a minor is convicted of any moving vehicle violation while suspended due to a non-driving
alcohol-related offense (listed above) they are subject to the penalties of Driving While License Invalid (DWLI).
Implied Consent Laws for Minors
A minor implies their consent to take one or more breath or blood specimen for analysis if they are arrested for operating a motor
vehicle or watercraft in a public place while intoxicated, or if there is any detectable or noticeable amount of alcohol in their system
while operating a motor vehicle in a public place as deemed by an officer. The breath or blood specimen will determine if alcohol
is present in their body. It will also identify the amount of alcohol in their system. Additionally, the breath or blood specimen can
identify the presence of any other controlled substances or drugs.




                                                                                                                                                       59
                 Case 5:19-cv-00074-FB Document 8-1 Filed 02/04/19 Page 133 of 262
Chapter 10: Alcohol and Drugs Impact on the Driving Ability                                                                        Texas Driver Handbook


Refusal to provide a breath or blood specimen will result in the suspension of the minor’s license or driving privileges if not licensed.
                                       Table 29: Penalties for Refusal to Provide a Specimen - Minors
                      Offense                                                                      Penalty
       1st offense                               Driver license suspended (or privilege denied if not licensed) for 180 days.
       2nd and subsequent offenses               Driver license suspended (or privilege denied if not licensed) for 2 years.

A minor who gives a breath or blood specimen that confirms he/she has been operating a motor vehicle in a public place with any
detectable amount of alcohol in his/her system and the amount is below the 0.08 BAC legal limit of intoxication will have his/her
license suspended or driving privilege denied if not licensed.
                        Table 30: Minor Provided Specimen Confirming Detectable Amount of Alcohol (failure)
                      Offense                                                                      Penalty
       1st offense                               Driver license suspended (or privilege denied if not licensed) for 60 days.
       2nd offense                               Driver license suspended (or privilege denied if not licensed) for 120 days.
       3rd and subsequent offenses               Driver license suspended (or privilege denied if not licensed) for 180 days.

A minor may request a hearing before a hearing officer to contest the suspension.
                        Table 31: Penalties for Driving Under the Influence (DUI) of Alcohol and Drugs– Minors
                      Offense                                                                      Penalty
       1st offense                               Class C misdemeanor punishable by a fine of up to $500, community service of 20 to 40 hours, and
                                                 attendance in an alcohol awareness course is required. If the minor is under 18, the parent may be
                                                 required to also attend the course.
       2nd offense                               Class C misdemeanor punishable by a fine of up to $500, community service of 40 to 60 hours.
                                                 The alcohol awareness course may be required.
       3rd offense (under 17 years of age)       Class C misdemeanor punishable by a fine of up to $500, community service of 40 to 60 hours.,
                                                 The alcohol awareness course may be required or the case can be transferred to Juvenile Court as
                                                 delinquent conduct.
       3rd offense (17 to 21 years of age)       Class B misdemeanor punishable by a fine of $500 to $2,000 and/or confinement in jail not to
                                                 exceed 180 days, community service of 40 to 60 hours, an alcohol awareness class may be required,
                                                 and the minor’s license will be suspended (or privilege denied of not licensed) for one year or for
                                                 90 days with a judge’s order to install an ignition interlock device. The court may not give deferred
                                                 disposition or adjudication on the third offense.
                                                  See Table 29 and Table 30 for the applicable suspension periods


In Texas, as a reminder, a person is considered legally intoxicated if they have a blood alcohol concentration (BAC) of 0.08 or more.
                                    Table 32: Penalties for Driving While Intoxicated (Alcohol) – Minors
            Offense                                                                      Penalty
       1st offense            Class B misdemeanor punishable by a fine not to exceed $2,000, confinement in jail for 72 hours to 180 days, and
                              suspension of the driver license (or privilege denied if not licensed) for 365 days, or for 90 days with a judge’s order
                              to install an ignition interlock device. The court may probate the jail sentence and waive the license suspension on the
                              first offense only. Possession of an open container of an alcoholic beverage increases the minimum confinement to six
                              days.
       2nd offense            Class A misdemeanor punishable by a fine not to exceed $4,000, confinement in jail for 30 days to 1 year, and
                              suspension of the driver license (or privilege denied if not licensed) for 180 days to 18 months.
       3rd offense and        Felony of the third degree punishable by a fine not to exceed $10,000, imprisonment in the Texas Department of
       every offense after    Criminal Justice (TDCJ) for 2 to 10 years, and suspension of the driver license (or privilege denied if not licensed) for
                              180 days to 18 months.
       DWI with passenger     A state jail felony punishable by a fine not to exceed $10,000, confinement in state jail for 180 days to 2 years and
       under 15               suspension of the driver license (or privilege denied if not licensed) for 90 days to 1 year.
       Intoxication assault   Third degree felony punishable by a fine not to exceed $10,000, imprisonment in the Texas Department of Criminal
                              Justice (TDCJ) for 2 to 10 years, and suspension of the driver license (or privilege denied if not licensed) for 90 days to
                              1 year.
       Intoxication           Second degree felony punishable by a fine not to exceed $10,000, imprisonment in the Texas Department of Criminal
       manslaughter           Justice (TDCJ) for 2 to 20 years, and a suspension of the driver license (or privilege denied if not licensed) for 180 days
                              to 2 years.




  60
                Case 5:19-cv-00074-FB Document 8-1 Filed 02/04/19 Page 134 of 262
Chapter 10: Alcohol and Drugs Impact on the Driving Ability                                                              Texas Driver Handbook


Texas Alcohol-Related Laws for Adults
Implied Consent Laws for Adults
The implied consent for adults is similar to that of minors.
Like the minor, an adult implies their consent to take one or more breath or blood specimen for analysis if they are arrested for
operating a motor vehicle or watercraft in a public place while intoxicated, or if they are an adult up to 21 years of age and there is
any detectable or noticeable amount of alcohol in their system while operating a motor vehicle in a public place as deemed by an
officer. The breath or blood specimen determines if alcohol is present in their body and will identify the amount of alcohol in their
system as well as the presence of any other controlled substances or drugs.
A person who refuses to give a blood or breath specimen for analysis will have their driver license suspended for 180 days. If a
person submits to a blood or breath specimen and the results show a BAC of 0.08 or greater, their driver license may be suspended
for 90 to 365 days. Anyone with a BAC of 0.08 or more is considered intoxicated.
                                       Table 33: Penalties for DWI and DUI of Alcohol or Drugs-Adults
                   Offense                         Fine                      Confinement                    Driver License Suspension
     1st offense                          Up to $2,000            72 hours to 180 days in jail          90 days to 365 days
     2nd offense                          Up to $4,000            30 days to 1 year in jail             180 days to 2 years
     3rd and subsequent offenses          Up to $10,000           2 to 10 years in TDCJ                 180 days to 2 years
     DWI with passenger under 15          Up to $10,000           180 days to 2 years in state jail     90 days to 2 years
     Intoxication assault                 Up to $10,000           2 to 10 years in TDCJ                 90 days to 2 years
     Intoxication manslaughter            Up to $10,000           2 to 20 years in TDCJ                 180 days to 2 years


Know Your Legal Limit
The legal limit in Texas is 0.08 BAC or any amount which results in the loss of normal use of mental or physical faculties. The in-
formation provided in the Alcohol and Driving. Why Take the Risk? table below is only a guide and is based on calculated averages.
Alcohol tolerance may vary by individual. Food intake, medications, health, gender and psychological conditions are also influential
factors, which affect the rate of alcohol absorption.
Drivers are encouraged to take drug and alcohol awareness courses to become better educated about the effects and consequences
of drugs and alcohol. Insurance companies may provide liability insurance discounts to drivers who complete drug and alcohol
awareness courses.
                                             Table 34: Alcohol and Driving. Why Take the Risk?
       Drinks                                             Body Weight in Pounds
                                                                                                                              Influenced
                   100           120         140           160       180            200           220       240
          1        .04           .03         .03           .02       .02            .02           .02       .02
                                                                                                                               Possibly
          2        .06           .06         .05           .05       .04            .04           .03       .03
          3        .11           .09         .08           .07       .06            .06           .05       .05
                                                                                                                               Impaired
          4        .15           .12         .11           .09       .08            .08           .07       .06
          5        .19           .16         .13           .12       .11            .09           .09       .08
          6        .23           .19         .16           .14       .13            .11           .10       .09
          7        .26           .22         .19           .16       .15            .13           .12       .11                 Legally
          8        .30           .25         .21           .19       .17            .15           .14       .13               intoxicated

          9        .34           .28         .24           .21       .19            .17           .15       .14
         10        .38           .31         .27           .23       .21            .19           .17       .16

A drink may include a 12 ounce can of beer, a mixed drink with 1.5 ounces of liquor or a 5 ounce glass of wine. They all contain
approximately the same amount of alcohol.




                                                                                                                                            61
                 Case 5:19-cv-00074-FB Document 8-1 Filed 02/04/19 Page 135 of 262
Chapter 11: Motor Vehicle Crashes                                                                                                Texas Driver Handbook


                                         Chapter 11: Motor Vehicle Crashes
Most crashes in Texas result from speeding, failure to yield or stop appropriately, and driving under the influence of alcohol. If
requested and available, exchange names, addresses, phone numbers, vehicle identification numbers, vehicle license plate numbers,
driver license information, and insurance information with all drivers involved in the crash. Write the insurance company name and
policy number exactly as it is shown on the driver’s proof-of-insurance card. If you have the name of the driver’s insurance company
and the information is not listed directly on the insurance card, call the Texas Department of Insurance at (800) 252-3439 to get the
company address and telephone number. Be sure to also note the location of the crash and write down the contact information if
there are any witnesses.
You should always notify the appropriate law enforcement agency as soon as possible when:
    • There is an injury or fatality
    • The vehicles involved cannot be moved off the roadway
    • A driver leaves the scene of the crash
    • You suspect a driver is intoxicated.
If you are involved in a crash that is not investigated by a law enforcement officer and the crash has not resulted in injury or death of
a person or damage to property of $1,000 or more, you must make a written report of the crash and file it with the Texas Department
of Transportation (TxDOT) no later than the 10th day after the date of the crash. The written report must be on a TxDOT specified
form. For a copy of this form, please visit the TxDOT website at www.txdot.gov.

Crash Resulting in Injury to, or Death of a person
If you are operating a motor vehicle involved in a crash resulting in injury to or death of a person, you must immediately stop your
vehicle at the scene of the crash (or as close as possible to the scene of the crash) without obstructing traffic more than necessary. If
you did not stop your vehicle at the scene, you must immediately return and remain at the scene of the crash until you have complied
with the following:
 1. Provide your name and address, the registration number of the vehicle you were driving, and the name of your motor vehicle
    liability insurer to any person injured, or to the operator or occupant of, or person attending a vehicle involved in the collision
 2. Show your driver license (if requested and available) to any person injured, or to the operator or occupant of, or person attending
    a vehicle involved in the collision
 3. Provide any person injured in the crash reasonable assistance including transporting or making arrangements for transport-
    ing the person to a physician or hospital for medical treatment if it is apparent treatment is necessary, or if the injured person
    requests the transportation.
                                                         Table 35: Penalties for Failure to Stop
                             Offense                                                                  Penalty
       1st offense crash resulting in a death of a person     Second degree felony punishable by a fine not to exceed $10,000 and imprisonment in
                                                              the Texas Department of Criminal Justice (TDCJ) for 2 to 20 years.
       1st offense crash resulting in serious bodily injury   Third degree felony punishable by a fine not to exceed $10,000 and imprisonment in
                                                              the Texas Department of Criminal Justice (TDCJ) for 2 to 10 years.
       1st offense crash resulting in injury                  Imprisonment in the Texas Department of Criminal Justice (TDCJ) for up to 5 years or
                                                              confinement in the county jail for up to 1 year; a fine not to exceed $5,000; or both a
                                                              fine and imprisonment.


Crash Resulting in Damage to a Vehicle
If you are operating a motor vehicle involved in a crash resulting ONLY in damage to a vehicle that is driven or attended by a person,
you must immediately stop your vehicle at the scene of the crash or as close as possible to the scene of the crash without obstructing
traffic more than necessary. If the crash occurs on a main lane, ramp, shoulder, median, or adjacent area and each vehicle involved
can be normally and safely driven, drivers must move their vehicle as soon as possible to a designated crash investigation site, if
available, a location on the frontage road, the nearest suitable cross street, or other suitable location. If you did not stop your vehicle
at the scene, you must immediately return and remain at the scene of the crash until you have complied with the following:
 1. Provide your name and address, the registration number of the vehicle you were driving, and the name of your motor vehicle
    liability insurer to any person injured, or to the operator or occupant of, or person attending a vehicle involved in the collision
 2. Show your driver license (if requested and available) to any person injured, or to the operator or occupant of, or person attending
    a vehicle involved in the collision
 3. Provide any person injured in the crash reasonable assistance including transporting or making arrangements for transport-
    ing the person to a physician or hospital for medical treatment if it is apparent treatment is necessary, or if the injured person
    requests the transportation.


  62
              Case 5:19-cv-00074-FB Document 8-1 Filed 02/04/19 Page 136 of 262
Chapter 11: Motor Vehicle Crashes                                                                                      Texas Driver Handbook


                                                Table 36: Penalties for Failure to Stop
                      Offense                                                             Penalty
     1st offense (Less than $200 in damages)     Class C misdemeanor and is punishable by a fine not to exceed $500.
     1st offense ($200 or more in damages)       Class B misdemeanor and is punishable by a fine not to exceed $2,000, confinement in jail
                                                 for up to 180 days, or both.


Crash Involving an Unattended Vehicle
If you are operating a motor vehicle that collides with and damages an unattended vehicle, you must immediately stop and either:
 1. Locate the operator or owner of the unattended vehicle and give your name and address
 2. Securely attach a written notice in a visible way, to the unattended vehicle providing:
    • Your name and address
    • A statement of the circumstances of the collision.
                                                Table 37: Penalties for Failure to Stop
                      Offense                                                             Penalty
     1st offense (Less than $200 in damages)     Class C misdemeanor and is punishable by a fine not to exceed $500.
     1st offense ($200 or more in damages)       Class B misdemeanor and is punishable by a fine not to exceed $2,000, confinement in jail
                                                 for up to 180 days, or both.


Crash Resulting in Damages to a Fixture, Landscaping, or Structure
If you are driving a motor vehicle involved in a crash resulting ONLY in damage to a fixture, landscaping, or structure legally on
or adjacent to a highway, you must:
 1. Take reasonable steps to locate the owner (or person in charge) of the property and notify him/her of the crash
 2. Provide your name, address, and registration number of the vehicle you were driving
 3. If requested and available, you must show your driver license to the owner or person in charge of the property
 4. If the crash is not investigated by a law enforcement officer and the crash has not resulted in injury to or the death of a person or
    damage to the property of any one person to an apparent extent of $1,000 or more you must make a written report of the crash
    and file it with the TxDOT no later than the 10th day after the crash.
                                        Table 38: Penalties for Failure to Comply with Damages
                      Offense                                                             Penalty
     1st offense (Less than $200 in damages)     Class C misdemeanor and is punishable by a fine not to exceed $500.
     1st offense ($200 or more in damages)       Class B misdemeanor and is punishable by a fine not to exceed $2,000, confinement in jail
                                                 for up to 180 days, or both.


Hit-and-Run Crashes
If you are involved in a hit-and-run crash, report this crash to law enforcement for investigation. The Texas Department of Insurance
advises uninsured motorist coverage will pay for damages in hit-and-run crashes reported to a law enforcement agency.

Aiding the Injured
In the event you are involved in a crash that injures another person, consider the information below:
 1. When calling a doctor or ambulance, ensure you take notice of your surroundings and state the location of the crash clearly and
    correctly.
 2. Do not assume people are not injured simply because they say they are not. Send for skilled help as quickly as possible. Un-
    skilled handling can do more harm than good.
 3. Do not move or lift the victim(s) unless it is absolutely necessary. If a victim must be moved, get help and try not to change the
    position in which the victim was found.
 4. Stop serious bleeding with thick cloth pads, as clean as possible, apply with pressure by hand or by bandaging.
 5. Keep the victim(s) comfortable. If it is hot, cool the victim(s) and provide shade as much as possible. If it is cool, cover the victim
    with blankets or coats if necessary and if available.




                                                                                                                                             63
             Case 5:19-cv-00074-FB Document 8-1 Filed 02/04/19 Page 137 of 262
Chapter 12: Pedestrian Safety                                                                                    Texas Driver Handbook


                                       Chapter 12: Pedestrian Safety
A driver should always pay special attention to pedestrians (persons on foot). However, there are certain safety rules pedestrians
should follow.

Laws and Safety Tips for Pedestrians
 1. Obey traffic control signals unless otherwise directed by a pedestrian control signal.
 2. Do not cross the street between two intersections. It is dangerous to cross in the middle of a street.
 3. Use sidewalks when available, and do not walk in the street.
 4. Walk on the left side of the road if there are no sidewalks. Step off the pavement when a car approaches.
 5. If you cross a street at any point other than within a crosswalk at an intersection, you (the pedestrian) must yield
    the right-of-way to all vehicles.
 6. If you cross a street without using a pedestrian tunnel or overhead pedestrian crossing which has been provided, you (the pedes-
    trian) must yield the right-of-way to all vehicles.
 7. When crossing at a crosswalk, keep right if possible.
 8. Blind, partially blind, or disabled individuals may carry a white cane while walking. Others must not display a cane on any
    public street or highway.
 9. No person may stand in the road for the purpose of soliciting a ride, contributions, or business. A person may stand in a road to
    solicit a charitable contribution if authorized to do so by the local authority having jurisdiction over the road.
 10. Do not suddenly walk or run into the street in the path of a vehicle. These sudden actions may make it impossible for the vehicle
     operator to yield.
 11. Wait on the curb, not in the street, until the traffic signals change to green or read “Walk.”
 12. Always wear white or light colored clothing and/or carry a light or reflector when walking at night.
 13. Look both ways before crossing the street and before stepping out from behind parked cars.
 14. Be extra careful when getting off a streetcar or bus.
 15. Get in and out of cars on the curb side of the road when possible.
 16. Do not walk on a road when you are under the influence or consuming an alcoholic beverage. Alcohol is a contributing factor
     to pedestrian traffic crashes.
 17. Pedestrians should be aware that local authorities may have ordinances which require pedestrians to comply with the directions
     of an official traffic control device (signals, signs, etc.) and prohibit pedestrians from crossing a road in a business district or a
     designated highway, except in a crosswalk.

Laws and Safety Tips for Motorists
 1. If you see a pedestrian crossing or attempting to cross the street, slow down, use your horn if necessary, and be prepared to stop.
 2. Be alert to a pedestrian guided by an assistance animal or carrying a white cane. The white cane indicates the person may be
    blind, partially blind, or disabled. A driver shall take the necessary pre-cautions to avoid injuring or endangering a pedestrian
    crossing or attempting to cross the street. The driver shall bring the vehicle to a full stop if injury or danger can only be avoided
    by that action.
 3. Watch for individuals who are blind at bus stops, intersections, business areas, and near schools for the blind.




  64
              Case 5:19-cv-00074-FB Document 8-1 Filed 02/04/19 Page 138 of 262
Chapter 13: Bicycle Laws and Safety                                                                                Texas Driver Handbook


                                 Chapter 13: Bicycle Laws and Safety
Bicycle Traffic Laws
A bicycle is a vehicle. Any person riding a bicycle has the same rights and responsibilities that apply to a driver operating a vehicle
unless these cannot, by their nature, apply to a person operating a bicycle.
Any person who operates a bicycle is subject to the same penalties for violating a traffic law as a person operating a motor vehicle.
All traffic convictions will be placed on the individual’s driver record, regardless if the conviction was for an offense committed on
a bicycle or in a motor vehicle.
Do’s
 1. Always obey all traffic laws, signs, and signals. Stop at all stop signs and red lights.
 2. Always ride with the flow of traffic.
 3. Only ride on or astride a permanent and regular seat.
 4. When operating a bicycle on a one-way road with two or more marked traffic lanes, ride as near as possible to the left curb or
    edge of the road.
 5. Individuals riding two abreast on a “laned” road must ride in a single lane and not impede the flow of traffic.
 6. Bicyclists may ride on the shoulder of the road.
 7. Bicyclists must signal a turn or stop by:
    a. Using either their left arm pointing up or their right arm pointed horizontally to signal a right turn.
    b. Using their left arm pointed horizontally to signal a left turn.
    c. Using their left arm pointed downward to signal a stop.
 8. A person operating a bicycle who is moving slower than the other traffic on the road shall ride as near as possible to the right
    curb or edge of the road unless:
    a. The person is overtaking and passing another vehicle proceeding in the same direction
    b. The person is preparing for a left turn at an intersection or onto a private road or driveway
    c. There are unsafe conditions in the road such as fixed or moving objects, parked or moving vehicles, pedestrians, animals,
       potholes, or debris, or
    d. The person is operating a bicycle in an outside lane that is:
       - Less than 14 feet in width and doesn’t have a designated bicycle lane adjacent to that lane; or
       - The lane is too narrow for a bicycle and a motor vehicle to safely travel side by side.
Don’ts
 1. Never carry more than the number of individuals it is designated or equipped for.
 2. Never ride opposite the flow of traffic.
 3. Never attach the bicycle or person to a moving streetcar or vehicle upon a road.
 4. Never carry any package, bundle, or article which prevents the rider from keeping at least one hand on the handlebars.

Shared Lane Marking                                                                                                 Shared Lane Marking
The shared lane marking may be used to:
 1. Assist bicyclists with lateral positioning in a shared lane with on-street parallel parking in order to
    reduce the chance of a bicyclist impacting the open door of a parked vehicle
 2. Assist bicyclists with lateral position in lanes too narrow for a motor vehicle and a bicycle to travel side
    by side within the same traffic lane
 3. Alert road users of the lateral location bicyclists are likely to occupy within the traveled way
 4. Encourage safe passing of bicyclists by motorists, or
 5. Reduce the incidence of wrong-way bicycling




                                                                                                                                   65
             Case 5:19-cv-00074-FB Document 8-1 Filed 02/04/19 Page 139 of 262
Chapter 13: Bicycle Laws and Safety                                                                           Texas Driver Handbook


Bicycles Must Be Properly Equipped
 1. Every bicycle must be equipped with a brake, which will enable the operator to make the wheels skid on dry, level, clean pave-
    ment when applied.
 2. Hearing-impaired bicycle riders may display a safety flag.
 3. Every bicycle used at nighttime must be equipped with:
    a. A lamp on the front which emits a white light visible from a distance of at least 500 feet in front of the bicycle, and
    b. A red, DPS-approved reflector on the rear visible from distances of 50 feet to 300 feet. (A red light on the rear visible from a
       distance of 500 feet may be used in addition to the red reflector.)

Bicycle Safety Guidelines
 1. You may be required by law to wear a helmet depending on your local laws.
 2. When riding on pedestrian facilities, reduce speed and exercise caution.
 3. Do not weave in and out of parked cars.
 4. Move off the street to stop, park, or make repairs to your bicycle.
 5. Select a route according to the rider’s bicycling skill and experience.
 6. Bicycles may be equipped with a mirror.
 7. Wear light colored or reflective clothing to make it easier for drivers to see you.

Riding in Wet Weather
Water makes certain surfaces slick. Be aware of manhole covers and painted stripes on the road. Water also obscures some hazards.
Watch for potholes filled with water. In addition, the visibility of motorists is greatly decreased in wet weather.




  66
                 Case 5:19-cv-00074-FB Document 8-1 Filed 02/04/19 Page 140 of 262
Chapter 14: Additional Safety Tips                                                                                                             Texas Driver Handbook


                                            Chapter 14: Additional Safety Tips
Defensive Driving
To avoid crashes, the defensive driver should:
 1. Stay alert and keep eyes moving to keep track of what is happening at all times
 2. Look for trouble spots developing all around
 3. Have a plan of action
 4. Know that the law requires drivers to protect each other from their own mistakes

Safety Belts
The driver and all passengers, regardless of age, in a passenger vehicle are required to use safety belts if occupying a seat in a vehicle
equipped with a safety belt. Any child under 8 years old must be secured in a federally approved child car seat if occupying a seat
in a vehicle equipped with a safety belt, unless the child is more than 4’9” tall.
Safety belt requirements include pickups, SUVs, and trucks. Safety belts help keep you:
 1. From being thrown from your car. Your chances of being killed are five times greater if you are thrown                                              FASTEN
    from your car
                                                                                                                                                        SAFETY
 2. From hitting the dashboard too hard
 3. In better control of your car                                                                                                                        BELTS
Whatever your reason for not wearing safety belts, it is dangerous and violates state law.                                                               STATE LAW
Penalties for Driving Without a Safety Belt
A driver can receive a citation for not wearing his/her safety belt and for not having each child under the age of 17 in a safety seat
or safety belt. Anyone who is at least 15 years of age can receive a citation for not wearing a safety belt. There are no exemptions
to the safety belt laws. However, there are some defenses to prosecution for postal workers, individuals who deliver the newspaper,
utility workers, solid waste truck workers, certain commercial farm vehicle operators, or medical reasons with a physician’s note.
                                              Table 39: Penalties for Not Wearing a Required Safety Belt
                                                              Conviction                                                                         Penalty*
      Driving a vehicle without a safety belt                                                                                           A fine of $25 to $50
      Passengers under 8 years old and less than 4’9” tall riding while not properly secured in a child passenger                       A fine of $25 to $250
      safety seat system
      Passengers at least 15 years old riding without a safety belt                                                                     A fine of $25 to $50
      Passengers under 17 years old riding without a safety belt (fine assessed to driver)                                              A fine of $100 to $200
      Children under 18 years old riding in an open-bed pickup or open flatbed truck (fine assessed to driver)                          A fine of $25 to $200
      *Additional suspensions and surcharges may apply. Driving with an invalid license will also result in penalties and surcharges.



Vehicles with Open Beds
It is an offense to drive an open bed truck, an open flatbed truck, or to draw an open flatbed trailer when a child who is younger than
18 years of age is occupying the bed of the truck or trailer.
It is a defense to prosecution that the driver was operating or towing the vehicle:
 1. In a parade or in an emergency
 2. To transport farm-workers from one field to another field on a farm-to-market road, ranch-to-market road, or county road
    outside a municipality
 3. On a beach
 4. That is the only vehicle owned or operated by members of a household, or
 5. In a hayride permitted by the governing body of or a law enforcement agency of each county or municipality in which the
    hayride will occur




                                                                                                                                                                 67
              Case 5:19-cv-00074-FB Document 8-1 Filed 02/04/19 Page 141 of 262
Chapter 14: Additional Safety Tips                                                                               Texas Driver Handbook




Vehicles with Open Beds Towing a Boat or Watercraft
It is an offense for a person to operate a motor vehicle that is towing a boat or personal watercraft in or on which a person who is
younger than 18 years of age is riding.
It is a defense to prosecution that the driver was operating the motor vehicle:
 1. In a parade
 2. In an emergency, or
 3. On a beach
Open Bed Passenger Restrictions
It is a Class B misdemeanor to operate a truck, road tractor, or truck tractor when another person occupies a trailer or semi-trailer
being drawn by the truck, road tractor, or truck tractor.
It is a defense to prosecution that the person:
 1. Towing the vehicle did not know another person occupied the trailer or semi-trailer
 2. Occupying the trailer or semi-trailer was in a part of the vehicle designed for human habitation
 3. Operating or towing the vehicle was:
    a. In a parade or in an emergency
    b. Transporting farm-workers from one field to another field on a farm-to-market road, ranch-to-market road, or county road
        outside a municipality, or
    c. In a hayride permitted by the governing body of or a law enforcement agency of each county or municipality in which the
        hayride will occur

When Stopped by Law Enforcement
If you are stopped by law enforcement it is suggested you:
 1. Slow down and move the vehicle safely to the right of the road.
 2. Park your vehicle as far to the right of the main traffic lane as possible. If available, park on the right shoulder or, if unavailable,
     park on a nearby well-lighted side street or parking lot away from high volume traffic.
 3. Place the vehicle in a parking position, set the emergency brake, turn the engine off, and activate the hazard warning lights.
 4. If at night, turn on the interior dome light.
 5. Remain in the car, lower the driver’s window if you feel safe to do so. Keep both hands clearly in sight on the steering wheel.
    Wait for the law enforcement officer to give you instructions. An officer may approach from either side of the vehicle.
 6. Before reaching into your glove box or under the seat to retrieve your proof of insurance or driver’s license, inform the officer
     of where the items are located and follow the officer’s directions.
 7. If asked to exit the vehicle, check for passing vehicles to exit safely.
 8. Advise passengers to remain in the car unless other instructions are given by the law enforcement officer, and
 9. At the conclusion of the traffic stop, give the appropriate signals and safely return to the proper lane of traffic when released by
     the law enforcement officer.
Obligations, Responsibilities, Courtesy and Safety
State law requires a driver to immediately stop when approached by an authorized emergency vehicle and you may be arrested
if you do not stop immediately. If you feel the area is unsafe to stop immediately or if you have concerns the vehicle is not a real
police vehicle, you can take the following steps to minimize the risk of being arrested or charges being filed against you: turn on
your hazard lights and drive slowly and carefully below the posted speed limit; you may call 9-1-1 and remain on the phone with
the operator while you stop and verify the officer’s identity; you may drive to a nearby well-lighted, populated place to stop. It is
important to understand that law enforcement jurisdictions overlap and a local 9-1-1 call center operator may not be able to imme-
diately determine what officer is working in that area at that time. If you stop in an unsafe location, such as on a bridge or a high
traffic roadway, an officer may direct you over the public address speaker to move to a safer location. Follow the officer’s directions.
Law enforcement officers, drivers, and passengers should respond with courtesy during traffic stops and other officer/citizen inter-
actions. Drivers and passengers should not exit the vehicle unless asked to do so. Exiting your vehicle may be perceived as aggres-
sive behavior and a threat to the officer’s safety. Drivers and passengers inside a vehicle should not attempt to reach, dig, or search
for their license or insurance documents before or while an officer is approaching. Drivers who transport handguns in their vehicles
are encouraged to keep them in a separate location from license and insurance documentation.



  68
              Case 5:19-cv-00074-FB Document 8-1 Filed 02/04/19 Page 142 of 262
Chapter 14: Additional Safety Tips                                                                           Texas Driver Handbook


During a traffic stop, the driver and any passengers are subjected to an investigative detention, which may only last for a reasonable
amount of time. Passengers can ask the officer if they are free to leave and do so if the officer agrees. Law enforcement may ask
questions during this time. You cannot be punished for refusing to answer questions; however, drivers are required by law to display
a driver license when requested by an officer. If you are lawfully detained or arrested, you are also required to give your name, resi-
dence address, and date of birth. A driver or a passenger who gives law enforcement a false or fraudulent identity or false answers
may be arrested. It may be to your benefit to speak to law enforcement, such as to convey the reason you may have an emergency or
for the driver to provide the officer your name address and date of birth if you do not have your driver license with you.
Law enforcement may also ask for consent to search your vehicle or person. You may grant or deny the request to search; however, if
an officer has probable cause to believe that your vehicle contains evidence of a crime, it can be searched without your consent. If an
officer reasonably believes that you have a weapon, the officer can conduct a pat down search of your person and the immediate area
around you, including areas of your vehicle. It is unlawful to physically resist a search, but you have the right to notify the officer
that you do not consent to any search.
Complaints or Concerns
If you believe an officer has acted inappropriately during a traffic stop or other encounter, you should report that conduct to the of-
ficer’s superiors and follow agency guidelines for submitting complaints against officers as soon as possible. Officers will normally
provide their names and badge numbers on request, when practical. Due to the overlapping of jurisdictions, drivers should make sure
they identify the correct agency as well as any identifying aspects of the officer and law enforcement vehicle.
Drivers should refrain from arguing the validity of a charge during the traffic stop or detention. Signing a citation is not admitting
guilt. It simply confirms your promise to pay the fine or contact the court. If you do not agree with the charge brought against you
and wish to contest it, you should argue your case before a judge or request a jury trial and acquire the services of an attorney to
represent you.
False Identification Offense
A person commits an offense if he/she gives a false or fictitious name to a law enforcement officer who has lawfully arrested or
detained the person.
Evading arrest or detention
A person commits an offense if he intentionally flees from a person he knows is a peace officer or federal special investigator at-
tempting to lawfully arrest or detain him. You will be subject to higher penalties if you use a vehicle or watercraft while evading
arrest or cause injury to another person.

Road Rage
Each year, road rage, also referred to as aggressive driving, causes hundreds of injuries and deaths. Aggressive driving occurs
when a driver becomes angry or irritated and as a result, fails to follow the rules of the road. An aggressive driver will intentionally
aggravate or attempt to aggravate other drivers and in some cases cause bodily injury, property damage, or death to others.
Tips to Avoid Road Rage
 1. Plan your trip or schedule in advance. Allow extra time in case your vehicle breaks down or you encounter traffic congestion
     due to a crash, road construction, or rush-hour traffic.
 2. W hen caught in traffic do not get angry. Try to relax and listen to music you enjoy. Remember, traffic congestion is usually
     temporary and you will soon be on your way.
 3. Should you need to use the horn, tap the horn; do not hold down the horn. Do not confront other drivers or make obscene
    gestures.
 4. Do not cut into another driver’s lane of traffic. Properly signal your intentions to change lanes and change lanes when it is safe
     to do so. Turn your turn signal off after you complete your lane change.
 5. Do not intentionally slow down, slam on your brakes, or speed up to keep someone from passing or entering your lane of travel.
 6. Do not tailgate; follow at a safe distance.
 7. Always remember to drive friendly and report aggressive driving to the local authorities.




                                                                                                                                  69
              Case 5:19-cv-00074-FB Document 8-1 Filed 02/04/19 Page 143 of 262
Chapter 14: Additional Safety Tips                                                                          Texas Driver Handbook


Neighborhood Electronic Vehicles and Motor Assisted Scooters
A neighborhood electronic vehicle is defined as a vehicle subject to Federal Motor Safety Standard 500 with a top speed of 35 mph
on a paved level surface.
A motor assisted scooter is defined as a self-propelled device with:
 1. At least two wheels in contact with the ground
 2. A braking system capable of stopping the device under normal operating conditions
 3. A gas or electric motor not exceeding 40 cc
 4. A deck designed to allow a person to stand or sit while operating the device, and
 5. The ability to be propelled by human power alone
Both vehicles may only be operated on a street or highway when the posted speed limit is 45 mph or less for a neighborhood elec-
tronic vehicle and 35 mph or less for a motor assisted scooter.
Electronic Personal Assistive Mobility Devices (EPAMD)                                                                            No te:
                                                                                                                     S pe cia l               s
                                                                                                                                   icipalitie
EPAMD’s, such as a Segway, are defined as a two, non-tandem wheeled device designed for transport-                        an d mun            n
                                                                                                              C ounties ibit th e operatio
ing one person that is self-balancing and propelled by an electric propulsion system with an average                    h
                                                                                                              may pro type o f vehicle
power of 750 watts or one horsepower.                                                                          o f eith er eet or highw ay
                                                                                                                          tr
                                                                                                               on an y s y reason s.
An EPAMD may be operated on:                                                                                   for safet

 1. A sidewalk
 2. A path set aside for the exclusive operation of a bicycle
 3. On a residential street, road, or public highway with a maximum speed limit of 30 mph only:
    a. While making a direct crossing of a highway in a marked or unmarked crosswalk
    b. Where no sidewalk is available, or
    c. When so directed by a traffic control device or law enforcement officer
When operated on a public roadway, an EPAMD shall be ridden as close as practicable to the right-hand edge.

Speed Reduces Your Field of Vision




                   Stationary                       20 MPH                      40 MPH                     60 MPH
              Field of vision is 180        Field of vision reduced      Field of vision reduced   Field of vision reduced
                degrees or more                  to about 2/3                 to about 2/5               to about 1/5


Your Keys to Safe Driving
 • Good Vision
 • Obey traffic laws
 • Proper care of vehicle – Don’t depend on yearly inspections; perform regular maintenance as needed
 • Courtesy – Safety comes before the right-of-way
 • Proper Signaling – Failure to signal is dangerous and inconsiderate
 • Fitness to drive – Let someone else drive if you are not physically or mentally alert




  70
              Case 5:19-cv-00074-FB Document 8-1 Filed 02/04/19 Page 144 of 262
Chapter 14: Additional Safety Tips                                                                             Texas Driver Handbook


Transporting Cargo and Materials
To prevent cargo or loose materials from falling or spilling from a car, truck, trailer, etc. onto the road and causing a crash or damage
to the roads, drivers must comply with certain state requirements.
A vehicle must be equipped and maintained to prevent loose material from escaping by blowing or spilling and a vehicle bed must:
 1. Not have a hole, crack, or other opening through which loose material can escape
 2. Be enclosed by side panels and on the front by a panel or the vehicle cab
 3. Be enclosed by a securely closed tailgate or panel on the rear to prevent spillage
 4. Cover the load securely at the front and back of the load, unless completely enclosed in a compartment or the load does not blow
    or spill over the load carrying compartment.
No person shall load or transport any loose material on or over the public highways, such as dirt, sand, gravel, wood chips, or other
material (except agricultural products in their natural state), capable of blowing or spilling from a vehicle unless:
 1. The bed carrying the load is completely enclosed on both sides and on the front and rear by a tailgate, board or panel; and all
    must be so constructed as to prevent the escape of any part of the load by blowing or spilling; and
 2. The top of the load is covered with a canvas, tarpaulin, or other covering firmly secured to the front and back to prevent the
    escape of the load because of blowing or spilling. This requirement does not apply to:
    a. Any load-carrying compartment that completely encloses the load; or
    b. The transporting of any load of loose materials not blowing or spilling over the top of the load-carrying, compartment.
Safety Chains
Safety chains are required when certain types of vehicles are towing trailers in order to prevent the trailer from breaking loose and
causing a serious crash. A person may not drive a passenger car or light truck while towing a trailer, semi-trailer, or house trailer
on a public highway in Texas unless safety chains are attached from a trailer, semi-trailer, or house trailer to the towing vehicle.
The types of safety chains and the manner of attachment must be approved by DPS. The requirements of this law do not apply to a
passenger car or light truck towing a trailer or semi-trailer used for agricultural purposes or to any trailer or semi-trailer or house
trailer operated in compliance with the Federal Motor Carrier Safety Regulations.
Towing
When one vehicle is towing another, the drawbar, chain, rope, cable, or other connection must:
 1. Not be longer than 15 feet from one vehicle to another
 2. Be strong enough to pull all weight drawn
 3. Attach a white flag not less than 12 inches square
 4. Not tow more than three vehicles attached to it by mounting the front wheels of trailing vehicles on the bed of another vehicle
    and leaving only the rear wheels in contact with the roadway
This limit does not apply to trailers transporting poles, pipe, machinery, or other structures that cannot be easily dismembered.

Carbon Monoxide
Beware of carbon monoxide poisoning. Cars produce carbon monoxide, which is deadly gas. Make sure you are getting plenty of
fresh air.
Don’t:
 1. Leave the motor running in a garage
 2. Leave vents open when following closely behind another car
 3. Leave the motor running and the windows closed while the car is parked
 4. Drive with a defective muffler or exhaust system
 5. Use the heater or air conditioner in a parked car with the windows closed in an enclosed space
If you encounter a carbon monoxide poisoning victim, move them to fresh air and call 911.




                                                                                                                                   71
                 Case 5:19-cv-00074-FB Document 8-1 Filed 02/04/19 Page 145 of 262
Chapter 14: Additional Safety Tips                                                                                             Texas Driver Handbook


Steering Lock Operation
Vehicles have various systems used to remove the key from the ignition. Some ignitions automatically lock the steering wheel if the
key is removed while moving. Here are some common steering wheel lock systems with a description on how to remove the key.
                                                   Table 40: Steering Wheel Lock Parking Systems
          Type of Parking                                                             Description
              System
       Transmission park system     Shift the transmission into the park position. Turn the key to lock then remove the key.
       Two hand button system       This system requires two hands. Depress the button below the steering column. Turn the key to lock then
                                    remove the key.
       Lever system                 Depress the lever located near the ignition. Turn the key to lock then remove the key.
       One hand button system       Depress the button located near the ignition. Turn the key to lock then remove the key.
       Push in system               Turn the key to off and push in. Turn the key to lock then remove the key.
       Turn and remove system       Turn the key to lock then remove the key.
       Source: 1992 Automobile Safety Foundation




  72
               Case 5:19-cv-00074-FB Document 8-1 Filed 02/04/19 Page 146 of 262
Appendix A: Glossary of Terms                                                                                      Texas Driver Handbook


                                        Appendix A: Glossary of Terms

                                                                     -A-
acceleration lane – a lane that permits drivers entering a highway to accelerate to the speed of traffic
aggressive driving – the behavior of driving in a combative, forceful, or competitive manner
angle parking – the vehicle is parked diagonally to the curb
auto cycle – an autocycle constitutes a motor vehicle, other than a tractor, that is:
   1. designed to have when propelled not more than three wheels on the ground
   2. equipped with a steering wheel
   3. equipped with seating that does not require the operator to straddle or sit astride the seat; and
   4. manufactured and certified to comply with federal safety requirements for a motorcycle
 An autocycle can be operated under a Class C driver license

                                                                     -B-
backup lights – white lights at the rear of the vehicle telling other drivers you are backing up
basic speed law – you may not drive faster than is safe and prudent for existing conditions, regardless of posted speed limits
bicycle – every device propelled by human power upon which any person may ride, having two tandem wheels either of which is more than
 14 inches in diameter
blind spot – an area rearview mirrors cannot show
blood-alcohol concentration (BAC) – the amount of alcohol in the blood expressed as a percentage of ethyl alcohol related to the volume
 of fluids in the bloodstream
blowout – the sudden loss of tire air pressure while driving
bodily-injury insurance – covers the driver who is at fault against claims
braking distance – the distance a vehicle travels from the time brakes are applied until it stops

                                                                     -C-
cancellation – the withdrawal of a driver license or privilege until the driver is qualified or eligible
carbon monoxide – colorless, odorless, tasteless gas contained in the exhaust fumes of gasoline engines
center of gravity – point around which the vehicle’s weight is evenly distributed
central vision – the field of vision around your focal vision in which you can see clearly while looking straight ahead that aids in determin-
 ing vehicle position to the road
clutch pedal – the pedal in a manual transmission vehicle that enables a driver to shift gears
collision – contact between two or more objects, as when two vehicles collide into each other
collision insurance – provides insurance coverage to pay the costs of repair or replacement of your vehicle involved in a collision
color-blindness – inability to distinguish colors
commercial motor vehicle –a vehicle used to transport/deliver goods or passengers for compensation between points on a fixed scheduled
 route. The vehicle:
   1. has a gross combination weight or gross combination weight rating of 26,001 or more pounds, including a towed unit with a gross
      vehicle weight or gross vehicle weight rating of more than 10,000 pounds;
   2. has a gross vehicle weight or a gross vehicle weight rating of 26,001 or more pounds;
   3. is designed to transport 16 or more passengers, including the driver or
   4. is transporting hazardous materials and is required to be placarded under 49 C.F.R. part 172, Subpart F.
comprehensive insurance – provides coverage for replacement or repair of your vehicle from damage other than from a collision
controlled-access highway – a highway where vehicles can enter and exit only at interchanges
controlled braking – reducing speed by firmly stepping on and squeezing the brake pedal and maintaining steering control of the vehicle
controlled intersection – the intersection at which signals or signs determine the right of way
controlled railroad crossing – railroad crossing controlled by flashing red lights and/or crossing gates
crossbuck – large white X-shaped sign located prior to a railroad crossing


                                                                                                                                        73
               Case 5:19-cv-00074-FB Document 8-1 Filed 02/04/19 Page 147 of 262
Appendix A: Glossary of Terms                                                                                         Texas Driver Handbook


                                                                     -D-
deceleration lane – expressway lane used to slow your vehicle without blocking vehicles behind you
defensive driving – protecting yourself and others from dangerous and unexpected driving situations by using a space management system
delayed green light – indicates one side of the intersection has a green light while the light for oncoming traffic remains red
denial – the withholding of a driver license or privilege because the person is ineligible for a license. A driver license may be issued when
 eligibility requirements are met.
depressant – a drug or alcohol that slows the response of the central nervous system
depth perception – the ability to judge distance between yourself and other objects
designated driver – the person who decides ahead of time not to drink alcoholic beverages and is appointed to drive others who do drink
distractions – when a driver is delayed in the recognition of information needed to accomplish the driving task safely because some event, ac-
 tivity, object, or person within or outside the vehicle compelled or tended to induce the driver’s shifting attention away from the driving task
drag race – the operation of:
   1. Two or more vehicles from a point side by side at accelerating speeds in a competitive attempt to outdistance each other; or
   2. One or more vehicles over a common selected course, from the same place to the same place, for the purpose of comparing speeds
      or power of acceleration of the vehicle(s) in a specified distance of time
driving under the influence (DUI) – a Class C misdemeanor for which a minor can be charged in Texas if driving with any detectable
 amount of alcohol in the minor’s system (An offense for which a driver can be charged in some states if the driver’s blood-alcohol con-
 centration is above 0.05.)
driving while intoxicated (DWI) – an offense for which a driver can be charged in all states if the driver’s blood-alcohol concentration
 is above a certain level

                                                                      -E-
entrance ramp – a ramp leading onto a highway
exit ramp – a ramp leading off a highway

                                                                      -F-
field of vision – all the area a person can see while looking straight ahead.
field sobriety test – series of on-the-spot, road-side tests that help an officer detect impairment of a driver suspected of DUI or DWI.
financial responsibility law – a law requiring you to prove you can pay for collision damages you cause that result in death, injury, or
 property damage
flashing signal – traffic signal alerting drivers to dangerous conditions or tells them to stop
focus vision (fovial) – the part of the vision field which allows the driver to read signs and make distinctions between vehicles and objects
 often measured as visual acuity
following interval – the time recommended to follow another vehicle in the intended path of travel. Select an object near the road surface.
 When the vehicle ahead passes that object, start counting one thousand-one, one thousand-two, etc., until the front of your car reaches the
 same object. For speeds under 30 mph, the minimum time with good road conditions is 2 seconds. For speeds above 30 mph, maintain 4
 seconds (more for adverse conditions) of following time. Developing a four-second following interval is the best practice for a beginning
 or less experienced driver
force of impact – the force with which one moving object hits another object; this varies according to speed, weight, and distance between
 impact and stop, and is based on forces of inertia and momentum
friction – the force creating heat which helps the tire maintain traction on the road, unless too much heat is generated which may cause
 traction loss due to melting of tire rubber on the road

                                                                     -G-
gap – time or distance interval between vehicles on road
glare recovery time – the time your eyes need to regain clear vision after being affected by bright lights
glare resistance – the ability to continue seeing when looking at bright lights
graduated driver license program – requires young drivers to progress through a series of licensing stages with various restrictions such
 as accompanying drivers, times permitted to drive, and allowable passengers
guide sign – a sign providing directions, distances, services, points of interest, or other information



  74
               Case 5:19-cv-00074-FB Document 8-1 Filed 02/04/19 Page 148 of 262
Appendix A: Glossary of Terms                                                                                       Texas Driver Handbook


                                                                    -H-
hallucinogen – mind-altering drug that tends to distort a person’s perception of direction, distance, and time
hazard flasher – a device that flashes front turn signal lights and taillights to warn others the vehicle is a hazard
head restraints – specially designed air bag or padded devices on the backs of front seats helping to reduce whiplash injuries in a side or
 rear impact collision
highway hypnosis – drowsy or trance-like condition caused by concentration on the road ahead and monotony of driving
hydroplaning – occurs when a tire patch loses contact with the road by rising up on top of water
highway – the width between the boundary lines of a publicly maintained way any part of which is open to the public for vehicular travel

                                                                     -I-
ignition interlock device – a special mechanical control device installed on a motor vehicle’s dashboard. A driver must exhale into the de-
 vice to start the vehicle. The court-ordered installation of an interlock ignition device must be performed by a DPS-certified service center
implied-consent law – anyone who receives a driver license automatically consents to be tested for blood-alcohol content and other drugs
 if stopped for suspicion of alcohol or drug usage while driving
intoxilyzer – the breath-test instrument machine commonly used for determining blood-alcohol content

                                                                     -J-

                                                                    -K-

                                                                     -L-
lane change – lateral maneuver moving the vehicle from one lane to another using proper space management procedures
lane signal – a signal, usually overhead, indicating if a lane can or cannot be used at a specific time
liability insurance – provides compensation for damages which the insured is legally obligated to pay; covers others when you are at fault
light truck – a truck with a manufacturer’s rated carrying capacity of not more than 2,000 lbs., including a pick up truck, panel delivery
  truck, and carry-all truck
limited use lanes – traffic flow lanes posted and designed to accommodate special vehicles or carpools

                                                                    -M-
median – area of ground separating traffic moving in opposite directions
merging area – stretch of road at the end of an acceleration lane on an expressway where vehicles join the flow of traffic
minimum speed limit – speed limit to keep traffic moving safely by not allowing drivers to drive slower than a certain speed
moped – a motor-driven cycle that cannot attain a speed in one mile of more than 30 mph and the engine:
  1. Cannot produce more than two-brake horsepower; and
  2. If an internal combustion engine, has a piston displacement of 50 cubic centimeters or less and connects to a power drive system that
     does not require the operator to shift gears. Two-wheeled vehicle that can be driven with either a motor or pedal.
motorcycle – a motor vehicle, other than a tractor, equipped with a rider’s saddle and designed to have when propelled not more than three
 wheels on the ground
motor-driven cycle – a motorcycle equipped with an engine displacement of 250 cubic centimeters or less. The term does not include an
 electric bicycle

                                                                    -N-
night blindness – not being able to see well at night
no-fault insurance – covers an insured’s losses and expenses associated with a collision regardless of fault




                                                                                                                                        75
               Case 5:19-cv-00074-FB Document 8-1 Filed 02/04/19 Page 149 of 262
Appendix A: Glossary of Terms                                                                                       Texas Driver Handbook


                                                                    -O-
odometer – the device on the instrument panel indicating the total number of miles the vehicle has been driven
over driving headlights – driving at a speed making your stopping distance longer than the distance lighted by your headlights; low beams
 are limited to 45 mph and high beams are limited to 65 mph for stopping purposes
oversteer – when the rear tire patches lose varying degrees of traction and the front tire patches have more traction causing a spinning
 effect (yaw) around the vehicle’s center of gravity. The vehicle has a tendency to spin to the left or right even though the driver is not
 turning the steering wheel
overtake – to pass the vehicle ahead
over-the-counter medicine – drug that can be obtained legally without a doctor’s prescription

                                                                     -P-
parallel parking – the vehicle lines up parallel or going the same direction as the curb. When parallel parking, the vehicle must be 6 to 18
 inches from the curb
passive restraint device – a restraint device, such as an air bag or an automatic safety belt, that works without the passenger or driver
 initiating the device
pedestrian – a person on foot
pedestrian signal – a signal used at traffic intersections that indicates when a person should walk or wait
peer pressure – mental and social influence of others of a similar age on decision-making skills
perception distance – the distance your vehicle travels during perception time
perception time – the length of time it takes for the driver to make a risk-reduction decision
peripheral vision – the area a person can see that is around the central field of vision
perpendicular parking – the vehicle is parked at a right angle to a curb or parking stripe using visual reference points for entering and
 leaving
prescription medicine – drug that can be purchased legally only when ordered by a doctor
preventive maintenance – routine care and attention to your vehicle
property-damage insurance – protects the driver who is at fault against claims for damages to another person’s property, up to specified
 limits
protected left turn – left turn made on a left-turn, green arrow, or delayed green light while oncoming traffic is stopped
protective gear – the items a motorcyclist wears to protect head, eyes, and body

                                                                    -Q-

                                                                     -R-
race – the use of one or more vehicles in an attempt to:
   1. Out gain or outdistance another vehicle or prevent another vehicle from passing;
   2. Arrive at a given destination ahead of another vehicle(s); or
   3. Test the physical stamina or endurance of an operator over a long-distance driving route
reaction distance – the distance a vehicle travels from the point the driver perceives the need to act and the point where the driver takes ac-
 tion through braking, steering, or acceleration. Distance your vehicle travels until the driver perceives the need to change speed or position
reaction time – the time the vehicle travels from the point the driver perceives the need to act and the point where the driver takes the
 action through braking, steering, or acceleration. Length of time it takes the driver to execute a reduced-risk action, after a response is
 perceived by the driver
reduced visibility – the inability of a driver to see clearly
reference point – a part of the outside or inside of a vehicle, as viewed from the driver’s seat, that relates to some part of the road which
 allows the driver to estimate position on the road. The road positions (points of reference) of the vehicle assist the driver in determining
 when to start turning, vehicle limitations, or where the vehicle is actually located
regulatory sign – a sign controlling traffic
restraint device – any part of a vehicle holding an occupant in the seat during a collision
restricted interlock license – authorizes an individual to operate a motor vehicle equipped with an ignition interlock device




  76
               Case 5:19-cv-00074-FB Document 8-1 Filed 02/04/19 Page 150 of 262
Appendix A: Glossary of Terms                                                                                         Texas Driver Handbook


revocation – the termination of a driver license or privilege for an indefinite period of time. May be restored when all requirements for the
 revocation have been satisfied
right of way – privilege of having immediate use of a certain part of a road
right turn on red – turning right when the red signal is on, after stopping behind the intersection guides, unless specifically prohibited
 to turn
roadway marking – markings and lane delineators (reflectors) providing you with warning or direction
rocking a vehicle – repeating the sequence of driving forward a little then back a little to move your vehicle out of deep snow, mud, or sand
rumble strips – sections of rough pavement intended to alert drivers of approaching roadway construction, tollbooth plaza, or other traffic
 conditions

                                                                      -S-
safety belt – a lap belt and any shoulder straps included as original equipment on or added to a vehicle
safety chains – backup link used in case a trailer hitch fails
school zone – portion of a street or highway near a school subject to special speed limits
shared left-turn lane – the lane on a busy street helping drivers make safe mid-block left turns into business areas from a center lane
skid – occurs when tire patches lose part or all of their traction on the roadway surface due to abrupt suspension balance or roadway
 surfaces conditions
skid mark – a mark on the road surface from a tire sliding due to a loss of traction from braking or abrupt steering
slow-moving vehicle – the vehicle is unable to travel at highway speed
speed smear – occurs when objects in your peripheral vision become blurred and distorted as your speed increases
staggered stop – stopping when the white line visually disappears under the hood line. This allows extra space for left-turning vehicles
standard reference point – point which allows for vehicle placement on a road typical for most drivers
stimulant – drug that speeds up the central nervous system
stopping position – stopping behind a vehicle in a position allowing the driver enough space to steer around the vehicle to avoid a stalled,
 turning, or backing vehicle
suspension – the temporary withdrawal of a driver license or privilege for a definite period of time

                                                                      -T-
tailgate – to follow another vehicle too closely
total stopping distance – the distance your vehicle travels while you make a stop
traction – friction or gripping power between the tire patches and the road surface
traffic circle – the intersections that form when several roads meet at a circle
traffic control devices – any signal, sign, or pavement marking used to control the movement of traffic
traffic signal – any signal used to control the movement of traffic
tunnel vision – the ability to see in a narrow field of vision of 140 degrees or less with little effective peripheral vision
turn – vehicle maneuver to change direction to the left or right
turnabout – the maneuvers for turning into or out of a road/driveway using reference points for positioning

                                                                      -U-
uncontrolled intersection – an intersection that has no signs or signals to regulate traffic including railroad crossings that do not have
 flashing red lights or crossing gates
under-insured motorist insurance – covers costs exceeding the amount the other person’s insurance company will pay as a result of a
 collision caused by another’s fault
uninsured motorist insurance – covers costs up to a certain amount if you are struck by another vehicle whose driver has no insurance




                                                                                                                                       77
                Case 5:19-cv-00074-FB Document 8-1 Filed 02/04/19 Page 151 of 262
Appendix A: Glossary of Terms                                                                                        Texas Driver Handbook


unprotected left turn – left turn made at a signal-controlled intersection without a special left turn light
urban district – the territory adjacent to and including a highway, if the territory is improved with structures used for business, industry,
 or dwelling houses and are located at intervals of less than 100 feet for a distance of at least one-quarter mile on either side of the highway

                                                                     -V-
vehicle – a device, in, upon, or by which any person or property is or may be transported or drawn upon a highway, excepting devices used
 exclusively upon stationary rails or tracks
vehicle malfunctions – failures of the vehicle to perform as designed, such as tire, steering, suspension, acceleration, fuel, etc.
vehicle maintenance – the scheduled or unscheduled upkeep or repair of a vehicle
vehicle maneuvers – moving forward, moving backward, turning, lateral maneuvers, and turnabouts
visibility – the ability to see

                                                                     -W-
warning sign – a sign alerting you to possible hazards and road conditions
warning light – an instrument panel light warning of a system malfunction and usually stays on while the system is malfunctioning

                                                                     -X-

                                                                     -Y-
yield – to allow another vehicle or roadway user to proceed first

                                                                     -Z-
zero tolerance law – it is illegal for individuals who are under 21 years of age to drive with any measurable amount of alcohol in their blood




  78
              Case 5:19-cv-00074-FB Document 8-1 Filed 02/04/19 Page 152 of 262
Appendix B: Driver License Offices                                                                           Texas Driver Handbook


                                 Appendix B: Driver License Offices
Full-Time Driver License Offices
Full-time (FT) driver license offices are open from 8:00 a.m. until 5:00 p.m., Monday through Friday. Some offices offer
extended hours and a few offices routinely close during the noon hour. In addition, some offices offer online scheduling. To see if
an office near you offers online scheduling, visit our website at www.dps.texas.gov/DriverLicense and schedule an appointment.

Scheduled Driver License Offices
Scheduled (S) driver license offices are usually staffed with only one customer service representative. Depending on the location,
the customer service representative is required to be away from the office part of the day while conducting driving tests and other
DPS business.

Mega Center Offices
Mega Centers (MC) are full-time driver license offices but offer additional alternatives to waiting in line for a driver license or ID
card. Mega Centers are staffed by at least 25 employees, can process up to 1,000 customers per day, and have plenty of parking.
With over 20 automated testing stations, more than 400 customers can take a knowledge test each day. Mega Centers also provide
customers the option to get in line using a text-enabled cell phone (restricted or blocked cell phone numbers will not work). Once
customers are in line, the system will send text alerts informing them of when their spot in line approaches.
*Information regarding driver license offices is current at the time of printing. For the most up-to-date information on any
 driver license office, including specific hours of operation and closures due to weather or facility issues, visit our website at
 www.dps.texas.gov/DriverLicense




                                                                                                                                79
             Case 5:19-cv-00074-FB Document 8-1 Filed 02/04/19 Page 153 of 262
Appendix C: Study and Review Questions for Class C Operators                                               Texas Driver Handbook


                                                       Appendix C
Study and Review Questions for Class C Operators
    1. What is the minimum age at which you can get a Class C driver license without either driver education or being a
       hardship case? (Chpt. 1)

    2. How much is the maximum fine for a first conviction of driving without a license? (Chpt. 1)

    3. What type of restrictions may be placed on your license? (Chpt. 1)

    4. In what direction should you turn your wheels when parking uphill without a curb? (Chpt. 7)

    5. What action should you take if you fail to receive the renewal notice card reminding you that your driver license is about
       to expire? (Chpt. 1)

    6. On a one-way street, what color is the broken lane marker? (Chpt. 5)

    7. Describe the “Yield” sign. (Chpt. 5)

    8. What does a “Narrow Bridge” sign look like, and how should the driver react when he sees one? (Chpt. 5)

    9. What is the shape of a “Keep Right” sign, and how should the driver react when he sees one? (Chpt. 5)

    10. Which sign tells you to slow down because you are approaching a double curve? (Chpt. 5)

    11. What does a “Do Not Pass” sign mean? (Chpt. 5)

    12. Which sign tells you to keep in the right-hand lane when driving slow? (Chpt. 5)

    13. What does “Yield Right-of-Way” mean? (Chpt. 4, 5)

    14. Describe the equipment required on passenger cars by state law. (Chpt. 2)
    15. What is the purpose of an exhaust emission system? (Chpt. 2)

    16. Describe the types of equipment that Texas state law specifically forbids on passenger cars driven within the state. (Chpt.
        2)

    17. How should you react when a traffic officer tells you to do something that is ordinarily considered to be against the law?
        (Chpt. 5)

    18. Once the brakes have been applied, about how many feet does a car which was going 70 mph travel before it comes to
        a stop? (Chpt. 8)

    19. When is it necessary to stop before proceeding when you overtake a school bus loading or unloading children? (Chpt. 4)

    20. About how many feet will the average driver going 50 mph travel from the moment he sees danger until he hits the
        brakes? (Chpt. 8)

    21. Within how many feet of a crosswalk may you park, when parking near a corner? (Chpt. 7)

    22. What is the state speed limit for automobiles in urban districts? (Chpt. 8)

    23. Does a posted speed limit of 55 mph mean that you may drive 55 mph on that highway under all conditions? (Chpt. 8)

    24. You should never drive on the left half of the roadway when you are within how many feet from an intersection, bridge,
        or railroad crossing? (Chpt. 6)

    25. What should you do if you discover you are in the wrong lane to make a turn as you enter an intersection? (Chpt. 6)

    26. When two cars meet at the intersection of a two-lane road with a four-lane road, which one must yield the right-of-way?
        (Chpt. 4)

    27. If you are driving and hear a siren coming, what should you do? (Chpt. 4)

    28. What is the first thing that should be done when a car starts to skid? (Chpt. 9)

    29. At what time of the day should your headlights be turned on? (Chpt. 9)

    30. Under what conditions may your driver license be suspended? (Chpt. 1)



  80
             Case 5:19-cv-00074-FB Document 8-1 Filed 02/04/19 Page 154 of 262
Appendix C: Study and Review Questions for Class C Operators                                               Texas Driver Handbook


    31. What is carbon monoxide, and how may it be harmful to drivers? (Chpt. 14)

    32. Describe what you should do if you have a blowout while driving. (Chpt. 9)

    33. What should you do when driving down a steep grade in a car with standard transmission? (Chpt. 9)

    34. What should you do if you damage an unattended vehicle? (Chpt. 11)

    35. When are crash reports required? (Chpt. 11)

    36. If you are required to show proof of financial responsibility for the future, how many years must such proof be kept up?
        (Chpt. 3)

    37. What type of sign warns you to watch right and left for cross traffic? (Chpt. 5)

    38. Describe the emblem that identifies vehicles which travel at speeds of 25 mph or less. (Chpt. 5)

    39. In which gear should you drive when going down a steep hill? (Chpt. 9)

    40. What qualifications must one have to teach a beginner to drive? (Chpt. 1)

    41. If the person is under 18, when does his provisional license expire? (Chpt. 1)

    42. When parked parallel, your curb side wheels must be no more than how many inches from the curb? (Chpt. 7)

    43. When following another car, what is a good distance at which you should follow behind? (Chpt. 8)

    44. To what agency and within what time period must a change of address be reported for driver licensing purposes?
        (Chpt. 1)
    45. What effects does the use of marijuana and amphetamine have on driving? (Chpt. 10)

    46. What is the penalty for being convicted of driving while intoxicated? (Chpt. 10)

    47. What does a green arrow showing with a red light mean? (Chpt. 5)

    48. How should you react to a flashing red light? (Chpt. 5)

    49. Which sign tells you to watch out for a train? (Chpt. 5)

    50. Describe the sign that warns you to slow down for a winding road. (Chpt. 5)

    51. What sign indicates that the road that you are on merges with another? (Chpt. 5)

    52. What kind of sign warns you that the highest safe speed for the turn ahead is 25 mph? (Chpt. 5)

    53. Describe the sign that tells you to watch for cross traffic ahead. (Chpt. 5)

    54. What type of sign warns you that you should slow down for a sharp rise in the roadway? (Chpt. 5)
    55. Describe the type of sign that would let you know that you were on a short state highway in a city or urban area.
        (Chpt. 5)

    56. What is the maximum number of inches you may lawfully allow an object to extend beyond the left fender of
        your car? (Chpt. 2)

    57. Under what conditions must you always stop? (Chpt. 5)

    58. What should you do when coming onto a street from a private alley or driveway? (Chpt. 4)

    59. If a child runs into the road 45 to 50 feet ahead of your car, what is the highest speed from which you can stop with good
        brakes without hitting him? (Chpt. 8)
    60. How close to a fireplug may a vehicle lawfully park? (Chpt. 7)

    61. What does a posted speed limit of 55 mph mean? (Chpt. 5)

    62. What is the maximum speed limit for passenger cars on a Texas Highway numbered by this state or United States outside
        an urban district? (Chpt. 8)

    63. Under what circumstances should you never attempt to pass a car ahead of you? (Chpt. 6)

    64. Under what conditions are overtaking and passing to the right not permitted? (Chpt. 6)



                                                                                                                             81
             Case 5:19-cv-00074-FB Document 8-1 Filed 02/04/19 Page 155 of 262
Appendix C: Study and Review Questions for Class C Operators                                              Texas Driver Handbook


    65. When a driver is waiting to make a left turn, what is the procedure he should take when the light turns green? (Chpt. 5)

    66. What precautions should a driver take at uncontrolled intersections? (Chpt. 4)

    67. What regulations should a bicycle rider observe? (Chpt. 13)

    68. Under what conditions should headlights be used? (Chpt. 9)

    69. You should dim your lights when you are within how many feet of an approaching car? (Chpt. 9)

    70. What type of lighting should cars use when parked on the highway at night? (Chpt. 9)

    71. Which lights should you use when you are driving in a fog? (Chpt. 9)

    72. When are you required to show proof of financial responsibility? (Chpt. 3)

    73. When needed, how may one show proof of financial responsibility? (Chpt. 3)

    74. What sign warns you that you must slow down? (Chpt. 5)

    75. What circumstances may lead to possible loss of your license? (Chpt. 1)

    76. In addition to mufflers, what new equipment is required on all cars manufactured in 1968 and after? (Chpt. 2)

    77. Why are seat belts important? (Chpt. 14)

    78. What is meant by “defensive driving?” (Chpt. 14)

    79. What are the different classes of licenses and age requirements for each? (Chpt. 1)

    80. When is a bicyclist not required to ride to the right of the roadway? (Chpt. 13)

    81. When are bicyclists allowed to ride two abreast in a traffic lane? (Chpt. 13)

    82. What are the three most common motorist caused car-bicycle crashes? (Chpt. 9)

    83. What are the penalties for minors (persons under the age of 21) convicted of Driving Under the Influence of Alcohol?
        (Chpt. 10)

    84. What are the penalties for minors (persons under the age of 21) convicted of non-driving alcohol-related offenses?
        (Chpt. 10)




  82
              Case 5:19-cv-00074-FB Document 8-1 Filed 02/04/19 Page 156 of 262
Appendix D: Fees                                                                                                      Texas Driver Handbook


                                                       Appendix D: Fees
*A $1 administrative fee is included in the following fee amounts. If you are completing more than one transaction at the same time
in person or online, you will only be charged this fee once. The $1 administrative fee is not charged for transactions conducted
through the mail.


                                                          Driver License Fees
          License type                                          *Fee     Information
          Driver license (Class A, B or C)
          Under 18: new                                         $16      Expires on your 18th birthday


          Age 18 to 84: new                                     $25      Expires after six years (on your birthday)
          Age 18 to 84: renewal                                 $25      Expires six years after previous expiration date


          Age 85 and older: new                                 $9       Expires after two years (on your birthday)
          Age 85 and older: renewal                             $9       Expires two years after previous expiration date


          Disabled veterans (60%): new or renewal               Free     Requirements for fee exemption


          Replacement driver license
          Replace a lost, stolen, or damaged license            $11      Current expiration date does not change
          Change address or name
          Test to add or remove restrictions


          Learner license—under 18
          New                                                   $16      Expires on your 18th birthday


          Motorcycle with driver license (Class AM, BM or CM)
          New—add to driver license fee                         $15      Expires when your driver license expires
                                                                         (depends on age; see driver license section)
          Renewal—add to driver license renewal fee             $8       Expires when your driver license expires
                                                                         (depends on age; see driver license section)
          Add motorcycle to existing driver license             $16      Expiration date on driver license does not change


          Motorcycle license (Class M) only
          New                                                   $25      Expires when your driver license expires
                                                                         (depends on age; see driver license section)
          Renewal                                               $33      Expiration date depends on age; see driver license section


          Learner license for motorcycle (Class M) only
          Under 18                                              $16      Expires on your 18th birthday


          Limited term driver license
          For temporary visitors to the US                      $25      Expires when period of lawful presence expires, or in one
                                                                         year if lawful presence period is “duration of status”




                                                                                                                                      83
             Case 5:19-cv-00074-FB Document 8-1 Filed 02/04/19 Page 157 of 262
Appendix D: Fees                                                                                                         Texas Driver Handbook


                                                          Driver License Fees
         License type                                            *Fee       Information
         Occupational driver license
         New or renewal                                          $10        Issued up to two years
                                                                 per year   Must pay reinstatement fees first


         Add interlock restriction to driver license             $10        Must pay reinstatement fees first


         Driver license for individuals registered under Chapter 62, CCP
         New or renewal                                          $21        Expires one year after previous expiration date




                                                       Identification Card (ID) Fees
         ID type                                                 *Fee       Information
         Identification (ID) card
         Age 59 and younger: new                                 $16        Expires after six years (on your birthday)
         Age 59 and younger: renewal                             $16        Expires six years after previous expiration date


         Age 60 and older: new or renewal                        $6         Expires six years after previous expiration date


         Replacement ID card
         Replace a lost, stolen, or damaged ID card               $11       Current expiration date does not change
         Change address or name


         Limited term ID card
         For temporary visitors to the U.S.                      $16        Expires when period of lawful presence expires, or in one
                                                                            year if lawful presence period is “duration of status”


         ID card for individuals registered under Chapter 62, CCP
         New or renewal                                          $21        Expires one year after previous expiration date




  84
Case 5:19-cv-00074-FB Document 8-1 Filed 02/04/19 Page 158 of 262
               Case 5:19-cv-00074-FB Document 8-1 Filed 02/04/19 Page 159 of 262

Are you interested in an exciting career with the DPS?




Top 10 Reasons to Join Texas DPS
1. Competitive salaries and benefits
2. Vacation and sick leave monthly accruals
3. Overtime and stipend pay for education and second language
4. Clothing allowance and state of the art equipment provided
5. Opportunity for graduate and post graduate degrees
6. State issued vehicles for Law Enforcement positions
7. Wide range of specialties and promotion opportunities:
   • State Trooper
   • Texas Rangers
   • Intelligence and Counter Terrorism
   • Special Weapons And Tactics (SWAT)
   • Explosive Ordinance Disposal (EOD)
   • Tactical Marine Unit
   • Dive Team
   • Rotary and Fixed Wing Pilots
   • K-9 and Motorcycle Unit
8. Career stability within a legendary and highly elite organization
9. State wide jurisdiction and opportunity to live and work
    anywhere in the State
10. To Protect and Serve Texas



                                    Driver License Division Careers
                                    Be on the front lines in keeping Texas secure and providing excellent
                                    customer service to over 20 million Texas residents with the Texas
                                    Department of Public Safety.




For many career opportunities visit
dps.texas.gov
DL-7
Case 5:19-cv-00074-FB Document 8-1 Filed 02/04/19 Page 160 of 262




           EXHIBIT 13
                     Case 5:19-cv-00074-FB Document 8-1 Filed 02/04/19 Page 161 of 262


Persons Naturalized During Fiscal Year 2012
by State of Residence and Selected Characteristics

State: Texas

Characteristic                                                  Total     Male     Female    Unknown
Total                                                           57,762    26,877    30,885         -

Age
 Under 18 years                                                      -         -         -         -
 18-24 years                                                     5,585     2,522     3,063         -
 25-34 years                                                    14,886     6,452     8,434         -
 35-44 years                                                    16,350     7,407     8,943         -
 45-54 years                                                    10,415     5,327     5,088         -
 55-64 years                                                     6,484     3,270     3,214         -
 65 years and over                                               4,042     1,899     2,143         -
 Unknown                                                             -         -         -         -

Marital status
 Single                                                         11,077     5,624     5,453         -
 Married                                                        39,894    18,822    21,072         -
 Other                                                           6,791     2,431     4,360         -
 Unknown                                                             -         -         -         -

Occupation
 Management, professional, and related occupations               3,886     1,336     2,550         -
 Service occupations                                             5,921     1,853     4,068         -
 Sales and office occupations                                    4,608     1,791     2,817         -
 Farming, fishing, and forestry occupations                        107        98         9         -
 Construction, extraction, maintenance and repair occupations    1,632     1,574        58         -
 Production, transportation, and material moving occupations     7,788     5,566     2,222         -
 Military                                                          183       145        38         -
 No occupation/not working outside home                         12,992     3,731     9,261         -
   Homemakers                                                    4,092        63     4,029         -
   Students or children                                          3,771     1,515     2,256         -
   Retirees                                                      1,513       914       599         -
   Unemployed                                                    3,616     1,239     2,377         -
 Unknown                                                        20,645    10,783     9,862         -

Leading countries of birth
  Bangladesh                                                        447      228       219         -
  Canada                                                            660      345       315         -
  China                                                           1,292      518       774         -
  Colombia                                                        1,121      447       674         -
  El Salvador                                                     2,303    1,095     1,208         -
  Ethiopia                                                          601      304       297         -
  Guatemala                                                         545      262       283         -
                  Case 5:19-cv-00074-FB Document 8-1 Filed 02/04/19 Page 162 of 262


  Honduras                                                 558      205      353      -
  India                                                  4,040    1,983    2,057      -
  Iran                                                     692      338      354      -
  Kenya                                                    558      263      295      -
  Korea, South                                             660      287      373      -
  Mexico                                                21,535   10,623   10,912      -
  Nigeria                                                1,779      839      940      -
  Pakistan                                               1,671      824      847      -
  Peru                                                     448      181      267      -
  Philippines                                            2,663      962    1,701      -
  United Kingdom                                           723      410      313      -
  Venezuela                                                624      267      357      -
  Vietnam                                                3,022    1,044    1,978      -
  Other                                                 11,794    5,439    6,355      -
  Unknown                                                   26       13       13      -
D Data withheld to limit disclosure.
- Represents zero.
Source: U.S. Department of Homeland Security
                     Case 5:19-cv-00074-FB Document 8-1 Filed 02/04/19 Page 163 of 262


Persons Naturalized During Fiscal Year 2013
by State of Residence and Selected Characteristics

State: Texas

Characteristic                                                  Total     Male     Female    Unknown
Total                                                           57,947    27,046    30,901         -

Age
 Under 18 years                                                      -         -         -         -
 18-24 years                                                     5,298     2,481     2,817         -
 25-34 years                                                    15,012     6,479     8,533         -
 35-44 years                                                    16,620     7,776     8,844         -
 45-54 years                                                    10,426     5,286     5,140         -
 55-64 years                                                     6,361     3,137     3,224         -
 65 years and over                                               4,230     1,887     2,343         -
 Unknown                                                             -         -         -         -

Marital status
 Single                                                         10,875     5,824     5,051         -
 Married                                                        40,534    18,921    21,613         -
 Other                                                           6,538     2,301     4,237         -
 Unknown                                                             -         -         -         -

Occupation
 Management, professional, and related occupations               3,568     1,373     2,195         -
 Service occupations                                             6,011     1,898     4,113         -
 Sales and office occupations                                    4,569     1,744     2,825         -
 Farming, fishing, and forestry occupations                         93        80        13         -
 Construction, extraction, maintenance and repair occupations    1,495     1,445        50         -
 Production, transportation, and material moving occupations     7,877     5,608     2,269         -
 Military                                                          304       245        59         -
 No occupation/not working outside home                         13,195     3,567     9,628         -
   Homemakers                                                    4,760        49     4,711         -
   Students or children                                          3,812     1,578     2,234         -
   Retirees                                                      1,670       937       733         -
   Unemployed                                                    2,953     1,003     1,950         -
 Unknown                                                        20,835    11,086     9,749         -

Leading countries of birth
  Bangladesh                                                        543      281       262         -
  Canada                                                            650      302       348         -
  China                                                           1,462      627       835         -
  Colombia                                                        1,087      467       620         -
  Cuba                                                              482      252       230         -
  El Salvador                                                     2,213    1,044     1,169         -
  Ethiopia                                                          635      327       308         -
                  Case 5:19-cv-00074-FB Document 8-1 Filed 02/04/19 Page 164 of 262


  Guatemala                                                573      308      265      -
  Honduras                                                 571      236      335      -
  India                                                  4,476    2,247    2,229      -
  Iran                                                     784      391      393      -
  Kenya                                                    516      238      278      -
  Korea, South                                             772      324      448      -
  Mexico                                                20,232    9,831   10,401      -
  Nigeria                                                1,733      857      876      -
  Pakistan                                               1,908      948      960      -
  Philippines                                            2,231      830    1,401      -
  United Kingdom                                           728      400      328      -
  Venezuela                                                748      345      403      -
  Vietnam                                                3,239    1,133    2,106      -
  Other                                                 12,353    5,651    6,702      -
  Unknown                                                   11        7        4      -
D Data withheld to limit disclosure.
- Represents zero.
Source: U.S. Department of Homeland Security
                     Case 5:19-cv-00074-FB Document 8-1 Filed 02/04/19 Page 165 of 262


Persons Naturalized During Fiscal Year 2014
by State/Territory of Residence and Selected Characteristics

State/Territory: Texas

Characteristic                                                  Total     Male     Female Unknown
Total                                                            52,879   24,353     28,526      -

Age
 Under 18 years                                                      -         -         -       -
 18-24 years                                                     4,632     2,187     2,445       -
 25-34 years                                                    13,357     5,757     7,600       -
 35-44 years                                                    14,943     6,867     8,076       -
 45-54 years                                                     9,877     4,837     5,040       -
 55-64 years                                                     6,033     2,843     3,190       -
 65 years and over                                               4,037     1,862     2,175       -
 Unknown                                                             -         -         -       -

Marital status
 Single                                                         10,030     5,323     4,707       -
 Married                                                        36,713    16,888    19,825       -
 Other                                                           6,136     2,142     3,994       -
 Unknown                                                             -         -         -       -

Occupation
 Management, professional, and related occupations               9,802     5,237     4,565       -
 Service occupations                                             5,020     1,554     3,466       -
 Sales and office occupations                                    4,253     1,552     2,701       -
 Farming, fishing, and forestry occupations                         88        77        11       -
 Construction, extraction, maintenance and repair occupations    1,272     1,232        40       -
 Production, transportation, and material moving occupations     5,829     4,408     1,421       -
 Military                                                          210       169        41       -
 No occupation/not working outside home                         11,665     2,980     8,685       -
  Homemakers                                                     4,176        37     4,139       -
  Students or children                                           2,709     1,084     1,625       -
  Retirees                                                       1,430       823       607       -
  Unemployed                                                     3,350     1,036     2,314       -
 Unknown                                                        14,740     7,144     7,596       -

Leading countries of birth
 Bangladesh                                                         408      199       209       -
 Canada                                                             619      294       325       -
 China                                                            1,237      508       729       -
 Colombia                                                           892      381       511       -
 El Salvador                                                      1,999      949     1,050       -
 Ethiopia                                                           536      265       271       -
 Guatemala                                                          495      244       251       -
                  Case 5:19-cv-00074-FB Document 8-1 Filed 02/04/19 Page 166 of 262


  Honduras                                                 484      196      288      -
  India                                                  3,624    1,812    1,812      -
  Iran                                                     620      296      324      -
  Iraq                                                     803      439      364      -
  Kenya                                                    426      209      217      -
  Korea, South                                             659      300      359      -
  Mexico                                                20,403    9,481   10,922      -
  Nigeria                                                1,529      749      780      -
  Pakistan                                               1,597      785      812      -
  Philippines                                            1,771      583    1,188      -
  United Kingdom                                           700      385      315      -
  Venezuela                                                612      265      347      -
  Vietnam                                                2,487      886    1,601      -
  Other                                                 10,972    5,122    5,850      -
  Unknown                                                    6        5        1      -
D Data withheld to limit disclosure.
- Represents zero.
Source: U.S. Department of Homeland Security.
                     Case 5:19-cv-00074-FB Document 8-1 Filed 02/04/19 Page 167 of 262


Persons Naturalized During Fiscal Year 2015
by State/Territory of Residence and Selected Characteristics

State/Territory: Texas

Characteristic                                                  Total     Female     Male   Unknown
Total                                                            65,467     35,744   29,723        -

Age
 Under 18 years                                                      -           -        -        -
 18-24 years                                                     5,670       3,007    2,663        -
 25-34 years                                                    16,725       9,500    7,225        -
 35-44 years                                                    18,210       9,903    8,307        -
 45-54 years                                                    12,003       6,347    5,656        -
 55-64 years                                                     7,711       4,062    3,649        -
 65 years and over                                               5,148       2,925    2,223        -
 Unknown                                                             -           -        -        -

Marital status
 Married                                                        45,046      24,664   20,382        -
 Single                                                         12,800       6,028    6,772        -
 Other                                                           7,620       5,052    2,568        -
 Unknown                                                             1           -        1        -

Occupation
 Management, professional, and related occupations              10,833      5,137     5,696        -
 Service occupations                                             6,313      4,316     1,997        -
 Sales and office occupations                                    5,117      3,194     1,923        -
 Farming, fishing, and forestry occupations                         88          7        81        -
 Construction, extraction, maintenance and repair occupations    1,674         66     1,608        -
 Production, transportation, and material moving occupations     6,039      1,419     4,620        -
 Military                                                          132         24       108        -
 No occupation/not working outside home                         15,026     11,198     3,828        -
  Homemakers                                                     5,535      5,481        54        -
  Students or children                                           2,917      1,667     1,250        -
  Retirees                                                       1,703        771       932        -
  Unemployed                                                     4,871      3,279     1,592        -
 Unknown                                                        20,245     10,383     9,862        -

Leading countries of birth
 Canada                                                             733        375      358        -
 China                                                            1,434        857      577        -
 Colombia                                                         1,102        701      401        -
 Cuba                                                               633        332      301        -
 El Salvador                                                      2,689      1,481    1,208        -
 Ethiopia                                                           737        340      397        -
 Guatemala                                                          690        354      336        -
                  Case 5:19-cv-00074-FB Document 8-1 Filed 02/04/19 Page 168 of 262


  Honduras                                                 681      427      254      -
  India                                                  4,334    2,196    2,138      -
  Iran                                                     755      397      358      -
  Iraq                                                   1,288      531      757      -
  Kenya                                                    691      378      313      -
  Korea, South                                             795      474      321      -
  Mexico                                                23,603   12,880   10,723      -
  Nigeria                                                2,105    1,069    1,036      -
  Pakistan                                               2,036    1,091      945      -
  Philippines                                            2,209    1,443      766      -
  United Kingdom                                           807      349      458      -
  Venezuela                                                973      546      427      -
  Vietnam                                                3,179    2,031    1,148      -
  Other                                                 13,989    7,490    6,499      -
  Unknown                                                    4        2        2      -
D Data withheld to limit disclosure.
- Represents zero.
Source: U.S. Department of Homeland Security.
                     Case 5:19-cv-00074-FB Document 8-1 Filed 02/04/19 Page 169 of 262


Persons Naturalized During Fiscal Year 2016
by State/Territory of Residence and Selected Characteristics

State/Territory: Texas

Characteristic                                                  Total     Female     Male   Unknown
Total                                                            63,945     34,953   28,992        -

Age
 Under 18 years                                                      -           -        -        -
 18-24 years                                                     5,651       3,017    2,634        -
 25-34 years                                                    16,387       9,223    7,164        -
 35-44 years                                                    17,136       9,374    7,762        -
 45-54 years                                                    11,748       6,201    5,547        -
 55-64 years                                                     7,568       4,097    3,471        -
 65 years and over                                               5,455       3,041    2,414        -
 Unknown                                                             -           -        -        -

Marital status
 Married                                                        43,786      24,004   19,782        -
 Single                                                         12,605       5,941    6,664        -
 Other                                                           7,553       5,008    2,545        -
 Unknown                                                             1           -        1        -

Occupation
 Management, professional, and related occupations              11,379      5,447     5,932        -
 Service occupations                                             6,995      4,776     2,219        -
 Sales and office occupations                                    5,093      3,132     1,961        -
 Farming, fishing, and forestry occupations                        128         24       104        -
 Construction, extraction, maintenance and repair occupations    1,841         68     1,773        -
 Production, transportation, and material moving occupations     6,903      1,913     4,990        -
 Military                                                          248         63       185        -
 No occupation/not working outside home                         15,960     11,604     4,356        -
  Homemakers                                                     5,599      5,529        70        -
  Students or children                                           2,879      1,591     1,288        -
  Retirees                                                       1,908        815     1,093        -
  Unemployed                                                     5,574      3,669     1,905        -
 Unknown                                                        15,398      7,926     7,472        -

Leading countries of birth
 Burma                                                              616        297      319        -
 China, People's Republic                                         1,710      1,020      690        -
 Colombia                                                         1,134        715      419        -
 Cuba                                                               803        402      401        -
 El Salvador                                                      2,136      1,152      984        -
 Ethiopia                                                           744        367      377        -
 Honduras                                                           616        393      223        -
                  Case 5:19-cv-00074-FB Document 8-1 Filed 02/04/19 Page 170 of 262


  India                                                  4,670    2,398    2,272      -
  Iran                                                     750      408      342      -
  Iraq                                                   1,020      449      571      -
  Kenya                                                    729      379      350      -
  Korea, South                                             774      423      351      -
  Mexico                                                22,687   12,486   10,201      -
  Nepal                                                    655      292      363      -
  Nigeria                                                2,038    1,041      997      -
  Pakistan                                               1,980    1,040      940      -
  Philippines                                            2,005    1,310      695      -
  United Kingdom                                           758      359      399      -
  Venezuela                                                925      510      415      -
  Vietnam                                                3,603    2,207    1,396      -
  Other                                                 13,591    7,304    6,287      -
  Unknown                                                    1        1        -      -
D Data withheld to limit disclosure.
- Represents zero.
Source: U.S. Department of Homeland Security.
                     Case 5:19-cv-00074-FB Document 8-1 Filed 02/04/19 Page 171 of 262


Persons Naturalized During Fiscal Year 2017
by State/Territory of Residence and Selected Characteristics

State/Territory: Texas

Characteristic                                                  Total     Female     Male   Unknown
Total                                                            50,552     27,794   22,757       1

Age
 Under 18 years                                                      -           -        -       -
 18-24 years                                                     3,585       1,924    1,661       -
 25-34 years                                                    11,370       6,467    4,902       1
 35-44 years                                                    13,618       7,407    6,211       -
 45-54 years                                                     9,575       5,065    4,510       -
 55-64 years                                                     7,174       4,042    3,132       -
 65 years and over                                               5,230       2,889    2,341       -
 Unknown                                                             -           -        -       -

Marital status
 Married                                                        35,442      19,242   16,200       -
 Single                                                          8,696       4,257    4,438       1
 Other                                                           6,337       4,256    2,081       -
 Unknown                                                            77          39       38       -

Occupation
 Management, professional, and related occupations              13,056       6,651    6,405       -
 Service occupations                                             4,707       3,260    1,447       -
 Sales and office occupations                                    3,631       2,444    1,187       -
 Farming, fishing, and forestry occupations                        101          14       87       -
 Construction, extraction, maintenance and repair occupations    1,832         195    1,637       -
 Production, transportation, and material moving occupations     4,468       1,101    3,367       -
 Military                                                          284          72      212       -
 No occupation/not working outside home                          8,669       6,371    2,298       -
  Homemakers                                                     2,937       2,895       42       -
  Students or children                                           1,121         666      455       -
  Retirees                                                       1,240         527      713       -
  Unemployed                                                     3,371       2,283    1,088       -
 Unknown                                                        13,804       7,686    6,117       1

Leading countries of birth
 Burma                                                              475       222      253        -
 Canada                                                             434       239      195        -
 China, People's Republic                                         1,233       713      520        -
 Colombia                                                           776       484      292        -
 Cuba                                                               611       304      307        -
 El Salvador                                                      1,625       957      668        -
 Ethiopia                                                           444       193      251        -
                  Case 5:19-cv-00074-FB Document 8-1 Filed 02/04/19 Page 172 of 262


  Honduras                                                 517      304     213       -
  India                                                  3,770    1,833   1,937       -
  Iran                                                     560      286     274       -
  Iraq                                                     475      200     275       -
  Kenya                                                    411      238     173       -
  Korea, South                                             587      320     267       -
  Mexico                                                22,167   12,285   9,881       1
  Nigeria                                                1,225      604     621       -
  Pakistan                                               1,207      628     579       -
  Philippines                                            1,391      955     436       -
  United Kingdom                                           490      236     254       -
  Venezuela                                                597      335     262       -
  Vietnam                                                2,248    1,402     846       -
  Other                                                  9,294    5,048   4,246       -
  Unknown                                                   15        8       7       -
D Data withheld to limit disclosure.
- Represents zero.
Source: U.S. Department of Homeland Security.
Case 5:19-cv-00074-FB Document 8-1 Filed 02/04/19 Page 173 of 262




           EXHIBIT 14
                                                            Case 5:19-cv-00074-FB Document 8-1 Filed 02/04/19 Page 174 of 262


Table 11. Reported Voting and Registration Among Native and Naturalized Citizens, by Race, and Region of Origin: November 2016
(In thousands)

                                                                                                                                           United States citizen
                                                           Total Citizen      Reported registered        Reported not registered        No response to             Reported voted         Reported not voted       No response to voting2
Nativity status, race, and Hispanic origin                  Population       Number        Percent        Number       Percent        Number      Percent        Number      Percent     Number       Percent      Number        Percent
Naturalized citizen All races                                     19,847         12,245           61.7        4,488           22.6       3,115           15.7       10,774        54.3       6,079          30.6        2,995          15.1
                     White alone                                  10,796          6,704           62.1        2,365           21.9       1,727           16.0        5,844        54.1       3,300          30.6        1,652          15.3
                     White non-Hispanic alone                       4,635         3,056           65.9          854           18.4         725           15.6        2,594        56.0       1,365          29.4          677          14.6
                     Black alone                                    2,210         1,472           66.6          369           16.7         370           16.7        1,363        61.7         477          21.6          370          16.8
                     Asian alone                                    6,307         3,738           59.3        1,637           26.0         932           14.8        3,265        51.8       2,156          34.2          887          14.1
                     Hispanic (of any race)                         6,815         4,070           59.7        1,641           24.1       1,105           16.2        3,642        53.4       2,095          30.7        1,078          15.8
                     White alone or in combination                10,981          6,827           62.2        2,393           21.8       1,761           16.0        5,959        54.3       3,336          30.4        1,686          15.4
                     Black alone or in combination                  2,290         1,507           65.8          396           17.3         387           16.9        1,398        61.1         504          22.0          388          16.9
                     Asian alone or in combination                  6,367         3,783           59.4        1,641           25.8         943           14.8        3,305        51.9       2,164          34.0          898          14.1


1
    'No response to registration' includes those who were not asked if they were registered as well as those who responded 'Don't Know,' and 'Refused.'
2
    'No response to voting' includes those who were not asked if they voted as well as those who responded 'Don't Know,' and 'Refused.'

Source: U.S. Census Bureau, Current Population Survey, November 2016
Case 5:19-cv-00074-FB Document 8-1 Filed 02/04/19 Page 175 of 262




           EXHIBIT 15
                                Case 5:19-cv-00074-FB Document 8-1 Filed 02/04/19 Page 176 of 262


                   U.S. ELECTION ASSISTANCE COMMISSION
                   2016 Election Administration and Voting Survey


                   Supplemental Instruction Manual


The information in this Supplemental Instruction Manual (SIM) to the 2016 Election Administration and Voting Survey (EAVS) explains each
question so that you can fill out the questionnaire accurately. It contains detailed information, definitions, and guidance—question by question—
that will help you provide the appropriate election data for your State.

Please read this document carefully before answering the survey. A number of important updates were made in response to your
feedback on the 2014 EAVS. Several questions in Section B are no longer required. Though the survey questions have not changed, many
items have been clarified and key terms defined. Certain key terms are underlined and in blue. If you press “Ctrl” and click the word, it will take
you to the definition of the term. We hope these updates save you time and effort in completing the survey and help you to provide more
reliable and accurate information.

In all cases, please use the Comment boxes as needed to provide us with additional information regarding how you answered the questions,
including any explanations about the quality of the data you are providing. This will help us analyze and present the data more accurately. Your
explanations do not need to be detailed or lengthy; we can come back to you for further information if needed. If a question asks for information
that your State or jurisdiction does not collect, select “Data not available” or enter “N/A” for that item.

Although we have tried to make this manual as complete as possible, we know it may not answer all of your questions. Additional
documentation and information about the EAVS survey is available on the project website: https://EAVSportal.com. Should you have questions
or need assistance, please contact the project support team at EAVS@forsmarshgroup.com or email or call your EAVS technical assistance
person.

Thank you in advance for all your hard work in helping to make the U.S. Election Assistance Commission’s 2016 Election Administration and
Voting Survey the most successful yet!




October 11, 2016
                                            Case 5:19-cv-00074-FB Document 8-1 Filed 02/04/19 Page 177 of 262


Contents
SECTION A: VOTER REGISTRATION ............................................................................................................................................................... 1
   A1. Total Number Registered and Eligible Persons .......................................................................................................................................... 1
   A2. Active and Inactive Registered Voters ........................................................................................................................................................ 1
   A3. Active and Inactive Registered Voters ........................................................................................................................................................ 2
   A4. Same Day Voter Registration ..................................................................................................................................................................... 2
   A5. Total Registration Forms Processed—2014 to 2016................................................................................................................................... 3
   A6—A9. Total Registration Forms Processed, by Source ................................................................................................................................. 4
   A10. Total Confirmation of Registration Notices Sent to Voters ........................................................................................................................ 5
   A11. Total Voters Removed from Registration Rolls – 2014 to 2016 ................................................................................................................. 6
SECTION B: UOCAVA Ballots ............................................................................................................................................................................. 7
   Types of UOCAVA Voters................................................................................................................................................................................. 8
   Types of UOCAVA Absentee Ballots ................................................................................................................................................................ 8
   B1. UOCAVA Ballots Transmitted to Voters ...................................................................................................................................................... 9
   B2. Return of Absentee Ballots Transmitted to UOCAVA Voters ...................................................................................................................... 9
   B8. Total UOCAVA Ballots Counted ............................................................................................................................................................... 10
   B9—B12. UOCAVA Ballots Counted by Type of Ballot ................................................................................................................................... 10
   B13. Total Number of UOCAVA Ballots Rejected ........................................................................................................................................... 13
   B14. Reasons Why UOCAVA Ballots Rejected............................................................................................................................................... 13
   B15—B18. Ballots Rejected by UOCAVA Ballot Type .................................................................................................................................... 14
   B19. Total Registered and Eligible UOCAVA Voters ....................................................................................................................................... 16
   B20. Federal Post Card Applications Received ............................................................................................................................................... 16
   B21. Federal Post Card Applications Rejected ............................................................................................................................................... 17




October 11, 2016
                                             Case 5:19-cv-00074-FB Document 8-1 Filed 02/04/19 Page 178 of 262


   B22. Federal Post Card Applications Rejected Because Late ......................................................................................................................... 17
   B24. Ballots Transmitted: Mail, Email, Other ................................................................................................................................................... 17
   B25. Ballots Transmitted, Returned as Undeliverable ..................................................................................................................................... 18
   B26. Transmitted Ballots Returned by Voters ................................................................................................................................................. 18
   B27. Transmitted Ballots Returned: Postal Mail, Email, Other ........................................................................................................................ 19
   B29. Transmitted Ballots Rejected, Returned Late: Postal Mail, Email, Other ................................................................................................. 20
   B30. Transmitted Ballots that were Counted: Postal Mail, Email, Other .......................................................................................................... 21
   B31. Federal Write-in Absentee Ballots Received ........................................................................................................................................... 21
   B33. Federal Write-in Absentee Ballots Rejected, Returned Late ................................................................................................................... 21
   B34. Federal Write-in Absentee Ballots Rejected Because Transmitted Ballot Counted ................................................................................. 22
SECTION C: Domestic Civilian Absentee Ballots ............................................................................................................................................... 23
   C1. Total Absentee Ballots Transmitted .......................................................................................................................................................... 24
   C2. Permanent Absentee Voting Definition ..................................................................................................................................................... 25
   C3. Ballots Sent to Permanent Absentee Voters............................................................................................................................................. 25
   C4. Total Absentee Ballots Returned .............................................................................................................................................................. 25
   C5. Number of Absentee Ballots Rejected, by Reason Rejected .................................................................................................................... 25
SECTION D: Election Administration .................................................................................................................................................................. 26
   D1. Total Number of Precincts ........................................................................................................................................................................ 26
   D2. Total Number of Physical Polling Places (Election Day and Early Voting) ................................................................................................ 26
   D3. Total Number of Poll Workers .................................................................................................................................................................. 27
   D4. Age of Poll Workers.................................................................................................................................................................................. 27
   D5. Assessment of Ease of Recruiting Poll Workers ....................................................................................................................................... 27
SECTION E: Provisional Ballots ......................................................................................................................................................................... 28




October 11, 2016
                                             Case 5:19-cv-00074-FB Document 8-1 Filed 02/04/19 Page 179 of 262


   E1. Total Provisional Ballots Submitted and Adjudication ............................................................................................................................... 28
   E2. Reasons Provisional Ballots Rejected ...................................................................................................................................................... 28
SECTION F: Election Day Activities ................................................................................................................................................................... 29
   F1. Total Participation in Election.................................................................................................................................................................... 29
   F2. Source of Total Participation Number ....................................................................................................................................................... 29
   F3. First-Time Voters Who Provided ID at the Polls ........................................................................................................................................ 30
   F4. Use of Electronic Poll Books ..................................................................................................................................................................... 30
   F5. Use of Printed Poll Books ......................................................................................................................................................................... 30
   F6. Who Prints Poll Books—State or Local Jurisdiction? ................................................................................................................................ 30
   F7. Voting Equipment Used ............................................................................................................................................................................ 31
   F8. General Comments .................................................................................................................................................................................. 32




October 11, 2016
                               Case 5:19-cv-00074-FB Document 8-1 Filed 02/04/19 Page 180 of 262


SECTION A: VOTER REGISTRATION


A1. Total Number Registered and Eligible Persons
This question refers to the number of people (not votes or ballots) who were registered and eligible to vote in the November 2016 general
election. This includes all individuals who registered to vote through the close of voter registration rolls for the election. For States with
Election Day voter registration, registered and eligible voters include all individuals who registered to vote through the close of the polls on
Election Day.

The number of registered and eligible persons should NOT include:

   •   Individuals who registered to vote after the close of registration for the 2016 general election and were not be eligible to vote in the
       election;
   •   Persons under the age of 18 registered under a “pre-registration” program.

If your jurisdiction’s number includes any special groups or situations that we should be aware of, please use the A1 Comments box to tell
us.



A2. Active and Inactive Registered Voters
States, and sometimes jurisdictions within a State, differ in how they calculate and report the official number of registered voters. Some
jurisdictions routinely report both active and inactive voters, and others only report active registered voters. To document differences between
the numbers reported in this survey versus other official reports, this question asks which voters were included as part of your response to
question A1a for your State’s total number of people registered and eligible to vote. For this question:

       Active voters: Fully eligible voters who have no additional processing requirements to fulfill before voting.

       Inactive voters: Voters who remain eligible to vote but require address verification under the provisions of the National Voter
       Registration Act.

This question is similar to one asked in the Statutory Overview document but is repeated here because some localities in the same State may
calculate this number differently.

                                                                                                                                                   1
                               Case 5:19-cv-00074-FB Document 8-1 Filed 02/04/19 Page 181 of 262


A3. Active and Inactive Registered Voters
This question separates the total number of people registered and eligible to vote that were reported in A1a into two parts:

       A3a.    Active: If only active voters were included in A1a, then the response for A3a will be the same as the number reported in A1a.

       A3b.    Inactive: If your State or jurisdiction does not classify voters as “Inactive” check the “Data unavailable box” for question A3b
               and note in the A3 Comments box that your State does not use this classification.



A4. Same Day Voter Registration
This question is intended to capture not only States with Same Day Voter Registration or Election Day Registration, but also the growing
number of States that have some variation of Same Day Voter Registration, such as allowing registration on the same day for early voting.
Note that this question is about registration forms, and not ballots cast or votes.

For example, imagine an unregistered person: Were there any circumstances in the November 2016 general election in which this person
could have registered and voted on the same day in your jurisdiction? If there were no such circumstances, please check the “Not Applicable”
box and skip to question A5. If there were such circumstances, provide the number of these same-day registrations that were submitted in
A4a, and the reason why in A4b.




                                                                                                                                                  2
                               Case 5:19-cv-00074-FB Document 8-1 Filed 02/04/19 Page 182 of 262


A5. Total Registration Forms Processed—2014 to 2016
These questions ask about the number of registration forms processed in your jurisdiction from the close of registration for the November
2014 general election through the close of registration for the November 2016 general election. For example, a State with a voter registration
deadline of 15 days before Election Day should include all forms received 14 days before the 2014 Election Day through 15 days before the
2016 Election Day. In States with Same Day Voter Registration or Election Day Registration, all registrations received after the close of the
polls on Election Day in 2014 until the close of the polls on Election Day 2016 should be included in your answers.

       A5a.    Total: All registration forms received between the close of registration for the November 2014 general election and the close of
               registration for the November 2016 general election.

Next, divide the total number of registration forms reported in A5a into the following categories:

       A5b.    New valid registrations: All successful registrations that were not invalidated or rejected and did not duplicate or modify a
               previously existing registration in the jurisdiction.

       A5c.    New “pre-registrations” of persons under age 18: All registrations submitted by persons under the age of 18 years so that they
               will be registered when they become of voting age.

       A5d.    Duplicates of existing valid registrations: Applications to register submitted by persons already registered to vote at the same
               address, under the same name and personal information (e.g., date of birth, social security number, driver’s license, etc.), and
               the same political party (where applicable).

       A5e.    Invalid or rejected registrations: Registrations that did not meet the requirements of eligibility because they were not completed
               properly or the individual was excluded from being able to register in a jurisdiction.

       A5f.    Changes to name, party or within-jurisdiction address change registrations: Registrations that modified or edited voter
               information for individuals with current valid registrations.

       A5g.    Address changes that cross jurisdiction borders registrations: Registrations that modified or edited the address of persons with
               current valid registrations, where the address change places them in a different jurisdiction (such as a different county) from
               their current registration.

Use items A5h through A5l for any registration forms that cannot be placed into any of the categories specified in A5b through A5g.




                                                                                                                                                  3
                              Case 5:19-cv-00074-FB Document 8-1 Filed 02/04/19 Page 183 of 262


A6—A9. Total Registration Forms Processed, by Source
These questions asks about the source for each voter registration form reported in question A5a, and whether the form was a new
registration, a duplicate of an existing registration, or an invalid or rejected registration.

       A6.    Total forms received: For every form reported in A5a, provide the source of the registration. Because not all registration
              categories are included as part of this series of registration-source questions, the sum of the numbers entered in A7, A8, and
              A9 might not equal A6.

       A7.    New registrations: For every new valid registration reported in A5b, provide the source of the registration. This should not
              include pre-registrations of persons under the age of 18.

       A8.    Duplicate registrations: For every duplicate registration reported in A5d, provide the source of the registration.

       A9.    Invalid or rejected registrations: For every invalid or rejected registration reported in A5e, provide the source of the registration.

Questions A8 and A9 are mutually exclusive—duplicate registrations included in A8 should not be included as invalid or rejected registrations
in A9, and vice versa. If your jurisdiction does not track these categories separately, please mark the “Data not available” box.

       A6--A9c. Submitted via the Internet: Include only registration forms that were completed and submitted through a web-based system.
             A form that was filled out online but submitted via email or printed and submitted via mail should be included under A6—A9a,
             “Individual voters submitting applications by mail, fax, or email.”

Use items A6—A9j through A5—A9o for registration forms received from sources other than those specified in A6a—A9a through A6i—A9i.




                                                                                                                                                   4
                              Case 5:19-cv-00074-FB Document 8-1 Filed 02/04/19 Page 184 of 262


A10. Total Confirmation of Registration Notices Sent to Voters
These questions ask about the total number of confirmation notices as defined under National Voter Registration Act (NVRA) Section 8 (d) (1)
(B) and Section 8 (d) (2). Although NVRA distinguishes between “confirmation notices” and “removal notices,” some jurisdictions refer to
“confirmation notices” as “removal notices” or something else. If your State is exempt from NVRA, please provide the information on
confirmation notices as requested, but explain in the A10 Comments box why voters received a confirmation notice and include any
differences from the NVRA’s definition of “confirmation notices.”

       A10a. Total number of confirmation notices sent to registered voters: The total number of confirmation of registration notices sent to
             voters during the same two-year registration period used in question A5. Include both the notices sent because there was an
             indication that the registrant no longer resides in the jurisdiction and the notices sent because the voter has not voted or
             attempted to vote during the two-year period.

Next, divide the total number of confirmation notices reported in A10a into the following categories:

       A10b. Received back from voters confirming registration: The total number of notices returned that confirmed an individual was still
             eligible to vote in the jurisdiction.

       A10c. Received back confirming registration should be invalidated: The total number of notices returned that confirmed an individual
             was no longer eligible to vote in the jurisdiction or no longer wanted to be registered to vote.

       A10d. Returned back as undeliverable: The total number of notices returned by the post office because the U.S. Postal Service could
             not deliver the notice.

       A10e. Status unknown: Any notice that was sent to a voter but was not received back confirming registration (A10b), confirming
             invalidation (A10c), or returned as undeliverable (A10d).

Use items A10f through A10h for notices that cannot be placed into any of the categories specified in A10b through A10e.




                                                                                                                                                5
                             Case 5:19-cv-00074-FB Document 8-1 Filed 02/04/19 Page 185 of 262


A11. Total Voters Removed from Registration Rolls – 2014 to 2016
These questions ask about the total number of voters removed from registration rolls during the same two-year period used in question A5.

       A11a. Total number of voters removed: Include only those completely removed from the list of registered voters, not records moved to
             an inactive list.

Next, divide the total number of voters removed that were reported A11a by the reason for removal. Use items A11h through A11k for voters
who were removed for reasons other than those specified in A11b through A11g. Note that A11b through A11k should add up to the total gin
in A11a.




                                                                                                                                            6
                               Case 5:19-cv-00074-FB Document 8-1 Filed 02/04/19 Page 186 of 262


SECTION B: UOCAVA Ballots


The questions in this section of the survey reflect the need to fully understand the Uniformed and Overseas Citizens Absentee Voting Act
(UOCAVA) voting process, which serves an important population segment of the American electorate.

An individual who registers and requests an absentee ballot using a Federal Post Card Application (FPCA) is covered by UOCAVA. However,
your State may cover additional individuals under UOCAVA. For example, a National Guard member activated on State orders is often
considered a UOCAVA voter under State law. Your State may also allow people to request UOCAVA status using a State form or another
mechanism. For most of Section B, use your State’s definition of UOCAVA to answer the question. For the questions that specifically ask
about the FPCA, only report data on those voters covered by UOCAVA who submitted an FPCA.

For some questions, your jurisdiction might not have collected data on a specific population, category, or ballot type. If your jurisdiction did not
collect data on the item, enter “N/A” or mark the “Data not available” box. If your jurisdiction did collect data, but zero voters fell into this
category, enter “0.”



 The Federal Voting Assistance Program (FVAP), the Council of State Governments’ (CSG), Overseas Voting Initiative, and the Election
 Assistance Commission (EAC) have worked together to streamline Section B. As a result, several questions do not need to be answered
 as part of the 2016 EAVS. Please do not answer the following questions in Section B: 3a, 4a–4c, 5a–5c, 6a–6c, 7a–7c, 23, 28a–28e, 32a–
 32e, and 35.




                                                                                                                                                   7
                               Case 5:19-cv-00074-FB Document 8-1 Filed 02/04/19 Page 187 of 262


Types of UOCAVA Voters
UOCAVA serves several populations of U.S. citizens. Below are the UOCAVA voter categories that are listed on the FPCA and how they
correspond to the voter-type categories that are in this section of the survey:


  Uniformed Services           I am a member of the Uniformed Services or Merchant Marine on active duty OR
  voters—domestic or           I am an eligible spouse or dependent
  foreign


                               I am a U.S. citizen residing outside of the United States, and I intend to return
  Non-military/civilian
                               I am a U.S. citizen residing outside of the United States, and my return is not certain
  overseas voter
                               I am a U.S. citizen and have never resided in the United States


It is very important to remember that the spouse or dependent of a Uniformed Services member or member of the Merchant Marine is also
considered a Uniformed Services voter under UOCAVA. Military spouses should be categorized as Uniformed Services voters, not as
civilian overseas voters or “Other."



Types of UOCAVA Absentee Ballots
Section B asks about two types of absentee ballots:

       Transmitted ballots: These ballots are ballots your office sent to voters, including ballots sent via postal mail, email, fax, or other
       modes.

       Federal Write-in Absentee Ballots (FWAB): These ballots are ballots that originated from the UOCAVA voter who did not receive their
       requested absentee ballot in time. On the FWAB, the voter lists each office and either the candidate’s name or party for whom the
       voter is casting a vote.




                                                                                                                                                 8
                              Case 5:19-cv-00074-FB Document 8-1 Filed 02/04/19 Page 188 of 262


B1. UOCAVA Ballots Transmitted to Voters
       B1a.   Total transmitted: The total number of UOCAVA ballots sent to voters for the November 2016 general election. If the total
              number of UOCAVA ballots transmitted is zero, enter “0” for B1a and skip to B19.

Next, divide the total number of transmitted UOCAVA ballot that were reported in B1a into Uniformed Services and overseas civilian voters.
Use items B1d and B1e for ballots transmitted to UOCAVA voters that cannot be classified as Uniformed Services or overseas civilians. The
total number of transmitted ballots transmitted in categories B1b through B1e should sum to the total number of absentee ballots transmitted
to UOCAVA voters as entered in B1a.



B2. Return of Absentee Ballots Transmitted to UOCAVA Voters
These questions ask about the status of all of the absentee ballots transmitted in B1a. Separate the total number of absentee ballots
transmitted to UOCAVA voters that was entered in B1a, into each of the categories shown below. The total number of UOCAVA ballots
transmitted in categories B2a through B2g should sum to the total number entered in B1a.

       B2a.   Ballots returned and submitted for counting: All UOCAVA ballots returned by voters, regardless of whether or not the ballots
              were later counted or rejected. UOCAVA ballots returned as undeliverable should not be included in this number.

       B2b.   Ballots returned as undeliverable: All UOCAVA ballots that were returned by any postal mail service, or were bounced back
              from an attempt at email delivery, or were otherwise undeliverable by other transmission modes. We are interested in only
              those ballots that were returned as undeliverable and if the voters’ mailing address, email address, or fax number could not be
              updated successfully.

       B2c.   Spoiled ballots (also referred to as “voided” ballots): UOCAVA ballots that were incorrectly marked or impaired in some way. In
              such cases, a replacement ballot may be issued so that the voter can correctly mark the ballot. An absentee voter who
              surrenders his or her absentee ballot in a polling place in order to vote in person is considered to have spoiled his or her
              absentee ballot.

       B2d.   Status unknown: This category includes all transmitted UOCAVA ballots that were not returned by the voter, spoiled, returned
              as undeliverable, or otherwise tracked by your office.

       B2e    Other ballot status: If your office uses other categories to track UOCAVA ballots, separate them into additional categories and
              provide a short label for each (items B2e through B2g).

                                                                                                                                                9
                             Case 5:19-cv-00074-FB Document 8-1 Filed 02/04/19 Page 189 of 262


Because Section B has been streamlined, do not answer questions 3a, 4a–4c, 5a–5c, 6a–6c, or 7a–7c.


B8. Total UOCAVA Ballots Counted
       Ballots counted: The number of UOCAVA ballots that were processed and the votes included in the canvas of election results. This
       includes ballots transmitted and FWABs.



B9—B12. UOCAVA Ballots Counted by Type of Ballot
For these questions, categorize the total number of UOCAVA ballots counted that were in B8a by voter type (Uniformed Services or non-
military overseas civilian). Use item B9c for ballots from UOCAVA voters who cannot be classified as Uniformed Services or overseas
civilians. Items B9a, B9b, and B9c should sum to the total provided for B8a.

Next, divide the total number of UOCAVA ballots counted from each UOCAVA-voter type in B9a through B9c by ballot type:

       B10.   Absentee ballot: These are official State ballots transmitted to UOCAVA voters.

       B11.   FWAB: These ballots originated from the voter who did not receive their requested absentee ballot in time. On the FWAB, the
              voter lists each office and then either the candidate’s name or party for whom the voter is casting a vote.

Use items B12a through B12c for ballots counted that cannot be classified as either absentee or FWAB.

Ballots counted by type should sum to the total number of ballots for each category of voter. For example, B10a, B11a, and B12a should sum
to the number provided for B9a.

If your jurisdiction is unable to distinguish between UOCAVA absentee ballots counted and FWABs counted, then complete B9a–c and mark
“Data not available” or enter “N/A” for B10a–c and B11a–c.




                                                                                                                                          10
                              Case 5:19-cv-00074-FB Document 8-1 Filed 02/04/19 Page 190 of 262


Example 1:    In the example below, the jurisdiction counted 216 ballots from Uniformed Services voters, four ballots returned by non-
              military/civilian voters, and zero ballots from other types of voters for a total of 220 UOCAVA ballots counted. This jurisdiction is
              unable to specify whether these were absentee ballots or FWABs and, therefore, checked the “Data not available” box for
              these categories.




If your jurisdiction knows how many UOCAVA absentee ballots and FWABs were counted but is unable to distinguish between the ballots
counted that were submitted by military versus non-military/civilian UOCAVA voters, then enter the number of absentee ballots and FWABs
counted by all UOCAVA voters in row c and use “Data not available” for rows a and b.




                                                                                                                                                11
                            Case 5:19-cv-00074-FB Document 8-1 Filed 02/04/19 Page 191 of 262


Example 2:   In the example below, the jurisdiction had 50 UOCAVA ballots that were submitted for counting, 45 of which were absentee
             ballots, five of which were FWABs, and zero from other types of ballots. However, this jurisdiction is not able to determine how
             many of these absentee ballots or FWABs came from Uniformed Services voters or how many came from non-military/civilian
             voters and, thus, checked the “Data not available” box for these items.




                                                                                                                                           12
                               Case 5:19-cv-00074-FB Document 8-1 Filed 02/04/19 Page 192 of 262


B13. Total Number of UOCAVA Ballots Rejected
Of all the UOCAVA ballots received, enter the total number of UOCAVA ballots that were rejected or not counted. This should include both
transmitted ballots and FWABs that were received but rejected or not counted.

       Rejected ballots: Ballots that were not counted because they did not meet the requirements of eligibility. This might include ballots
       rejected because they were not completed properly, were received after the deadline for counting, lacked a postmark, or because the
       individual was excluded from being able to vote in your jurisdiction.

If your jurisdiction uses a different definition of rejected ballot, you can explain it in the B13 Comments box.



B14. Reasons Why UOCAVA Ballots Rejected
For these questions, separate the total number of ballots rejected as entered in B13a by the reason for rejection. The numbers entered in
B14a, B14b, B14c, and B14d—B14f should sum to the number provided in B13a.

       B14a.     Ballot not received on time/missed deadline: Ballots that were not counted because they were received after the deadline for
                 a ballot to be received for counting.

       B14b.     Problem with voter signature: Ballots that were not counted because of an issue relating to the voter signature, including but
                 not limited to a missing signature or a returned ballot signature not matching the signature on file.

       B14c.     Ballot lacked a postmark: Ballots that were not counted because the ballot lacked the postmark required by your State or
                 jurisdiction, despite being received before the deadline for being included for counting.

Use items B14d through B14f to record ballots rejected for reasons that do not fall into the categories given in B14a through B14c. Please
include a short label to describe the reason these ballots were rejected. We expect that these categories will vary widely between States and
between local jurisdictions.




                                                                                                                                              13
                              Case 5:19-cv-00074-FB Document 8-1 Filed 02/04/19 Page 193 of 262


B15—B18. Ballots Rejected by UOCAVA Ballot Type
For these questions, separate the number of ballots rejected that was reported in B13a by type of voter (Uniformed Services or non-military
overseas/civilian). The numbers entered in B15a, B15b, and B15c should sum to the number provided in B13a.

Next, separate these voters by type of ballot (i.e. absentee, FWAB, or other); for example, B16a, B17a, and B18a should sum to the number
provided in B15a.

If you are unable to distinguish between rejected absentee ballots and FWABs, complete B15a–B15c and select “Data not available” or enter
“N/A” for B16a–B16c and B17a–B17c.



Example 1:    In the example below, the jurisdiction rejected six ballots from Uniformed Services voters, one ballot from non-military/civilian
              voters, and zero ballots from other types of voters, totaling seven UOCAVA ballots rejected. This jurisdiction is unable to
              specify whether these rejected ballots were absentee ballots or FWABs and, therefore, checked the “Data not available” box for
              these categories.




                                                                                                                                              14
                             Case 5:19-cv-00074-FB Document 8-1 Filed 02/04/19 Page 194 of 262


If you know how many absentee ballots and FWABs were rejected but are unable to distinguish between rejected ballots that were submitted
by Uniformed Service voters or non-military/civilian voters, then enter the number of absentee ballots and FWABs rejected by all UOCAVA
voters in row c and use “Data not available” for rows a and b.



Example 2:    In the example below, the jurisdiction has six UOCAVA ballots that were rejected, five of which were absentee ballots, one was
              a FWAB, and there were zero other types of ballots. However, this jurisdiction is not able to distinguish whether or not these
              rejected ballots came from Uniformed Services voters or non-military/civilian voters and, thus, checked the “Data not available”
              box for these items.




    NOTE: B19 through B35 are derived from FVAP’s Post-Election Voting Survey of Local Election Officials. In 2014, the EAC
    incorporated these questions for the States’ reporting of UOCAVA voting information as required by 42 U.S.C. §1973ff-1. States that
    complete and timely submit this section to EAC will fulfill their UOCAVA reporting requirement under 42 U.S.C §1973ff-1(c).




                                                                                                                                            15
                              Case 5:19-cv-00074-FB Document 8-1 Filed 02/04/19 Page 195 of 262


B19. Total Registered and Eligible UOCAVA Voters
These questions ask about the number of registered voters covered under UOCAVA for the 2016 general election.

States may differ in how they grant UOCAVA status to voters, so please apply the guidelines your State follows. For some States, this may be
the total number of voters that registered and requested a ballot using an FPCA for the November 2016 general election. For other States,
this number might also include voters that did not register using an FPCA but identified themselves as a UOCAVA voter at some point during
the voting process, such as on a State voter registration form. In States where a person’s FPCA remains valid across elections, without
requiring a new FPCA or other notification to be provided, include all UOCAVA voters who returned an FPCA this year or who continued to
have UOCAVA status from a previous request.

       B19a. Total registered and eligible: Enter the total number of registered voters covered under UOCAVA for the November 2016
             general election. Include active and inactive voters, special categories of voters with extended deadlines (e.g., returning
             military), and any persons who might have registered to vote on Election Day.

If the total number of registered and eligible voters who were covered by UOCAVA in the November 2016 general election is zero, enter “0”
for B19a and please skip to C1 in Section C.

Next, separate the number of registered and eligible voters that were reported in B19a by Uniformed services (B19b) and non-military/civilian
voters (B19c). If you are unable to distinguish between different UOCAVA voter types, complete B19a and select “Data not available” or enter
“N/A” for B19b–B16e.

Provide any comments about the nuances of how your jurisdiction categorizes registered UOCAVA voters in the B19 Comments box.



B20. Federal Post Card Applications Received
This question asks about FPCAs, which are federal forms that States are required to process from voters covered by UOCAVA. For this
question, focus on the total number of UOCAVA-registered voters provided in B19 and identify how many used an FPCA to register and
request an absentee ballot.

Include any ballot request for the November 2016 general election that originated from an FPCA, regardless of the year of submission. Only
include FPCA requests; do not include absentee ballot requests that originated from a State absentee voter registration form or other source.
Exclude FPCAs deemed incomplete by your office.


                                                                                                                                            16
                               Case 5:19-cv-00074-FB Document 8-1 Filed 02/04/19 Page 196 of 262


B21. Federal Post Card Applications Rejected
Of the total number of FPCAs received that were reported in B20a, enter the number that were rejected or were not fully processed for the
November 2016 general election. Rejected FPCAs should include any forms that did not meet full eligibility requirements for triggering the
transmission of a blank ballot. Reasons might include missing information, lack of a signature, a missed deadline, or overall ineligibility.



B22. Federal Post Card Applications Rejected Because Late
We are interested in knowing how many of the FPCAs rejected for the 2016 general election (as entered in B21e) were rejected because they
were received after the deadline in terms of qualifying for a full ballot (as a temporary registration) or failing to meet the qualification deadline
for receiving a ballot for the 2016 general election. Here, “deadline” refers to the last day a UOCAVA voter could request to receive an
absentee ballot with an FPCA.



B23. Because Section B has been streamlined, do not answer questions question 23 or 23 Comments.

B24. Ballots Transmitted: Mail, Email, Other
We are interested in ways ballots are transmitted to UOCAVA voters. This question refers to the way ballots were sent to voters, not the way
ballots were requested. Do not include FWABs or other ballots not transmitted from the election office to the voter.

For B24, only provide the total numbers of ballots transmitted by postal mail, email, and other. Please do not divide these totals by ballots
sent before or after the 45-day deadline.

       B24a. Postal mail: Of all UOCAVA ballots transmitted to voters as entered in B1a, enter the total number transmitted by postal mail,
             using USPS or any private courier shipping services (e.g., FedEx, UPS, DHL).

       B24b. Email: Of all UOCAVA ballots transmitted to voters as entered in B1a, enter the total number transmitted via email attachment
             from your office to voters.

       B24c. Other mode: Of all UOCAVA ballots transmitted to voters as entered in B1a, enter the total number transmitted by other
             methods such as fax, online systems, etc.

                                                                                                                                                  17
                              Case 5:19-cv-00074-FB Document 8-1 Filed 02/04/19 Page 197 of 262


B25. Ballots Transmitted, Returned as Undeliverable
We are interested in knowing how many of the absentee ballots transmitted, as entered in B24a, B24b, and B24c, were returned as
undeliverable. Please separate by transmission modes.

We are asking about the following items:

       B25a. Postal mail undeliverable: Of all UOCAVA ballots transmitted to voters via postal mail (as entered in B24a), enter the total
             returned to your office as undeliverable. Here, undeliverable ballots would be ballots returned by any postal mail service. Only
             ballots designated by a postal mail service as undeliverable should be included in the numbers reported here.

       B25b Email undeliverable: Of all UOCAVA ballots transmitted to voters via email (as entered in B24b), enter the total number of
            emails that were returned as undeliverable. Here, undeliverable ballots would be ballots sent via an email attachment that were
            bounced back or resulted in an undeliverable message and were never resolved.

       B25c Other undeliverable: Of all UOCAVA ballots transmitted to voters via other methods (as entered in B24c), enter the total
            returned to your office as undeliverable.



B26. Transmitted Ballots Returned by Voters
Of all UOCAVA ballots transmitted to voters as entered in B1a, enter the total number of ballots that were received by your office for the 2016
general election. Received ballots are ballots returned by the voter to the election office regardless of whether or not those ballots are
ultimately counted. Do not include FWABs in this number. You will enter data on FWABs starting with question B31.




                                                                                                                                             18
                              Case 5:19-cv-00074-FB Document 8-1 Filed 02/04/19 Page 198 of 262


B27. Transmitted Ballots Returned: Postal Mail, Email, Other
We are interested in knowing how many of the absentee ballots were received by (a) postal mail, (b) email, or (c) other. This number should
include only ballots transmitted, not FWABs. You will enter data on the number of FWABs received in B31.

For B27, only provide the total number of ballots your office received by postal mail, email, and other. Please do not divide these totals by
ballots sent before or after the 45-day deadline.

We are asking about the following items:

       B27a. Postal mail ballots received: Of all UOCAVA ballots received, as entered in B26a, enter the total number that were received by
             postal mail. This includes all ballots that your office received from a voter via the USPS or any private courier shipping services
             (e.g., FedEx, UPS, DHL).

       B27b. Email ballots received: Of all UOCAVA ballots received, as entered in B26a, enter the total number that were received by
             email. This includes all ballots that you received via email attachment from a voter.

       B27c. Other ballots received: Of all UOCAVA ballots received, as entered in B26a, enter the total number that were received through
             other methods. This includes ballots received through all other modes, such as, fax, online systems, etc.



B28. Because Section B has been streamlined, do not answer questions 28a–28e or 28 Comments.




                                                                                                                                              19
                               Case 5:19-cv-00074-FB Document 8-1 Filed 02/04/19 Page 199 of 262


B29. Transmitted Ballots Rejected, Returned Late: Postal Mail, Email, Other
We are interested in knowing how many of the absentee ballots received from UOCAVA voters, as entered in B27, were rejected or not
counted because they were received after the State’s deadline for receiving ballots. This number should include only ballots transmitted, not
FWABs. You will enter data on the number of FWABs rejected in B33a.

For B29, only provide the total number of ballots received by postal mail, email, and other methods after the State deadline. Please do not
divide these totals by ballots sent before or after the 45-day deadline.

We are asking about the following items:

       B29a. Postal mail ballots rejected because they were received after the deadline: Of all UOCAVA ballots rejected because they were
             not received on time, enter the total number that were received by postal mail.

       B29b Email ballots rejected because they were received after the deadline: Of all UOCAVA ballots rejected because they were not
            received on time, enter the total number that were received by email.

       B29c Other ballots rejected because they were received after the deadline: Of all UOCAVA ballots rejected because they were not
            received on time, enter the total number that were received by other methods.

Note: This question is similar to question B14a, with the following important differences: B14a asks for the number of ballots rejected ballots
because they were late including FWABs, and B29 asks for the number of rejected ballots because they were late excluding FWABs; B29
asks for categorization by mode of transmission and B14a does not.




                                                                                                                                              20
                              Case 5:19-cv-00074-FB Document 8-1 Filed 02/04/19 Page 200 of 262


B30. Transmitted Ballots that were Counted: Postal Mail, Email, Other
We are interested in knowing how many of the absentee ballots received from UOCAVA voters, as entered in B27, were counted. This
number should include only ballots transmitted, not FWABs. You will enter data on the number of FWABs counted in B35.

For B30, only provide the total number of ballots received by postal mail, email, and other that were counted. Please do not divide these
totals by ballots sent before or after the 45-day deadline.

We are asking about the following items:

       B29a. Postal mail ballots counted: Of all UOCAVA ballots counted, enter the total number that were received by postal mail.

       B29b Email ballots counted: Of all UOCAVA ballots counted, enter the total number that were received by email.

       B29c Other ballots counted: Of all UOCAVA ballots counted, enter the total number that were received by other methods.

Note: This question is similar to B8 with the following important differences: B8 includes FWABs, and B30 excludes FWABs; B30 asks for
categorization by mode of transmission and B8 does not.



B31. Federal Write-in Absentee Ballots Received
We are interested in knowing how many FWABs were received from Uniformed Services voters (B31a) and civilian overseas voters (B31b).

B32a–B32e. Because Section B has been streamlined, do not answer questions 32a–32e.


B33. Federal Write-in Absentee Ballots Rejected, Returned Late
Of the total number of FWABs received, as reported in question B31, enter the total number of FWABs that were rejected or not counted
because they were received after the State’s deadline for receiving and accepting FWABs.




                                                                                                                                            21
                              Case 5:19-cv-00074-FB Document 8-1 Filed 02/04/19 Page 201 of 262


B34. Federal Write-in Absentee Ballots Rejected Because Transmitted Ballot Counted
Of the total number of FWABs received, as reported in question B31, report the number of FWABs that were rejected because the voter also
returned an absentee ballot that you had transmitted to the voter.

Some voters will return their transmitted absentee ballot and also return a FWAB because they are not sure their transmitted ballot will arrive
in time to be counted. This question asks you to report the number of FWABs that were rejected because you received and processed their
transmitted ballot instead of the FWAB.



B35a–B35e. Because Section B has been streamlined, do not answer questions 35a–35e.




                                                                                                                                              22
                              Case 5:19-cv-00074-FB Document 8-1 Filed 02/04/19 Page 202 of 262


SECTION C: Domestic Civilian Absentee Ballots
The questions in this section concern regular (not UOCAVA) absentee ballots.

       Absentee ballot: These are absentee ballots that were transmitted to voters—by mail or electronically—regardless of how the ballots
       were returned (by mail, returned to a ballot drop off location, etc.). They do not refer to in-person absentee voting, which is included as
       part of the questions on early voting in Sections D and F.

       Transmitted ballots: These are absentee ballots that your office sent to voters, including ballots sent via postal mail, email, fax, or other
       modes.

       Returned submitted for counting: These are voted absentee ballots that were returned to your office by voters, regardless of whether
       the ballots were later counted or rejected.




                                                                                                                                                 23
                               Case 5:19-cv-00074-FB Document 8-1 Filed 02/04/19 Page 203 of 262


C1. Total Absentee Ballots Transmitted
These questions ask about the number of absentee ballots transmitted to voters and the outcome for each of those transmitted ballots.

       C1a.    Total domestic absentee ballots transmitted: This number should include all absentee ballots transmitted to a non-UOCAVA
               voter before Election Day, including spoiled or replaced ballots. It does not matter how the absentee ballot was returned (via
               mail, dropped off at a polling place, or other designated method). By this definition, all ballots transmitted to voters in vote-by-
               mail jurisdictions that have eliminated traditional polling places in favor of mailing ballots to voters in advance of the election
               should be included in this total, as should all ballots sent to permanent absentee voters.

Next, divide the total number of ballots transmitted (reported in C1a) into the following outcome categories:

       C1b.    Returned by voters and submitted for counting: Enter the total number of voted absentee ballots returned by voters, regardless
               of whether the ballots were later counted or rejected.

       C1c.    Returned as undeliverable: Enter the total number of transmitted ballots returned to your office as undeliverable. Here,
               undeliverable ballots would be ballots returned by the U.S. Postal Service.

       C1d.    Spoiled or replaced ballots (also referred to as “voided” ballots): Ballots that were incorrectly marked or impaired in some way.
               In such cases, a replacement ballot may be issued so that the voter can correctly mark the ballot. An absentee voter who
               surrenders his or her absentee ballot in a polling place in order to vote in person is considered to have spoiled his or her
               absentee ballot.

       C1e.    Status unknown. This category would include all transmitted absentee ballots that were not returned by voter, spoiled, returned
               as undeliverable, or otherwise unable to be tracked by your office.

       C1f.    Other—Absentee voters who vote in-person with a provisional ballot: In States with no-excuse absentee voting, some absentee
               voters will decide to vote in person on Election Day. If the absentee voter surrenders his or her absentee ballot at the polls and
               is allowed to vote in person using the regular voting process, the absentee ballot is considered spoiled and should be included
               in C1d. However, some absentee voters will not bring their ballot to the polls on Election Day and must vote with a provisional
               ballot. Please record these voters in C1f. If your State categorizes these voters as having spoiled their absentee ballots, please
               note this in the C1 Comments box.




                                                                                                                                                  24
                               Case 5:19-cv-00074-FB Document 8-1 Filed 02/04/19 Page 204 of 262


C2. Permanent Absentee Voting Definition
This question asks if voters in your State can request to be a permanent absentee voter. For example, in some States, if a voter is
permanently ill or disabled, he or she can file an application with their board of elections indicating permanent illness or physical disability and
receive absentee ballots for all subsequent elections without filing any additional absentee ballot applications. If your State allows any voters
to request a permanent absentee ballot status, you should answer “yes” to this question.

Use the C2 Comments box to explain who in your State is eligible to be a permanent absentee voter. In some States, only specific classes of
voters, such as individuals with disabilities, can apply to be a permanent absentee voter. In other States, any voter can apply to be a
permanent absentee voter. In States with all vote-by-mail elections, all voters are permanent absentee voters.



C3. Ballots Sent to Permanent Absentee Voters
Enter the total number of absentee ballots transmitted to individuals in your jurisdiction who have permanent absentee voting status for any
reason. If your State does not allow any voters to have permanent absentee voting status, skip C3 and move to question C4.



C4. Total Absentee Ballots Returned
Of the total number of ballots returned and submitted for counting, as reported in C1b, how many were:

       C4a.    Counted: Ballots that were processed and the votes were included in the canvas of election results.

       C4b.    Rejected: Ballots that were not counted because they did not meet the requirements of eligibility. This might include ballots that
               were rejected because they were not completed properly, were received after the deadline for counting, lacked a postmark, or
               because the individual was excluded from being able to vote in your jurisdiction.



C5. Number of Absentee Ballots Rejected, by Reason Rejected
For these questions, categorize each ballot rejected (as entered in C4b) by the reason for rejection. Use options C5o through C5v for any
ballots that cannot be placed in the categories given in C5a through C5n. The numbers entered in C5a through C5v should sum to the total
number of ballots rejected reported in C4b.
                                                                                                                                                  25
                                Case 5:19-cv-00074-FB Document 8-1 Filed 02/04/19 Page 205 of 262


SECTION D: Election Administration
The questions in this section cover topics of interest in election administration. We recognize that not all jurisdictions will track these data, but
if the data are available, it is important that you report it as accurately as possible.



D1. Total Number of Precincts
For this question, you should enter the total number of precincts in your voting jurisdiction. Precincts are not polling places, but bounded
areas. Put together, your precincts should cover your entire jurisdiction, without overlap and without leaving out any parts of your jurisdiction.

       Precinct: A precinct is the geographic area to which voters are assigned. It is an administrative division of a county or municipality to
       which a voter has been assigned by their residence address for voting in an election. Your jurisdiction may use the terms “ward” or
       “voting district” to describe voting precincts.



D2. Total Number of Physical Polling Places (Election Day and Early Voting)
This question asks about all physical voting locations used in your jurisdiction for in-person voting. In general, every jurisdiction—even in vote-
by-mail States—has at least one physical polling place in order to serve individuals with disabilities and others who had reason to cast a ballot
in person.

       D2a.    Total number of physical polling places: For this question, enter the total number of unique polling places at which people could
               vote in your jurisdiction. A polling place is a physical location where voters can cast their ballots. A polling place used during
               early voting and on Election Day should only be counted once in this total. Polling places can serve more than one precinct.

Sometimes it can be difficult to tell whether locations are separate polling places. For example, if a jurisdiction has one precinct vote in the
gym of a high school and another precinct vote in the cafeteria of the same high school, they would be considered separate polling places if
the locations were administered separately and are physically separated, even if they shared a single building.

For questions D2b through D2d, please separate Election Day polling locations into two categories: physical polling places that are not a part
of the election office (D2b) and polling places that are a part of the election office (D2c).



                                                                                                                                                   26
                               Case 5:19-cv-00074-FB Document 8-1 Filed 02/04/19 Page 206 of 262


Questions D2e through D2g ask about early voting polling locations.

       Early voting: A ballot cast in person by a voter at a designated polling site before Election Day. If your State allows individuals to cast
       an in-person absentee ballot, these ballots are counted as early voting for these questions.

Separate any early voting polling locations into two categories: physical polling places that are not a part of the election office (D2e) and
polling places that are a part of the election office (D2f). Note that the numbers reported in D2b through D2g might not add up to D2a because
many polling places served as both early voting and Election Day voting locations.



D3. Total Number of Poll Workers
This question asks about the number of temporary election workers your jurisdiction employed on Election Day or before Election Day in the
case of early voting. Do not include regular staff or temporary workers added to help with office duties. If these workers worked more than one
shift (e.g., during early voting and on Election Day), count the individual only one time; we are asking about the number of workers, not the
number of shifts that were staffed.



D4. Age of Poll Workers
There is very little information available on the demographics of American poll workers. If your jurisdiction has any data on the age of the poll
workers employed in the November 2016 general election, please report the age breakdown here.



D5. Assessment of Ease of Recruiting Poll Workers
We recognize this question calls for a subjective appraisal on your part. Please carefully consider the process by which your jurisdiction
recruited poll workers for the November 2016 general election, and give us your characterization.




                                                                                                                                                 27
                                Case 5:19-cv-00074-FB Document 8-1 Filed 02/04/19 Page 207 of 262


SECTION E: Provisional Ballots
This section’s questions ask about provisional voting, as defined by the Help America Vote Act (HAVA) of 2002:

       Provisional voter: An individual who declares that he or she is a registered voter in the jurisdiction where they desire to vote and is
       eligible to vote in an election for federal office, but (1) their name does not appear on the official list of eligible voters for the polling
       place, or (2) an election official asserts that the individual is not eligible to vote.

       Provisional ballot: A ballot used to record a vote when there is some question regarding the eligibility of the voter. Once voted,
       provisional ballots are kept separate from other ballots and are not tabulated until the eligibility of the voter is confirmed.



E1. Total Provisional Ballots Submitted and Adjudication
       E1a.    Total submitted: The number of voters who submitted provisional ballots, regardless of whether or not the provisional ballot
               was ultimately counted in part or full. States that are exempt from the provisional ballot requirements of HAVA and do not offer
               provisional ballots should enter “N/A” or check the “Data not available” box.

Next, divide the total number of provisional ballots reported in E1a into those that were counted in full (E1b), partially counted (E1c), and
rejected (E1d). Use items E1e and E1f for provisional ballots that cannot be placed in the categories given in E1b through E1d.



E2. Reasons Provisional Ballots Rejected
For these questions, categorize each ballot that was rejected (as reported in E1d) by the reason for rejection. If a provisional ballot was
rejected for multiple reasons, please provide the primary reason why the provisional ballot was rejected so that reasons for rejection (E2a
through E2p) equal E1d. If provisional ballots were classified into more than one reason for rejection, please indicate the number of ballots
that were classified into two categories in E2 Comments. Use items E2j through E2p for rejected provisional ballots that cannot be placed in
any of the categories given in E2j through E2p.




                                                                                                                                                        28
                               Case 5:19-cv-00074-FB Document 8-1 Filed 02/04/19 Page 208 of 262


SECTION F: Election Day Activities


F1. Total Participation in Election
This question asks for the total number of people who participated in the election. Participation is often referred to as overall turnout.

       F1a.    Total participation: This includes any individual who attempted to vote in the election, including provisional voters who had their
               ballot rejected and absentee voters who submitted ballots that were ultimately rejected. Please use the F1 Comments box to
               explain your response.

Next, separate the total participation number entered in F1a into the number of people who voted by various methods:

       F1b.    Polling-place voters: This category includes all individuals who cast a ballot at a physical location on Election Day.

       F1c.    UOCAVA voters: This category includes all individuals who submitted a transmitted UOCAVA ballot or FWAB (as reported in
               B3a), regardless of whether their ballots were ultimately counted or rejected.

       F1d.    Domestic absentee ballot: This category includes all individuals who returned an absentee ballot (as reported in C1b),
               regardless of whether their ballots were ultimately counted or rejected.

       F1e.    Provisional ballots: This category includes all individuals who cast a provisional ballot (as reported in E1a), regardless of
               whether their ballots were ultimately counted or rejected.

       F1f.    Early vote center: This category includes all individuals who cast a ballot at a physical location before Election Day, regardless
               of whether their ballots were ultimately counted or rejected.

       F1g.    Vote-by-mail jurisdiction: This includes all individuals who cast a ballot in a vote-by-mail jurisdiction (jurisdictions that have
               eliminated traditional polling places in favor of mailing ballots to voters in advance of the election), regardless of whether the
               ballots were ultimately counted or rejected.



F2. Source of Total Participation Number
For this question, identify the source used to calculate the responses reported in F1. Select only one source from the list.

                                                                                                                                                    29
                               Case 5:19-cv-00074-FB Document 8-1 Filed 02/04/19 Page 209 of 262


F3. First-Time Voters Who Provided ID at the Polls
For this question, select or enter “Not applicable” if your jurisdiction has a computerized voter registration list that complies with HAVA Section
303 and, therefore, does not need to request ID of new registrants who registered by mail.



F4. Use of Electronic Poll Books
For this question, indicate whether your jurisdiction used electronic poll books or lists in polling places in any of the ways listed in items a
through e in the November 2016 general election. Vote-by-mail jurisdictions and jurisdictions that only used paper voter registration lists in the
polling place should answer “No” to all items.

       Electronic poll book (e-poll book): A type of hardware, software, or a combination of both, that is used in the place of a traditional paper
       poll book. These are not voting machines or used in the process of voting.



F5. Use of Printed Poll Books
Vote-by-mail jurisdictions and jurisdictions that only used electronic poll books should answer “No” to question F5 and skip to question F7.



F6. Who Prints Poll Books—State or Local Jurisdiction?
If your jurisdiction did not use printed poll books, and you answered “No” to F5, skip this question.




                                                                                                                                                30
                              Case 5:19-cv-00074-FB Document 8-1 Filed 02/04/19 Page 210 of 262


F7. Voting Equipment Used
Responding to this question might take considerable time for some jurisdictions, and we appreciate your attention to this question. Providing
the best data will give the EAC the most complete picture possible of the voting technology your voters used to cast their ballots.

Note that F7a applies to those voting machines without a voter-verifiable paper audit trail, and F7b applies to those voting machines with a
voter-verifiable paper audit trail.

       F7a.   Direct recording electronic (DRE) voting machines without a voter-verified paper audit trail: A voting system (push-button or
              touch screen) that records votes by means of a ballot display provided with mechanical or electro-optical components activated
              by the voter, where voting data are stored in a removable memory component. DRE is also referred to as an “electronic” voting
              system.

       F7b.   Direct recording electronic (DRE) voting machines with a voter-verified paper audit trail: A voting system (push-button or touch
              screen) that records votes by means of a ballot display provided with mechanical or electro-optical components activated by
              the voter, where voting data are stored both in a removable memory component and on a paper document that the voter can
              review before officially casting his or her ballot.

       F7c.   Electronic vote selection—printed and optically scanned ballot: A vote selection system (push-button or touch screen) in which
              the voter selects candidate choices by means of a ballot display provided with mechanical or electro-optical components
              activated by the voter, but no voting data is stored in the system. Instead, a paper ballot is printed that contains marks in voting
              response fields that are read by an optical scanner or similar sensor.

       F7d.   Optical scan: A system of recording votes by marks in voting response fields on ballot cards that are read by an optical scanner
              or similar sensor. These are also referred to as “mark-sense” voting systems.

       F7e.   Punch cards: A system of voting by punching holes in a card with a supplied punch device to indicate candidate or ballot issue
              choice. The ballots are counted using a computer punch card reader.

       F7f.   Lever machine: A system where each candidate or ballot issue choice is assigned a particular lever in a rectangular array of
              levers on the front of the machine. The voter pulls down selected levers to indicate choices. Vote totals are kept on a counter
              wheel within the machine.

       F7g.   Hand-counted paper ballots: A system where voters mark a paper ballot by hand and then each race on each ballot is counted
              by hand, without the use of a scanner, tabulator, or sensor.


                                                                                                                                                31
                               Case 5:19-cv-00074-FB Document 8-1 Filed 02/04/19 Page 211 of 262


F8. General Comments
The EAC wants to hear from you! Please use this question to share Election Day experiences not covered by the previous questions. Of
particular interest are any problems you faced with voting technology: machine failures, lost votes, or ballot confusion. Conversely, please let
us know of any worthy successes or challenges overcome. Use as much space as you need.




                                                                                                                                               32
Case 5:19-cv-00074-FB Document 8-1 Filed 02/04/19 Page 212 of 262




           EXHIBIT 16
                                  Case 5:19-cv-00074-FB Document 8-1 Filed 02/04/19 Page 213 of 262




                                          A10b Total Notices               A10c Total
                                          Received Back       Percent of   Notices Received Percent of A10d Total      Percent of A10e Total        Percent of
                         A10a Total       Confirming          Total        Back Registration Total      Undeliverable Total        Notices Not      Total
State JurisdictionName   Notices Sent     Registration        Notices      Invalid            Notices   Notices        Notices     Received Back Notices
      Statewide Total         1620882                 186530      11.51%               25773      1.59%       206128        12.72%         1023365     63.14%
TX    ANDREWS     COUNTY              0                     0                               0                        0                            0
TX    ANGELINA COUNTY            10664                  8657                             0.00                    2007                          0.00
TX    ARANSAS COUNTY              1370                   432                               20                     0.00                         0.00
TX    ARCHER COUNTY                403                     95                              43                     265                          0.00
TX    ARMSTRONG COUNTY               96                     5                            0.00                     0.00                         0.00
TX    ATASCOSA COUNTY              0.00                  0.00                            0.00                     0.00                         0.00
TX    AUSTIN COUNTY               1224                  1089                               47                     0.00                         0.00
TX    BAILEY COUNTY                0.00                  0.00                            0.00                     0.00                         0.00
TX    BANDERA COUNTY               0.00                  0.00                            0.00                     0.00                         0.00
TX    BASTROP COUNTY               0.00                  0.00                            0.00                     0.00                         0.00
TX    BAYLOR COUNTY                0.00                  0.00                            0.00                     0.00                         0.00
TX    BEE COUNTY                   0.00                  0.00                            0.00                     0.00                         0.00
TX    BELL COUNTY                  0.00                  0.00                            0.00                     0.00                         0.00
TX    BEXAR COUNTY             124074                  16031                             319                    24470                        83254
TX    BLANCO COUNTY                612                   117                               67                     0.00                         428
TX    BORDEN COUNTY                  83                  0.00                              30                        3                           50
TX    BOSQUE COUNTY               1128                   252                               74                     0.00                         0.00
TX    BOWIE COUNTY                5941                   0.00                            200                      0.00                         0.00
TX    BRAZORIA COUNTY              0.00                  0.00                            0.00                     0.00                         0.00
TX    BRAZOS COUNTY              12772                  4933                               58                    2416                         5365
TX    BREWSTER COUNTY              0.00                  0.00                            0.00                     0.00                         0.00
TX    BRISCOE COUNTY               119                     22                            0.00                        9                           18
TX    BROOKS COUNTY                0.00                  0.00                            0.00                     0.00                         0.00
TX    BROWN COUNTY                2280                   767                               56                     0.00                         0.00
TX    BURLESON COUNTY              658                   157                               18                     0.00                         461
TX    BURNET COUNTY                0.00                  0.00                            0.00                     0.00                         0.00
TX    CALDWELL COUNTY                46                    25                               1                     0.00                         0.00
                          Case 5:19-cv-00074-FB Document 8-1 Filed 02/04/19 Page 214 of 262


TX   CALHOUN COUNTY         0.00         0.00                    0.00                0.00        0.00
TX   CALLAHAN COUNTY        754          0.00                    0.00                0.00        0.00
TX   CAMERON COUNTY       13433         1115                       23              12295         0.00
TX   CAMP COUNTY           1067          326                       78                450         0.00
TX   CARSON COUNTY          0.00         0.00                    0.00                0.00        0.00
TX   CASS COUNTY           1654         1337                       94                0.00        223
TX   CASTRO COUNTY          0.00         0.00                    0.00                0.00        0.00
TX   CHAMBERS COUNTY       3949         3858                       91                0.00        0.00
TX   CHEROKEE COUNTY        0.00         0.00                    0.00                0.00        0.00
TX   CHILDRESS COUNTY       560          294                     0.00                  52        0.00
TX   CLAY COUNTY            0.00         0.00                    0.00                0.00        0.00
TX   COCHRAN COUNTY         0.00         0.00                    0.00                0.00        0.00
TX   COKE COUNTY            0.00         0.00                    0.00                0.00        0.00
TX   COLEMAN COUNTY         532          184                       40                308            0
TX   COLLIN COUNTY        69813          0.00                    0.00               7623       62098
TX   COLLINGSWORTH          0.00         0.00                    0.00                0.00        0.00
TX   COLORADO COUNTY        959          191                       16                0.00        0.00
TX   COMAL COUNTY         10758         2525                     370                 0.00        0.00
TX   COMANCHE COUNTY          12            1                    0.00                  10           1
TX   CONCHO COUNTY             5            5                       0                   0           0
TX   COOKE COUNTY          4898          679                     169                 0.00        0.00
TX   CORYELL COUNTY        5359         2967                       89               1984         319
TX   COTTLE COUNTY            27            1                       3                   6          17
TX   CRANE COUNTY           410          251                     111                   41           7
TX   CROCKETT COUNTY          43            5                       5                  29           4
TX   CROSBY COUNTY          0.00         0.00                    0.00                0.00        0.00
TX   CULBERSON COUNTY       0.00           10                    0.00                0.00        0.00
TX   DALLAM COUNTY          378          170                       33                175         0.00
TX   DALLAS COUNTY       238136            13                    0.00              48794      189302
TX   DAWSON COUNTY          0.00         0.00                    0.00                0.00        0.00
TX   DEAF SMITH COUNTY      0.00         0.00                    0.00                0.00        0.00
TX   DELTA COUNTY           0.00         0.00                    0.00                0.00        0.00
TX   DENTON COUNTY        62191          545                    7916                 200       53523
TX   DEWITT COUNTY         1013          641                     0.00                372         0.00
                        Case 5:19-cv-00074-FB Document 8-1 Filed 02/04/19 Page 215 of 262


TX   DICKENS COUNTY       0.00          0.00                  0.00                0.00        0.00
TX   DIMMIT COUNTY        0.00          0.00                  0.00                0.00        0.00
TX   DONLEY COUNTY        161             24                     6                0.00        131
TX   DUVAL COUNTY         552              8                     0                   0           0
TX   EASTLAND COUNTY     1147           662                     81                404         0.00
TX   ECTOR COUNTY         0.00          0.00                  0.00                0.00        0.00
TX   EDWARDS COUNTY         80            39                  0.00                0.00        0.00
TX   ELLIS COUNTY        9486           0.00                  0.00                0.00        0.00
TX   EL PASO COUNTY     29830          3603                   0.00                0.00        0.00
TX   ERATH COUNTY        2321           0.00                  0.00               1351         0.00
TX   FALLS COUNTY         0.00          0.00                  0.00                0.00        0.00
TX   FANNIN COUNTY        242           0.00                  0.00                0.00        0.00
TX   FAYETTE COUNTY       871           0.00                  0.00                0.00        0.00
TX   FISHER COUNTY        199             21                    89                  32          57
TX   FLOYD COUNTY         0.00          0.00                  0.00                0.00        0.00
TX   FOARD COUNTY         211             86                  0.00                0.00        119
TX   FORT BEND COUNTY   35547           0.00                  0.00               8762         0.00
TX   FRANKLIN COUNTY      726           266                     18                442         0.00
TX   FREESTONE COUNTY    1033           862                     19                0.00        152
TX   FRIO COUNTY         2046          1827                   0.00                275         0.00
TX   GAINES COUNTY        0.00          0.00                  0.00                0.00        0.00
TX   GALVESTON COUNTY   38235         13567                   274                6308       18086
TX   GARZA COUNTY         371           176                   0.00                  39        156
TX   GILLESPIE COUNTY    1253           635                      0                618         0.00
TX   GLASSCOCK COUNTY       52            27                  0.00                  10          15
TX   GOLIAD COUNTY        0.00          0.00                  0.00                0.00        0.00
TX   GONZALES COUNTY     1022           854                      2                   0        166
TX   GRAY COUNTY         1229           0.00                  0.00                0.00        0.00
TX   GRAYSON COUNTY      7365          2234                   493                 0.00       4638
TX   GREGG COUNTY        9054          1122                   0.00               1555        5806
TX   GRIMES COUNTY        723           507                      0                144            0
TX   GUADALUPE COUNTY   10271          1056                   789                1591        6800
TX   HALE COUNTY          0.00          0.00                  0.00                0.00        0.00
TX   HALL COUNTY          0.00          0.00                  0.00                0.00        0.00
                          Case 5:19-cv-00074-FB Document 8-1 Filed 02/04/19 Page 216 of 262


TX   HAMILTON COUNTY           0             0                      0                   0           0
TX   HANSFORD COUNTY        334           173                      20                  52          89
TX   HARDEMAN COUNTY           8             2                      0                   2           2
TX   HARDIN COUNTY          0.00          0.00                   0.00                0.00        0.00
TX   HARRIS COUNTY       274237         37681                    0.00               9307      227249
TX   HARRISON COUNTY       7256          1191                   2978                 0.00       3087
TX   HARTLEY COUNTY         359             56                     59                244         0.00
TX   HASKELL COUNTY         624           613                      11                0.00        0.00
TX   HAYS COUNTY         180927           0.00                   0.00              10708      164588
TX   HEMPHILL COUNTY        0.00          0.00                   0.00                0.00        0.00
TX   HENDERSON COUNTY          1          0.00                   0.00                0.00           1
TX   HIDALGO COUNTY       23846          1538                      12               3441       18855
TX   HILL COUNTY            0.00          0.00                   0.00                0.00        0.00
TX   HOCKLEY COUNTY        1244           753                      66                  60        365
TX   HOOD COUNTY           3179          1009                    0.00                   0        0.00
TX   HOPKINS COUNTY         0.00          0.00                   0.00                0.00        0.00
TX   HOUSTON COUNTY         0.00          0.00                   0.00                0.00        0.00
TX   HOWARD COUNTY         3157          1193                    0.00               1964         0.00
TX   HUDSPETH COUNTY        0.00          0.00                   0.00                0.00        0.00
TX   HUNT COUNTY           4936          4312                    135                 0.00        0.00
TX   HUTCHINSON COUNTY      0.00          0.00                   0.00                0.00        0.00
TX   IRION COUNTY           0.00          0.00                   0.00                0.00        0.00
TX   JACK COUNTY            424           116                    0.00                0.00        308
TX   JACKSON COUNTY         0.00          0.00                   0.00                0.00        0.00
TX   JASPER COUNTY          0.00          0.00                   0.00                0.00        0.00
TX   JEFF DAVIS COUNTY      0.00          0.00                   0.00                0.00        0.00
TX   JEFFERSON COUNTY     12796           452                    251                 0.00        0.00
TX   JIM HOGG COUNTY        297           118                    0.00                179         0.00
TX   JIM WELLS COUNTY      1896           517                      79                0.00        0.00
TX   JOHNSON COUNTY        8185          2991                      85                0.00        0.00
TX   JONES COUNTY           872           593                      56                223         0.00
TX   KARNES COUNTY          0.00          0.00                   0.00                0.00        0.00
TX   KAUFMAN COUNTY        6848           0.00                   0.00               1074        5695
TX   KENDALL COUNTY         0.00          0.00                   0.00                0.00        0.00
                        Case 5:19-cv-00074-FB Document 8-1 Filed 02/04/19 Page 217 of 262


TX   KENEDY COUNTY          36         0.00                   0.00                0.00       0.00
TX   KENT COUNTY            44            7                      3                   0       0.00
TX   KERR COUNTY         3442          0.00                   0.00                0.00       0.00
TX   KIMBLE COUNTY        0.00         0.00                   0.00                0.00       0.00
TX   KING COUNTY          0.00         0.00                   0.00                0.00       0.00
TX   KINNEY COUNTY        0.00         0.00                   0.00                0.00       0.00
TX   KLEBERG COUNTY      1329          414                      25                890        0.00
TX   KNOX COUNTY          0.00         0.00                   0.00                0.00       0.00
TX   LAMAR COUNTY        2901         1634                      75                0.00       0.00
TX   LAMB COUNTY          0.00         0.00                   0.00                0.00       0.00
TX   LAMPASAS COUNTY      0.00         0.00                   0.00                0.00       0.00
TX   LA SALLE COUNTY      0.00         0.00                   0.00                0.00       0.00
TX   LAVACA COUNTY        913          211                      33                0.00       0.00
TX   LEE COUNTY           628          183                      37                0.00       0.00
TX   LEON COUNTY          715          367                      25                323        0.00
TX   LIBERTY COUNTY      3633         1172                      68                0.00         54
TX   LIMESTONE COUNTY    1315          380                    0.00                0.00       0.00
TX   LIPSCOMB COUNTY      141            54                   0.00                0.00       0.00
TX   LIVE OAK COUNTY      501          154                       5                0.00       399
TX   LLANO COUNTY        1348          323                      45                0.00       0.00
TX   LOVING COUNTY          13         0.00                   0.00                0.00         13
TX   LUBBOCK COUNTY       0.00         0.00                   0.00                0.00       0.00
TX   LYNN COUNTY          0.00         0.00                   0.00                0.00       0.00
TX   MCCULLOCH COUNTY     465          319                      24                148        0.00
TX   MCLENNAN COUNTY    14308         2300                    414                2282       9085
TX   MCMULLEN COUNTY        21           11                      5                   4          1
TX   MADISON COUNTY       0.00         0.00                   0.00                0.00       0.00
TX   MARION COUNTY        713          196                      19                0.00       498
TX   MARTIN COUNTY        466          246                      11                154          53
TX   MASON COUNTY         154            34                     16                104        0.00
TX   MATAGORDA COUNTY    4027         1286                       4               2088        0.00
TX   MAVERICK COUNTY      0.00         0.00                   0.00                0.00       0.00
TX   MEDINA COUNTY        0.00         0.00                   0.00                0.00       0.00
TX   MENARD COUNTY        105            50                      0                   0         55
                         Case 5:19-cv-00074-FB Document 8-1 Filed 02/04/19 Page 218 of 262


TX   MIDLAND COUNTY      10025             3                      1               1944       8065
TX   MILAM COUNTY          0.00         0.00                   0.00                0.00       0.00
TX   MILLS COUNTY          158            65                      0                  93          0
TX   MITCHELL COUNTY       0.00         0.00                   0.00                0.00       0.00
TX   MONTAGUE COUNTY       0.00         0.00                   0.00                0.00       0.00
TX   MONTGOMERY          16628          0.00                   0.00                0.00       0.00
TX   MOORE COUNTY          810          861                    0.00                0.00       0.00
TX   MORRIS COUNTY         693          224                    185                 0.00       284
TX   MOTLEY COUNTY         0.00         0.00                   0.00                0.00       0.00
TX   NACOGDOCHES          1536         1051                    211                    0       274
TX   NAVARRO COUNTY        0.00         807                    0.00                0.00       0.00
TX   NEWTON COUNTY         0.00         0.00                   0.00                0.00       0.00
TX   NOLAN COUNTY          0.00         0.00                   0.00                0.00       0.00
TX   NUECES COUNTY         0.00         0.00                   0.00                0.00       0.00
TX   OCHILTREE COUNTY      0.00         0.00                   0.00                0.00       0.00
TX   OLDHAM COUNTY         174            42                     21                0.00       111
TX   ORANGE COUNTY         0.00         0.00                   0.00                0.00       0.00
TX   PALO PINTO COUNTY     174          168                       6                0.00       0.00
TX   PANOLA COUNTY         0.00         0.00                   0.00                0.00       0.00
TX   PARKER COUNTY         0.00         0.00                   0.00                0.00       0.00
TX   PARMER COUNTY         200          0.00                   0.00                0.00       0.00
TX   PECOS COUNTY          270          208                      62                0.00       0.00
TX   POLK COUNTY           0.00         0.00                   0.00                0.00       0.00
TX   POTTER COUNTY         0.00         0.00                   0.00                0.00       0.00
TX   PRESIDIO COUNTY       768          0.00                   0.00                  68       700
TX   RAINS COUNTY          623          129                      18                   0       476
TX   RANDALL COUNTY       8726         2638                    0.00                0.00       0.00
TX   REAGAN COUNTY         152            36                      6                0.00       0.00
TX   REAL COUNTY           0.00         0.00                   0.00                0.00       0.00
TX   RED RIVER COUNTY      125          0.00                   0.00                0.00       0.00
TX   REEVES COUNTY           50           50                   0.00                0.00       0.00
TX   REFUGIO COUNTY        474            97                     18                0.00       0.00
TX   ROBERTS COUNTY          38            1                     14                   3         20
TX   ROBERTSON COUNTY     1018          276                      14                0.00       0.00
                           Case 5:19-cv-00074-FB Document 8-1 Filed 02/04/19 Page 219 of 262


TX   ROCKWALL COUNTY         0.00          0.00                   0.00                0.00       0.00
TX   RUNNELS COUNTY          783           129                    0.00                0.00       654
TX   RUSK COUNTY             534           429                    0.00                0.00       0.00
TX   SABINE COUNTY           530           106                      27                0.00       0.00
TX   SAN AUGUSTINE           416           166                      18                0.00       250
TX   SAN JACINTO COUNTY     1979           222                      22                0.00       0.00
TX   SAN PATRICIO            0.00          0.00                   0.00                0.00       0.00
TX   SAN SABA COUNTY         0.00          0.00                   0.00                0.00       0.00
TX   SCHLEICHER COUNTY       211             11                      1                0.00       199
TX   SCURRY COUNTY           936           594                       0                274          68
TX   SHACKELFORD             0.00          0.00                   0.00                0.00       0.00
TX   SHELBY COUNTY           0.00          0.00                   0.00                0.00       0.00
TX   SHERMAN COUNTY          135             90                      8                  37          0
TX   SMITH COUNTY          16671           0.00                   0.00               5952      10719
TX   SOMERVELL COUNTY        0.00          0.00                   0.00                0.00       0.00
TX   STARR COUNTY            0.00          0.00                   0.00                0.00       0.00
TX   STEPHENS COUNTY         545           149                      39                151        206
TX   STERLING COUNTY         0.00          0.00                   0.00                0.00       0.00
TX   STONEWALL COUNTY          13            13                   0.00                0.00       0.00
TX   SUTTON COUNTY           0.00          0.00                   0.00                0.00       0.00
TX   SWISHER COUNTY          0.00          0.00                   0.00                0.00       0.00
TX   TARRANT COUNTY       133602         18968                   4084               33795      76755
TX   TAYLOR COUNTY         11255          1632                    188                2386       7049
TX   TERRELL COUNTY            54             5                   0.00                0.00       0.00
TX   TERRY COUNTY            692           173                      11                0.00       508
TX   THROCKMORTON            0.00          0.00                   0.00                0.00       0.00
TX   TITUS COUNTY            0.00          0.00                   0.00                0.00       0.00
TX   TOM GREEN COUNTY      14434          1156                    440                1878      10940
TX   TRAVIS COUNTY         18985           0.00                   0.00                0.00       0.00
TX   TRINITY COUNTY          0.00          0.00                   0.00                0.00       0.00
TX   TYLER COUNTY            837             83                     98                656        0.00
TX   UPSHUR COUNTY          2093           650                    116                 839        488
TX   UPTON COUNTY            140             30                     10                  40         60
TX   UVALDE COUNTY          1206           450                       6                0.00       750
                         Case 5:19-cv-00074-FB Document 8-1 Filed 02/04/19 Page 220 of 262


TX   VAL VERDE COUNTY     3206          774                     155                0.00       2277
TX   VAN ZANDT COUNTY     2330         1528                     762                  35           5
TX   VICTORIA COUNTY       0.00         0.00                    0.00               0.00        0.00
TX   WALKER COUNTY        6881         1015                     140                0.00       3351
TX   WALLER COUNTY        2778          0.00                    0.00                 21       2756
TX   WARD COUNTY           623          592                       31               0.00        0.00
TX   WASHINGTON           7266         6699                     567                0.00        0.00
TX   WEBB COUNTY          7838          0.00                    0.00               281        7551
TX   WHARTON COUNTY       1646          637                        7               0.00       1002
TX   WHEELER COUNTY        0.00         0.00                    0.00               0.00        0.00
TX   WICHITA COUNTY        0.00         0.00                    0.00               0.00        0.00
TX   WILBARGER COUNTY      0.00         0.00                    0.00               0.00        0.00
TX   WILLACY COUNTY        0.00         0.00                    0.00               0.00        0.00
TX   WILLIAMSON COUNTY   34305         4459                    2176               1388       26254
TX   WILSON COUNTY         0.00         0.00                    0.00               0.00        0.00
TX   WINKLER COUNTY        0.00         0.00                    0.00               0.00        0.00
TX   WISE COUNTY          3362          941                        0               0.00        0.00
TX   WOOD COUNTY          1595          187                     0.00               0.00        0.00
TX   YOAKUM COUNTY         267            61                       8               0.00        0.00
TX   YOUNG COUNTY          0.00         0.00                    0.00               0.00        0.00
TX   ZAPATA COUNTY         0.00         0.00                    0.00               0.00        0.00
TX   ZAVALA COUNTY         0.00         0.00                    0.00               0.00        0.00
Case 5:19-cv-00074-FB Document 8-1 Filed 02/04/19 Page 221 of 262




           EXHIBIT 17
 Case4:12-cv-00285-RH-CAS
Case  5:19-cv-00074-FB Document 8-1 7-1
                           Document FiledFiled
                                          02/04/19  PagePage
                                               06/15/12  222 of 262
                                                             1 of 38
 Case4:12-cv-00285-RH-CAS
Case  5:19-cv-00074-FB Document 8-1 7-1
                           Document FiledFiled
                                          02/04/19  PagePage
                                               06/15/12  223 of 262
                                                             2 of 38
 Case4:12-cv-00285-RH-CAS
Case  5:19-cv-00074-FB Document 8-1 7-1
                           Document FiledFiled
                                          02/04/19  PagePage
                                               06/15/12  224 of 262
                                                             3 of 38
 Case4:12-cv-00285-RH-CAS
Case  5:19-cv-00074-FB Document 8-1 7-1
                           Document FiledFiled
                                          02/04/19  PagePage
                                               06/15/12  225 of 262
                                                             4 of 38
 Case4:12-cv-00285-RH-CAS
Case  5:19-cv-00074-FB Document 8-1 7-1
                           Document FiledFiled
                                          02/04/19  PagePage
                                               06/15/12  226 of 262
                                                             5 of 38
 Case4:12-cv-00285-RH-CAS
Case  5:19-cv-00074-FB Document 8-1 7-1
                           Document FiledFiled
                                          02/04/19  PagePage
                                               06/15/12  227 of 262
                                                             6 of 38
 Case4:12-cv-00285-RH-CAS
Case  5:19-cv-00074-FB Document 8-1 7-1
                           Document FiledFiled
                                          02/04/19  PagePage
                                               06/15/12  228 of 262
                                                             7 of 38
 Case4:12-cv-00285-RH-CAS
Case  5:19-cv-00074-FB Document 8-1 7-1
                           Document FiledFiled
                                          02/04/19  PagePage
                                               06/15/12  229 of 262
                                                             8 of 38
 Case4:12-cv-00285-RH-CAS
Case  5:19-cv-00074-FB Document 8-1 7-1
                           Document FiledFiled
                                          02/04/19  PagePage
                                               06/15/12  230 of 262
                                                             9 of 38
 Case4:12-cv-00285-RH-CAS
Case   5:19-cv-00074-FB Document 8-1 7-1
                           Document   FiledFiled
                                            02/04/19   Page
                                                 06/15/12   231 10
                                                          Page  of 262
                                                                   of 38
 Case4:12-cv-00285-RH-CAS
Case   5:19-cv-00074-FB Document 8-1 7-1
                           Document   FiledFiled
                                            02/04/19   Page
                                                 06/15/12   232 11
                                                          Page  of 262
                                                                   of 38
 Case4:12-cv-00285-RH-CAS
Case   5:19-cv-00074-FB Document 8-1 7-1
                           Document   FiledFiled
                                            02/04/19   Page
                                                 06/15/12   233 12
                                                          Page  of 262
                                                                   of 38
 Case4:12-cv-00285-RH-CAS
Case   5:19-cv-00074-FB Document 8-1 7-1
                           Document   FiledFiled
                                            02/04/19   Page
                                                 06/15/12   234 13
                                                          Page  of 262
                                                                   of 38
 Case4:12-cv-00285-RH-CAS
Case   5:19-cv-00074-FB Document 8-1 7-1
                           Document   FiledFiled
                                            02/04/19   Page
                                                 06/15/12   235 14
                                                          Page  of 262
                                                                   of 38
 Case4:12-cv-00285-RH-CAS
Case   5:19-cv-00074-FB Document 8-1 7-1
                           Document   FiledFiled
                                            02/04/19   Page
                                                 06/15/12   236 15
                                                          Page  of 262
                                                                   of 38
 Case4:12-cv-00285-RH-CAS
Case   5:19-cv-00074-FB Document 8-1 7-1
                           Document   FiledFiled
                                            02/04/19   Page
                                                 06/15/12   237 16
                                                          Page  of 262
                                                                   of 38
 Case4:12-cv-00285-RH-CAS
Case   5:19-cv-00074-FB Document 8-1 7-1
                           Document   FiledFiled
                                            02/04/19   Page
                                                 06/15/12   238 17
                                                          Page  of 262
                                                                   of 38
 Case4:12-cv-00285-RH-CAS
Case   5:19-cv-00074-FB Document 8-1 7-1
                           Document   FiledFiled
                                            02/04/19   Page
                                                 06/15/12   239 18
                                                          Page  of 262
                                                                   of 38
 Case4:12-cv-00285-RH-CAS
Case   5:19-cv-00074-FB Document 8-1 7-1
                           Document   FiledFiled
                                            02/04/19   Page
                                                 06/15/12   240 19
                                                          Page  of 262
                                                                   of 38
 Case4:12-cv-00285-RH-CAS
Case   5:19-cv-00074-FB Document 8-1 7-1
                           Document   FiledFiled
                                            02/04/19   Page
                                                 06/15/12   241 20
                                                          Page  of 262
                                                                   of 38
 Case4:12-cv-00285-RH-CAS
Case   5:19-cv-00074-FB Document 8-1 7-1
                           Document   FiledFiled
                                            02/04/19   Page
                                                 06/15/12   242 21
                                                          Page  of 262
                                                                   of 38
 Case4:12-cv-00285-RH-CAS
Case   5:19-cv-00074-FB Document 8-1 7-1
                           Document   FiledFiled
                                            02/04/19   Page
                                                 06/15/12   243 22
                                                          Page  of 262
                                                                   of 38
 Case4:12-cv-00285-RH-CAS
Case   5:19-cv-00074-FB Document 8-1 7-1
                           Document   FiledFiled
                                            02/04/19   Page
                                                 06/15/12   244 23
                                                          Page  of 262
                                                                   of 38
 Case4:12-cv-00285-RH-CAS
Case   5:19-cv-00074-FB Document 8-1 7-1
                           Document   FiledFiled
                                            02/04/19   Page
                                                 06/15/12   245 24
                                                          Page  of 262
                                                                   of 38
 Case4:12-cv-00285-RH-CAS
Case   5:19-cv-00074-FB Document 8-1 7-1
                           Document   FiledFiled
                                            02/04/19   Page
                                                 06/15/12   246 25
                                                          Page  of 262
                                                                   of 38
 Case4:12-cv-00285-RH-CAS
Case   5:19-cv-00074-FB Document 8-1 7-1
                           Document   FiledFiled
                                            02/04/19   Page
                                                 06/15/12   247 26
                                                          Page  of 262
                                                                   of 38
 Case4:12-cv-00285-RH-CAS
Case   5:19-cv-00074-FB Document 8-1 7-1
                           Document   FiledFiled
                                            02/04/19   Page
                                                 06/15/12   248 27
                                                          Page  of 262
                                                                   of 38
 Case4:12-cv-00285-RH-CAS
Case   5:19-cv-00074-FB Document 8-1 7-1
                           Document   FiledFiled
                                            02/04/19   Page
                                                 06/15/12   249 28
                                                          Page  of 262
                                                                   of 38
 Case4:12-cv-00285-RH-CAS
Case   5:19-cv-00074-FB Document 8-1 7-1
                           Document   FiledFiled
                                            02/04/19   Page
                                                 06/15/12   250 29
                                                          Page  of 262
                                                                   of 38
 Case4:12-cv-00285-RH-CAS
Case   5:19-cv-00074-FB Document 8-1 7-1
                           Document   FiledFiled
                                            02/04/19   Page
                                                 06/15/12   251 30
                                                          Page  of 262
                                                                   of 38
 Case4:12-cv-00285-RH-CAS
Case   5:19-cv-00074-FB Document 8-1 7-1
                           Document   FiledFiled
                                            02/04/19   Page
                                                 06/15/12   252 31
                                                          Page  of 262
                                                                   of 38
 Case4:12-cv-00285-RH-CAS
Case   5:19-cv-00074-FB Document 8-1 7-1
                           Document   FiledFiled
                                            02/04/19   Page
                                                 06/15/12   253 32
                                                          Page  of 262
                                                                   of 38
 Case4:12-cv-00285-RH-CAS
Case   5:19-cv-00074-FB Document 8-1 7-1
                           Document   FiledFiled
                                            02/04/19   Page
                                                 06/15/12   254 33
                                                          Page  of 262
                                                                   of 38
 Case4:12-cv-00285-RH-CAS
Case   5:19-cv-00074-FB Document 8-1 7-1
                           Document   FiledFiled
                                            02/04/19   Page
                                                 06/15/12   255 34
                                                          Page  of 262
                                                                   of 38
 Case4:12-cv-00285-RH-CAS
Case   5:19-cv-00074-FB Document 8-1 7-1
                           Document   FiledFiled
                                            02/04/19   Page
                                                 06/15/12   256 35
                                                          Page  of 262
                                                                   of 38
 Case4:12-cv-00285-RH-CAS
Case   5:19-cv-00074-FB Document 8-1 7-1
                           Document   FiledFiled
                                            02/04/19   Page
                                                 06/15/12   257 36
                                                          Page  of 262
                                                                   of 38
 Case4:12-cv-00285-RH-CAS
Case   5:19-cv-00074-FB Document 8-1 7-1
                           Document   FiledFiled
                                            02/04/19   Page
                                                 06/15/12   258 37
                                                          Page  of 262
                                                                   of 38
 Case4:12-cv-00285-RH-CAS
Case   5:19-cv-00074-FB Document 8-1 7-1
                           Document   FiledFiled
                                            02/04/19   Page
                                                 06/15/12   259 38
                                                          Page  of 262
                                                                   of 38
Case 4:12-cv-00285-RH-CAS
Case 5:19-cv-00074-FB Document 8-1 Filed
                          Document       02/04/19
                                   7-3 Filed       Page Page
                                              06/15/12  260 of1 262
                                                                of 3




                           Exhibit 2
Case 4:12-cv-00285-RH-CAS
Case 5:19-cv-00074-FB Document 8-1 Filed
                          Document       02/04/19
                                   7-3 Filed       Page Page
                                              06/15/12  261 of2 262
                                                                of 3
Case 4:12-cv-00285-RH-CAS
Case 5:19-cv-00074-FB Document 8-1 Filed
                          Document       02/04/19
                                   7-3 Filed       Page Page
                                              06/15/12  262 of3 262
                                                                of 3
